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                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      FIRST AMENDED CONSOLIDATED
                                               COMPLAINT
ALL ACTIONS
                                               Judge: Hon. Vince Chhabria




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       Plaintiffs Steven Akins, Jason Ariciu, Samuel Armstrong, Anthony Bell, Bridgett Burk,

Brendan Carr, John Doe, Terry Fischer, Shelly Forman, Paige Grays, Mary Beth Grisi, Suzie

Haslinger, Tabielle Holsinger, Taunna Lee Johnson, Olivia Johnston, Tyler King, Ashley

Kmieciak, William Lloyd, Gretchen Maxwell, Scott McDonnell, Ian Miller, Jordan O’Hara,

Bridget Peters, Kimberly Robertson, Scott Schinder, Cheryl Senko, Dustin Short, Tonya Smith,

Mitchell Staggs, Charnae Tutt, Barbara Vance-Guerbe, and Juliana Watson, individually and as

representatives of Classes of similarly situated persons, by their undersigned counsel, allege as

follows:

                                   I.      INTRODUCTION
       1.      Just fifteen years after its founding, Facebook, Inc. (“Facebook” or the

“Company”) has become one of the world’s most influential companies. Its reach today is

immense. More than 2.2 billion people around the world use its platform to connect with each

other and it is no exaggeration that this connectivity has transformed the world. For many

people, the platform has become an indispensable tool in keeping up with friends, running a

business, advancing in a career, or remaining informed about current events.

       2.      Facebook’s indispensability and ubiquity are precisely what make its misconduct

so damaging. It sold access to users’ private information—content that users had designated as

nonpublic—without users’ consent. In doing so, Facebook caused users’ privacy to be invaded

and inflicted economic harm on them. This action seeks appropriate remedies for those injuries.

       3.      In 2018, journalists uncovered that Cambridge Analytica, a British political

consulting firm, paid a Facebook application developer1 to collect and analyze the content and

information2 of ap-proximately eighty-seven million Facebook users (the “Cambridge Analytica


1
  An “Application Developer” is a developer of Facebook applications.
2
  As used here, “content and information” means “content” and “information” as Facebook’s
Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has
generally used “information” to mean facts and other information about Facebook users,
including the actions they take, and “content” to mean anything users post on Facebook that
would not be included in the definition of “information.” In addition, as used in this complaint,

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Scandal” or “Scandal”). Cambridge Analytica then used this data during the 2016 election season

to target voters and lobby them, both on and off Facebook, with messages about political

candidates.

       4.      Cambridge Analytica’s abuse of user content and information was neither isolated

nor unusual. Facebook allowed tens of thousands of third-party apps (“Apps”)3 to download

user content and information, and was willfully indifferent to monitoring them.

       5.      Facebook also sold access to users’ information to a wide range of business

partners—a diverse group that included not only device makers but media and entertainment

companies like Netflix, the car service Lyft, the Russian search engine Yandex, the rental service

Airbnb, and many more (“Business Partners”).

       6.      These revelations have shown that Facebook is not just a social media company,

but also a data broker and surveillance firm. Facebook encourages users to share their content so

that Facebook can harvest it, aggregate it and sell access to it. That content and information has

tremendous economic value, and although Facebook tells users the content is their property, in

fact Facebook is keeping all of its value. Facebook will not even disclose to users what it has

amassed and what it makes available to its Business Partners. That is, Facebook is more

transparent with its actual customers than with its users.

       7.      If Facebook wishes to be a data broker and surveillance firm, it must gain users’

consent. Users could not consent to much of this misconduct because it remained secret until

recently. In many cases, Facebook’s misconduct affirmatively violated the pledges it made to

users. Other aspects of its misconduct were simply never disclosed anywhere—necessarily

precluding consent. Even when Facebook began to disclose some small part of its behavior, it at

most notified only new users that it was engaging in such behavior. It did not notify existing

users. And the document in which Facebook began to disclose some of what it was doing was


the terms include both personally identifiable content and information and anonymized content
and information that is capable of being de-anonymized.
3
  An “Application” is an interactive software application, such as a game, survey, or quiz.

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never part of a contract—and even if it were contractual, was never prominent or accessible

enough to have put a reasonably prudent user on notice.

       8.      Any assessment of users’ consent must also take into account Facebook’s

misleading privacy controls and Facebook’s manipulation of the default settings of those

controls.

       9.      To encourage people to join and engage on its platform, Facebook misled users

into believing that they controlled their content and information through certain affirmative

“Privacy Settings and Tools.”

       10.     Contrary to Facebook’s express promises, these settings did not prevent access by

third-party Apps, websites, and Business Partners to users’ information. Users were not aware,

and to a large extent are still not aware, that if a friend4 interacts on a website with whom

Facebook has an undisclosed business relationship, all of the content and information shared

with that friend, even if shared with nonpublic settings between a few people, falls unrestricted

into the hands of those companies.

       11.     In fact, investigation of counsel in this case has revealed that when Facebook

allowed third parties to download user content and information, Facebook stripped users’ privacy

settings from photos and videos before delivering it to the third parties. This means that the

parties buying access to those photos and videos were not informed of users’ privacy restrictions.

By doing this, Facebook made it possible for third parties to use this content without restrictions.

       12.     Facebook also manipulated users’ default privacy settings. In April 2010,

Facebook unilaterally changed users’ default Profile Privacy Settings so that the default settings

shared certain information publicly for new and existing users alike. This change sparked the

concerns of privacy advocates and the Federal Trade Commission (“FTC”). The FTC sued

Facebook, alleging that Facebook “deceived consumers by telling them they could keep their

4
 A “Friend” is a connection between users on Facebook. To add a user as a Friend on
Facebook, one user sends an invitation to another. Once a user accepts an invitation and
becomes a Friend, that Friend can see content that the inviting user shares with that Friend.

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information on Facebook private, and then repeatedly allowing it to be shared and made public.”5

Following the FTC’s intervention, Facebook and the FTC negotiated specific remedies, codified

in the FTC’s consent decree, which was finalized in 2012.6 Accordingly, in 2014, Facebook

changed the default back to “friends only,” but only for new users. During all these

manipulations, users’ expectations of privacy did not change merely because Facebook altered

its default settings without first getting its users’ consent.

        13.     Facebook’s misconduct has inflicted serious tangible and intangible harms on

Plaintiffs. The degree of harm they suffered bears a direct relation to the quantity and quality of

the information Facebook gave to third parties. The content that users shared subject to privacy

restrictions is incredibly intimate. Reasonably believing in Facebook’s privacy controls, the

representative plaintiffs all shared personally identifying information about relationships,

whereabouts, moods, daily routines, videos, and photos with limited groups of Friends. The

richness of the private information shared is what makes it so valuable to corporations and others

who wish to personally target them.

        14.     Users are harmed not just by Facebook’s disclosure of their private content and

information to third parties. It is the way that Facebook collects, analyzes and uses that

information that inflicts a novel and more invasive kind of harm than just a breach of “data.”

Facebook’s aggregation of user information allows de-anonymization of that information so that

it can be connected to specific users, by name—contrary to Facebook’s explicit pledge not to

give content and information to advertisers.

        15.     The fundamental pieces of a Facebook profile—names, profile pictures, phone

numbers, email addresses and the kind of corroborating personal information used for passwords

and security questions—serve as critical starter kits for identity theft and other malicious online

5
  Facebook Settles FTC Charges That It Deceived Consumers By Failing To Keep Privacy
Promises, Federal Trade Commission (Nov. 29, 2011), https://www.ftc.gov/news-events/press-
releases/2011/11/facebook-settles-ftc-charges-it-deceived-consumers-failing-keep.
6
  Decision and Order (“FTC Consent Decree” or “Consent Decree”), In the Matter of Facebook,
Inc., at 3-4, No. C-4365 (F.T.C. July 27, 2012).

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activity. Experts agree that this aggregated information makes people much more vulnerable to

voter fraud, medical fraud, phishing, and other identity-based harms. The disclosure of such

content “allow[s] bad actors to tie raw data to people’s real identities and build fuller profiles of

them.” Two plaintiffs have now found their information for sale on the dark web. Others have

suffered phishing and other breach attempts.

       16.     The harm is not only limited to identity theft. The ability to analyze and de-

anonymize user data allows third parties to personally and psychologically target Facebook users

with greater precision. This is called “psychographic marketing.” For example, Cambridge

Analytica exploited users’ information to target individual voters with content tailored to their

predicted psychological proclivities. Facebook and other data brokers compile dossiers on

Facebook users based on this aggregated content. The dossiers make assumptions about users’

health, financial risk, employability and other factors. Brokers, like Facebook, then make that

information accessible to third parties to target people based on analyses of their temperament

and vulnerabilities. The transparency, however, is one way.

       17.     Even before the revelations that led to this action, Facebook was no stranger to

scandal—perhaps not surprising given its Class Period mantra “move fast and break things.” The

Company has bounced from one scandal to another over the years, typically involving its

troubled relationship with user privacy. Facebook weathered these scandals by expressly

assuring its users and the public repeatedly that user privacy is central to its operation, and that

whatever mistakes were made in Facebook’s zeal to “improve the user experience” would not be

made again.

       18.     Facebook has repeatedly professed remorse for violating users’ privacy over the

past seven years. Following entry of the 2011 Consent Decree, Chief Executive Officer Mark

Zuckerberg stated, “we’ve made a bunch of mistakes.”7 But he assured users of the Company’s

7
 Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook Newsroom (Nov.
29, 2011), https://newsroom.fb.com/news/2011/11/our-commitment-to-the-facebook-
community/.

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commitment to providing its users with “complete control over who they share with at all

times.”8 For Facebook, Zuckerberg wrote, “this means we’re making a clear and formal long-

term commitment to do the things we’ve always tried to do and planned to keep doing — giving

you tools to control who can see your information and then making sure only those people you

intend can see it.”9

          19.      Since the Cambridge Analytica scandal, Mr. Zuckerberg has continued to

apologize. For example, on April 18, 2018, Zuckerberg admitted, “We didn't focus enough on

preventing abuse and thinking through how people could use these tools to do harm as well. That

goes for fake news, foreign interference in elections, hate speech, in addition to developers and

data privacy. We didn't take a broad enough view of what our responsibility is, and that was a

huge mistake. It was my mistake.”10

            20.    The time for pro forma apologies has long since passed. Only the legal process

    can put Plaintiffs back in the position they would occupy had Facebook properly disclosed its

    activities or not engaged in them at all. That is the relief they ask for, and are entitled to, under

    the law.

                    II.     JURISDICTION, VENUE, AND CHOICE OF LAW
            21.    Pursuant to 28 U.S.C. § 1331, this Court has original subject matter jurisdiction

    over the claims that arise under the Stored Communications Act, 18 U.S.C. §§ 2701 et seq. and

    the Video Privacy Protection Act, 18 U.S.C. § 2710.

            22.    This Court also has supplemental jurisdiction over the state law claims pursuant to

    28 U.S.C. § 1367.

            23.    In addition to federal question jurisdiction, this Court also has diversity

    jurisdiction pursuant to 28 U.S.C. § 1332(d) under the Class Action Fairness Act (“CAFA”),

8
  Id.
9
  Id.
10
   Hard Questions: Q&A With Mark Zuckerberg on Protecting People's Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-
peoples-information/.

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because the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and at

least one Class Member is a citizen of a state different from Defendants.

          24.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

do business in and are subject to personal jurisdiction in this District. Venue is also proper

because a substantial part of the events or omissions giving rise to the claim occurred in or

emanated from this District.

          25.   The relevant terms of Plaintiffs’ contracts with Facebook provide that the

exclusive venues for litigating any claim with Facebook are either the United States District

Court for the Northern District of California or a state court located in San Mateo County.

These contracts also provided that all claims that might arise between the user and Facebook

would be governed by the laws of California, without regard to conflict-of-law provisions.

          26.   The venue provision provides an additional reason that venue is proper in this

District. The choice-of-law provision establishes that California law applies to Plaintiffs’

claims.

                                        III.    PARTIES

A.     Plaintiffs
       27.     Plaintiff Steven Akins is a citizen and resident of the State of Tennessee.

Plaintiff Akins created his Facebook account in 2008 via a personal computer and maintains his

Facebook account to the present day. Plaintiff Akins has accessed his Facebook account from

mobile phones and personal computers. Plaintiff Akins also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Akins has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos. These videos

were hosted on Facebook’s video streaming services, and included videos that were not posted

by Plaintiff Akins or his Friends, videos that were selected and published by Facebook to



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Plaintiff Akins’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends.

        28.     Plaintiff Akins does not recall specific details regarding the account registration

process. Plaintiff Akins does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. He does not recall seeing updates to the Terms

of Service or the Data Policy since registering for his account. He did not subscribe to, has never

visited, and is not aware of the Facebook Site Governance page.

        29.     On information and belief, Plaintiff Akins’ Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. Plaintiff Akins later changed those settings to Friends in approximately

2010. On information and belief, Plaintiff Akins’ Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when he created

his account. On information and belief, Plaintiff Akins did not change those settings, but started

customizing his privacy on a post-by-post, photo-by-photo, video-by-video basis. On

information and belief, Plaintiff Akins’ Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Akins later

changed those settings to Friends in approximately 2010. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Akins did not know that Facebook allowed advertisers to target him directly,

using information such as his email address or Facebook User ID. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Akins did not know that there were separate Privacy Settings to limit

the information obtained by Apps used by his Friends. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Akins did not know that there were separate Privacy Settings to disable

advertisements targeting him on the basis of data from third parties such as data brokers.


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       30.     Plaintiff Akins shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Akins expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. Plaintiff Akins

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, personal family videos,

as well as personal perspectives regarding politics, religion, relationships, work, and family that

he wanted to remain private and non-public.

       31.     Plaintiff Akins believed that when he shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Akins was not aware of and did not understand that, when

he shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Akins was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of his content and information to Apps used by his Facebook Friends. Plaintiff Akins

was not aware of and did not understand that he could not control, with any settings made

available by Facebook, the disclosure of his content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Akins was not aware of and did not

understand that Facebook would allow third parties to obtain his content and information and use


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it to construct a psychographic profile of him for the purpose of attempting to manipulate his

voting decisions or other decisions. Plaintiff Akins similarly was not aware of and did not

understand that Facebook would allow third parties to access his content and information and

combine it with content and information from other sources, including sources outside of

Facebook, to create a unique profile of him (as distinct from the individualized profile that he

created for his Facebook account).

       32.     If Plaintiff Akins had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he would not have signed up for Facebook at all. If,

after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile Privacy Settings, limited sharing with Apps used by his Friends, and would

have disabled Platform Apps entirely. He also would have altered and reduced his Facebook

usage, including being more circumspect regarding sharing personal information.

       33.     On information and belief, Plaintiff Akins asserts his content and information was

disclosed without his consent to the This Is Your Digital Life App or other third-party Apps

Facebook is investigating for misusing users’ content and information. Plaintiff Akins was not

aware of and did not consent to the sharing of his content and information with the This Is Your

Digital Life App or other third parties. Moreover, Plaintiff Akins did not consent to any third-

parties accessing his content and information through his Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.

       34.     During the 2016 U.S. Presidential election, Plaintiff Akins frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Akins was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.


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As a result of the release of his content and information, Plaintiff Akins has experienced an

increase in phone solicitations as well as unauthorized access to his bank account. Additionally,

as a result of the release of his content and information, Plaintiff Akins has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Akins’s private affairs and concerns, as detailed herein. Plaintiff Akins

fears that he is at risk of identity theft and fraud, and now spends approximately two hours each

month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       35.     Plaintiff Jason Ariciu is a citizen and resident of the State of Missouri. Plaintiff

Ariciu created his Facebook account in 2005 via a personal computer and maintains his

Facebook account to the present day. Plaintiff Ariciu has accessed his Facebook account from a

personal computer, a tablet, and a mobile phone. Plaintiff Ariciu also uses Facebook Messenger

and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat,

Plaintiff Ariciu has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked”

pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

These videos were hosted on Facebook’s video streaming services, and included videos that were

not posted by Plaintiff Ariciu or his Friends, videos that were selected and published by

Facebook to Plaintiff Ariciu’s News Feed, and videos that were posted, shared, or liked to a non-

public audience such as Friends. Plaintiff Ariciu has enabled location access while using

Facebook, Facebook Messenger, and/or Facebook Chat.

       36.     Plaintiff Ariciu does not recall specific details regarding the account registration

process. Plaintiff Ariciu does not recall being prompted to read or reading the Terms of Service


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or the Data Policy during the registration process. He does not recall seeing updates to the Terms

of Service or the Data Policy since registering for his account. He did not subscribe to, has never

visited, and is not aware of the Facebook Site Governance page.

        37.     On information and belief, Plaintiff Ariciu’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when he created his

account. On information and belief, Plaintiff Ariciu’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when he created

his account. Plaintiff Ariciu later changed those settings to Friends in approximately 2009. On

information and belief, Plaintiff Ariciu’s Privacy Settings for Likes, including page likes,

interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Ariciu later changed those settings to Friends in approximately 2009. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Ariciu did not know that Facebook allowed advertisers

to target him directly, using information such as his email address or Facebook User ID. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Ariciu did not know that there were separate

Privacy Settings to limit the information obtained by Apps used by his Friends. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Ariciu did not know he could disable advertisements

targeting him on the basis of data from third parties such as data brokers.

        38.     Plaintiff Ariciu shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Ariciu expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. Plaintiff Ariciu


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also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs as well as personal

perspectives regarding politics, religion, relationships, work, and family that he wanted to remain

private and non-public.

       39.     Plaintiff Ariciu believed that when he shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Ariciu was not aware of and did not understand that when

he shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Ariciu was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of his content and information to Apps used by his Facebook Friends. Plaintiff Ariciu

was not aware of and did not understand that he could not control, with any settings made

available by Facebook, the disclosure of his content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Ariciu was not aware of and did not

understand that Facebook would allow third parties to obtain his content and information and use

it to construct a psychographic profile of him for the purpose of attempting to manipulate his

voting decisions or other decisions. Plaintiff Ariciu similarly was not aware of and did not

understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of him (as distinct from the individualized profile that he

created for his Facebook account).


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       40.     If Plaintiff Ariciu had learned what he knows now about Facebook’s data sharing

policies after signing up for Facebook, he would have immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and would have disabled Platform Apps

entirely. He also would have altered and reduced his Facebook usage, including being more

circumspect regarding sharing personal and professional information.

       41.     Plaintiff Ariciu confirmed on Facebook that his content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Ariciu’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Ariciu did

not consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Ariciu did not consent to any third-parties accessing his content and

information through his Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       42.     During the 2016 U.S. Presidential election, Plaintiff Ariciu frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Ariciu was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Ariciu has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Ariciu’s private affairs and concerns, as detailed herein. Plaintiff Ariciu

fears that he is at risk of identity theft and fraud, and now spends approximately one to two hours

each month monitoring his credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.




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       43.     Plaintiff Samuel Armstrong is a citizen and resident of the State of Indiana.

Plaintiff Armstrong created his Facebook account in 2007 via a personal computer and maintains

his Facebook account to the present day. Plaintiff Armstrong has accessed his Facebook account

from a personal computer, a tablet, and a mobile phone. Plaintiff Armstrong also uses Facebook

Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or

Facebook Chat, Plaintiff Armstrong has watched videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on

Facebook that contain videos. These videos were hosted on Facebook’s video streaming services,

and included videos that were not posted by Plaintiff Armstrong or his Friends, videos that were

selected and published by Facebook to Plaintiff Armstrong’s News Feed, and videos that were

posted, shared, or liked to a non-public audience such as Friends.

       44.     Plaintiff Armstrong recalls that during the account registration process he had to

provide his first name, last name, birthday, and email address. Plaintiff Armstrong does not recall

being prompted to read or reading the Terms of Service or the Data Policy during the registration

process. He did not subscribe to, has never visited, and is not aware of the Facebook Site

Governance page.

       45.     On information and belief, Plaintiff Armstrong’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. On information and belief, Plaintiff Armstrong’s Privacy Settings for posts,

including status updates, photos, and videos, were set to the default setting of Friends of Friends

when he created his account. Plaintiff Armstrong later changed those settings to Friends in

approximately 2012. On information and belief, Plaintiff Armstrong’s Privacy Settings for Likes,

including page likes, interests, and favorites, were set to the default setting of Friends of Friends


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at first. Plaintiff Armstrong later changed those settings to Friends in approximately 2012. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Armstrong did not know that Facebook

allowed advertisers to target him directly, using information such as his email address or

Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Armstrong did not

know that there were separate Privacy Settings to limit the information obtained by Apps used by

his Friends. On information and belief, Plaintiff Armstrong disabled advertisements targeting

him on the basis of data from third parties such as data brokers.

       46.     Plaintiff Armstrong shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Armstrong expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, family, and health that he wanted to remain private and non-public. Plaintiff

Armstrong also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public.

       47.     Plaintiff Armstrong believed that when he shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through his Privacy Settings, he was preventing third parties from

accessing his content and information. Plaintiff Armstrong was not aware of and did not

understand that, when he shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by his Friends;


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(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Armstrong was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of his content and information to Apps used by his

Facebook Friends. Plaintiff Armstrong was not aware of and did not understand that he could not

control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Armstrong was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him for the

purpose of attempting to manipulate his voting decisions or other decisions. Plaintiff Armstrong

similarly was not aware of and did not understand that Facebook would allow third parties to

access his content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of him (as

distinct from the individualized profile that he created for his Facebook account).

       48.     If Plaintiff Armstrong had learned what he knows now about Facebook’s data

sharing policies before signing up for Facebook, particularly with respect to its influence on his

voting decisions, he would not have signed up for Facebook at all. If, after signing up for

Facebook, he learned what he knows now, he would have immediately restricted his profile

Privacy Settings, limited sharing with Apps used by his Friends, and would have reduced his

Facebook usage regarding political subjects.

       49.     Plaintiff Armstrong confirmed on Facebook that his content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Armstrong’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Armstrong did not consent to the sharing of his content and information with the This Is Your


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Digital Life App. Moreover, Plaintiff Armstrong did not consent to any third-parties accessing

his content and information through his Facebook Friends and had no knowledge that Facebook

had authorized this disclosure of his content and information without his consent.

       50.     During the 2016 U.S. Presidential election, Plaintiff Armstrong frequently

received political advertisements while using Facebook. On information and belief, Plaintiff

Armstrong was targeted by some or all of these advertisements as a result of the Cambridge

Analytica Scandal. In particular, Plaintiff Armstrong recalls that he received highly offensive

advertisements during the 2016 U.S. Presidential election, and believes that he was targeted with

such advertisements because of his race and gender. He believes that these advertisements were

designed to improperly influence his voting decisions, and recalls that these advertisements did

in fact influence his voting decisions. As a result of the release of his content and information,

Plaintiff Armstrong has experienced an increase in phone solicitations. Additionally, as a result

of the release of his content and information, Plaintiff Armstrong has suffered emotional distress,

including anxiety, concern, and unease about unauthorized parties viewing and using his content

and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Armstrong’s private affairs and concerns, as detailed herein. Plaintiff

Armstrong fears that he is at risk of identity theft and fraud, and now spends approximately four

hours each month monitoring his credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

       51.     Plaintiff Anthony Bell is a citizen and resident of the State of California. Plaintiff

Bell created his Facebook account in approximately 2005 via a computer and maintains his

Facebook account to the present day. Plaintiff Bell has accessed his Facebook account from a

computer and mobile phone. Plaintiff Bell also uses Facebook Messenger and/or Facebook Chat.


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On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Bell has

obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain

videos.” These videos were delivered by Facebook, and included videos that were not posted by

Plaintiff Bell or his Friends, videos that were selected and delivered by Facebook to Plaintiff

Bell’s News Feed, and videos that were posted, shared, or liked to a non-public audience such as

Friends. Plaintiff Bell is a pastor and Facebook has allowed him to post inspirational and

religious videos for his parishioners. In addition, through Facebook Live, the service that allows

users to broadcast live video streams to the News Feed using the Facebook Mentions App,

Plaintiff Bell has broadcast inspirational and religious messages to parishioners. He believes the

Facebook Live video was shared publicly when it was live, but after it ended and was posted to

his page, he changed the video’s Privacy Settings to non-public (either Only Me or Friends). Via

Facebook Chat and Messenger, Plaintiff Bell has also sent his church employees videos

containing very sensitive business information that needed to remain private.

       52.     Plaintiff Bell does not recall specific details regarding the account registration

process. Plaintiff Bell recalls reading parts of the Terms of Service and the Data Policy during

the registration process. Plaintiff Bell recalls that the Terms of Service and the Data Policy were

extremely long and complex and that he did not understand the terms. He does not recall seeing

updates to the Terms of Service or the Data Policy since registering for his account. He does not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       53.     On information and belief, Plaintiff Bell’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when he created his

account. Plaintiff Bell later changed those settings to Friends. On information and belief,


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Plaintiff Bell’s Privacy Settings for posts, including status updates, photos, and videos, were set

to the default setting of Friends of Friends when he created his account. On information and

belief, Plaintiff Bell’s Privacy Settings for Likes, including page likes, interests, and favorites,

were set to the default setting of Friends of Friends at first. Plaintiff Bell later changed all of

those settings to Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Bell did not

know that Facebook allowed advertisers to target him directly, using information such as his

email address or Facebook User ID. On information and belief, Plaintiff Bell disabled

advertisements targeted on the basis of data from third parties such as data brokers. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff Bell did not know that there were separate Privacy

Settings to limit the information obtained by Apps used by his Friends. Plaintiff Bell later

became aware of those settings and changed those settings to limit information sharing in

approximately 2018.

        54.     Plaintiff Bell shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends and in private

Facebook Groups. Plaintiff Bell expected Facebook to protect and secure that private content and

information against access by or disclosure to unauthorized parties. This information included

personal family photographs, personal family videos, as well as personal perspectives regarding

politics, religion, relationships, work, and family that he wanted to remain private and non-

public. For example, he often uses Facebook in the course of his work as a pastor to invite people

to events—using Facebook’s Events function—at his church. He also “Friends” his parishioners

on Facebook so that they can communicate with him easily, such as by posting on his page, and

so that he could offer encouragement and support to parishioners. He expected those

communications and related content and information to remain private and confidential.


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       55.     Plaintiff Bell also shared private content and information with Friends through

Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. Plaintiff Bell

expected Facebook to protect and secure that private content and information against access by

or disclosure to unauthorized parties. As one example, in trying to solve a family emergency that

was endangering the safety and lives of some of his relatives, Plaintiff Bell shared highly

sensitive information to his Facebook page and via Facebook Messenger that he believed would

not be shared with people who were not his Friends. If that information had reached people other

than his Friends, his relatives’ lives would have been endangered. Facebook was his only option

for communicating during this emergency due to poor phone service overseas. As another

example, Plaintiff Bell, in the course of his work as a pastor, often counsels his parishioners

through Facebook Messenger. As a pastor, he has an obligation to keep confidential information

his parishioners share with him. He believes that Facebook’s failure to keep his messages

confidential have violated his duty of confidentiality as a pastor.

       56.     Plaintiff Bell believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Bell was not aware of and did not understand that when he

shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Bell was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the


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disclosure of his content and information to Apps used by his Facebook Friends. Plaintiff Bell

was not aware of and did not understand that he could not control, with any settings made

available by Facebook, the disclosure of his content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Bell was not aware of and did not understand

that Facebook would allow third parties to obtain his content and information and use it to

construct a psychographic profile of him for the purpose of attempting to manipulate his voting

decisions or other decisions. Plaintiff Bell similarly was not aware of and did not understand that

Facebook would allow third parties to access his content and information and combine it with

personally identifiable information from other sources, including sources outside of Facebook, to

create a unique profile of him (as distinct from the individualized profile that he created for his

Facebook account).

       57.     If Plaintiff Bell had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he would not have signed up for Facebook at all. If,

after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile Privacy Settings, limited sharing with Apps used by his Friends, and would

have disabled Platform Apps entirely. He also would have altered and reduced his Facebook

usage, including being more circumspect regarding sharing personal information.

       58.     Plaintiff Bell confirmed on Facebook that his content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Bell’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Bell did not

consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Bell did not consent to any third-parties accessing his content and




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information through his Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       59.     During the 2016 U.S. Presidential election, Plaintiff Bell frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Bell was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Bell has experienced hacking

of his email account and attempted unauthorized withdrawals from his bank account. Plaintiff

Bell had to delete his email account and subsequently lost a large amount of information.

Additionally, as a result of the release of his content and information, Plaintiff Bell has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing

and using his content and information for improper purposes, such as identity theft and fraud as

well as further intruding upon Plaintiff Bell’s private affairs and concerns, as detailed herein.

Plaintiff Bell fears that he is at risk of identity theft and fraud, and now spends approximately

five hours each month monitoring his credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future. Because of

his heightened risk of identity theft and fraud, Plaintiff Bell has purchased credit monitoring and

identity theft protection services, and anticipates continuing to pay for such services for the

foreseeable future.

       60.     Plaintiff Bridgett Burk is a citizen and resident of the State of Florida. Plaintiff

Burk created her Facebook account in 2006 via a personal computer and maintains her Facebook

account to the present day. Plaintiff Burk has accessed her Facebook account from a mobile

phone, a tablet, and a personal computer. Plaintiff Burk also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff


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Burk has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos. These videos

were hosted on Facebook’s video streaming services, and included videos that were not posted

by Plaintiff Burk or her Friends, videos that were selected and published by Facebook to Plaintiff

Burk’s News Feed, and videos that were posted, shared, or liked to a non-public audience such

as Friends. Plaintiff Burk has also purchased and/or sold items in the Facebook Marketplace.

        61.     Plaintiff Burk does not recall specific details regarding the account registration

process. Plaintiff Burk does not recall being prompted to read or reading the Terms of Service or

the Data Policy during the registration process. She does not recall seeing updates to the Terms

of Service or the Data Policy since registering for her account. She did not subscribe to, has

never visited, and is not aware of the Facebook Site Governance page.

        62.     On information and belief, Plaintiff Burk’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when she created her

account. Plaintiff Burk later confirmed that those settings were set to Friends in approximately

2009 or 2010. On information and belief, Plaintiff Burk’s Privacy Settings for posts, including

status updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Burk later changed those settings to Friends in approximately 2009

or 2010. On information and belief, Plaintiff Burk’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Burk later changed those settings to Friends in approximately 2009 or 2010. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Burk did not know that Facebook allowed advertisers to

target her directly, using information such as her email address or Facebook User ID. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff Burk did not know that there were separate Privacy


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Settings to limit the information obtained by Apps used by her Friends. On information and

belief, Plaintiff Burk disabled advertisements targeting her on the basis of data from third parties

such as data brokers.

       63.     Plaintiff Burk shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Burk expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff Burk

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, as well as personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to

remain private and non-public.

       64.     Plaintiff Burk believed that when she shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through her Privacy Settings, she was preventing third parties from accessing

her content and information. Plaintiff Burk was not aware of and did not understand that, when

she shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by her Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Burk was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of her content and information to Apps used by her Facebook Friends. Plaintiff Burk

was not aware of and did not understand that she could not control, with any settings made


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available by Facebook, the disclosure of her content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Burk was not aware of and did not

understand that Facebook would allow third parties to obtain her content and information and use

it to construct a psychographic profile of her for the purpose of attempting to manipulate her

voting decisions or other decisions. Plaintiff Burk similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of her (as distinct from the individualized profile that she

created for her Facebook account).

       65.     If Plaintiff Burk had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If,

after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile Privacy Settings, limited sharing with Apps used by her Friends, and would

have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       66.     Plaintiff Burk confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Burk’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Burk was not

aware of and did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Burk did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.




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        67.     During the 2016 U.S. Presidential election, Plaintiff Burk frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Burk was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Burk has experienced an

increase in phone solicitations. Additionally, as a result of the release of her content and

information, Plaintiff Burk has suffered emotional distress, including anxiety, concern, and

unease about unauthorized parties viewing and using her content and information for improper

purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Burk’s

private affairs and concerns, as detailed herein. Plaintiff Burk fears that she is at risk of identity

theft and fraud, and now spends approximately thirty minutes each month monitoring her credit,

bank, and other account statements for evidence of identity theft and fraud, and anticipates

continuing to do so for the foreseeable future.

        68.     Plaintiff Brendan Carr is a citizen and resident of the State of Illinois. Plaintiff

Carr created his Facebook account in August 2008 via a computer and maintains his Facebook

account to the present day. Plaintiff Carr has accessed his Facebook account from a computer

and mobile phone. Plaintiff Carr also uses Facebook Messenger and/or Facebook Chat. On or

through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Carr has obtained and

viewed non-public videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos.” These

videos were delivered by Facebook, and included videos that were not posted by Plaintiff Carr or

his Friends, videos that were selected and delivered by Facebook to Plaintiff Carr’s News Feed,

and videos that were posted, shared, or liked to a non-public audience such as Friends. Plaintiff




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Carr has enabled location access while using Facebook, Facebook Messenger, and/or Facebook

Chat.

        69.    Plaintiff Carr does not recall specific details regarding the account registration

process. Plaintiff Carr does not recall being prompted to read or reading the Terms of Service or

the Data Policy during the registration process. He does not recall seeing updates to the Terms of

Service or the Data Policy since registering for his account. He does not subscribe to, has never

visited, and was not aware of the Facebook Site Governance page until February 2019.

        70.    On information and belief, Plaintiff Carr’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. Plaintiff Carr later changed those settings to Friends in approximately 2018,

after the Cambridge Analytica Scandal was revealed. On information and belief, Plaintiff Carr’s

Privacy Settings for posts, including status updates, photos, and videos, were set to the default

setting of Friends of Friends when he created his account. Plaintiff Carr later changed those

settings to Friends in approximately 2018, after the Cambridge Analytica Scandal was revealed.

He has also used Custom Audiences in sharing certain content and confirmation. He believed

that Facebook was limiting the sharing of that information in accordance with his settings. On

information and belief, Plaintiff Carr’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Carr was not

aware until February 2019 that he could control the privacy of his Likes. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Carr did not know that Facebook allowed advertisers to

target him directly, using information such as his email address or Facebook User ID. On

information and belief, Plaintiff Carr disabled advertisements targeted on the basis of data from

third parties such as data brokers. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Carr


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did not know that there were separate Privacy Settings to limit the information obtained by Apps

used by his Friends. Plaintiff Carr later became aware of those settings and changed those

settings to Only Me.

       71.     Plaintiff Carr shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience, including Friends and

Custom Audience, and in private Groups. Plaintiff Carr expected Facebook to protect and secure

that private content and information against access by or disclosure to unauthorized parties. This

information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that he wanted to remain

private and non-public. Plaintiff Carr also shared private content and information with Friends

through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public.

       72.     Plaintiff Carr believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Until 2018, Plaintiff Carr was not aware of and did not understand

that when he shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by his Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Carr

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of his content and information to Apps used by his Facebook

Friends. Plaintiff Carr was not aware of and did not understand that he could not control, with


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any settings made available by Facebook, the disclosure of his content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Carr was not aware of

and did not understand that Facebook would allow third parties to obtain his content and

information and use it to construct a psychographic profile of him for the purpose of attempting

to manipulate his voting decisions or other decisions. Plaintiff Carr similarly was not aware of

and did not understand that Facebook would allow third parties to access his content and

information and combine it with personally identifiable information from other sources,

including sources outside of Facebook, to create a unique profile of him (as distinct from the

individualized profile that he created for his Facebook account).

       73.     If Plaintiff Carr had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he would not have signed up for Facebook at all. If,

after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile Privacy Settings, limited sharing with Apps used by his Friends, and would

have disabled Platform Apps entirely. He also would have altered and reduced his Facebook

usage, including being more circumspect regarding sharing personal information.

       74.     In approximately April 2018, Plaintiff Carr received notice from Facebook that

his content and information may have been obtained by the This Is Your Digital Life App,

because one of Plaintiff Carr’s Facebook Friends downloaded the This Is Your Digital Life App.

Plaintiff Carr was not aware of and did not consent to the sharing of his content and information

with the This Is Your Digital Life App. Moreover, Plaintiff Carr did not consent to any third-

parties accessing his content and information through his Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.


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       75.     During the 2016 U.S. Presidential election, Plaintiff Carr frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Carr was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

       76.     As a result of the release of his content and information, Plaintiff Carr has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using his content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Carr’s private affairs and concerns, as detailed

herein. Plaintiff Carr fears that he is at risk of identity theft and fraud, and now spends several

hours each month monitoring his credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

       77.     Plaintiff John Doe, a minor, is a citizen and resident of the State of Illinois.

Plaintiff Doe created his Facebook account in 2012 via a laptop and maintains his Facebook

account to the present day. Plaintiff Doe has accessed his Facebook account from a mobile

phone, a tablet, a laptop, and a personal computer. Plaintiff Doe also uses Facebook Messenger

through Facebook. On or through Facebook, Facebook Messenger, and/or Facebook Chat,

Plaintiff Doe has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked”

pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

These videos were hosted on Facebook’s video streaming services, and included videos that were

not posted by Plaintiff Doe or his Friends, videos that were selected and published by Facebook

to Plaintiff Doe’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends.

       78.     Plaintiff Doe does not recall specific details regarding the account registration

process. Plaintiff Doe does not recall being prompted to read or reading the Terms of Service or


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the Data Policy during the registration process. He does not recall seeing updates to the Terms of

Service or the Data Policy since registering for his account. He did not subscribe to, has never

visited, and is not aware of the Facebook Site Governance page.

       79.     On information and belief, Plaintiff Doe’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. Plaintiff Doe later changed those settings to Friends in approximately 2014.

On information and belief, Plaintiff Doe’s Privacy Settings for posts, including status updates,

photos, and videos, were set to the default setting of Public when he created his account. Plaintiff

Doe later changed those settings to Friends in approximately 2014. On information and belief,

Plaintiff Doe’s Privacy Settings for Likes, including page likes, interests, and favorites, were set

to the default setting of Public when he created his account. Plaintiff Doe later changed those

settings to Friends in approximately 2014. Until 2018, post-Cambridge Analytica Scandal,

Plaintiff Armstrong did not know that Facebook allowed advertisers to target him directly, using

information such as his email address or Facebook User ID. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Doe did not know that there were separate Privacy Settings to limit

the information obtained by Apps used by his Friends. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Doe did not know that there were separate Privacy Settings to disable

advertisements targeting him on the basis of data from third parties such as data brokers.

       80.     Plaintiff Doe shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Doe expected Facebook to protect and secure that private content and information against access

by or disclosure to unauthorized parties. This information included personal family photographs,

as well as personal perspectives regarding family that he wanted to remain private and non-


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public. Plaintiff Doe also shared private content and information with Friends through Facebook

Messenger. This information included personal family photographs, as well as personal

perspectives regarding family that he wanted to remain private and non-public.

       81.     Plaintiff Doe believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Doe was not aware of and did not understand that, when he

shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Doe was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of his content and information to Apps used by his Facebook Friends. Plaintiff Doe

was not aware of and did not understand that he could not control, with any settings made

available by Facebook, the disclosure of his content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Doe was not aware of and did not understand

that Facebook would allow third parties to obtain his content and information and use it to

construct a psychographic profile of him for the purpose of attempting to manipulate his

decisions. Plaintiff Doe similarly was not aware of and did not understand that Facebook would

allow third parties to access his content and information and combine it with personally

identifiable information from other sources, including sources outside of Facebook, to create a

unique profile of him (as distinct from the individualized profile that he created for his Facebook

account).




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       82.     If Plaintiff Doe had learned what he knows now about Facebook’s data sharing

policies after signing up for Facebook, he would have immediately restricted his profile Privacy

Settings, limited sharing with Apps used by Friends.

       83.     On information and belief, Plaintiff Doe asserts his content and information was

disclosed without his consent to the This Is Your Digital Life App or other third-party apps

Facebook is investigating for misusing users’ content and information. Plaintiff Doe was not

aware of and did not consent to the sharing of his content and information with the This Is Your

Digital Life App or other third parties. Moreover, Plaintiff Doe did not consent to any third-

parties accessing his content and information through his Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.

       84.     While Plaintiff Doe may not be of sufficient age to understand his exposure, by

virtue of his age, he is at greater risk of identity theft, manipulation, fraud, phishing, scams,

targeted unwanted and unnecessary advertising, including inappropriate communications.

Furthermore, because his content and information was collected before the age of consent, he

cannot be expected to understand the gravity of this breach or to have consented to Facebook’s

conduct. This does not minimize his risk or threat of future emotional distress, including anxiety,

concern and unease about unauthorized parties viewing and using his content and information for

improper purposes and further intrusions.

       85.     Plaintiff Terry Fischer is a citizen and resident of the State of Washington.

Plaintiff Fischer created her Facebook account in 2013 via a personal computer and maintains

her Facebook account to the present day. Plaintiff Fischer has accessed her Facebook account

from a mobile phone and a personal computer. Plaintiff Fischer also uses Facebook Messenger


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through Facebook. On or through Facebook, Facebook Messenger, and/or Facebook Chat,

Plaintiff Fischer has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked”

pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

These videos were hosted on Facebook’s video streaming services, and included videos that were

not posted by Plaintiff Fischer or her Friends, videos that were selected and published by

Facebook to Plaintiff Fischer’s News Feed, and videos that were posted, shared, or liked to a

non-public audience such as Friends.

       86.     Plaintiff Fischer recalls that during account registration process she entered her

name, an email address, and a confirmation that she met the age requirements. Plaintiff Fischer

does not recall being prompted to read or reading the Terms of Service or the Data Policy during

the registration process. She does not recall seeing updates to the Terms of Service or the Data

Policy since registering for her account. She did not subscribe to, has never visited, and is not

aware of the Facebook Site Governance page.

       87.     On information and belief, Plaintiff Fischer’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Fischer later changed those settings to Friends in approximately

2017. On information and belief, Plaintiff Fischer’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Public when she created her

account. Plaintiff Fischer later changed those settings to Friends of Friends in approximately

2013 and then to Friends in approximately 2016. On information and belief, Plaintiff Fischer’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default

setting of Public when she created her account. Plaintiff Fischer later changed those settings to

Friends of Friends in approximately 2013 and then to Friends in approximately 2017. Until 2018,


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post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook User

ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that there

were separate Privacy Settings to limit the information obtained by Apps used by her Friends.

Until 2018, post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that there were

separate Privacy Settings to disable advertisements targeting her on the basis of data from third

parties such as data brokers.

       88.     Plaintiff Fischer shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Fischer expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, and family that she wanted to remain private and non-public. Plaintiff Fischer also

shared private content and information with Friends through Facebook Messenger. This

information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, and family that she wanted to remain

private and non-public.

       89.     Plaintiff Fischer believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Fischer was not aware of and did not understand

that, when she shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)


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“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Fischer

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Fischer was not aware of and did not understand that she could not control,

with any settings made available by Facebook, the disclosure of her content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Fischer was not

aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of

attempting to manipulate her voting decisions or other decisions. Plaintiff Fischer similarly was

not aware of and did not understand that Facebook would allow third parties to access her

content and information and combine it with personally identifiable information from other

sources, including sources outside of Facebook, to create a unique profile of her (as distinct from

the individualized profile that she created for her Facebook account).

       90.     If Plaintiff Fischer had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at

all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by Friends,

and would have disabled Platform Apps entirely.

       91.     Plaintiff Fischer confirmed on Facebook that her content and information “was

likely shared” with and may have been “misused” by the This Is Your Digital Life App, because

Plaintiff Fischer downloaded and logged into the This Is Your Digital Life App. Plaintiff Fischer

was not aware of and did not consent to the sharing of her content and information with the This

Is Your Digital Life App. Moreover, Plaintiff Fischer did not consent to any third-parties


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accessing her content and information through her Facebook Friends and had no knowledge that

Facebook had authorized this disclosure of her content and information without her consent.

        92.     As a result of the release of her content and information, Plaintiff Fischer has

experienced an increase in phone solicitations, Friends requests from trolls or imposter accounts,

and other interference with her Facebook account. Additionally, as a result of the release of her

content and information, Plaintiff Fischer has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information

for improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff

Fischer’s private affairs and concerns, as detailed herein. Plaintiff Fischer fears that she is at risk

of identity theft and fraud, and now spends approximately two to three hours each month

monitoring her credit, bank, and other account statements for evidence of identity theft and

fraud, and anticipates continuing to do so for the foreseeable future. Because of her heightened

risk of identity theft and fraud, Plaintiff Fischer has frozen and requested fraud alerts from the

various credit monitoring agencies and anticipates continuing to utilize such services for the

foreseeable future.

        93.     Plaintiff Shelly Forman is a citizen and resident of the State of Georgia. Plaintiff

Forman created her Facebook account in 2008 via a computer to keep in touch with her family

members. She maintains her Facebook account to the present day. Plaintiff Forman has accessed

her Facebook account from a computer and mobile phone. Plaintiff Forman also uses Facebook

Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or

Facebook Chat, Plaintiff Forman has obtained and viewed non-public videos, “liked” videos,

“shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared”

pages on Facebook that contain videos.” These videos were delivered by Facebook, and included


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videos that were not posted by Plaintiff Forman or her Friends, videos that were selected and

delivered by Facebook to Plaintiff Forman’s News Feed, and videos that were posted, shared, or

liked to a non-public audience such as Friends. These videos included personal videos, memes,

and videos from Vine, Vimeo, YouTube, and other streaming services. Through Facebook Live,

the service that allows users to broadcast live video streams to the News Feed using the

Facebook Mentions App, Plaintiff Forman broadcasted a public service announcement video to a

private group regarding sensitive topics. Plaintiff Forman shared this Facebook Live video with

Friends of Friends. She expected Facebook to protect and secure all of her private video activity

against access by or disclosure to unauthorized parties. Plaintiff Forman has enabled location

access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Forman has

also purchased and sold items, including furniture, cars, and car trailers, through Facebook

Marketplace. She shared personal information, including her location and phone number,

through Facebook Marketplace.

       94.     Plaintiff Forman does not recall specific details regarding the account registration

process. Plaintiff Forman does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. She does not recall seeing updates to the

Terms of Service or the Data Policy since registering for her account. Plaintiff Forman does not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       95.     On information and belief, Plaintiff Forman’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Forman later changed those settings to Friends. On information and

belief, Plaintiff Forman’s Privacy Settings for posts, including status updates, photos, and videos,

were set to the default setting of Friends of Friends when she created her account. Plaintiff


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Forman later changed those settings to Friends. On information and belief, Plaintiff Forman’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default

setting of Friends of Friends at first. Plaintiff Forman later changed those settings to Friends.

Until 2018, post-Cambridge Analytica Scandal, Plaintiff Forman did not know that Facebook

allowed advertisers to target her directly, using information such as her email address or

Facebook User ID. On information and belief, Plaintiff Forman disabled advertisements targeted

on the basis of data from third parties such as data brokers. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Forman did not know that there were separate Privacy Settings to

limit the information obtained by Apps used by her Friends. She changed those settings to

Friends in approximately 2019, when she became aware of those settings.

       96.     Plaintiff Forman shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Forman expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal photographs

and videos of family and friends, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. She would be

embarrassed and upset if Facebook had not kept this information private. Plaintiff Forman also

shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. Plaintiff Forman expected Facebook to protect and secure that private content

and information against access by or disclosure to unauthorized parties. This information

included personal photographs and videos of family and friends, as well as personal perspectives

regarding politics, religion, relationships, work, and family that she wanted to remain private and

non-public. Via Facebook Messenger, Plaintiff Forman shared highly sensitive information


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relating to her family’s health and safety about her husband’s military deployment; his safety

depended on the confidentiality of that information.

       97.     Plaintiff Forman believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Forman was not aware of and did not understand

that when she shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Forman

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Forman was not aware of and did not understand that she could not control,

with any settings made available by Facebook, the disclosure of her content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Forman was not

aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of

attempting to manipulate her voting decisions or other decisions. Plaintiff Forman similarly was

not aware of and did not understand that Facebook would allow third parties to access her

content and information and combine it with personally identifiable information from other

sources, including sources outside of Facebook, to create a unique profile of her (as distinct from

the individualized profile that she created for her Facebook account).

       98.     If Plaintiff Forman had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at


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all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       99.     Plaintiff Forman confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Forman’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Forman did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Forman did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       100.    During the 2016 U.S. Presidential election, Plaintiff Forman frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Forman was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Forman has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Forman’s private affairs and concerns, as detailed herein.

Plaintiff Forman fears that she is at risk of identity theft and fraud, and now spends

approximately one to two hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.


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        101.    Plaintiff Paige Grays is a citizen and resident of the State of Arizona. Plaintiff

Grays created her Facebook account approximately seven years ago. Plaintiff Grays maintains

her Facebook account to the present day. Plaintiff Grays has accessed her Facebook account

from a mobile phone and a personal computer. Plaintiff Grays has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Grays shared

content and information with Facebook, which she expected Facebook to protect and secure

against access by or disclosure to unauthorized parties.

        102.    Plaintiff Grays confirmed on Facebook that her content and information “was

likely shared with” and may have been “misused” by the This Is Your Digital Life App, because

one of Plaintiff Grays’ Facebook Friends downloaded the This Is Your Digital Life App.

Plaintiff Grays was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life App. Moreover, Plaintiff Grays did not consent to

any third-parties accessing her content and information through her Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

        103.    During the 2016 U.S. Presidential election, Plaintiff Grays frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Grays was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Grays has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Grays’ private affairs and concerns, as detailed herein. Plaintiff

Grays fears that she is at risk of identity theft and fraud.


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        104.    Plaintiff Mary Beth Grisi is a citizen and resident of the State of Virginia.

Plaintiff Grisi created her Facebook account in 2005 via a personal computer and maintains her

Facebook account to the present day. Plaintiff Grisi has accessed her Facebook account from a

mobile phone and a personal computer. Plaintiff Grisi also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Grisi has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos. These videos

were hosted on Facebook’s video streaming services, and included videos that were not posted

by Plaintiff Grisi or her Friends, videos that were selected and published by Facebook to Plaintiff

Grisi’s News Feed, and videos that were posted, shared, or liked to a non-public audience such

as Friends. Plaintiff Grisi has also purchased items in the Facebook Marketplace.

        105.    Plaintiff Grisi does not recall specific details regarding the account registration

process. Plaintiff Grisi does not recall being prompted to read or reading the Terms of Service or

the Data Policy during the registration process. She did not subscribe to, has never visited, and is

not aware of the Facebook Site Governance page.

        106.    On information and belief, Plaintiff Grisi’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when she created her

account. Plaintiff Grisi later reviewed those settings in approximately 2009. On information and

belief, Plaintiff Grisi’s Privacy Settings for posts, including status updates, photos, and videos,

were set to the default setting of Friends of Friends when she created her account. Plaintiff Grisi

later changed those settings to Friends in approximately 2009. On information and belief,

Plaintiff Grisi’s Privacy Settings for Likes, including page likes, interests, and favorites, were set

to the default setting of Friends of Friends at first. Plaintiff Grisi later changed those settings to


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Friends in approximately 2009. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Grisi

did not know that Facebook allowed advertisers to target her directly, using information such as

her email address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff

Grisi did not know that there were separate Privacy Settings to limit the information obtained by

Apps used by her Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Grisi did not

know that there were separate Privacy Settings to disable advertisements targeting her on the

basis of data from third parties such as data brokers.

       107.    Plaintiff Grisi shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Grisi expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding relationships,

work, and family that she wanted to remain private and non-public. Plaintiff Grisi also shared

private content and information with Friends through Facebook Messenger and/or Facebook

Chat. This information included personal perspectives regarding relationships, work, and family

that she wanted to remain private and non-public.

       108.    Plaintiff Grisi believed that when she shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through her Privacy Settings, she was preventing third parties from accessing

her content and information. Plaintiff Grisi was not aware of and did not understand that, when

she shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by her Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Grisi was not aware of and


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did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of her content and information to Apps used by her Facebook Friends. Plaintiff Grisi

was not aware of and did not understand that she could not control, with any settings made

available by Facebook, the disclosure of her content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Grisi was not aware of and did not

understand that Facebook would allow third parties to obtain her content and information and use

it to construct a psychographic profile of her for the purpose of attempting to manipulate her

voting decisions or other decisions. Plaintiff Grisi similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of her (as distinct from the individualized profile that she

created for her Facebook account).

       109.    If Plaintiff Grisi had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If,

after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile Privacy Settings, limited sharing with Apps used by her Friends, and would

have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       110.    Plaintiff Grisi confirmed on Facebook that her content and information “was

likely shared with” the This Is Your Digital Life App, because one of Plaintiff Grisi’s Facebook

Friends downloaded the This Is Your Digital Life App. Plaintiff Grisi was not aware of and did

not consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Grisi did not consent to any third-parties accessing her content and


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information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       111.    As a result of the release of her content and information, Plaintiff Grisi has

experienced an increase in phone solicitations and hacking attempts to her email. Additionally,

as a result of the release of her content and information, Plaintiff Grisi has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Grisi’s private affairs and concerns, as detailed herein. Plaintiff

Grisi fears that she is at risk of identity theft and fraud, and now spends approximately seven

hours each month monitoring her credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future. Because of

her heightened risk of identity theft and fraud, Plaintiff Grisi enrolled in the credit monitoring

service offered by her credit card company.

       112.    Plaintiff Suzie Haslinger is a citizen and resident of the State of Virginia.

Plaintiff Haslinger created her Facebook account in 2009 via a laptop and maintains her

Facebook account to the present day. Plaintiff Haslinger has accessed her Facebook account

from a laptop and mobile devices. Plaintiff Haslinger also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Haslinger has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages

on Facebook that contain videos, and “shared” pages on Facebook that contain videos. These

videos were hosted on Facebook’s video streaming services, and included videos that were not

posted by Plaintiff Haslinger or her Friends, videos that were selected and published by




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Facebook to Plaintiff Haslinger’s News Feed, and videos that were posted, shared, or liked to a

non-public audience such as Friends.

        113.    Plaintiff Haslinger does not recall specific details regarding the account

registration process. Plaintiff Haslinger does not recall being prompted to read or reading the

Terms of Service or the Data Policy during the registration process. She does not recall seeing

updates to the Terms of Service or the Data Policy since registering for her account. She did not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

        114.    On information and belief, Plaintiff Haslinger’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Haslinger later changed those settings to Friends in approximately

2010. On information and belief, Plaintiff Haslinger’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Haslinger later changed those settings to Friends in approximately

2010. On information and belief, Plaintiff Haslinger’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Haslinger later changed those settings to Friends in approximately 2013. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Armstrong did not know that there were separate Privacy

Settings to limit the information obtained by Apps used by her Friends. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Haslinger did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook User

ID. On information and belief, Plaintiff Haslinger disabled advertisements targeting her on the

basis of data from third parties such as data brokers.




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       115.    Plaintiff Haslinger shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Haslinger expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff

Haslinger also shared private content and information with Friends through Facebook Messenger

and/or Facebook Chat. This information included personal family photographs, personal family

videos, as well as personal perspectives regarding politics, religion, relationships, work, and

family that she wanted to remain private and non-public.

       116.    Plaintiff Haslinger believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Haslinger was not aware of and did not

understand that, when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Haslinger was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Haslinger was not aware of and did not understand that she could not

control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Haslinger was not aware of and did not understand that Facebook would allow third parties to


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obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Haslinger

similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

       117.    If Plaintiff Haslinger had learned what she knows now about Facebook’s data

sharing policies after signing up for Facebook, she would have immediately restricted her profile

Privacy Settings, limited sharing with Apps used by Friends.

       118.    On information and belief, Plaintiff Haslinger asserts her content and information

was disclosed without her consent to the This Is Your Digital Life App or other third-party apps

Facebook is investigating for misusing users’ content and information. Plaintiff Haslinger was

not aware of and did not consent to the sharing of her content and information with the This Is

Your Digital Life App or other third parties. Moreover, Plaintiff Haslinger did not consent to any

third-parties accessing her content and information through her Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       119.    As a result of the release of her content and information, Plaintiff Haslinger has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Haslinger’s private affairs and concerns, as

detailed herein. Plaintiff Haslinger fears that she is at risk of identity theft and fraud, and now

spends approximately twelve hours each month monitoring her credit, bank, and other account


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statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       120.    Plaintiff Tabielle Holsinger is a citizen and resident of the State of Idaho.

Plaintiff Holsinger created her Facebook account in 2009 via a personal computer and maintains

her Facebook account to the present day. Plaintiff Holsinger has accessed her Facebook account

from a computer and a mobile phone. She also uses Facebook Messenger and/or Facebook Chat.

On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Holsinger has

obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain

videos.” These videos were delivered by Facebook, and included videos that were not posted by

Plaintiff Holsinger or her Friends, videos that were selected and delivered by Facebook to

Plaintiff Holsinger’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends. Plaintiff Holsinger has enabled location access while using Facebook,

Facebook Messenger, and/or Facebook Chat.

       121.    Plaintiff Holsinger does not recall specific details regarding the account

registration process. Plaintiff Holsinger does not recall being prompted to read or reading the

Terms of Service or the Data Policy during the registration process. She does not recall seeing

updates to the Terms of Service or the Data Policy since registering for her account. Plaintiff

Holsinger does not subscribe to, has never visited, and is not aware of the Facebook Site

Governance page.

       122.    On information and belief, Plaintiff Holsinger’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. On information and belief, Plaintiff Holsinger’s Privacy Settings for posts,


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including status updates, photos, and videos, were set to the default setting of Friends of Friends

when she created her account. Plaintiff Holsinger later changed those settings to Friends in

approximately 2010 or 2011. On information and belief, Plaintiff Holsinger’s Privacy Settings

for Likes, including page likes, interests, and favorites, were set to the default setting of Friends

of Friends at first. Plaintiff Holsinger later changed those settings to Friends in approximately

2018. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Holsinger did not know that

Facebook allowed advertisers to target her directly, using information such as her email address

or Facebook User ID. Until 2019, post-Cambridge Analytica Scandal, Plaintiff Holsinger did not

know that there were separate Privacy Settings to disable advertisements targeting her on the

basis of data from third parties such as data brokers. Until 2019, post-Cambridge Analytica

Scandal, Plaintiff Holsinger did not know that there were separate Privacy Settings to limit the

information obtained by Apps used by her Friends.

       123.    Plaintiff Holsinger shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Holsinger expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal photographs

and videos of family and friends, as well as personal perspectives regarding politics, religion,

relationships, work, family, and highly personal messages and photos that she wanted to remain

private and non-public. Plaintiff Holsinger also shared private content and information with

Friends through Facebook Messenger or Facebook Chat. This information included personal

photographs and videos of family and friends, as well as personal perspectives regarding politics,

religion, relationships, work, family, and highly personal messages and photos that she wanted to

remain private and non-public.


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       124.    Plaintiff Holsinger believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Holsinger was not aware of and did not

understand that when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Holsinger was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Holsinger was not aware of and did not understand that she could not

control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Holsinger was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Holsinger

similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

       125.    If, after signing up for Facebook, she learned what she knows now, she would

have immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and




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reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       126.    Plaintiff Holsinger confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Holsinger’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Holsinger did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Holsinger did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       127.    During the 2016 U.S. Presidential election, Plaintiff Holsinger frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Holsinger

was targeted by some or all of these advertisements as a result of the Cambridge Analytica

Scandal. As a result of the release of her content and information, Plaintiff Holsinger has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Holsinger’s private affairs and concerns, as

detailed herein. Plaintiff Holsinger fears that she is at risk of identity theft and fraud, and now

spends approximately four hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       128.    Plaintiff Taunna Lee Johnson is a citizen and resident of the State of

Washington. Plaintiff Johnson created her Facebook account in 2009 via a personal computer

and maintains her Facebook account to the present day. Plaintiff Johnson has accessed her


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Facebook account from a mobile phone, a tablet, a laptop, and a personal computer. Plaintiff

Johnson also uses Facebook Messenger and/or Facebook Chat. On or through Facebook,

Facebook Messenger, and/or Facebook Chat, Plaintiff Johnson has watched videos, “liked”

videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and

“shared” pages on Facebook that contain videos. These videos were hosted on Facebook’s video

streaming services, and included videos that were not posted by Plaintiff Johnson or her Friends,

videos that were selected and published by Facebook to Plaintiff Johnson’s News Feed, and

videos that were posted, shared, or liked to a non-public audience such as Friends. Plaintiff

Johnson has enabled location access while using Facebook, Facebook Messenger, and/or

Facebook Chat. Plaintiff Johnson has also purchased and/or sold items in the Facebook

Marketplace.

       129.    Plaintiff Johnson does not recall specific details regarding the account registration

process. She did not subscribe to, has never visited, and is not aware of the Facebook Site

Governance page.

       130.    On information and belief, Plaintiff Johnson set her Privacy Settings for personal

information, including birthday, to Friends when she created her account. On information and

belief, Plaintiff Johnson set her Privacy Settings for posts, including status updates, photos, and

videos, to Friends when she created her account. On information and belief, Plaintiff Johnson’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default

setting of Friends of Friends at first. Plaintiff Johnson later changed those settings to Friends in

approximately 2012. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Johnson did not

know that Facebook allowed advertisers to target her directly, using information such as her

email address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff


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Johnson did not know that there were separate Privacy Settings to limit the information obtained

by Apps used by her Friends.

       131.    Plaintiff Johnson shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Johnson expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff

Johnson also shared private content and information with Friends through Facebook Messenger

and/or Facebook Chat. This information included personal family photographs, as well as

personal perspectives regarding politics, relationships, work, and family that she wanted to

remain private and non-public.

       132.    Plaintiff Johnson believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Johnson was not aware of and did not understand

that, when she shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Johnson

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Johnson was not aware of and did not understand that she could not control,

with any settings made available by Facebook, the disclosure of her content and information with


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Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Johnson was not

aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of

attempting to manipulate her voting decisions or other decisions. Plaintiff Johnson similarly was

not aware of and did not understand that Facebook would allow third parties to access her

content and information and combine it with personally identifiable information from other

sources, including sources outside of Facebook, to create a unique profile of her (as distinct from

the individualized profile that she created for her Facebook account).

       133.    If Plaintiff Johnson had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at

all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       134.    Plaintiff Johnson confirmed on Facebook that her content and information may

have been “shared” with and “may have been misused” by the This Is Your Digital Life App,

because one of Plaintiff Johnson’s Facebook Friends downloaded the This Is Your Digital Life

App. Plaintiff Johnson was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life App. Moreover, Plaintiff Johnson did not consent

to any third-parties accessing her content and information through her Facebook Friends and had

no knowledge that Facebook had authorized this disclosure of her content and information

without her consent.


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       135.    As a result of the release of her content and information, Plaintiff Johnson has

experienced an increase in phone solicitations, text spamming, and phishing attempts.

Additionally, as a result of the release of her content and information, Plaintiff Johnson has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Johnson’s private affairs and concerns, as

detailed herein. Plaintiff Johnson fears that she is at risk of identity theft and fraud, and now

spends approximately thirty minutes each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future. Because of her heightened risk of identity theft and fraud, Plaintiff Johnson

enrolled in credit monitoring services.

       136.    Plaintiff Olivia Johnston is a citizen and resident of the State of California.

Plaintiff Johnston created her Facebook accounts in 2009 and 2013 via a computer and maintains

her Facebook accounts to the present day. Plaintiff Johnston has also used Facebook Messenger

and/or Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Johnston has obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted”

videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that

contain videos.” These videos were delivered by Facebook, and included videos that were not

posted by Plaintiff Johnston or her Friends, videos that were selected and delivered by Facebook

to Plaintiff Johnston’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends.

       137.    Plaintiff Johnston does not recall specific details regarding the account

registration processes. Plaintiff Johnston does not recall being prompted to read or reading the


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Terms of Service or the Data Policy during the registration processes. She does not recall seeing

updates to the Terms of Service or the Data Policy since registering for her account. Plaintiff

Johnston did not subscribe to, had never visited, and was not aware of the Facebook Site

Governance page.

       138.    On information and belief, Plaintiff Johnston’s Privacy Settings for personal

information were set to Friends when she created her account. On information and belief,

Plaintiff Johnston’s Privacy Settings for posts, including status updates, photos, and videos, were

set to the default setting of Friends of Friends when she created her account. On information and

belief, Plaintiff Johnston’s Privacy Settings for Likes, including page likes, interests, and

favorites, were set to the default setting of Friends of Friends at first. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Johnston did not know that Facebook allowed advertisers to target

her directly, using information such as her Facebook User ID. Until 2019, post-Cambridge

Analytica Scandal, Plaintiff Johnston did not know that there were separate Privacy Settings to

limit the information obtained by Apps used by her Friends.

       139.    Plaintiff Johnston shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends on Facebook.

Plaintiff Johnston expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to

remain private and non-public. Plaintiff Johnston also shared private content and information

with Friends through Facebook Messenger and/or Facebook Chat. This information included

personal family photographs, personal family videos, and personal perspectives regarding




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politics, religion, relationships, work, and family that she wanted to remain private and non-

public.

          140.   Plaintiff Johnston believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Johnston was not aware of and did not

understand that when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Johnston was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Johnston was not aware of and did not understand that she could not

control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Johnston was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Johnston

similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

          141.   If Plaintiff Johnston had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at


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all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings and limited sharing with Apps used by her

Friends. She also would have altered and reduced her Facebook usage, including being more

circumspect regarding sharing personal information.

       142.    Plaintiff Johnston confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Johnston’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Johnston did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Johnston did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       143.    As a result of the release of her content and information, Plaintiff Johnston has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Johnston’s private affairs and concerns, as

detailed herein.

       144.    Plaintiff Tyler King is a citizen and resident of the State of Florida. Plaintiff

King created her Facebook account in 2008 via a personal computer and deleted her Facebook

account in approximately 2018, after the Cambridge Analytica Scandal became public. Plaintiff

King has accessed her Facebook account from a personal computer, a tablet, and a mobile phone.

Plaintiff King also used Facebook Messenger and/or Facebook Chat. On or through Facebook,

Facebook Messenger, and/or Facebook Chat, Plaintiff King has watched videos, “liked” videos,

“shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared”


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pages on Facebook that contain videos. These videos were hosted on Facebook’s video

streaming services, and included videos that were not posted by Plaintiff King or her Friends,

videos that were selected and published by Facebook to Plaintiff King’s News Feed, and videos

that were posted, shared, or liked to a non-public audience such as Friends.

        145.    Plaintiff King recalls that during the account registration process she had to enter

her first name, last name, birthday, and email address. Plaintiff King does not recall being

prompted to read or reading the Terms of Service or the Data Policy during the registration

process. She does not recall seeing updates to the Terms of Service or the Data Policy since

registering for her account. She did not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.

        146.    On information and belief, Plaintiff King’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff King later changed those settings to Friends in approximately 2010.

On information and belief, Plaintiff King’s Privacy Settings for posts, including status updates,

photos, and videos, were set to the default setting of Friends of Friends when she created her

account. Plaintiff King later changed those settings to Friends in approximately 2010. On

information and belief, Plaintiff King’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff King later

changed those settings to Friends in approximately 2014. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff King did not know that Facebook allowed advertisers to target her directly,

using information such as her email address or Facebook User ID. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff King did not know that there were separate Privacy Settings to limit




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the information obtained by Apps used by her Friends. On information and belief, Plaintiff King

disabled advertisements targeting her on the basis of data from third parties such as data brokers.

       147.    Plaintiff King shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

King expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff King

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, personal family videos,

as well as personal perspectives regarding politics, religion, relationships, work, and family that

she wanted to remain private and non-public.

       148.    Plaintiff King believed that when she shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through her Privacy Settings, she was preventing third parties from accessing

her content and information. Plaintiff King was not aware of and did not understand that, when

she shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by her Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff King was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of her content and information to Apps used by her Facebook Friends. Plaintiff King

was not aware of and did not understand that she could not control, with any settings made

available by Facebook, the disclosure of her content and information with Business Partners such


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as Apple, Amazon, and Samsung. Further, Plaintiff King was not aware of and did not

understand that Facebook would allow third parties to obtain her content and information and use

it to construct a psychographic profile of her for the purpose of attempting to manipulate her

voting decisions or other decisions. Plaintiff King similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of her (as distinct from the individualized profile that she

created for her Facebook account).

       149.    If Plaintiff King had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If,

after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile Privacy Settings, limited sharing with Apps used by Friends, and would

have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       150.    Plaintiff King confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

King’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff King did not

consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff King did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       151.    During the 2016 U.S. Presidential election, Plaintiff King frequently received

political advertisements while using Facebook. On information and belief, Plaintiff King was


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targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff King has experienced an

increase in phone solicitations, phishing attempts, and compromised credit accounts.

Additionally, as a result of the release of her content and information, Plaintiff King has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing

and using her content and information for improper purposes, such as identity theft and fraud as

well as further intruding upon Plaintiff King’s private affairs and concerns, as detailed herein.

Plaintiff King fears that she is at risk of identity theft and fraud, and now spends approximately

four hours each month monitoring her credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future. Plaintiff

King has access to credit monitoring and identity theft protection services, and because of her

heightened risk of identity theft and fraud, anticipates continuing to monitor such services for the

foreseeable future.

       152.    Plaintiff Ashley Kmieciak is a citizen and resident of the State of Wisconsin.

Plaintiff Kmieciak created her Facebook account in 2013 via a laptop and maintains her

Facebook account to the present day. Plaintiff Kmieciak has accessed her Facebook account

from a mobile phone, a tablet, a laptop, and a personal computer. Plaintiff Kmieciak also uses

Facebook Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger,

and/or Facebook Chat, Plaintiff Kmieciak has watched videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on

Facebook that contain videos. These videos were hosted on Facebook’s video streaming services,

and included videos that were not posted by Plaintiff Kmeiciak or her Friends, videos that were

selected and published by Facebook to Plaintiff Kmieciak’s News Feed, and videos that were


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posted, shared, or liked to a non-public audience such as Friends. Plaintiff Kmieciak has enabled

location access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff

Kmieciak has also purchased items in the Facebook Marketplace.

       153.    Plaintiff Kmieciak recalls that during account registration process she entered her

name, birthday, an email address, and a password. Plaintiff Kmieciak does not recall being

prompted to read or reading the Terms of Service or the Data Policy during the registration

process. Plaintiff Kmieciak does not recall seeing updates to the Terms of Service or the Data

Policy since registering for her account. She did not subscribe to, has never visited, and is not

aware of the Facebook Site Governance page.

       154.    On information and belief, Plaintiff Kmieciak’s Privacy Settings for personal

information, including birthday, were set to Friends when she created her account. Plaintiff

Kmieciak does not recall changing her settings during the Class Period. On information and

belief, Plaintiff Kmieciak’s Privacy Settings for posts, including status updates, photos, and

videos, were set to Friends when she created her account. Plaintiff Kmieciak later changed those

settings to Public and then back to Friends periodically during the Class Period. On information

and belief, Plaintiff Kmieciak’s Privacy Settings for Likes, including page likes, interests, and

favorites, were set to the default setting of Public when she created her account. Plaintiff

Kmieciak does not recall changing the Privacy Settings for Likes during the Class Period. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Kmieciak did not know that Facebook

allowed advertisers to target her directly, using information such as her email address or

Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Kmieciak did not

know that there were separate Privacy Settings to limit the information obtained by Apps used by

her Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Kmieciak did not know


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that there were separate Privacy Settings to disable advertisements targeting her on the basis of

data from third parties such as data brokers.

       155.    Plaintiff Kmieciak shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Kmieciak expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff

Kmieciak also shared private content and information with Friends through Facebook Messenger

and/or Facebook Chat. This information included personal family photographs, personal family

videos, as well as personal perspectives regarding politics, religion, relationships, work, and

family that she wanted to remain private and non-public.

       156.    Plaintiff Kmieciak believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Kmieciak was not aware of and did not

understand that, when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Kmieciak was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Kmieciak was not aware of and did not understand that she could not

control, with any settings made available by Facebook, the disclosure of her content and


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information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Kmieciak was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Kmieciak

similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

       157.    If, after signing up for Facebook, Plaintiff Kmieciak learned what she knows now,

she would have immediately restricted her profile Privacy Settings, limited sharing with Apps

used by her Friends, and would have disabled Platform Apps entirely. She also would have

altered and reduced her Facebook usage, including being more circumspect regarding sharing

personal information.

       158.    Plaintiff Kmieciak confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Kmieciak’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Kmieciak did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Kmieciak did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       159.    During the 2016 U.S. Presidential election, Plaintiff Kmieciak frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Kmieciak

was targeted by some or all of these advertisements as a result of the Cambridge Analytica


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Scandal. As a result of the release of her content and information, Plaintiff Kmieciak has

experienced an increase in phone solicitations. Additionally, as a result of the release of her

content and information, Plaintiff Kmieciak has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information

for improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff

Kmieciak’s private affairs and concerns, as detailed herein. Plaintiff Kmieciak fears that she is at

risk of identity theft and fraud, and now spends approximately two hours each month monitoring

her credit, bank, and other account statements for evidence of identity theft and fraud, and

anticipates continuing to do so for the foreseeable future.

       160.    Plaintiff William Lloyd is a citizen and resident of the State of New York.

Plaintiff Lloyd created his Facebook account in approximately 2014 via a mobile phone and

maintains his Facebook account to the present day. Plaintiff Lloyd has accessed his Facebook

account from a mobile phone and personal computer. Plaintiff Lloyd also uses Facebook

Messenger and/or Facebook Chat. He initially created a Facebook account to promote a book he

was writing. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Lloyd has obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted”

videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that

contain videos.” These videos were delivered by Facebook, and included videos that were not

posted by Plaintiff Lloyd or her Friends, videos that were selected and delivered by Facebook to

Plaintiff Lloyd’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends. Plaintiff Lloyd has enabled location access while using Facebook,

Facebook Messenger, and/or Facebook Chat. Plaintiff Lloyd has also purchased and attempted to

sell items through Facebook Marketplace.


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       161.    Plaintiff Lloyd does not recall specific details regarding the account registration

process. Plaintiff Lloyd does not recall being prompted to read or reading the Terms of Service

and the Data Policy during the registration process. He does not recall seeing updates to the

Terms of Service and the Data Policy since registering for his account. Plaintiff Lloyd does not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       162.    On information and belief, Plaintiff Lloyd’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when he created his

account, though he made certain information, such as his college, was set to Only Me. Plaintiff

Lloyd later changed the settings for personal information to Friends in approximately 2015. On

information and belief, Plaintiff Lloyd’s Privacy Settings for posts, including status updates,

were set to the default setting of Friends when he created his account. Plaintiff Lloyd later

changed the settings for anything defaulted to Friends of Friends or Everyone to Friends, in

approximately 2015. On information and belief, Plaintiff Lloyd’s Privacy Settings for Likes,

including page likes, interests, and favorites, were set to the default setting of Friends of Friends

at first. Plaintiff Lloyd later changed those settings to Friends in approximately 2016. He

believed that Facebook was limiting the sharing of that information in accordance with his

settings. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Lloyd did not know that there

were separate Privacy Settings to disable advertisements targeting him on the basis of data from

third parties such as data brokers. Plaintiff Lloyd later became aware of those settings and

disabled advertisements targeted on the basis of data from third parties. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Lloyd did not know that there were separate Privacy

Settings to limit the information that Apps used by Friends could obtain. Plaintiff Lloyd later

became aware of those settings and changed those settings to disable Apps.


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       163.    Plaintiff Lloyd shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. He

shared this information on his own page, on Friends’ pages, and in private groups. Plaintiff

Lloyd expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal photographs

and videos of friends and family, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. Plaintiff Lloyd

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal photographs and videos of friends and

family, as well as personal perspectives regarding politics, religion, relationships, work, and

family that he wanted to remain private and non-public.

       164.    Plaintiff Lloyd believed that when he shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Lloyd was not aware of and did not understand that when

he shared content and information with non-public audiences such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Lloyd was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of his content and information to Apps used by his Facebook Friends. Plaintiff Lloyd

was not aware of and did not understand that he could not control, with any settings made

available by Facebook, the disclosure of his content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Lloyd was not aware of and did not


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understand that Facebook would allow third parties to obtain his content and information and use

it to construct a psychographic profile of him for the purpose of attempting to manipulate his

voting decisions or other decisions. Plaintiff Lloyd similarly was not aware of and did not

understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of him (as distinct from the individualized profile that he

created for his Facebook account).

       165.    If Plaintiff Lloyd had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he would not have signed up for Facebook at all. If,

after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile Privacy Settings, limited sharing with Apps used by his Friends, and would

have disabled Platform Apps entirely. He also would have altered and reduced his Facebook

usage, including being more circumspect regarding sharing personal information. Plaintiff Lloyd

relied on Facebook’s promises that “privacy mattered” to the company.

       166.    Plaintiff Lloyd confirmed on Facebook that his content and information “was

likely shared with” and may have been “misused” by the This Is Your Digital Life App, because

one of Plaintiff Lloyd’s Facebook Friends downloaded the This Is Your Digital Life App.

Plaintiff Lloyd was not aware of and did not consent to the sharing of his content and

information with the This Is Your Digital Life App. Moreover, Plaintiff Lloyd did not consent to

any third-parties accessing his content and information through his Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.




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       167.    During the 2016 U.S. Presidential election, Plaintiff Lloyd frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Lloyd was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Lloyd has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Lloyd’s private affairs and concerns, as detailed herein. Plaintiff Lloyd

fears that he is at risk of identity theft and fraud, and now spends approximately two hours each

month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       168.    Plaintiff Gretchen Maxwell is a citizen and resident of the State of Texas.

Plaintiff Maxwell created her Facebook account in 2009 via a personal computer and deactivated

her account most recently in 2018. Plaintiff Maxwell has accessed her Facebook account from a

mobile phone, a tablet, and a personal computer. Plaintiff Maxwell also uses Facebook

Messenger through Facebook. On or through Facebook, Facebook Messenger, and/or Facebook

Chat, Plaintiff Maxwell has watched videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain

videos. These videos were hosted on Facebook’s video streaming services, and included videos

that were not posted by Plaintiff Maxwell or her Friends, videos that were selected and published

by Facebook to Plaintiff Maxwell’s News Feed, and videos that were posted, shared, or liked to a

non-public audience such as Friends. Plaintiff Maxwell has also purchased items in the Facebook

Marketplace.




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       169.    Plaintiff Maxwell does not recall specific details regarding the account

registration process. Plaintiff Maxwell does not recall being prompted to read or reading the

Terms of Service or the Data Policy during the registration process. She does not recall seeing

updates to the Terms of Service or the Data Policy since registering for her account. She did not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       170.    On information and belief, Plaintiff Maxwell’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Maxwell later changed those settings to Friends in approximately

2015. On information and belief, Plaintiff Maxwell’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Maxwell later changed those settings to Friends in approximately

2015. On information and belief, Plaintiff Maxwell’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Public when she created her

account. Plaintiff Maxwell does not recall changing her Privacy Settings for Likes during the

Class Period. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Maxwell did not know

that Facebook allowed advertisers to target her directly, using information such as her email

address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Maxwell

did not know that there were separate Privacy Settings to limit the information obtained by Apps

used by her Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Maxwell did not

know that there were separate Privacy Settings to disable advertisements targeting her on the

basis of data from third parties such as data brokers.

       171.    Plaintiff Maxwell shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on. Plaintiff Maxwell


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expected Facebook to protect and secure that private content and information against access by

or disclosure to unauthorized parties. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff

Maxwell also shared private content and information with Friends through Facebook Messenger.

This information included personal family photographs, personal family videos, as well as

personal perspectives regarding politics, religion, relationships, work, and family that she wanted

to remain private and non-public.

       172.    Plaintiff Maxwell believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Maxwell was not aware of and did not

understand that, when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Maxwell was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Maxwell was not aware of and did not understand that she could not

control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Maxwell was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Maxwell


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similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

       173.    If Plaintiff Maxwell had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at

all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       174.    Plaintiff Maxwell confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Maxwell’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Maxwell did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Maxwell did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       175.    As a result of the release of her content and information, Plaintiff Maxwell has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Maxwell’s private affairs and concerns, as

detailed herein.


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       176.    Plaintiff Scott McDonnell is a citizen and resident of the State of Connecticut.

Plaintiff McDonnell created his Facebook account in 2009 via a computer and maintains his

Facebook account to the present day. Plaintiff McDonnell has accessed his Facebook account

from a computer and mobile phone. Plaintiff McDonnell also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

McDonnell has obtained and viewed non-public videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on

Facebook that contain videos.” These videos were delivered by Facebook, and included videos

that were not posted by Plaintiff McDonnell or his Friends, videos that were selected and

delivered by Facebook to Plaintiff McDonnell’s News Feed, and videos that were posted, shared,

or liked to a non-public audience such as Friends.

       177.    Plaintiff McDonnell recalls that during the account registration process, he had to

verify his identity through an email from Facebook. Plaintiff McDonnell does not recall being

prompted to read or reading the Terms of Service and the Data Policy during the registration

process. He does not recall seeing updates to the Terms of Service and the Data Policy since

registering for his account. Plaintiff McDonnell does not subscribe to, has never visited, and was

not aware of the Facebook Site Governance page until February 2019.

       178.    On information and belief, Plaintiff McDonnell’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. Plaintiff McDonnell later changed those settings to Friends. On information

and belief, Plaintiff McDonnell’s Privacy Settings for posts, including status updates, photos, and

videos, were set to the default setting of Friends of Friends when he created his account. Plaintiff

McDonnell later changed those settings to Friends. On information and belief, Plaintiff


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McDonnell’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to

the default setting of Friends of Friends at first. Until 2019, Plaintiff McDonnell was not aware

that he could change the privacy settings for Likes. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff McDonnell did not know that there were separate Privacy Settings to limit the

information obtained by Apps used by his Friends. On information and belief, Plaintiff

McDonnell disabled advertisements targeted on the basis of data from third parties such as data

brokers. Until 2018, post-Cambridge Analytica Scandal, Plaintiff McDonnell did not know that

Facebook allowed advertisers to target him directly, using information such as his email address

or Facebook User ID. On information and belief, Plaintiff McDonnell disabled advertisements

targeted on the basis of data from third parties such as data brokers.

       179.    Plaintiff McDonnell shared private content and information, including personal

information, posts, and Likes, with a non-public audience, including Friends and Friends of

Friends, on Facebook, in private Facebook groups, and through Facebook Messenger and/or

Facebook Chat. Plaintiff McDonnell expected Facebook to protect and secure that private

content and information against access by or disclosure to unauthorized parties. This information

included personal photographs and videos of family and friends, as well as personal perspectives

regarding interpersonal relationships and family that he wanted to remain private and non-public.

Plaintiff McDonnell also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal photographs videos of

family and friends, and personal perspectives regarding politics, religion, relationships, work,

and family that he wanted to remain private and non-public.

       180.    Plaintiff McDonnell believed that when he shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience


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at the time of posting or through his Privacy Settings, he was preventing third parties from

accessing his content and information. Plaintiff McDonnell was not aware of and did not

understand that when he shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by his Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

McDonnell was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of his content and information to Apps used by his

Facebook Friends. Plaintiff McDonnell was not aware of and did not understand that he could

not control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

McDonnell was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him for the

purpose of attempting to manipulate his voting decisions or other decisions. He finds this

frightening and a breach of his trust. Plaintiff McDonnell similarly was not aware of and did not

understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside

of Facebook, to create a unique profile of him (as distinct from the individualized profile that he

created for his Facebook account).

       181.    If Plaintiff McDonnell had learned what he knows now about Facebook’s data

sharing practices, he would not have signed up for Facebook at all. If, after signing up for

Facebook, he learned what he knows now, he would have immediately restricted his profile

Privacy Settings, limited sharing with Apps used by his Friends, and would have disabled

Platform Apps entirely. He also would have altered and reduced his Facebook usage, including


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being more circumspect regarding sharing personal information. He only maintains his Facebook

account now because his job requires it.

       182.    In approximately April 2018, Plaintiff McDonnell received notice from Facebook

that his Personal Information may have been “shared” with and “misused” by the This Is Your

Digital Life App, because one of Plaintiff McDonnell’s Facebook Friends downloaded the This

Is Your Digital Life App. Plaintiff McDonnell was not aware of and did not consent to the

sharing of his content and information with the This Is Your Digital Life App. Moreover,

Plaintiff McDonnell did not consent to any third-parties accessing his content and information

through his Facebook Friends and had no knowledge that Facebook had authorized this

disclosure of his content and information without his consent.

       183.    During the 2016 U.S. Presidential election, Plaintiff McDonnell frequently

received political advertisements while using Facebook. On information and belief, Plaintiff

McDonnell was targeted by some or all of these advertisements as a result of the Cambridge

Analytica Scandal. As a result of the release of his content and information, Plaintiff McDonnell

has suffered emotional distress, including anxiety, concern, and unease about unauthorized

parties viewing and using his content and information for improper purposes, such as identity

theft and fraud as well as further intruding upon Plaintiff McDonnell’s private affairs and

concerns, as detailed herein. Plaintiff McDonnell fears that he is at risk of identity theft and

fraud, and now spends approximately two hours each month monitoring his credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do

so for the foreseeable future. Because of his heightened risk of identity theft and fraud, Plaintiff

McDonnell has purchased credit monitoring and identity theft protection services, for which he




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pays approximately $40 per month, and anticipates continuing to pay for such services for the

foreseeable future.

        184.    Plaintiff Ian Miller is a citizen and resident of the State of Oklahoma. Plaintiff

Miller created his Facebook account approximately twelve years ago. Plaintiff Miller maintains

his Facebook account to the present day. Plaintiff Miller has accessed his Facebook account from

a mobile phone and a personal computer. Plaintiff Miller has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Miller also uses

Facebook Messenger and/or Facebook Chat. Plaintiff Miller shared content and information with

Facebook, which he expected Facebook to protect and secure against access by or disclosure to

unauthorized parties.

        185.    In approximately April 2018, Plaintiff Miller learned that millions of Facebook

users’ content and information may have been obtained by the This Is Your Digital Life App,

because Plaintiff Miller downloaded the This Is Your Digital Life App. Plaintiff Miller was not

aware of and did not consent to the potential sharing of his content and information with the This

Is Your Digital Life App. Moreover, Plaintiff Miller did not consent to any third-parties

accessing his content and information through his Facebook Friends and had no knowledge that

Facebook had authorized this disclosure of his content and information without his consent.

        186.    As a result of this concern for the security of his content and information, Plaintiff

Miller has suffered emotional distress, including anxiety, concern, and unease about

unauthorized parties viewing and using his content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Miller’s private affairs and

concerns, as detailed herein. Plaintiff Miller fears that he is at risk of identity theft and fraud, and

now spends approximately five hours each month monitoring his credit, bank, and other account


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statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       187.    Plaintiff Jordan O’Hara is a citizen and resident of the State of California.

Plaintiff O’Hara created his Facebook account in 2007 via a personal computer. Plaintiff O’Hara

has accessed his Facebook account from a mobile phone and a personal computer. Plaintiff

O’Hara also uses Facebook Messenger and/or Facebook Chat. On or through Facebook,

Facebook Messenger, and/or Facebook Chat, Plaintiff O’Hara has obtained and viewed non-

public videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that

contain videos, and “shared” pages on Facebook that contain videos.” These videos were

delivered by Facebook, and included videos that were not posted by Plaintiff O’Hara or his

Friends, videos that were selected and delivered by Facebook to Plaintiff O’Hara’s News Feed,

and videos that were posted, shared, or liked to a non-public audience such as Friends.

       188.    Plaintiff O’Hara does not recall specific details regarding the account registration

process. Plaintiff O’Hara does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. He does not recall seeing updates to the Terms

of Service or the Data Policy since registering for his account. Plaintiff O’Hara does not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       189.    On information and belief, Plaintiff O’Hara’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. Plaintiff O’Hara later changed these settings to Friends. On information and

belief, Plaintiff O’Hara’s Privacy Settings for posts, including status updates, photos, and videos,

were set to the default setting of Friends of Friends when he created his account. Plaintiff O’Hara

later changed these settings to Friends. On information and belief, Plaintiff O’Hara’s Privacy


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Settings for Likes, including page likes, interests, and favorites, were set to the default setting of

Friends of Friends at first. Plaintiff O’Hara later changed these settings to Friends. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff O’Hara did not know that Facebook allowed

advertisers to target him directly, using information such as his email address or Facebook User

ID. On information and belief, Plaintiff O’Hara disabled advertisements targeted on the basis of

data from third parties such as data brokers. Until 2019, post-Cambridge Analytica Scandal,

Plaintiff O’Hara did not know that there were separate Privacy Settings to limit the information

that Apps used by Friends could obtain. Plaintiff O’Hara later became aware of those settings

and changed those settings to Friends in approximately 2019.

       190.    Plaintiff O’Hara shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends on Facebook.

Plaintiff O’Hara expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal

photographs, personal videos, and personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. Plaintiff O’Hara

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal photographs, personal videos, and personal

perspectives regarding politics, religion, relationships, work, and family that he wanted to remain

private and non-public.

       191.    Plaintiff O’Hara believed that when he shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through his Privacy Settings, he was preventing third parties from

accessing his content and information. Until 2018, Plaintiff O’Hara was not aware of and did not


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understand that when he shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by his Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

O’Hara was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of his content and information to Apps used by his

Facebook Friends. Plaintiff O’Hara was not aware of and did not understand that he could not

control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

O’Hara was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him to

attempt to manipulate his voting decisions or other decisions. Until 2018, Plaintiff O’Hara

similarly was not aware of and did not understand that Facebook would allow third parties to

access his content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of him (as

distinct from the individualized profile that he created for his Facebook account).

       192.    Plaintiff O’Hara confirmed on Facebook that his content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff O’Hara’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

O’Hara was not aware of and did not consent to the sharing of his content and information with

the This Is Your Digital Life App. Moreover, Plaintiff O’Hara did not consent to any third-

parties accessing his content and information through his Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.


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       193.    During the 2016 U.S. Presidential election, Plaintiff O’Hara frequently received

political advertisements while using Facebook. On information and belief, Plaintiff O’Hara was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff O’Hara has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff O’Hara’s private affairs and concerns, as detailed herein. Plaintiff

O’Hara fears that he is at risk of identity theft and fraud, and now spends approximately one to

two hours each month monitoring his credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future. Because of

his heightened risk of identity theft and fraud, Plaintiff O’Hara has obtained credit monitoring

and identity theft protection services as a result of his status as a former member of the armed

services, and anticipates continuing to use services for the foreseeable future.

       194.    Plaintiff Bridget Peters is a citizen and resident of Hampshire, England in the

United Kingdom. Plaintiff Peters created her Facebook account in approximately 2008 via a

personal laptop. Her account is currently deactivated. Plaintiff Peters has accessed her Facebook

account from a mobile phone and a personal computer. Plaintiff Peters has used Facebook

Messenger and/or Facebook Chat. Plaintiff Peters has enabled location access while using

Facebook, Facebook Messenger, and/or Facebook Chat. On or through Facebook, Facebook

Messenger, and/or Facebook Chat, Plaintiff Peters has obtained and viewed non-public videos,

“liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos,

and “shared” pages on Facebook that contain videos.” These videos were delivered by Facebook,

and included videos that were not posted by Plaintiff Peters or her Friends, videos that were


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selected and delivered by Facebook to Plaintiff Peters’ News Feed, and videos that were posted,

shared, or liked to a non-public audience such as Friends. Plaintiff Peters has enabled location

access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Peters has

contributed to at least one fundraiser via Facebook; to do so, she gave Facebook her credit card

number.

        195.    Plaintiff Peters does not recall specific details regarding the account registration

process. Plaintiff Peters does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. She does not recall seeing updates to the

Terms of Service and the Data Policy since registering for her account. Plaintiff Peters does not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

        196.    On information and belief, Plaintiff Peters’ Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Peters later changed those settings to Friends in approximately

2012 or 2013. On information and belief, Plaintiff Peters’ Privacy Settings for posts, including

status updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Peters later changed those settings to Friends in approximately

2012 or 2013. On information and belief, Plaintiff Peters’ Privacy Settings for Likes, including

page likes, interests, and favorites, were set to the default setting of Friends of Friends at first.

Plaintiff Peters later changed those settings to Friends in approximately 2012 or 2013. She

believed that Facebook was limiting the sharing of that information in accordance with his

settings. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Peters did not know that

Facebook allowed advertisers to target her directly, using information such as her email address

or Facebook User ID. Until 2018, post-Cambridge Analytica scandal, Plaintiff Peters did not


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know that there were separate Privacy Settings to limit the information obtained by Apps used by

her Friends. On information and belief, Plaintiff Peters disabled advertisements targeted on the

basis of data from third parties such as data brokers.

       197.    Plaintiff Peters shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends on Facebook.

Plaintiff Peters expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal

photographs and videos and personal perspectives regarding relationships and work that she

wanted to remain private and non-public and, which if made public, could compromise her safety

and security. Her photos and videos provided sensitive, non-public details about Plaintiff’s long-

distance horseback rides, including her location and how long she would be gone from her home;

her home could have been burglarized if that information were made available to unauthorized

third parties. Plaintiff Peters also shared private content and information with Friends through

Facebook Messenger and/or Facebook Chat. This information included personal photographs

and videos, including personal perspectives regarding relationships and work that she wanted to

remain private and non-public. Plaintiff Peters expected Facebook to protect and secure that

private content and information against access by or disclosure to unauthorized parties.

       198.    Plaintiff Peters believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Peters was not aware of and did not understand

that when she shared content and information with non-public audiences such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)


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“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Peters

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Peters was not aware of and did not understand that she could not control, with

any settings made available by Facebook, the disclosure of her content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Peters was not aware

of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Peters similarly was not aware of

and did not understand that Facebook would allow third parties to access her content and

information and combine it with personally identifiable information from other sources,

including sources outside of Facebook, to create a unique profile of her (as distinct from the

individualized profile that she created for her Facebook account).

       199.    If Plaintiff Peters had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If,

after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile Privacy Settings, limited sharing with Apps used by her Friends, and would

have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       200.    On information and belief, Plaintiff Peters asserts her content and information was

disclosed without her consent to the This Is Your Digital Life App or other third-party apps

Facebook is investigating for misusing users’ content and information. Plaintiff Peters was not

aware of and did not consent to the sharing of her content and information with the This Is Your


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Digital Life App. Moreover, Plaintiff Peters did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

          201.   As a result of the release of her content and information, Plaintiff Peters has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Peters’ private affairs and concerns, as detailed

herein. Plaintiff Peters fears that she is at risk of identity theft and fraud, and now spends

approximately one hour each month monitoring her credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable

future.

          202.   Plaintiff Kimberly Robertson is a citizen and resident of the State of Illinois.

Plaintiff Robertson created her Facebook account in 2009 via a personal computer and maintains

her Facebook account to the present day. Plaintiff Robertson has accessed her Facebook account

from a mobile phone and a personal computer. Plaintiff Robertson also uses Facebook

Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or

Facebook Chat, Plaintiff Robertson has watched videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on

Facebook that contain videos. These videos were hosted on Facebook’s video streaming services,

and included videos that were not posted by Plaintiff Robertson or her Friends, videos that were

selected and published by Facebook to Plaintiff Robertson’s News Feed, and videos that were

posted, shared, or liked to a non-public audience such as Friends. Plaintiff Robertson has

enabled location access while using Facebook, Facebook Messenger, and/or Facebook Chat.


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        203.    Plaintiff Robertson does not recall specific details regarding the account

registration process. Plaintiff Robertson does not recall being prompted to read or reading the

Terms of Service or the Data Policy during the registration process. She does not recall seeing

updates to the Terms of Service or the Data Policy since registering for her account. She did not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

        204.    On information and belief, Plaintiff Robertson’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Robertson later changed those settings to Friends in approximately

2009. On information and belief, Plaintiff Robertson’s Privacy Settings for posts, including

status updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Robertson later changed those settings to Friends in approximately

2009. On information and belief, Plaintiff Robertson’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Robertson later changed those settings to Friends in approximately 2009. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Robertson did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook User

ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Robertson did not know that there

were separate Privacy Settings to limit the information obtained by Apps used by her Friends.

Until 2018, post-Cambridge Analytica Scandal, Plaintiff Robertson did not know that there were

separate Privacy Settings to disable advertisements targeting her on the basis of data from third

parties such as data brokers.

        205.    Plaintiff Robertson shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff


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Robertson expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work and family that she wanted to remain private and non-public. Plaintiff

Robertson also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public.

       206.    Plaintiff Robertson believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Robertson was not aware of and did not

understand that, when she shared content and information with a non-public audience such as

Friends, Facebook would disclose such content and information to: (a) Apps used by her Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Robertson was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of her content and information to Apps used by her

Facebook Friends. Plaintiff Robertson was not aware of and did not understand that she could

not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Robertson was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the

purpose of attempting to manipulate her voting decisions or other decisions. Plaintiff Robertson


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similarly was not aware of and did not understand that Facebook would allow third parties to

access her content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of her (as distinct

from the individualized profile that she created for her Facebook account).

       207.    If Plaintiff Robertson had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would not have signed up for Facebook at

all. If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       208.    Plaintiff Robertson confirmed on Facebook that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life App, because one of

Plaintiff Robertson’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff

Robertson was not aware of and did not consent to the sharing of her content and information

with the This Is Your Digital Life App. Moreover, Plaintiff Robertson did not consent to any

third-parties accessing her content and information through her Facebook Friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       209.    As a result of the release of her content and information, Plaintiff Robertson has

experienced an increase in phone solicitations and has had her debit card information stolen.

Additionally, as a result of the release of her content and information, Plaintiff Robertson has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties


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viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Robertson’s private affairs and concerns, as

detailed herein. Plaintiff Robertson fears that she is at risk of identity theft and fraud, and now

spends approximately two hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       210.    Plaintiff Scott Schinder is a citizen and resident of the State of Texas. Plaintiff

Schinder created his Facebook account in 2007 via a computer and maintains his Facebook

account to the present day. Plaintiff Schinder has accessed his Facebook account from a

computer and mobile phone. Plaintiff Schinder also uses Facebook Messenger and/or Facebook

Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Schinder

has obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain

videos.” These videos were delivered by Facebook, and included videos that were not posted by

Plaintiff Schinder or his Friends, videos that were selected and delivered by Facebook to Plaintiff

Schinder’s News Feed, and videos that were posted, shared, or liked to a non-public audience

such as Friends.

       211.    Plaintiff Schinder does not recall specific details regarding the account

registration process. Plaintiff Schinder does not recall being prompted to read or reading the

Terms of Service during the registration process. He recalls seeing updates to the SRR since

registering for his account. Plaintiff Schinder recalls reading the Data Policy during the

registration process. He does not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.


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        212.    On information and belief, Plaintiff Schinder’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he

created his account. On information and belief, Plaintiff Schinder’s Privacy Settings for posts,

including status updates, photos, and videos, were set to the default setting of Friends of Friends.

On information and belief, Plaintiff Schinder’s Privacy Settings for Likes, including page likes,

interests, and favorites, were set to the default setting of Friends of Friends at first.

        213.    Until 2018, post-Cambridge Analytica Scandal, Plaintiff Schinder did not know

that Facebook allowed advertisers to target him directly, using information such as his email

address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Schinder

did not know that there were separate Privacy Settings to disable advertisements targeting him on

the basis of data from third parties such as data brokers. Plaintiff Schinder later became aware of

those settings and changed those settings to Custom. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Schinder did not know that there were separate Privacy Settings to limit the

information that Apps used by Friends could obtain. Plaintiff Schinder later became aware of

those settings and changed those settings to Custom.

        214.    Plaintiff Schinder shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends. Plaintiff

Schinder expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family and

friends photographs and personal perspectives regarding politics, religion, relationships, work,

and family that he wanted to remain private and non-public. Plaintiff Schinder also shared

private content and information with Friends through Facebook Messenger and/or Facebook

Chat. This information included personal family and friends photographs and personal


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perspectives regarding politics, religion, relationships, work, and family that he wanted to remain

private and non-public.

       215.    Plaintiff Schinder believed that when he shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through his Privacy Settings, he was preventing third parties from

accessing his content and information. Plaintiff Schinder was not aware of and did not

understand that when he shared content and information with non-public audiences such as

Friends, Facebook would disclose such content and information to: (a) Apps used by his Friends;

(b) “Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff

Schinder was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of his content and information to Apps used by his

Facebook Friends. Plaintiff Schinder was not aware of and did not understand that he could not

control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Schinder was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him for the

purpose of attempting to manipulate his voting decisions or other decisions. Plaintiff Schinder

similarly was not aware of and did not understand that Facebook would allow third parties to

access his content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of him (as

distinct from the individualized profile that he created for his Facebook account).

       216.    In approximately April 2018, Plaintiff Schinder received notice from Facebook

that his content and information “may have been obtained” by the This Is Your Digital Life App,


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because one of Plaintiff Schinder’s Facebook Friends downloaded the This Is Your Digital Life

App. Plaintiff Schinder did not consent to the sharing of his content and information with the

This Is Your Digital Life App. Moreover, Plaintiff Schinder did not consent to any third-parties

accessing his content and information through his Facebook Friends and had no knowledge that

Facebook had authorized this disclosure of his content and information without his consent.

          217.   During the 2016 U.S. Presidential election, Plaintiff Schinder frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Schinder was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Schinder has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing

and using his content and information for improper purposes, such as identity theft and fraud as

well as further intruding upon Plaintiff Schinder’s private affairs and concerns, as detailed

herein. Plaintiff Schinder fears that he is at risk of identity theft and fraud, and now spends

approximately eight hours each month monitoring his credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable

future.

          218.   Plaintiff Cheryl Senko is a citizen and resident of the State of Ohio. Plaintiff

Senko created her Facebook account in 2005 via a personal computer. Plaintiff Senko maintains

her Facebook account to the present day. Plaintiff Senko has accessed her Facebook account

from mobile phones, laptops, personal computers, and a tablet. Plaintiff Senko also uses

Facebook Messenger through Facebook. On or through Facebook, Facebook Messenger, and/or

Facebook Chat, Plaintiff Senko has watched videos, “liked” videos, “shared” videos, “posted”

videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that


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contain videos. These videos were hosted on Facebook’s video streaming services, and included

videos that were not posted by Plaintiff Senko or her Friends, videos that were selected and

published by Facebook to Plaintiff Senko’s News Feed, and videos that were posted, shared, or

liked to a non-public audience such as Friends. Plaintiff Senko has enabled location access while

using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Senko has also purchased

and/or sold items in the Facebook Marketplace.

        219.    Plaintiff Senko does not recall specific details regarding the account registration

process. Plaintiff Senko does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process She does not recall seeing updates to the Terms

of Service or the Data Policy since registering for her account. She did not subscribe to, has

never visited, and is not aware of the Facebook Site Governance page.

        220.    On information and belief, Plaintiff Senko’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when she created her

account. Plaintiff Senko later changed those settings to Public in approximately 2011. On

information and belief, Plaintiff Senko’s Privacy Settings for posts, including status updates,

photos, and videos, were set to the default setting of Friends of Friends when she created her

account. Plaintiff Senko later changed those settings to Public in approximately 2011. On

information and belief, Plaintiff Senko’s Privacy Settings for Likes, including page likes,

interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Senko later changed those settings to Public in approximately 2011. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Senko did not know that Facebook allowed advertisers to target her

directly, using information such as her email address or Facebook User ID. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Senko did not know that there were separate Privacy


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Settings to limit the information obtained by Apps used by her Friends. On information and

belief, Plaintiff Senko disabled advertisements targeting her on the basis of data from third

parties such as data brokers.

       221.    Plaintiff Senko shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook,

particularly between 2005 and 2011. Plaintiff Senko expected Facebook to protect and secure

that private content and information against access by or disclosure to unauthorized parties. This

information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, and relationships that she wanted to remain private and

non-public. Plaintiff Senko also shared private content and information with Friends through

Facebook Messenger, during the entire Class Period. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public.

       222.    Plaintiff Senko believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Senko was not aware of and did not understand

that, when she shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Senko

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Senko was not aware of and did not understand that she could not control, with


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any settings made available by Facebook, the disclosure of her content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Senko was not aware

of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Senko similarly was not aware of

and did not understand that Facebook would allow third parties to access her content and

information and combine it with personally identifiable information from other sources,

including sources outside of Facebook, to create a unique profile of her (as distinct from the

individualized profile that she created for her Facebook account).

       223.    Plaintiff Senko confirmed on Facebook that her content and information “was

likely shared with” the This Is Your Digital Life App, because one of Plaintiff Senko’s Facebook

Friends downloaded the This Is Your Digital Life App. Plaintiff Senko was not aware of and did

not consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Senko did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       224.    If, after signing up for Facebook, she learned what she knows now, she would

have immediately restricted her profile Privacy Settings, limited sharing with Apps used by her

Friends, and would have disabled Platform Apps entirely. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal

information.

       225.    During the 2016 U.S. Presidential election, Plaintiff Senko frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Senko was


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targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Senko has experienced an

increase in phishing attempts. Additionally, as a result of the release of her content and

information, Plaintiff Senko has suffered emotional distress, including anxiety, concern, and

unease about unauthorized parties viewing and using her content and information for improper

purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Senko’s

private affairs and concerns, as detailed herein. Plaintiff Senko fears that she is at risk of identity

theft and fraud, and now spends approximately one hour each month monitoring her credit, bank,

and other account statements for evidence of identity theft and fraud, and anticipates continuing

to do so for the foreseeable future. Because of her heightened risk of identity theft and fraud,

Plaintiff Senko enrolled in the credit monitoring service offered by her auto loan company.

       226.    Plaintiff Dustin Short is a citizen and resident of the State of Kansas. Plaintiff

Short created his Facebook account in 2005 or 2006 on a personal computer and maintains his

Facebook account to the present day. Plaintiff Short has accessed his Facebook account from his

personal computer and a mobile phone. He has used mobile phones with Android and Apple

operating systems to access Facebook. Plaintiff Short has used Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Short has obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted”

videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that

contain videos.” These videos were delivered by Facebook, and included videos that were not

posted by Plaintiff Short or his Friends, videos that were selected and delivered by Facebook to

Plaintiff Short’s News Feed, and videos that were posted, shared, or liked to a non-public

audience such as Friends.


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       227.    Plaintiff Short recalls that during the account registration process, he was required

to verify his identity through his college email address. Plaintiff Short does not recall being

prompted to read or reading Terms of Service or the Data Policy during the registration process.

Plaintiff Short does not recall seeing updates to the Terms of Service or the Data Policy since

registering for his account. Plaintiff Short does not subscribe to, has never visited, and was not

aware of the Facebook Site Governance page until 2019.

       228.    On information and belief, Plaintiff Short’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends when he created his

account. When Plaintiff Short created his account, Facebook membership was limited to college

students and Facebook was closed to non-Facebook members, including search engines. Plaintiff

Short later changed those settings to Friends in approximately 2009 for employment-related

reasons. On information and belief, Plaintiff Short’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when he created

his account. Plaintiff Short later changed those settings to Friends in approximately 2009. He

later changed those settings again to Only Me in 2018.On information and belief, Plaintiff

Short’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to the

default setting of Friends of Friends at first. There were a number of page likes, interests, and

favorites that he chose, including sports teams, local businesses, local government, politics, and

more. Plaintiff Short later changed those settings to Friends in approximately 2009. He later

changed those settings again to Only Me in 2018. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Short did not know that Facebook allowed advertisers to target him directly,

using information such as his email address or Facebook User ID. He also did not know that

Facebook allowed demographic advertising. On information and belief, Plaintiff Short disabled


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advertisements targeted on the basis of data from third parties such as data brokers. Plaintiff

Short was not aware of and did not understand that Facebook maintained a separate set of

Privacy Settings for limiting the disclosure of his content and information to Apps used by his

Facebook Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Short did not

understand that Facebook was allowing his Friends to release his content and information

through apps. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Short did not know that

third parties still had access to his content and information and was surprised to learn this. After

learning this, Plaintiff Short disabled these settings and immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and disabled Platform Apps entirely.

       229.    Plaintiff Short shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Short expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family and friends videos, as well as personal perspectives regarding

politics, religion, relationships, and family that he wanted to remain private and non-public.

Plaintiff Short also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal photographs, personal

videos, and personal perspectives regarding politics, religion, relationships, and family that he

wanted to remain private and non-public.

       230.    Plaintiff Short believed that when he shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing

his content and information. Plaintiff Short was not aware of and did not understand that when


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he shared content and information with non-public audiences such as Friends, Facebook would

disclose such content and information to: (a) Apps used by his Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Short was not aware of and

did not understand that he could not control, with any settings made available by Facebook, the

disclosure of his content and information with Business Partners such as Apple, Amazon, and

Samsung. Further, Plaintiff Short was not aware of and did not understand that Facebook would

allow third parties to obtain his content and information and use it to construct a psychographic

profile of him to attempt to manipulate his voting decisions or other decisions. Plaintiff Short

similarly was not aware of and did not understand that Facebook would allow third parties to

access his content and information and combine it with personally identifiable information from

other sources, including sources outside of Facebook, to create a unique profile of him (as

distinct from the individualized profile that he created for his Facebook account).

       231.    If Plaintiff Short had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he would not have signed up for Facebook at all. He

also would have altered and reduced his Facebook usage, including being more circumspect

regarding sharing personal information.

       232.    Plaintiff Short confirmed on Facebook that his content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Short’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Short did not

consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Short did not consent to any third-parties accessing his content and

information through his Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.


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       233.    During the 2016 U.S. Presidential election, Plaintiff Short frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Short was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Short has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Short’s private affairs and concerns, as detailed herein. Plaintiff Short

fears that he is at risk of identity theft and fraud, and now spends approximately ten hours each

week monitoring his credit, bank, and other account statements for evidence of identity theft and

fraud, and anticipates continuing to do so for the foreseeable future. Because of his heightened

risk of identity theft and fraud, Plaintiff Short has purchased credit monitoring, identity theft

protection services, and legal counsel, and anticipates continuing to pay for such services for the

foreseeable future.

       234.    Plaintiff Tonya Smith is a citizen and resident of the State of Alabama. Plaintiff

Smith created her Facebook account in 2007 via a personal computer and maintains her

Facebook account to the present day. Plaintiff Smith has accessed her Facebook account from a

personal computer, a tablet, and a mobile phone. Plaintiff Smith also uses Facebook Messenger

and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat,

Plaintiff Smith has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked”

pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

These videos were hosted on Facebook’s video streaming services, and included videos that were

not posted by Plaintiff Smith or her Friends, videos that were selected and published by

Facebook to Plaintiff Smith’s News Feed, and videos that were posted, shared, or liked to a non-


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public audience such as Friends. Plaintiff Smith has enabled location access while using

Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Smith has also purchased

and/or sold items in the Facebook Marketplace.

        235.    Plaintiff Smith does not recall specific details regarding the account registration

process. Plaintiff Smith does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. She did not subscribe to, has never visited, and

is not aware of the Facebook Site Governance page.

        236.    On information and belief, Plaintiff Smith’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Smith later changed those settings to Friends in approximately

2007. On information and belief, Plaintiff Smith’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Smith later changed those settings to Friends in approximately

2007. On information and belief, Plaintiff Smith’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Smith later changed those settings to Friends in approximately 2009. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Smith did not know that Facebook allowed advertisers to target her

directly, using information such as her email address or Facebook User ID. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Smith did not know that there were separate Privacy

Settings to limit the information obtained by Apps used by her Friends. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Smith did not know that there were separate Privacy

Settings to disable advertisements targeting her on the basis of data from third parties such as

data brokers.


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       237.    Plaintiff Smith shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Smith expected Facebook to protect and secure that private content and information against

access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding religion and

relationships that she wanted to remain private and non-public. Plaintiff Smith also shared

private content and information with Friends through Facebook Messenger and/or Facebook

Chat. This information included personal family photographs, personal family videos, as well as

personal perspectives that she wanted to remain private and non-public.

       238.    Plaintiff Smith believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Smith was not aware of and did not understand

that, when she shared content and information with a non-public audience such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Smith

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Smith was not aware of and did not understand that she could not control, with

any settings made available by Facebook, the disclosure of her content and information with

Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Smith was not aware

of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to


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manipulate her voting decisions or other decisions. Plaintiff Smith similarly was not aware of

and did not understand that Facebook would allow third parties to access her content and

information and combine it with personally identifiable information from other sources,

including sources outside of Facebook, to create a unique profile of her (as distinct from the

individualized profile that she created for her Facebook account).

       239.    If Plaintiff Smith had learned what she knows now about Facebook’s data sharing

policies after signing up for Facebook, she would have immediately restricted her profile Privacy

Settings and would have limited sharing with Apps used by her Friends. She also would have

altered and reduced her Facebook usage, including being more circumspect regarding sharing

personal information.

       240.    Plaintiff Smith confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Smith’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Smith did

not consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Smith did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       241.    During the 2016 U.S. Presidential election, Plaintiff Smith frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Smith was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Smith has experienced an

increase in phone solicitations, phishing attempts, and has received an alert that her information

was located on the Dark Web. Additionally, as a result of the release of her content and


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information, Plaintiff Smith has suffered emotional distress, including anxiety, concern, and

unease about unauthorized parties viewing and using her content and information for improper

purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Smith’s

private affairs and concerns, as detailed herein. Plaintiff Smith fears that she is at risk of identity

theft and fraud, and now spends approximately ten hours each month monitoring her credit,

bank, and other account statements for evidence of identity theft and fraud, and anticipates

continuing to do so for the foreseeable future. Because of her heightened risk of identity theft

and fraud, Plaintiff Smith has purchased credit monitoring and identity theft protection services,

and anticipates continuing to pay for such services for the foreseeable future.

        242.    Plaintiff Mitchell Staggs is a citizen and resident of the State of Iowa. Plaintiff

Staggs created his Facebook account approximately nine years ago. Plaintiff Staggs maintains

his Facebook account to the present day. Plaintiff Staggs has accessed his Facebook account

from a mobile phone. Plaintiff Staggs has watched and “liked” videos on Facebook and has also

“liked” pages on Facebook that contain videos. Plaintiff Staggs also uses Facebook Messenger

and/or Facebook Chat. Plaintiff Staggs shared content and information with Facebook, which he

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

        243.    In approximately April 2018, Plaintiff Staggs received notice from Facebook that

his content and information may have been obtained by the This Is Your Digital Life App,

because one of Plaintiff Staggs’s Facebook Friends downloaded the This Is Your Digital Life

App. Plaintiff Staggs was not aware of and did not consent to the sharing of his content and

information with the This Is Your Digital Life App. Moreover, Plaintiff Staggs did not consent to

any third-parties accessing his content and information through his Facebook Friends and had no




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knowledge that Facebook had authorized this disclosure of his content and information without

his consent.

       244.    During the 2016 U.S. Presidential election, Plaintiff Staggs frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Staggs was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Staggs has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Staggs’s private affairs and concerns, as detailed herein. Plaintiff Staggs

fears that he is at risk of identity theft and fraud, and now spends approximately five to ten hours

each month monitoring his credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.

       245.    Plaintiff Charnae Tutt is a citizen and resident of the State of Georgia. Plaintiff

Tutt created her Facebook account in 2009 via a personal computer and maintains her Facebook

account to the present day. Plaintiff Tutt has accessed her Facebook account from a personal

computer, a tablet, and a mobile phone. Plaintiff Tutt also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Tutt has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos. These videos

were hosted on Facebook’s video streaming services, and included videos that were not posted

by Plaintiff Tutt or her Friends, videos that were selected and published by Facebook to Plaintiff

Tutt’s News Feed, and videos that were posted, shared, or liked to a non-public audience such as

Friends. Plaintiff Tutt has enabled location access while using Facebook, Facebook Messenger,


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and/or Facebook Chat. Plaintiff Tutt has also purchased and/or sold items in the Facebook

Marketplace.

        246.    Plaintiff Tutt recalls that during the account registration process she had to

provide her first name, last name, birthday, and email address. Plaintiff Tutt does not recall being

prompted to read or reading the Terms of Service or the Data Policy during the registration

process. She does not recall seeing updates to the Terms of Service or the Data Policy since

registering for her account. She did not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.

        247.    On information and belief, Plaintiff Tutt’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Tutt later changed those settings to Friends. On information and

belief, Plaintiff Tutt’s Privacy Settings for posts, including status updates, photos, and videos,

were set to the default setting of Friends of Friends when she created her account. On

information and belief, Plaintiff Tutt changed those settings to Friends, but also started

customizing his privacy on a post-by-post, photo-by-photo, video-by-video basis. On

information and belief, Plaintiff Tutt’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Tutt later

changed those settings to Only Me. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Tutt

did not know that Facebook allowed advertisers to target her directly, using information such as

her email address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff

Tutt did not know that there were separate Privacy Settings to limit the information obtained by

Apps used by her Friends. On information and belief, Plaintiff Tutt disabled advertisements

targeting her on the basis of data from third parties such as data brokers.


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       248.    Plaintiff Tutt shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Tutt expected Facebook to protect and secure that private content and information against access

by or disclosure to unauthorized parties. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public. Plaintiff Tutt

also shared private content and information with Friends through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, personal family videos,

as well as personal perspectives regarding politics, religion, relationships, work, and family that

she wanted to remain private and non-public.

       249.    Plaintiff Tutt believed that when she shared private content and information with

a non-public audience such as Friends, by either restricting access to a non-public audience at the

time of posting or through her Privacy Settings, she was preventing third parties from accessing

her content and information. Plaintiff Tutt was not aware of and did not understand that, when

she shared content and information with a non-public audience such as Friends, Facebook would

disclose such content and information to: (a) Apps used by her Friends; (b) “Business Partners”

such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Tutt was not aware of and

did not understand that Facebook maintained a separate set of Privacy Settings for limiting the

disclosure of her content and information to Apps used by her Facebook Friends. Plaintiff Tutt

was not aware of and did not understand that she could not control, with any settings made

available by Facebook, the disclosure of her content and information with Business Partners such

as Apple, Amazon, and Samsung. Further, Plaintiff Tutt was not aware of and did not understand

that Facebook would allow third parties to obtain her content and information and use it to


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construct a psychographic profile of her for the purpose of attempting to manipulate her voting

decisions or other decisions. Plaintiff Tutt similarly was not aware of and did not understand that

Facebook would allow third parties to access her content and information and combine it with

personally identifiable information from other sources, including sources outside of Facebook, to

create a unique profile of her (as distinct from the individualized profile that she created for her

Facebook account).

       250.    If Plaintiff Tutt had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If,

after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile Privacy Settings, limited sharing with Apps used by Friends, and would

have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       251.    Plaintiff Tutt confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Tutt’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Tutt did not

consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Tutt did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       252.    During the 2016 U.S. Presidential election, Plaintiff Tutt frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Tutt was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

In particular, Plaintiff Tutt recalls that she received highly offensive advertisements during the


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2016 U.S. Presidential election, and believes that she was targeted with such advertisements

because of her race and gender. She believes that these advertisements were designed to

improperly influence her voting decisions. As a result of the release of her content and

information, Plaintiff Tutt has experienced an increase in phone solicitations as well as

unauthorized credit inquiries, starting in approximately 2016. Additionally, as a result of the

release of her content and information, Plaintiff Tutt has suffered emotional distress, including

anxiety, concern, and unease about unauthorized parties viewing and using her content and

information for improper purposes, such as identity theft and fraud as well as further intruding

upon Plaintiff Tutt’s private affairs and concerns, as detailed herein. Plaintiff Tutt fears that she

is at risk of identity theft and fraud, and now spends approximately four to five hours each month

monitoring her credit, bank, and other account statements for evidence of identity theft and

fraud, and anticipates continuing to do so for the foreseeable future. Because of her heightened

risk of identity theft and fraud, Plaintiff Tutt has obtained credit monitoring and identity theft

protection services, and anticipates continuing to use and monitor such services for the

foreseeable future.

       253.    Plaintiff Barbara Vance-Guerbe is a citizen and resident of the State of

Michigan. Plaintiff Vance-Guerbe created her Facebook account approximately eight years ago.

Plaintiff Vance-Guerbe maintains her Facebook account to the present day. Plaintiff Vance-

Guerbe has accessed her Facebook account from a mobile phone. Plaintiff Vance-Guerbe has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff Vance Guerbe also uses Facebook Messenger and/or Facebook Chat. Plaintiff

Vance-Guerbe shared content and information with Facebook, which she expected Facebook to

protect and secure against access by or disclosure to unauthorized parties.


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       254.    Plaintiff Vance-Guerbe confirmed on Facebook that her content and information

“was likely shared with” and may have been “misused” by the This Is Your Digital Life App,

because one of Plaintiff Vance-Guerbe’s Facebook Friends downloaded the This Is Your Digital

Life App. Plaintiff Vance-Guerbe was not aware of and did not consent to the sharing of her

content and information with the This Is Your Digital Life App. Moreover, Plaintiff Vance-

Guerbe did not consent to any third-parties accessing her content and information through her

Facebook Friends and had no knowledge that Facebook had authorized this disclosure of her

content and information without her consent.

       255.    During the 2016 U.S. Presidential election, Plaintiff Vance-Guerbe frequently

received political advertisements while using Facebook. On information and belief, Plaintiff

Vance-Guerbe was targeted by some or all of these advertisements as a result of the Cambridge

Analytica Scandal. As a result of the release of her content and information, Plaintiff Vance-

Guerbe has suffered emotional distress, including anxiety, concern, and unease about parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Vance-Guerbe’s private affairs and concerns, as

detailed herein. Plaintiff Vance-Guerbe fears that she is at risk of identity theft and fraud.

       256.    Plaintiff Juliana Watson is a citizen and resident of the State of California.

Plaintiff Watson created her Facebook account in 2009 via a computer and maintains her

Facebook account to the present day. Plaintiff Watson has accessed her Facebook account from a

computer and mobile phones using both Apple and Android operating systems. Plaintiff Watson

has used Facebook Messenger and/or Facebook Chat. On or through Facebook, Facebook

Messenger, and/or Facebook Chat, Plaintiff Watson has obtained and viewed non-public videos,

“liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos,


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and “shared” pages on Facebook that contain videos.” These videos were delivered by Facebook,

and included videos that were not posted by Plaintiff Watson or her Friends, videos that were

selected and delivered by Facebook to Plaintiff Watson’s News Feed, and videos that were

posted, shared, or liked to a non-public audience such as Friends.

        257.    Plaintiff Watson does not recall specific details regarding the account registration

process. Plaintiff Watson does not recall being prompted to read or reading the Terms of Service

or the Data Policy during the registration process. She does not recall seeing updates to the Data

Policy since registering for her account. Plaintiff Watson does not subscribe to, has never visited,

and is not aware of the Facebook Site Governance page.

        258.    On information and belief, Plaintiff Watson’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Watson later changed those settings to Friends in approximately

2013. On information and belief, Plaintiff Watson’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when she

created her account. Plaintiff Watson later changed those settings to Friends in approximately

2013. On information and belief, Plaintiff Watson’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff

Watson later changed those settings to Friends in approximately 2013. She believed that

Facebook was limiting the sharing of that information in accordance with her settings. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Watson did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook User

ID. Plaintiff Watson did not know that Facebook allowed advertisers to target her based on data

from third parties such as data brokers. Until 2019, post-Cambridge Analytica Scandal, Plaintiff


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Watson did not know that there were separate Privacy Settings to limit the information that Apps

used by Friends could obtain.

       259.    Plaintiff Watson shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends on Facebook.

Plaintiff Watson expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal

photographs, personal videos recorded by herself or a friend, and personal perspectives regarding

politics, religion, relationships, work, and family that she wanted to remain private and non-

public. Plaintiff Watson also shared private content and information with Friends through

Facebook Messenger and/or Facebook Chat. This information included personal photographs,

personal videos, and personal perspectives regarding politics, religion, relationships, work, and

family that she wanted to remain private and non-public.

       260.    Plaintiff Watson believed that when she shared private content and information

with a non-public audience such as Friends, by either restricting access to a non-public audience

at the time of posting or through her Privacy Settings, she was preventing third parties from

accessing her content and information. Plaintiff Watson was not aware of and did not understand

that when she shared content and information with non-public audiences such as Friends,

Facebook would disclose such content and information to: (a) Apps used by her Friends; (b)

“Business Partners” such as Apple, Amazon, and Samsung; and (c) advertisers. Plaintiff Watson

was not aware of and did not understand that Facebook maintained a separate set of Privacy

Settings for limiting the disclosure of her content and information to Apps used by her Facebook

Friends. Plaintiff Watson was not aware of and did not understand that she could not control,

with any settings made available by Facebook, the disclosure of her content and information with


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Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Watson was not

aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of

attempting to manipulate her voting decisions or other decisions. Plaintiff Watson similarly was

not aware of and did not understand that Facebook would allow third parties to access her

content and information and combine it with personally identifiable information from other

sources, including sources outside of Facebook, to create a unique profile of her (as distinct from

the individualized profile that she created for her Facebook account).

       261.    If Plaintiff Watson had learned what she knows now about Facebook’s data

sharing policies before signing up for Facebook, she would have immediately restricted her

profile Privacy Settings and limited sharing with Apps used by her Friends. She also would have

altered and reduced her Facebook usage, including being more circumspect regarding sharing

personal information.

       262.    Plaintiff Watson confirmed on Facebook that her content and information “was

likely shared with” the This Is Your Digital Life App, because one of Plaintiff Watson’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Watson did not

consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Watson did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       263.    During the 2016 U.S. Presidential election, Plaintiff Watson frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Watson was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.


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As a result of the release of her content and information, Plaintiff Watson has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Watson’s private affairs and concerns, as detailed herein.

Plaintiff Watson fears that she is at risk of identity theft and fraud.


B.      Defendants and Co-Conspirators

        1.      Prioritized Defendant and Doe Defendants:
         264. Facebook, Inc. (“Facebook”), a publicly traded company, is incorporated in the
 State of Delaware, with its executive offices located at 1601 Willow Road, Menlo Park,

 California 94025 and its headquarters located at 1 Hacker Way, Menlo Park, California 94025.

 Facebook is an online social media and social networking service company founded in 2004. In

 2004 Facebook started as a social networking website enabling users to connect, share, and

 communicate with each other through text, photographs, and videos as well as to interact with

 third party Apps such as games and quizzes on mobile devices and personal computers. Over

 time, Facebook has evolved into its own platform that allows users to connect with each other

 while also acting as a data broker, harvesting user content and information and selling access to

 the data via targeted messaging to third parties such as advertisers, political action groups and

 others. Facebook’s market value is currently estimated at more than $473 billion, with annual

 revenues of $40 billion from advertising.

         265. Doe Defendants 1-100: Plaintiffs do not know the true names of Doe Defendants

 1-100, inclusive, and therefore sue them by those fictitious names. Plaintiffs are informed and

 believe, and on the basis of that information and belief, allege that each of those defendants

 were proximately responsible for the events and happenings alleged in this Complaint and for

 Plaintiffs’ injuries and damages.




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       2.     Non-Prioritized Defendants (Individual Defendants Named in Actions
              Consolidated in this MDL as to Whom Co-Lead Counsel Seek a Stay)
        266. Stephen Kevin Bannon is a resident of the District of Columbia. At all relevant

times, Bannon was a part owner, Vice President, and Secretary of Cambridge Analytica until he

resigned from those positions to act as the chief executive of Donald Trump’s presidential

campaign. At all relevant times, Bannon had decision-making authority at Cambridge Analytica

and directed and approved the actions taken by Cambridge Analytica alleged herein.

        267. Aleksandr Kogan, a/k/a Aleksandr Spectre, is a resident of the state of California

and Cambridge, England. Dr. Kogan was a founder of GSR. At all relevant times, Dr. Kogan
had decision-making authority at GSR and directed, approved, or otherwise ratified the actions

taken by GSR as alleged herein.

        268. Sheryl Kara Sandberg is an individual residing in Menlo Park, California. Ms.

Sandberg is the chief operating officer (“COO”) of Facebook. Ms. Sandberg has served as

Facebook’s COO since 2008, and has been a member of Facebook’s Board since 2012. As

Facebook’s COO, Ms. Sandberg is responsible for Facebook’s day-to-day operations and

reports directly to Defendant Zuckerberg. Ms. Sandberg oversees Facebook’s business

operations, including sales, marketing, business development, human resources, public policy,

and communications. Ms. Sandberg was instrumental in developing Facebook’s online

advertising programs, and was the “architect” of Facebook’s transformation “into a global

advertising juggernaut.”

        269. Mark Elliot Zuckerberg is an individual residing in Palo Alto, California. Mr.

Zuckerberg is the founder of Facebook and has served as Facebook’s CEO and as a member of

the Board since July 2004, and as Chairman of the Board since January 2012. Mr. Zuckerberg is

responsible for Facebook’s day-to-day operations, as well as the overall direction and product

strategy of Facebook. He is also Facebook’s controlling stockholder with ownership of stock

and proxies for stock representing more than 53.3% of Facebook’s voting power as of April 13,

2018, though he owns only 16% of Facebook’s total equity.


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C.       Unnamed Co-Conspirators: Cambridge-Analytica-Related Entities11
         270. Cambridge Analytica LLC (“Cambridge Analytica”) is a privately held limited

 liability company organized under the laws of the State of Delaware, incorporated on December

 31, 2013, with its principal offices located at 597 5th Avenue, 7th Floor, New York, New York

 10017. Cambridge Analytica does business throughout the United States, including in this

 District. Cambridge Analytica maintains offices in London, New York, and Washington, D.C.

 Its registered agent for service of summons is The Corporation Trust Company, 1209 Orange

 Street, Corporation Trust Center, Wilmington, Delaware 19801. Cambridge Analytica is a

 political consulting and “behavioral microtargeting” firm that combines data mining, data
 brokerage, and data analysis with strategic communication for the electoral process. It was

 founded in 2013 as a subsidiary of its parent company SCL Group, to participate in American

 politics. In 2014, Cambridge Analytica was involved in 44 U.S. political races. Cambridge

 Analytica was also active in the Brexit campaign. According to the Business Insider, Defendant

 Stephen Bannon was Vice President of Cambridge Analytica from June 2014 until August

 2016.

         271. Cambridge Analytica Commercial LLC (“CA Commercial”) is a privately held

 limited liability company organized under the laws of the State of Delaware, incorporated on

 January 21, 2015, and is a division of Cambridge Analytica. CA Commercial’s registered agent

 for service of summons is The Corporation Trust Company, 1209 Orange Street, Corporation

 Trust Center, Wilmington, Delaware 19801. Cambridge Analytica is owned in part (19%) by

 SCL Elections Ltd, a British company owned by SCL Analytics Limited, which is owned in

 part by SCL Group. During the relevant time, Alexander Nix was CEO of both SCL Elections

 Ltd and Cambridge Analytica UK.

11
   These entities were named in prior complaints consolidated into this docket. These entities are
not named here pursuant to Title 11, § 362 of the United States Bankruptcy Code in addition to
this court’s order staying claims. See Pretrial Order No. 5: Scheduling at 1, ECF No. 103 (“The
case is stayed as to the Cambridge Analytica defendants pending the outcome of the parties’
request of the bankruptcy court for relief from the automatic stay.”).

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        272. Cambridge Analytica Holdings LLC is a privately held limited liability

 company organized under the laws of the State of Delaware, incorporated on May 9, 2014.

 Cambridge Analytica Holdings, LLC’s registered agent for service of summons is The

 Corporation Trust Company, 1209 Orange Street, Corporation Trust Center, Wilmington,

 Delaware 19801. According to the Guardian, hedge fund billionaire Robert Mercer funded CA

 Holdings, which created and initially ran Cambridge Analytica.12

        273. Cambridge Analytica Limited is a British-registered company headquartered in

 London, England with U.S. offices located in New York, New York and Washington, D.C.

        274. Cambridge Analytica (UK) Limited is a British-registered company

 headquartered in London, England with U.S. offices located in New York, New York and

 Washington, D.C. Prior to changing its name, Cambridge Analytica (UK) Limited was formerly

 registered as SCL USA Limited.

        275. Cambridge Analytica Political LLC (“CA Political”) is a privately held limited

 liability company organized under the laws of the State of Delaware, incorporated on January

 21, 2015, and is a division of Cambridge Analytica. CA Political’s registered agent for service

 of summons is The Corporation Trust Company, 1209 Orange Street, Corporation Trust Center,

 Wilmington, Delaware 19801.

        276. Cambridge Analytica, CA Political and CA Commercial all share the same

 website: https://cambridgeanalytica.org. According to Cambridge Analytica’s website, CA

 Political and CA Commercial are Divisions of Cambridge Analytica LLC. Upon information

 and belief, CA Holdings is a shell holding company for shares of Cambridge Analytica, CA

 Political and CA Commercial.

        277. SCL Elections Limited is a British company incorporated on October 17, 2012.


12
   Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 Million Facebook Profiles
Harvested for Cambridge Analytica in Major Data Breach, Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-
election.

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Its address is listed as c/o PFK Littlejohn, chartered accountants located at 1 Westferry Circus,

Canary Wharf, London, E14 4HD, United Kingdom. Alexander Nix is listed as a director of

SCL Elections and the ultimate controlling party as of the end of 2015.

        278. SCL Group Limited, formerly known as Strategic Communications Laboratories

Ltd, is a British company registered with the UK Companies House in 2005. Its headquarters

are located at 55 New Oxford Street, London, WC1A 1BS. SCL Group Limited also has

multiple U.S. affiliates, including SCL Group Inc. with offices in New York located at 597 5th

Avenue, 7th Floor, New York, New York, 10036, and SCL USA Inc. with offices in

Washington, D.C. located at 1901 Pennsylvania Avenue, N.W., Washington, D.C. 20006.

        279. SCL USA Inc. is a privately held company incorporated under the laws of the

State of Delaware, incorporated on April 22, 2104, and is a wholly owned subsidiary of SCL

Elections. Its address is 597 5th Avenue, 7th Floor, New York, New York 10017 and its

registered agent for service of summons is Erisedentagent, Inc., 1013 Centre Road, Suite 403S,

Wilmington, Delaware 19805. Alexander Nix is SCL USA Inc.’s CEO. SCL USA is the alter

ego of SCL Group.

D.     Other Non-Defendant Co-Conspirator
        280. Global Science Research Limited was a United Kingdom company that

harvested and sold the private information of social media users for profit. On information and

belief, Global Science Research Limited (“GSR”) did significant business in California, but has

since dissolved. Its successors in interest are unknown at this time.

                             IV.     FACTUAL BACKGROUND

A.     Facebook’s Transition from Social Media Company to Data Broker
        281. Facebook started as a user-driven experience. Users were comfortable sharing

information about themselves on the social media platform in part because they believed they

were sharing their content and information with the connections they selected, and that they

controlled how their content and information was shared.


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        282. Indeed, millions of Facebook users joined Facebook before 2007, when Facebook

 launched the Facebook Platform—which allowed Apps on the user interface—and opened the

 website to search-engine indexing. Even after Facebook began allowing Apps to access user

 information and search engines to index user profiles, Facebook promoted the site as a place

 where users could connect with friends and family. Facebook recognizes this in its mission

 statement: “People use Facebook to stay connected with friends and family, to discover what’s

 going on in the world, and to share and express what matters to them.”13

        283. Since its inception, Facebook has faced a profound conflict of interest. In order to

 generate revenue, the Company has opted to monetize its platform and incorporate advertising.

 Facebook’s revenue thus comes principally from entities wishing to target Facebook’s users. To

 better target users, advertisers want access to as much information about users as Facebook will

 provide them.

        284.     Yet it is clear that users would not engage on the platform without protection of

 their privacy. For this reason, Facebook represents to users that they control their content and

 information, and that it will not give advertisers access to users’ content and information

 without users’ consent. Facebook expressly promises users they possess “the power to control

 exactly who can see the information and content they share.”14

        285. At the same time, Facebook continually tested and surpassed the limits of what

 user content and information can be shared publicly in order to attract advertisers who will pay

 to target users. On many occasions over the years, when Facebook unilaterally instituted

 changes which diminished user privacy, users and privacy watchdogs resisted. For example, in

 2006, Facebook introduced a feature called “News Feed” without notice or consent to users.


13
   Mission Statement, Facebook Newsroom, https://newsroom.fb.com/company-info/ (last visited
Feb. 19, 2019).
14
   E.g., Facebook Redesigns Privacy, Facebook Newsroom (May, 26, 2010)
https://newsroom.fb.com/news/2010/05/facebook-redesigns-privacy/; see Ryan Nakashima,
Promises, promises: Facebook's history with privacy, Phys.Org (Mar. 30, 2018),
https://phys.org/news/2018-03-facebook-history-privacy.html.

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 That feature revealed some of users’ information in a daily feed to Friends. In reaction more

 than a million users joined protest groups. Others protested outside Facebook’s Silicon Valley

 headquarters. “We did a bad job of explaining what the new features were and an even worse

 job of giving you control over them,” Zuckerberg conceded at the time.15 Thus Facebook

 searched for a way to make user content and information available to advertisers without letting

 users see how it was happening.

       1.      Facebook Encouraged User Engagement to Drive Advertising Revenues.
        286. User engagement is a key financial metric for Facebook. User presence alone is

 not the compelling driver of revenue; it is also how actively users engage on the Facebook user

 platform, and in what forums. “Engagement” or “user engagement” on Facebook is calculated

 by counting users’ actions relating to content posted on Facebook’s platform. For example,

 users may “Like” a Post, click on a link or comment on an image. Analysts predict Facebook’s

 future revenues based on user engagement rates and other key metrics, and this drives

 Facebook’s share price.16

       287.    Because of its importance to Facebook’ financial performance, Facebook

precisely tracks user engagement both on and off Facebook’s platform, reporting monthly active




15
   Jessica Guynn, Facebook's Mark Zuckerberg has promised to protect user privacy before. Will
this time be different?, USA Today (April 10, 2018),
https://www.usatoday.com/story/tech/2018/04/10/facebooks-mark-zuckerberg-has-promised-
protect-user-privacy-before-time-different/502603002/.
16
   See Paige Cooper, 41 Facebook Stats That Matter to Marketers in 2019, Hootsuite (Nov. 13,
2018), https://blog.hootsuite.com/facebook-statistics/ (“Facebook’s focus on meaningful
connection has driven rising user engagement, which in turn drives monetization for the
platform.”); Adam Levy, The 4 Pillars of Facebook's Growing Ad Revenue, The Motley Fool
(May 9, 2017), https://www.fool.com/investing/2017/05/09/the-4-pillars-of-facebooks-growing-
ad-revenue.aspx (noting that “growing engagement is a sign Facebook will continue to see ad
revenue growth even as it faces ad load saturation.”).

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users (“MAUs”),17 daily active users (“DAUs”)18 and mobile MAUs (“Mobile MAUs”).19

Facebook’s efforts to increase user engagement have been remarkably successful.20 In 2012,

ahead of its public offering, Facebook stated that it had 901 million MAUs, 526 million DAUs,

and 500 million Mobile MAUs.21




17
   Facebook Inc., Amended Registration Statement (Form S-1/A), at 88 (May 16, 2012),
https://www.sec.gov/Archives/edgar/data/1326801/000119312512235588/d287954ds1a.htm
[hereinafter Facebook Form S-1/A] (defining a MAU as “a registered Facebook user who logged
in and visited Facebook through our website or a mobile device, or took an action to share
content or activity with his or her Facebook friends or connections via a third-party website that
is integrated with Facebook, in the last 30 days as of the date of measurement.”).
18
   Id. at 49 (defining DAU as “a registered Facebook user who logged in and visited Facebook
through our website or a mobile device, or took an action to share content or activity with his or
her Facebook friends or connections via a third-party website that is integrated with Facebook,
on a given day.”)
19
   Id. at 50 (defining a Mobile MAU as “a user who accessed Facebook via a mobile app or via
mobile-optimized versions of our website such as m.facebook.com, whether on a mobile phone
or tablet such as the iPad, during the period of measurement.”).
20
   Phil Simon, Facebook: The New King of Data Brokers, Wired,
https://www.wired.com/insights/2014/10/facebook-king-data-brokers/ (last visited Feb. 20,
2019).
21
   Facebook Form S-1/A, supra note 17,at 88.

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       288.    Facebook also tracks user engagement more minutely and reports it to investors.

For example, in the first quarter of 2012, ahead of its Initial Public Offering (“IPO”), Facebook

tracked 3.2 billion Likes and Comments by users each day, reporting that users were uploading

300 million photos each day.22 These numbers have greatly increased over time.23 To calculate

these numbers, Facebook engages in extensive analysis of user activity on its user platform,

reporting it to advertisers in market analytic reports.24 Facebook even provides “real-time

analytics” which allows advertisers to view live users engagement with advertisements.25 These

22
   Id.
23
   Brittany Darwell, Facebook platform supports more than 42 million pages and 9 million apps,
Adweek (Apr. 27, 2012), https://www.adweek.com/digital/facebook-platform-supports-more-
than-42-million-pages-and-9-million-apps.
24
   Marketing Analytics - Success Through Analysis, WordStream,
https://www.wordstream.com/marketing-analytics (last visited Feb. 20, 2019).
25
   Matthew Creamer, Facebook Explains Its New Real-Time Insights, AdAge (Mar. 15, 2012),
https://adage.com/article/digital/facebook-explains-real-time-insights/233320/; Greg Finn,
PageLever Now’ Launches Real-time Facebook Post Analytics & Management Tool, Marketing
Land (Nov. 1, 2012), https://marketingland.com/pagelever-now-launches-real-time-facebook-
post-analytics-management-tool-25576.

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real-time analytics are marketed by Facebook as tools for advertisers to increase sales.

       289.    In May 2015, Facebook stated to investors: “Our financial performance has been

and will continue to be significantly determined by our success in adding, retaining, and

engaging active users. . . . If people do not perceive our products to be useful, reliable, and

trustworthy, we may not be able to attract or retain users or otherwise maintain or increase the

frequency and duration of their engagement.”26

       2.      User Engagement Increased When Facebook Gave App Developers Users’
               Content and Information
        290. A key driver of user engagement for Facebook was the addition of Apps to its

 platform. Starting in 2007, Facebook gave App Developers access to user content and

 information, encouraging them to build Apps to stimulate user engagement.27

        291. To incentivize App Developers to develop Apps, Facebook paid App Developers

 not with cash, but in kind. This payment came in the form of users’ content and data, including

 content that was marked private. As the U.K. House of Commons Digital, Culture, Media and

 Sport Committee (“DCMS Committee”) explained in its Final Report, dated February 14, 2019

 (“DCMS Report”):

       “Data reciprocity” is the exchange of data between Facebook and apps, and then
       allowing the apps’ users to share their data with Facebook. As Ashkan Soltani
       told us, Facebook’s business model is “to monetise data” which evolved into
       Facebook paying app developers to build apps, using the personal information of
       Facebook’s users. To Mr Soltani, Facebook was and is still making the following
       invitation: “Developers, please come and spend your engineering hours and time
       in exchange for access to user data.”28

        292. Facebook users’ content and information, including associated metadata, is highly

 valuable to both Facebook and the third parties—including Apps, Whitelisted Apps, Business

26
   Facebook Form S-1/A, supra note 17, at 12.
27
   Platform is here, Facebook (Jun 1, 2007),
https://www.facebook.com/notes/facebook/platform-is-here/2437282130/.
28
   U.K. House of Commons, Digital, Culture, Media and Sport Committee, Disinformation and
‘Fake News’: Final Report, 2017-19, HC 1791, (“DCMS Report”) (Feb. 14, 2019), at ¶ 103,
https://publications.parliament.uk/pa/cm201719/cmselect/cmcumeds/1791/1791.pdf.

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 Partners, and advertisers—with whom Facebook unlawfully shared this content and

 information. As Cambridge Analytica whistleblower Brittany Kaiser stated, “[c]orporations like

 Google, Facebook, Amazon, all of these large companies, are making tens or hundreds of

 billions of dollars off of monetising people’s data.”29 Kaiser noted that because “data is

 probably your most valuable asset,” “[i]ndividuals should be able to monetise their own data—

 that’s their human value—not to be exploited.”30

        293. The value of such data, including Facebook users’ content and information, is not

 hypothetical. Facebook itself demonstrated that with its “Facebook Research” App, through

 which “Facebook secretly paid users, aged between 13 and 25, up to $20 in gift cards per month

 to sell their phone and website activity.”31

        294. In an internal Facebook email, Mark Zuckerberg roughly calculated the value of

 allowing Apps to read user content at ten cents per user per year.32

        295. Moreover, sharing user content and information with third parties was

 enormously valuable to Facebook. In fact, “sharing private user data with third parties was one

 of the core tactics that contributed to Facebook’s success.”33 In 2009—notably, one year after

 Sandberg was hired as COO and the first year in which Facebook turned a profit—Facebook

 introduced third-party games such as Zynga’s FarmVille, and enabled the games to “leverag[e]

 friends lists to boost the population of players.”34 This was highly profitable to Facebook, in

 that “30 percent of Zynga’s in-game advertising and purchase revenues went to Facebook” and,

 in the year before its IPO, “Zynga alone accounted for twelve percent of Facebook’s revenue.”35

 Consequently, “Zynga’s ability to leverage friends lists contributed to an insight: giving third-



29
   McNamee, supra note 302, at 197.
30
   Id.
31
   DCMS Report, supra note 28, ¶ 115.
32
   Id. ¶ 97.
33
   McNamee, supra note 302 at 184.
34
   Id.
35
   Id.

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 party developers access to friends lists would be a huge positive for Facebook’s business.”36

        296. Facebook’s sharing of user content and information with third parties—including

 Apps, Business Partners, Whitelisted Apps, and advertisers—has resulted in “explosive revenue

 growth,” as shown in the chart below.37




        297. Facebook’s sharing of user content and information has resulted in explosive user
 growth as well. As demonstrated in the below diagram, Facebook’s user growth was relatively

 flat until 2007, when Facebook launched its platform and started secretly sharing user content

 and information with its Business Partners. User growth then skyrocketed.38

36
   Id.
37
   Facebook’s annual revenue from 2009 to 2018 (in million U.S. dollars), Statista,
https://www.statista.com/statistics/268604/annual-revenue-of-facebook/ (last visited Feb. 22,
2019).
38
   Josh Constine, Facebook now has 2 billion monthly users … and responsibility, TechCrunch,
https://techcrunch.com/2017/06/27/facebook-2-billion-users/ (last visited Feb. 22, 2019); Gabriel
J.X. Dance, Nicholas Confessore, and Michael LaForgia, Facebook Gave Device Makers Deep

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        298. Facebook’s partnership with Apps was effective in building the platform at

minimal out-of-pocket cost to Facebook. With a more developed User Platform, Facebook’s

active user numbers steadily increased, as did users’ activity on Facebook. “I would expect that

next year, people will share twice as much information as they share this year, and next year,

they will be sharing twice as much as they did the year before,” Zuckerberg predicted in 2008.39

        299. Apps like the wildly popular FarmVille were remarkably successful and attracted

millions of users. At its peak in March 2010, FarmVille had 83.76 million monthly active

users.40 Daily active users of the App alone peaked at 34.5 million a year later.41


Access to Data on Users and Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-
friends-data.html.
39
   Anita Balakrishnan, Sara Salinas, & Matt Hunter, Mark Zuckerberg has been talking about
privacy for 15 years — here's almost everything he's said, CNBC (Mar. 21, 2018),
https://www.cnbc.com/2018/03/21/facebook-ceo-mark-zuckerbergs-statements-on-privacy-2003-
2018.html.
40
   Dean Takahashi, Zynga’s CityVille becomes the biggest-ever app on Facebook, VentureBeat
(Jan. 3, 2011), https://venturebeat.com/2011/01/03/zyngas-cityville-becomes-the-biggest-ever-
app-on-facebook/.
41
   Id.

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         300. By April 2012, there were more than 9 million Apps on Facebook and 42 million

 “Pages.”42 Facebook publicly reported that between January 1 and March 31, 2012, more than

 300 million photos were uploaded to the site each day. Users also generated an average 3.2

 billion Likes43 and comments each day in the first quarter of 2012—up from 2.7 billion per day

 in Q4 2011. By this time, Facebook boasted more than 125 billion Friend connections between

 its 901 million monthly active users.44 However, Facebook still was not capturing revenue at a

 level that satisfied investors.

         301. In 2012, Facebook took the company public.45 Following its IPO which, at the

 time, was the biggest Internet- based technology IPO in history, Facebook’s share price

 plummeted. While there were some technical difficulties on the day of the IPO, most analysts

 viewed Facebook’s anemic average revenue per user (“ARPU”) as the problem.46 This

 disastrous experience encouraged Facebook to accelerate changes to its business model to

 further favor advertisers, not its users. Facebook concluded that its initial “social networking”

 business model needed to change, and quickly, if the Company were to survive.

        302.    Zuckerberg decided it was time to choose between users’ privacy and the

Company’s revenues. In an internal email written by Zuckerberg to his senior executive team in

2012, Zuckerberg debated this conflict of interest, and firmly picked a winner – Facebook. As


42
   A “Page” is a Facebook profile, often public, that anyone, including artists, fan-generated
community pages, public figures, businesses, and entertainers can set up, and which other users
can Like. A Page is distinct from a user profile. Brittany Darwell, Facebook platform supports
more than 42 million pages and 9 million apps, Adweek (Apr. 27, 2012),
https://www.adweek.com/digital/facebook-platform-supports-more-than-42-million-pages-and-
9-million-apps/.
43
   Facebook Form S-1/A, supra note 17, at 97 (discussing “Likes” as electronic indications that a
user approved, or at least reacted to, a post, photo, experience, article or other content on
Facebook).
44
   Id. at 1.
45
   Emil Protalinski, Facebook’s IPO by the numbers, ZDNet (Feb. 1, 2010),
https://www.zdnet.com/article/facebooks-ipo-by-the-numbers/.
46
   See, e.g., Paul La Monica, 5 reasons to not 'like' Facebook's IPO, CNN Money (May 4, 2012),
https://money.cnn.com/2012/05/04/markets/thebuzz/index.htm?iid=EL.

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Zuckerberg wrote in the email:

       We’re trying to enable people to share everything they want, and to do it on
       Facebook. Sometimes the best way to enable people to share something is to have
       a developer build a special purpose app or network for that type of content and to
       make that app social by having Facebook plug into it. However, that may be good
       for the world but it’s not good for us unless people also share back to Facebook
       and that content increases the value of our network. So ultimately, I think the
       purpose of platform—even the read side—is to increase sharing back into
       Facebook.’47

        303. Facebook launched an all-out offensive to monetize user engagement by sharing

 what users shared with third parties. The problem with these initiatives is that Facebook did not

 clearly explain to users the changes it was making to its platform and how users’ content and

 information would be funneled to third parties paying Facebook for access to it.

        304. What Zuckerberg refers to in this email as the “read side” is actually the part of

 the platform accessible to Facebook’s Business Partners and App Developers. This was

 different than the platform users experienced. The fact that he refers to “read side” as differing

 from the user platform reflects the two sides of the Facebook experience. One side was the

 platform on which users engaged (the “User Platform”); the back end of the platform, the “read

 side,” funneled users’ content to Facebook’s Business Partners and App Developers.

        305. First, the Company turned Likes into product endorsements; next, it launched a

 marketplace for content and information about the people on its platform.48 Users may have still

 believed that Facebook was a social network where they could connect with people they knew,

 but Facebook’s true focus was to sell the information Facebook was collecting about its users.

 These initiatives greatly increased users’ deanonymization and violated their privacy settings.

        306. For example, starting in 2012, Facebook released its “Custom Audiences” feature

 to advertisers, which allows advertisers to directly target specific Facebook users with

47
  DCMS Report, supra note 28, ¶ 105.
48
  Rebecca Greenfield, 2012: The Year Facebook Finally Tried to Make Some Money, The
Atlantic (Dec. 14, 2012), https://www.theatlantic.com/technology/archive/2012/12/2012-year-
facebook-finally-tried-make-some-money/320493/.

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 advertisements.49 Using this feature, advertisers could upload a spreadsheet with user

 identifying information, including email, phone number, Mobile Advertiser ID, first name, last

 name, zip/postal code, city, state/province, country, date of birth, year of birth, gender, age,

 Facebook App User ID, and Facebook Page User IDs.

        307.    Another key initiative of value to advertisers was the ability to surveil users’

reactions in real time to content. For example, Facebook promotes an auto-play video function

for all mobile and desktop users. This function causes videos to play automatically as users scroll

through their News Feeds. Thus, as videos play automatically, Facebook increases users’

engagement with video advertisements, which Facebook then reports to advertisers.50

        308.    In May 2014, Facebook announced new video marketing analytics that allowed

advertisers to see “video views, unique video views, the average duration of the video view and

audience retention.”51 “Average Duration of Video Viewed [w]as the total time spent watching a

video divided by the total number of people who have played the video.”52 As recent reporting

has shown, Facebook has the ability to see precisely how long each user is watching each video,

and can report it to third parties in real time.53

        309.    Video views data provide rich information to advertisers about users, including


49
   Brittany Darwell, The Year in Facebook Advertising 2012, Adweek (Dec. 31, 2012),
https://www.adweek.com/digital/the-year-in-facebook-advertising-2012/.
50
   Justin Lafferty, Facebook announces international launch of auto-play video ads, Adweek
(May 20, 2014), https://www.adweek.com/digital/facebook-announces-international-launch-of-
auto-play-video-ads/.
51
   Facebook Business, Introducing Video Metrics, Facebook (May 5, 2014),
https://www.facebook.com/business/news/Coming-Soon-Video-Metrics.
52
   How is the “Average Duration of Video Viewed” calculated?, Facebook,
https://web.archive.org/web/20161001014809/https://www.facebook.com/business/help/commun
ity/question/?id=10104227902985423 (last visited Feb. 21, 2019).
53
   Suzanne Vranica, Advertisers Allege Facebook Failed to Disclose Key Metric Error for More
Than a Year, Wall St. J. (Oct. 16, 2018), https://www.wsj.com/articles/advertisers-allege-
facebook-failed-to-disclose-key-metric-error-for-more-than-a-year-1539720524?mod=e2tw; see
also, Letizia et al. v. Facebook , Inc., No. 16-cv-06232-JSW, Dkt. 165 at 10 (N.D. Cal. Filed Oct.
27, 2016) (Order denying in part Facebook’s motion to dismiss and discussing allegations that
Facebook inflated average time spent watching videos between 60-80 percent).

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what they like, dislike, and how long content can hold their interest. Videos are also wildly

popular with Facebook users. In November 2015, Zuckerberg boasted on an earnings call with

investors that Facebook users watched 8 billion videos per day.54

       310.    These are not the only tools Facebook employs to surveil users with the goal of

monetizing that information. Facebook also tracks users through Social Plugins, such as the

Facebook “like” or “Share” buttons. Only following the Cambridge Analytica scandal have users

begun to learn the extent of this surveillance: “If those buttons are on the page, regardless of

whether you touch them or not, Facebook is collecting data.”55

        311. In addition to the Plugins, Facebook also uses Facebook Analytics such as

 Facebook Pixel (“Pixel”) in order “better understand how people use their services.” Pixel is a

 transparent image embedded into the webpage that collects data and transmits it to Facebook.56

 Facebook has promoted Pixel as an “analytics tool that allows you to measure the effectiveness

 of your advertising by understanding the actions people take on your website.”57 Facebook

 reported that from April 9–16, 2018, “the Facebook Like button appeared on 8.4 million

 websites, the Share button appeared on 931k websites, and there were 2.2 million Facebook

 Pixels installed on websites.”58

        312. Facebook also collects sensitive information on many App users regardless of

 whether App users log in through their Facebook accounts or whether they have a Facebook

 account. Facebook gathers this information through its Software Development Kits (“SDK”),


54
   Josh Constine, Facebook Hits 8 Billion Daily Video Views, Doubling From 4 Billion In April,
TechCrunch (Nov. 4, 2015), https://techcrunch.com/2015/11/04/facebook-video-
views/?_ga=2.184710381.511973801.1549821477-1625503738.1539793011 (last visited Feb.
21, 2019).
55
   Allen St. John, How Facebook Tracks You, Even When You're Not on Facebook, Consumer
Reports (Apr. 11, 2018), https://www.consumerreports.org/privacy/how-facebook-tracks-you-
even-when-youre-not-on-facebook/.
56
   Id.
57
   About Facebook Pixel, Facebook Business,
https://www.facebook.com/business/help/553691765029382 (last visited Feb. 21, 2019).
58
   DCMS Report, supra note 28, ¶ 185.

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 which are available for mobile operating systems, including Apple and Android.59 SDK is a

 software development tool that helps App Developers build Apps for specific operating

 systems.60 Facebook collects this information the moment App Users begin sharing information

 with the App.

        313.     A study conducted between August and December 2018 by Privacy International

 found that 61 percent of the Apps it tested shared App users’ information with Facebook. The

 Wall Street Journal has since found “11 popular Apps” available on both Apple and Google

 phones “have also been sharing sensitive data entered by users.”61 This includes six of the top

 15 health and fitness Apps available in Apple’s iOS store. For example, “Flo Health Inc.’s Flo

 Period & Ovulation Tracker, which claims 25 million active users, told Facebook when a user

 was having her period or informed the App of an intention to get pregnant, the tests showed.”62

 In the case of Flo Health, the sensitive information sent to Facebook included a “unique

 advertising identifier” that can be matched to a device or profile.63

       314.      Facebook uses information collected through its SDKs to target users with

Facebook ads. Facebook does not provide users with the option to stop the company from

collecting their information through SDKs.


59
   See, e.g., with respect to Android, “Facebook's SDK for Android allows app developers to
integrate their apps with Facebook’s platform and contains a number of core components:
Analytics, Ads, Login, Account Kit, Share, Graph API, App Events and App Links. . . .
Facebook's SDK also offers Analytics (data, trends, and aggregated audience insights about the
people interacting with the app), as well as Ads and reading and writing to Facebook's Graph
API.” How Apps on Android Share Data with Facebook (even if you don’t have a Facebook
account), Privacy International (Dec. 2018),
https://privacyinternational.org/sites/default/files/2018-
12/How%20Apps%20on%20Android%20Share%20Data%20with%20Facebook%20-
%20Privacy%20International%202018.pdf.
60
   Id.
61
   Sam Schechner, You Give Apps Sensitive Personal Information. Then They Tell Facebook, The
Wall Street Journal (Feb. 22, 2019) https://www.wsj.com/articles/you-give-apps-sensitive-
personal-information-then-they-tell-facebook.
62
   Id.
63
   Id.

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       3.       Facebook’s Partnerships with Data Brokers Resulted in Aggregated,
                Deanonymized User Information
        315. At the same time that Facebook was working with App Developers to expand the

Facebook platform, Facebook instituted a more sophisticated method for third parties to target

users. By combining users’ content and information on Facebook with data Facebook acquired

from data brokers, Facebook was able to offer its advertisers and Business Partners a way to

pinpoint their user audience. This significantly exposed users to deanonymization.

        316. For example, in April 2013, Facebook partnered with data brokerage firm

Datalogix to assess the impact of Facebook advertisements on users’ purchases outside of
Facebook. Datalogix provided Facebook with datasets that it ultimately associated with specific

Facebook users. By matching the information provided by data brokers with the content and

information that Facebook curates on its platforms , Facebook was able to create digital dossiers

containing information about millions of individuals—users and nonusers alike. These dossiers

include names, addresses, health information, information about your neighbors, inclinations

and proclivities. All of these are used to predict future behavior, as described below. Facebook

did not tell users about these dossiers.

        317. As Facebook has continued to build its digital dossiers, it has forged relationships

with the many data brokers who provide data about individuals from across the world,

including:

            Acxiom (data from Australia, France, Germany, the U.K. and the U.S.);
            Acxiom Japan;
            CCC Marketing (data from Japan);
            Epsilon (data from the U.S.);
            Experian (data from Australia, Brazil, U.K. and U.S.);
            Oracle Data Cloud (formerly Datalogix) (data from U.K. and U.S.); and
            Quantium (data from Australia)
        318. Facebook has worked with these data brokers to collect information about

consumers through public records, loyalty card programs, surveys, and independent data

providers to be incorporated into its digital dossiers.


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        319. Facebook has then used these dossiers as filters through which advertisers could

 more precisely target users.64

        320. As of 2016, Facebook was collecting more than 52,000 unique data points to

 classify users and providing at least 29,000 targeted categories for advertisers to choose from.

 Nearly 600 of these categories were provided by third-party data brokers.65 This “data” is not

 only clinical information like date of birth; it is rich in personal information that taken together

 describes individuals and provides support for Facebook and advertisers to draw inferences

 about future behavior. It is this supposedly predictive quality of the aggregated data that is so

 valuable to Facebook’s advertisers. Through App partnerships, it now includes information like

 users’ ovulation.

        321. Facebook does not disclose to users that it matches content and information users

 reveal on the Facebook platform with information provided through data brokers collected from

 a myriad of sources to build digital profiles of them. Indeed, a March 2018 study shows 74% of

 Facebook users did not think their data was being collected when they were not logged into

 Facebook.66

       4.      The Wealth of Data About Users Enabled Highly Invasive Forms of
               Psychographic Marketing
        322. The availability of thousands of highly personal data points about individuals has

 facilitated invasive and targeted marketing called “psychographic marketing.” Psychographic

 marketing exploits a user’s fears, feelings, and values by appealing to a person’s motives and


64
   Tim Peterson, Facebook Will Remove Advertisers’ Other Third-Party Data Option, But
Loopholes, Questions Remain, DigiDay (Apr. 6, 2018), https://digiday.com/marketing/facebook-
will-remove-advertisers-third-party-data-option-loopholes-questions-remain/.
65
   Julia Angwin, Surya Mattu, & Terry Parris Jr., Facebook Doesn’t Tell Users Everything It
Really Knows About Them, ProPublica (Dec. 27, 2016),
https://www.propublica.org/article/facebook-doesnt-tell-users-everything-it-really-knows-about-
them.
66
   Paul Hitlin & Lee Rainie, Facebook Algorithms and Personal Data, Pew Research Center
(Jan. 16, 2019), http://www.pewinternet.org/2019/01/16/facebook-algorithms-and-personal-
data/.

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 instincts in order to influence a person’s emotions, mood, and behavior.

        323. To be effective, psychographic marketing requires a de-anonymized target

 audience through which the marketer can pinpoint personality traits for manipulation, exploiting

 deeply ingrained values and beliefs gleaned from an information-rich dossier such as those

 compiled by Facebook.

        324. And although Facebook promised its users it would not allow advertisers to target

 them personally, Facebook’s financial motivations prevailed. By granting access to user data to

 third parties and permitting those third parties to analyze and plug in the results of their

 analysis, Facebook exposed its users to a level of manipulation far beyond mere targeted

 marketing.

        325. Recognizing the importance of anonymity for the privacy and security of users

 who trusted Facebook with an unprecedented amount of personal content and information,

 Facebook expressly promised users that it would remove identifying information from content

 delivered to advertisers:

       When we deliver ads, we do not share your information (information that
       personally identifies you, such as your name or contact information) with
       advertisers unless you give us permission. We may provide advertisers with
       information when we have removed your name and other personally identifiable
       information, or combined it with other information so that it no longer personally
       identifies you.”67

        326. To the contrary, Facebook collection of users’ content and information combined

 with other data sources enabled personalized psychographic marketing. Facebook’s drive to

 increase user engagement and the lure of psychographic marketing campaigns collided with the

 Cambridge Analytical Scandal in which Kogan’s App administered a test which was designed

 to determine users’ OCEAN scores.

        327. OCEAN refers to a measure of five basic personality traits: Openness,

67
  Data Use Policy, Facebook, , https://www.facebook.com/about/privacy (last updated Nov. 15
2013) [https://web.archive.org/web/20131113201958/https://www.facebook.com/about/privacy].

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 Conscientiousness, Extroversion, Agreeableness, and Neuroticism.68 From the data Kogan

 collected about these traits, Cambridge Analytica was able to extrapolate tendencies, interests

 and vulnerabilities that drove manipulative messaging of a much more invasive and private sort

 than typical commercial targeting seeking to drive consumer behavior through, for example, an

 interest in shoes.

         328. Investigations triggered by the Cambridge Analytica Scandal have revealed that it

 was not just Kogan and Cambridge Analytica that purchased Facebook user content and

 information with the goal of using these manipulative marketing tactics. The DCMS Report

 revealed that thousands of other Apps mined Facebook for such user information.69 Politicians,

 advertisers and even foreign nations all engaged in psychographic marketing on Facebook using

 Facebook user content and information that had been disclosed to third parties without users’

 authorization.

         329. As Wired stated: “One minute you’re filling out an App survey; the next, your

 answers are informing the psychographically targeted ads of a political campaign. No one

 signed up for that.”70

         330. These changes in Facebook’s business model have turned the Company into one

 of the most powerful entities in the world. Facebook reported 2.32 billion MAUs and 1.52

 billion DAUs in the fourth quarter of 2018. Although Facebook’s revenues were over $16.9

 billion for that quarter.71

        331.      These numbers are broken down by Facebook in metrics called Average Revenue


68
   Erin Brodwin, Here’s the personality test Cambridge Analytica had Facebook users take,
Business Insider (Mar. 19, 2018), https://www.businessinsider.com/facebook-personality-test-
cambridge-analytica-data-trump-election-2018-3.
69
   DCMS Report, supra note 28, ¶ 123.
70
   Brian Barrett, Facebook Owes You More Than This, Wired (Mar. 19, 2018),
https://www.wired.com/story/facebook-privacy-transparency-cambridge-analytica/.
71
   Facebook Q4 2018 Results, Facebook (Jan. 30, 2019),
https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q4/Q4-2018-Earnings-
Presentation.pdf.

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Per User, or ARPU. ARPU is calculated in part by an assessment of the “quality” of those users.

More engaged users are more valuable to Facebook and higher quality than less engaged ones,

because of the amount of information they provide and make available to advertisers.

          332.   In 2018, ARPU for users in Canada and the United States was $34 per user:72




          333.   This extraordinary growth rests upon Facebook’s annual revenues of $55 billion

year.73




72
  Id.
73
  Facebook - Statistics & Facts, Statista, https://www.statista.com/topics/751/facebook/ (last
visited Feb. 21, 2019) (containing metrics relating to Facebook’s astronomical growth).

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       334.    Corresponding with Facebook’s increased ARPU, Facebook’s share prices also

grew exponentially.74 Before the Cambridge Analytica Scandal, increasing revenues drove the

stock to a share price as high as $242:




74
  Benjamin Rains, User Growth, ARPU & Other Key Q3 Facebook (FB) Estimates, Nasdaq
(Oct. 29,2018), https://www.nasdaq.com/article/user-growth-arpu-other-key-q3-facebook-fb-
estimates-cm1045438.

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B.     Facebook Made It Difficult and Sometimes Impossible for Users to Prevent
       Facebook from Publishing Their Content and Information to Third-Party
       Applications.

       1.      Overview of the Facebook User Platform
        335. As discussed above, Facebook began as a user-driven experience. To induce users

 to feel comfortable sharing on its platform, Facebook created a series of tools to create the

 illusion that users, not Facebook, controlled what content was shared with third parties.

        336. Users could interact on the Facebook user platform in a myriad of ways. After a

 user registered for Facebook, she would create a profile, which included the information

 Facebook required a user to submit at registration (Name, Gender, Email Address, and

 Birthday). If users wished, they could augment their profile with other optional information,

 such as Profile Picture; Hometown; Interested in (i.e., dating partners’ gender or sex); Looking

 for (i.e., friends, dating, networking); Relationships (e.g., relationship status or family

 relationships); Political and Religious Views; Likes and Interests (e.g., music, sports, hobbies);

 and Education and Work (e.g., high school, college, employer).75

75
   FTC Complaint, In the Matter of Facebook, Inc., No. C-4365 (F.T.C. July 2012),
https://www.ftc.gov/sites/default/files/documents/cases/2012/08/120810facebookcmpt.pdf.

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        337. After creating a profile, users could reach out to people to seek mutual status as

“Friends,” and could see other users to connect with through their networks or through their

Friends’ connections on Facebook. By featuring connections with Friends as an organizing

principle of the User Platform, users developed the sense that Facebook was a place of safety

and familiar people. Users could “Post” content on their Facebook homepage, and interact with

content posted by other users. Postings could be set to public or a variety of private settings, as

described below. Finally, users could privately message each other using Facebook Chat (which

became “Facebook Messenger”), a private messaging system between the user and other

Facebook members. The record of a user’s interactions with the Facebook User Platform

become a part of a user’s Profile, and was accessible to other Facebook users as described

elsewhere in this Complaint.

       2.     Facebook Falsely Promised Users That Their Privacy Controls Limited
              Sharing of Their Content and Information to the Audiences They Selected
        338. Throughout the Class Period, Facebook told users they could limit who viewed

their content through three different types of privacy-related tools (“Privacy Controls”). The

Privacy Controls applied to individual posting of content and overrode any Default Privacy

Settings which Facebook unilaterally established (as discussed elsewhere in this Complaint).

        339. Describing the Privacy Controls in a general sense is somewhat challenging

because the Privacy Controls changed in material ways over time at Facebook’s prerogative.

However, in every iteration, the Privacy Controls limited sharing of content and information to

the limited audiences users selected. Users who engaged in setting these restrictions did so

because they believed those restrictions would be honored.

        340. The three types of Privacy Controls were:

        A. Profile Privacy Settings, which limited who could see the content displayed on a

        user’s profile or shared by a user. There were at least 12 separate Profile Privacy

        Settings, each applying to different kinds of content.

        B. Profile Privacy Controls, which allowed a user to control who could see

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        information about the user himself or herself, including the types of Pages they liked or

        followed, the user’s photos, hometown, etc., information designated as publicly

        available information (“PAI”), however was not controlled by Profile Privacy Control

        Tools.76

        C. Publisher Privacy Control, which allowed users to define who can see the content

        they were posting, but allowed users to change the audience for individual posts.77 It

        overrides any other default settings. This tool appears next to or as part of the Publisher

        Window, which is the portion of the User Platform where a user posts content.

        341. Each of these Privacy Controls was located in a different section of the Facebook

 User Platform. Each of these Privacy Controls promised users they could make affirmative

 privacy choices for the categories of user content and information displayed on the user’s

 profile or shared by the user for which users had Privacy Controls.

       3.      Facebook’s “Privacy Controls” Misled Users About How to Control the
               Information and Content That They Shared with Applications.
        342. Critically, Facebook’s Privacy Controls purported to give users control over who

 could see their content and information on the Facebook user platform. That is, they controlled

 the content and information that other users could see.

        343. The revelation of the Cambridge Analytica scandal was that these “Privacy

 Controls” did not control what third-party applications or Business Partners could see. For that,

 users had to go to another part of Facebook, to a fourth tool, the “App Settings” page. What’s


76
   Facebook, Facebook Redesigns Privacy, supra note 14 (introducing privacy controls for
pages); Making it Easier to Share With Who You Want, Facebook (Aug. 23, 2011),
https://www.facebook.com/notes/facebook/making-it-easier-to-share-with-who-you-
want/10150251867797131 (introducing inline privacy controls for profile information and
posts).
77
   See, e.g., Facebook Asks More Than 350 Million Users Around the World To Personalize
Their Privacy, Facebook Newsroom (Dec. 9, 2009),
https://newsroom.fb.com/news/2009/12/facebook-asks-more-than-350-million-users-around-the-
world-to-personalize-their-privacy/ (introducing Publisher Privacy Control); Facebook, Making
it Easier to Share, supra note 76.

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 more, it is apparent only now that even the App Settings did not control the information

 available to 5,200 “Whitelisted Apps,” and no setting prevented Facebook sharing users’

 content and information with Business Partners.78 That is, thousands of Apps had access to all

 user content and information, regardless of users’ Privacy Controls or App Settings.

          344. Facebook shared information with Whitelisted Apps and Business Partners

 secretly and at its own discretion, driven by its business interests, not users’ privacy interests.79

 Thus, the Privacy Controls described herein were a fig leaf insofar as sharing with Facebook’s

 whitelisted Apps and Business Partners were concerned.

          345. However, the Privacy Controls, along with Facebook’s other statements regarding

 users’ control of their content and information, created an expectation of privacy for reasonable

 users who believed that the Privacy Controls actually operated as Facebook said they did. The

 Privacy Controls are described below. Users who understood they needed to do more to protect

 their privacy spent significant time adjusting these controls. See ¶¶ 29, 38, 45, 52, 63, 71, 81,

 88, 96, 107, 115, 123, 131, 144, 163, 171, 191, 213, 220.

          346. The Profile Privacy Settings tool was available during the entire Class Period

 through the Profile Privacy Settings screen. Though the Profile Privacy Settings screen changed

 throughout the Class Period, at all relevant times the Profile Privacy Settings purported to give

 Facebook users the ability to control who could see their content and information. To access the

 Profile Privacy Settlings from the Facebook home page, a user clicked on Account and selected

 Privacy Settings to access the Privacy Page. From there, a user selected a privacy hyperlink and

 then Profile, which would take the user to a Profile Privacy Settings screen. The Profile Privacy

 Settings screen allowed users to set her own default audience for the content and information

 the user shared with other Facebook users. Users could accept Facebook’s default Profile

 Privacy settings (which changed throughout the Class Period), or could modify them. Users


78
     DCMS Report, supra note 28, ¶ 81.
79
     Id.

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 who changed their profile Privacy Settings to limit the audience for their profile or posts relied

 on Facebook’s assertions of choice and control over who could view the content they posted.




        347. For example, the below screenshot of this “Privacy Settings” screen from 2010

 offered a list of the categories of information. From this menu, the user could seemingly choose

 a specific audience to share this information with. Clicking the dropdown arrow next to each

 category allowed users to specify whether the information is shared with “Everyone,”

 “Friends,” “Friends of Friends,” or to choose their own customized audience list.80

        348. This screen changed slightly, to the display below, around 2010 to 2011.81 Like

80
   Aarpwi, FB Privacy Settings, YouTube (Apr. 6, 2010),
https://www.youtube.com/watch?v=HRhB3R9DTNo (last visited Feb. 22, 2019).
81
   Kvchosting, How to Manage Your Privacy Settings on Facebook, YouTube (Mar. 25, 2013),
https://www.youtube.com/watch?v=O378rrYcjlc (last visited Feb. 22, 2019).

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the previous screen, this webpage seemingly allowed users to choose who can see their content

and information.




        349. At some time in 2012 to 2013, the display changed again to the display below.

This screen stayed substantially the same until April 2018.




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          350. As with the prior iterations of the Profile Privacy Control screens, during the

 period leading up to 2018, users could select the edit button next to each category of

 information. This would then allow the user to choose the audience that could view the user’s

 posts. For each “Privacy Setting” depicted above, users could click a dropdown menu and

 restrict access to specified users, e.g., “Only Friends,” or “Friends of Friends.”

          351. Second, the Profile Privacy Controls, introduced for Pages on May 26, 2010,

 and for other profile content on August 23, 2011, controlled the audience for the categories of

 information displayed on a user’s Profile, e.g., the Pages they interacted with on Facebook, their

 photo albums, or other basic information such as hometown.82 Users could control who could

 see the books, movies, or sports teams they liked by locating the “Favorites” section of their

 Profile Page, and selecting the audience for each category of Page Likes from a drop-down

 menu. Similarly, a user could select the audience for her hometown, or photo albums.

          352. Users also had Profile Privacy Controls that could limit the audience for each


82
     Facebook, Making it Easier to Share, supra note 76.

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 individual category of information displayed on their Facebook profile (e.g., books and movies).

 For example, a user who wanted to hide her likes could locate the “likes” category on their

 public profile and select an audience dropdown menu next to each “likes” category.83 This

 menu gave users the following options for whom the information could be shared with:

 “Public,” “Friends,” “Only Me,” and “Custom.”




            353. Facebook also seemingly offered users’ Profile Privacy Controls over their

 photos. Users could set entire photo albums as well as individual photos to a specific audience.

 An example is shown below:




83
     Id.

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          354. Just like the Profile Privacy Settings page, each of these Profile Privacy Controls

 purported to give a user control over who could see her content and information. In actuality,

 only the “only me” selection would have limited third-party applications from accessing the

 user’s information through her Friends. This was not clear in the controls.

         355.   Third, after December 9, 2009, users could use the Publisher Privacy Control

Tool to control the audience for specific content shared by a user, called a “Post.” Posts are some

of the most commonly created user content on Facebook.84 Posts include videos, media, photos,

and other content accompanied by anything a user wishes to express on the platform. Photos and

other content users post also contain geolocation data, relationship data, information about

people’s moods and proclivities. Posts are the heart of the user experience on Facebook. The


84
     Facebook, Facebook Asks More, supra note 77.

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privacy settings for them are the backbone of users’ expectations of privacy on the platform.

        356. Regardless of any profile Privacy Setting a user might have in place, a user could

 select an audience for any content he wished to post. That is, the Publisher Privacy Control

 overrode any default settings for that particular Post. Put differently, even if the default settings

 were public, users could—and frequently did—select limited audiences for the content they

 shared.85 Users invested time and effort in making those selections and reasonably expected that

 they would limit audiences for the content

        357. As the below example from 2011 shows, a user could set the audience for a

 specific status update, photo, or video at the time that the user shared the content. Users could

 also retroactively restrict audiences by category (such as photo album) or content on the user’s

 Profile Page.86




        358. The Profile Privacy Control and Publisher Privacy Control tools were the primary

 controls available to Facebook users as they navigated the Facebook user platform, meaning

 that users could interact with them to choose the audience for their content in the process of

 sharing content, rather than having to go to a separate part of Facebook like the Profile Privacy


85
   Facebook, Making It Easier to Share, supra note 76; see also Facebook, Improving User
Control on Facebook (Dec. 9. 2009),
https://www.eff.org/files/press_presentation_wednesday.pdf.
86
   Facebook, Making It Easier to Share, supra note 76.

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Settings screen. Given the relative accessibility and prominence of the Profile Privacy Control

and Publisher Privacy Control tools, users expected that the audiences they selected to view

content they shared would actually be limited to their designated audiences.

        359. Most of Facebook’s Privacy Settings, including the default privacy settings

Facebook selected for new users, appeared to users only if they visited the Profile Privacy

Settings screen, or sought out specific parts of the user’s Profile. Because the Publisher Privacy

Control tool in particular was available in real time as a user shared information, interacted with

Friends, or otherwise used the Platform, it was the Publisher Privacy Control tool that shaped a

user’s expectations for how one’s content would be shared. Even new users whose Profile

Privacy Settings were defaulted by Facebook to public for much of their content and

information during that 2010-2014 time period had the ability to designate specific posts,

photos, and videos as private, and to send private content and information to specific recipients

via Facebook Messenger. Many Plaintiffs used the Publisher Privacy Control to set the privacy

for specific posts, limiting their audiences during this time. Individual decisions to limit

audiences were not overridden by default settings. But Facebook gave third parties access to

this private content regardless.

        360. Facebook repeatedly promised users that its Privacy Controls would allow users

“choice” of audience and “control” over who viewed their content and information on

Facebook. Users who changed their Privacy Settings to limit the audience for their profile or

Posts reasonably relied on Facebook’s assertions as to users’ choice and control.

       4.     To Control Sharing with Applications, Facebook Required Users to Hunt
              for, Find, and Change the Default Preferences of Their App Settings.
        361. To prevent their information from being shared with applications through their

Friends, users needed to access their App Settings, not their Privacy Controls.

        362. App Settings. In 2010, Facebook created a completely separate set of privacy

settings to control what content and information applications could access. App Settings were

buried within Facebook’s website so effectively that all but the most sophisticated or intrepid

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 users would know they existed and controlled users’ privacy. The App Settings were set by

 default to share all content with third-party applications, not to prevent sharing. By hiding the

 App Settings and establishing sharing by default, Facebook published users’ content and

 information without their knowing consent.87

        363. To access App Settings, a user would first need to access the Settings webpage.

 On that webpage, a user would need to click a hyperlink to “Apps” (during the Class Period,

 this link has also been labeled “Applications” and “Applications and Websites”).

        364. After accessing the App Settings webpage, a user would then need to click the

 “Edit Settings” link next to the subheading “Apps others use.”88 This subheading is described

 with these words: “People who can see your info can bring it with them when they use Apps.

 Use this setting to control the categories of information people can bring with them.”89




87
   See Brief for Appellants at 42-43, Six4Three, LLC v. Facebook, Inc., et al., No.
A154890/155334 (Cal. Ct. App. Feb. 6, 2019) (noting that counsel for Facebook has recently
taken the legal position that Facebook “depublished” users’ content and information by turning
off access to certain Apps). The conclusion then is that Facebook must have been publishing
users’ content before it made the decision to depublish it.
88
   See Leonie Smith, Advanced Privacy Settings for Facebook 2013-2014, YouTube (Jan. 17,
2013), https://www.youtube.com/watch?v=OPRFQyGq-yM (last visited Feb. 22, 2019).
89
   Id.

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        365. A user would be able to alter their application-related privacy settings only after
clicking the “edit” link.

        366. In December 2009, Facebook changed the “Apps others use” control. Under

original settings, users had a one-click option to prevent the disclosure of personal information

to third party App Developers through the Facebook Application Programming Interface




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 (“API”)90, as the screenshot below indicates91:




        367. Facebook changed this control in December 2009, to eliminate the universal one-

 click option and replace it with a complex control panel. This further prevented users from

 being able to limit their information from being shared.

        368. After December 2009, default “Apps others use” controls allowed the sharing of
 over fifteen categories of information. The default settings for every user allowed third parties

 access to the following categories of information: Bio; Birthday; Family and relationships; My

 website; If I’m online; My status updates; My photos; My videos; My links; My notes;

 Hometown; Current city; Education and work; Activities, interests, things I like; and My app

 activity. These default settings are shown below:




90
   “Application Programming Interface” or “API” is a collection of commands that an
application can run on Facebook, including authorization commands, data retrieval commands,
and data publishing commands.
91
   Kevin Bankston, Facebook's New Privacy Changes: The Good, The Bad, and The Ugly,
Electronic Frontier Foundation (Dec. 9, 2009),
https://www.eff.org/deeplinks/2009/12/facebooks-new-privacy-changes-good-bad-and-ugly.

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        369. Each of these controls corresponds to a category of content and information that

App Developers could access using Graph API v1.0.

        370. To change her settings, a user would have to click each individual box and click

“Save Changes.” In total, the user would have had to make twenty separate clicks to prevent
Facebook from sharing these categories of content and information with third parties.

        371. Even if a user un-checked each of these boxes, Facebook would still share that

user’s friend list, gender, and other information that the user had made public. The only way to

turn access off to third parties entirely was to turn off access to all applications. Yet, by default,

applications were turned on. Thus, a user who had never accessed or signed up for an

application still would have shared over fifteen categories of their information to third parties.

        372. To turn off applications entirely, a user would need to go to the App Settings

page, go to the “Apps you use” subheading, and click the “edit” link next to that subheading.



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This would bring up the following disclosure:




        373. Only by clicking “Turn Off Platform” could the user prevent all access to her

information by third-party App Developers. This would have taken five affirmative clicks from

the user.

        374. Moreover, if a user set her profile privacy settings to “public” but set her App
Settings to prevent sharing with third-party Apps, Facebook would override users’ App

Settings. Rather than abiding by a user’s express desire to prevent Apps from accessing her

content and information, Facebook allowed Friends to authorize third-party access to a user’s

content and information. However, the reverse was not true. If users set their profile privacy

settings for information to a non-public setting like Friends or Friends of Friends, Facebook

would not limit the information third parties could access through Friends’ App usage.

        375. The “Apps others use” control panel no longer was effective after Graph API v1.0

was removed in May 2015. Regarding this control panel, Facebook stated: “This feature is a


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 legacy control. It does not reflect the information apps can get on the version of our platform

 implemented from 2014.”92 Yet, even after this control panel was removed, Facebook continued

 to give users’ content and information to Whitelisted Apps Developers and Business Partners.

        376. Overall, this process defies the reasonable expectations of a user. Users who

 chose to limit their Privacy Settings to “Friends,” “Friends of Friends,” and “Public” would still

 have potentially shared their information with their Friends’ Apps Developers.

        377. Notably, App Developers had access to more information they were collecting

 about users than users had options to control. The App control panel facing users did not

 identify the same categories of content that App Developers could access.

        378. The disconnect meant that App Developers could download information that users

 had not had the option of excluding from availability to them. For example, even if a user

 deselected all content displayed in this panel, App Developers could still gain access to user’s

 information, such as messages and posts on the App User’s timeline.

        379. Moreover, when an App User granted permission to App Developers, the user’s

 Friends were not given any contemporaneous notice identifying the categories of their

 information being shared to the App Developer. Thus, users had no way to view what content

 and information Apps were accessing through users’ Friends.

        380. What’s more, while Facebook provided App Users with a list of Apps users

 themselves authorized, Friends received no notice of all of the Apps downloading their content.

 That meant that Friends had no way to modulate their behavior or remove that access. A real

 time example is that the App Pikinis, developed by App Developer Six4Three, collected photos

 of women in bikinis, curating them for users to rate and review. If a woman sent a photo

 attached to a private message to just one person, that photo was still published to Six4Three by


92
   James Titcomb, A Facebook privacy setting to manage what data you share does not do
anything, The Telegraph (Mar. 22, 2018),
https://www.telegraph.co.uk/technology/2018/03/22/facebook-privacy-setting-manage-data-
share-does-not-do-anything/.

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 Facebook when that “Friend” downloaded its App. Women in those photos had no notice that

 their content was downloaded and no way to retrieve it.

          381. Indeed, an FTC complaint from 2011 (“FTC Complaint”) filed against Facebook

 outlines many of the same issues that persisted:

         14. None of the pages . . . have disclosed that a user’s choice to restrict profile
         information to “Only Friends” or “Friends of Friends” would be ineffective as to
         certain third parties. Despite this fact, in many instances, Facebook has made
         profile information that a user chose to restrict to “Only Friends” or “Friends of
         Friends” accessible to any Platform Applications that the user’s Friends have used
         (hereinafter “Friends’ Apps”). Information shared with such Friends’ Apps has
         included, among other things, a user’s birthday, hometown, activities, interests,
         status updates, marital status, education (e.g., schools attended), place of
         employment, photos, and videos.

         15. Facebook’s Central Privacy Page and Profile Privacy Page have included links
         to “Applications,” “Apps,” or “Applications and Websites” that, when clicked,
         have taken users to a page containing “Friends’ App Settings,” which would
         allow users to restrict the information that their Friends’ Apps could access.

         16. However, in many instances, the links to “Applications,” “Apps,” or
         “Applications and Websites” have failed to disclose that a user’s choices made
         through profile privacy settings have been ineffective against Friends’ Apps. For
         example, the language alongside the Applications link . . . has stated, “[c]ontrol
         what information is available to applications you use on Facebook.” (Emphasis
         added). Thus, users who did not themselves use applications would have had no
         reason to click on this link, and would have concluded that their choices to
         restrict profile information through their Profile Privacy Settings were complete
         and effective.93

          382. Moreover, this process required users to navigate through multiple webpages and

 privacy setting controls. By hiding the controls and establishing privacy settings that allowed

 sharing, Facebook sought to manufacture users’ consent.

          383. Perhaps most egregiously, Facebook provided users with no tools to control

 whether and how their content and information could be accessed by Business Partners. Neither

 the Privacy nor the App Settings had any effect on Business Partners’ access to their content


93
     FTC Complaint, supra note 75(emphasis added).

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 and information.

       5.      Facebook Changed the Default Privacy Settings from 2010-2014 to Make
               More Content Public, Prompting FTC Action.
        384. Users who signed up before November 2009 were assured that in general their

 content was nonpublic because Facebook’s default Privacy Settings made most user content

 available only to Friends and Networks.94 For example, Friends had access to a user’s Contact

 Information, Birthday, and other Profile Information, while Friends and Networks had access to

 Wall Posts, Photos, and Friends Lists. Only a user’s name and network were designated as

 public information by Facebook. Users could control access to other content and information

 including Name, Profile Picture, Gender, Friend List, Pages, Networks, and Posts through

 Privacy Controls, as described in more detail elsewhere in this Complaint.95

        385. In December 2009, however, Facebook changed its Privacy Policy to designate

 additional items of user information as public.96 With these changes, Facebook unilaterally

 made users’ name, profile picture, gender, current city, Friend List and Page Likes public,

 regardless of a users’ prior Privacy Settings.97 This meant that users could not prevent other

 users or third-party Apps from seeing this content, including content that they had designated

 private. For users who had signed up and built a community on Facebook, their only choice was

 to leave Facebook or surrender their preferred privacy restrictions on some of their content and

 information. This was a breach of Facebook’s promise to users that they controlled their content

 and information.

        386. At the same time, Facebook changed the default Privacy Settings for most other

 types of information, including for “About Me” information, Family and Relationships, Work

 and Education, and Posts to “Everyone,” changing the default of Photos and Videos, Birthday,


94
   Id. at ¶ 19.
95
   Id. at ¶ 20-22; Opsahl, Kurt, Facebook's Eroding Privacy Policy: A Timeline, Electronic
Frontier Foundation (Apr. 28, 2010), https://www.eff.org/deeplinks/2010/04/facebook-timeline.
96
   FTC Complaint, supra note 75, ¶20-22.
97
   Facebook, Facebook Asks More, supra note 77.

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 and Religious and Political Views to Friends of Friends, and keeping access to user Contact

 Information to Friends Only.98

          387. However, even during this time period, users purportedly could privately message

 one another, reasonably expecting that content shared through Facebook Messenger would

 remain between those limited audiences. Users could also post and designate their post content

 private.

          388.   While the 2009 default Privacy Setting remained in place for new users until

 2014, Facebook responded to the public outcry about the unilateral changes to public in May

 2010, by designating less user information as public. After May 26, 2010, a user’s name, profile

 picture (should a user choose to have one), gender (though this could be hidden on the profile),

 and networks (should the user join any) were designated as PAI, and while current city, Friend

 List and Page Likes were defaulted to public, they could be changed by a user to a more private




 setting.99


99
     Facebook, Facebook Redesigns Privacy, supra note 14.

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          389. In May 2014, after years of controversy, Facebook restored the default Privacy

 Setting of “Friends Only” for Posts for new users, but did not change settings for existing

 users.100 Rather, Facebook offered existing users “Privacy Check-ups” that continued to

 recommend public disclosure of nearly all user content and information.101 Facebook also made

 the setting for posts “sticky,” meaning that new posts defaulted to whatever setting was selected

 for the previous post. These user-content default settings have largely remained in place since

 2014, though Facebook has made adjustments to the location and availability of privacy settings

 and controls.102

C.        Facebook Allowed Third Parties to Access Facebook Users’ Content and
          Information Without or Beyond the Scope of Users’ Consent.
          390. Through its use of various API technology, Facebook allowed App Developers,

 device makers, and other Business Partners to access its platform and interact with Facebook

 users.

          391. For example, Facebook used an “Events API” to allows users to grant an App

 permission to get information about events the user is hosting or attending, including private

 events. Additionally, Facebook used a “Groups API” to make it easier for users to post and

 respond to content in their groups. Likewise, Facebook offered a “Pages API” to help App

 Developers create tools for Page owners to schedule posts and reply to comments or messages.

          392. In April 2018, following the Cambridge Analytica Scandal and resulting inquiries,

 Facebook acknowledged that all three of these APIs could provide access to a great deal of user

 content and information and, thus, Facebook opted to impose more requirements for App


100
    Josh Constine, Facebook Stops Irresponsibly Defaulting Privacy of New Users’ Posts to
“Public,” Changes to “Friends,” TechCrunch (May 22, 2014),
https://techcrunch.com/2014/05/22/sometimes-less-open-is-more.
101
    Id.
102
    Daniel Terdiman, Facebook Just Announced These Changes To Try To Ease Your Mind On
Privacy And Data, Fast Company (Mar. 28, 2018)
https://www.fastcompany.com/40550689/how-facebook-is-striving-to-ease-userss-minds-on-
privacy-and-data.

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 Developers before they could gain access to user data through any of these APIs.

           393. Facebook’s Graph API, is the “primary way to get data into and out of the

 Facebook platform.”103 The first version of Graph API, Graph API v1.0, available from April

 2010 to May 2015, was very permissive.104 It was ultimately through this platform that

 Cambridge Analytica purchased the data of as many as 87 million Facebook users.

       1.        Facebook Developed an Interface That Allowed App Developers to Access a
                 Facebook User’s Content and Information Via That User’s Friend.
           394. Facebook announced its Graph API v1.0 in April 2010 at Facebook’s annual App

 Developer conference. In unveiling Graph API v1.0, Mr. Zuckerberg laid out his plan to turn

 the Web into what he called “instantly social experiences.”105

           395. Graph API v1.0 enabled App Developers to access and store the App User’s

 name, gender, birthdate, location, photos, and Page likes. App Developers could also collect this

 information from the App User’s Friends. Device makers and Business Partners had similar

 access.

           396. Facebook organizes users’ content and information on Graph API as “objects”106

 (e.g., people, photos, events, and pages), “connections”107 between users (e.g., Friend

 relationships, shared content, and photo tags), and fields which is the metadata associated with

 an object.108

           397. Metadata, or “data about data,” are additional pieces of data associated with each

 Post, message, or other content. Metadata provide context to data. For example, the metadata of

103
    Overview—Graph API, Facebook for Developers,
https://developers.facebook.com/docs/graph-api/overview (last visited Feb. 20, 2019).
104
    Changelog—Graph API, Facebook for Developers,
https://web.archive.org/web/20141208030452/https://developers.facebook.com/docs/apps/chang
elog# (last visited on Feb. 20, 2019).
105
    Erick Schonfeld, Zuckerberg: “We are Building a Web Where the Default is Social”,
TechCrunch (Apr. 21, 2010), https://techcrunch.com/2010/04/21/zuckerbergs-buildin-web-
default-social/.
106
    Also referred to as “nodes.” Overview—Graph API, supra note 103.
107
    Also referred to as “edges.” Id.
108
    Id.

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a video includes the timestamp of when the video was created, the profile of the user who

created the video, and the title and description of the video. Facebook metadata also include

users’ privacy restrictions. When Facebook made certain user content, such as photos and

videos, available on Graph API v1.0, the metadata reflecting user’s privacy designations

associated with this content was not provided to third parties, although other metadata was.

        398. In order to read, publish, and delete non-public content and information on Graph

API v1.0, App Developers needed to request permission from the user that downloaded and

logged into the application.

        399. For every permission that is granted, Facebook grants a corresponding “access

token,” that the App Developer can then use to query information though the Graph API.

        400. After the App Developer submits the query, Graph API returns that object as well

as a set of metadata and connections associated for that object.




        401. Third parties using the Graph API v1.0 could access user-data in two ways:

server-based and browser-based.


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        402. Through the server-based method, a user installs the App, which then allows the

App to get an “access token” from Facebook. Once the App receives an access token, it may use

it to issue a request for certain user data (or Friend data) to Facebook’s server. Facebook will

respond by transmitting the requested data to the App server. The data contained in Facebook’s

response is then received and stored by the App server.

        403. The browser-based method is slightly different. A user installs the App, which

then resides in the user’s web browser. After installation, the App obtains an “access token”

and, using the access token, may issue a request for certain user data (or Friend data) to

Facebook’s server. Facebook will respond by transmitting the requested data to the user’s

browser. The App sends this data from the user’s browser to the App server, which stores it.

        404. In the browser-based method, Facebook’s server sends data to the user’s browser.

Unknown to Facebook or the user, the App code, which resides in the user’s browser, captures

this data before it reaches the user and sends it to the App’s own server. Thus, it is plausible to

consider it an interception. In the server-based method, on the other hand, Facebook’s server

sends data to the App’s server, so that an App residing in the user’s browser cannot intercept it.

        405. In both server-based and browser-based methods, third parties were able to store

users’ content and information.

        406. Under Graph API v1.0, App Developers could access different categories of

users’ content and information. The graph below displays all categories of information available

under Graph API v1.0:




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        407. Under Graph API v1.0, App Developers, by default gained access to users’ “Basic

 Info,” which included their User ID, name, gender, their current city, age, Friend lists, and any

 other information that the App User had made publicly available.109

        408. In order to gain access to nonpublic content and information, App Developers
 needed to request permission from the App User. Through this process, App Developers gained

 access to the App User’s content and information and the user’s Friends’ content and

 information.

        409. Under Graph API v1.0, App Developers could request three types of permissions:




109
   Permissions Reference, Facebook Developers, (Sept. 23, 2012),
https://web.archive.org/web/20120923065901/https://developers.facebook.com/docs/authenticati
on/permissions/ (last visited Feb. 20, 2019).

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 User permission, Friends permission, and Extended Permissions.110

        410.    Graph API v1.0 categorized both the User and Friends permissions as “Extended

 Profile Properties.” Extended Profile Properties included: about me; activities; birthdays; check

 ins; education history; events; groups; hometown; interests; likes; location; notice; photos;

 questions; relationships; relationship details; religion and politics; status; subscriptions; videos;

 websites; and work history. A chart from Facebook’s App Developer page defining these

 permissions follows below111:




110
    Id.
111
    Extended Profile Properties, Facebook Developers (Sept. 11, 2013),
https://developers.facebook.com/docs/reference/login/extended-profile-properties/
[https://web.archive.org/web/20130911191323/https://developers.facebook.com/docs/reference/l
ogin/extended-profile-properties/]

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        411. In addition, App Developers could request “Extended Permissions” from the App

User. These permissions gave access to the content and information of both the App Users and




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 the users’ Friends. These permissions are defined below:112

        412. Through these permissions, App Developers gained access to the content and

 information about the App User’s Friends. For example, “Read_mailbox” permission allowed

 the App Developer to read the private messages of users. This access would include message

 sent to and from the App User’s Friends.

        413. Also, read_stream allowed the App Developer to read the nonpublic posts on the

 App User’s timeline. This access would include content posted by the App User’s Friends on

 the user’s timeline even if that content was meant only for Friends. It also included any content

 that the App User’s Friends had been tagged in. Tagging is a metadata field that refers to the

 process by which users can link other users to objects on Facebook.

        414. App Developers sought all permissions, including the permissions that gave

 access to Friends’ content and information, from the App User when she downloaded or logged

 into the App. Facebook did not send any notification to Friends when third party App

 developers gained these permissions.”

        415. Regarding Facebook’s sharing of content and information with App Developers,

 Ashkan Soltani, independent researcher and consultant and former Chief Technologist at the

 Federal Trade Commission, stated that he “found that time and time again Facebook allows App

 Developers to access personal information of users and their Friends, in contrast to their privacy

 settings and their policy statements,” and consequently “there is very little the user can do to

 prevent their information from being accessed.”113

       2.      Graph API Allows App Developers to Access Users’ Video Information.
        416. A key element of Apps, for users, was the ability to watch and share video content

 on Facebook’s platform. Facebook has developed considerable resources into collecting,

112
    Extended Permissions, Facebook Developers (Sept. 11, 2013),
https://developers.facebook.com/docs/reference/login/extended-permissions/
[https://web.archive.org/web/20130911191422/https://developers.facebook.com/docs/reference/l
ogin/extended-permissions/].
113
    DCMS Report, supra note 28 ¶ 89.

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 curating and enabling users to watch videos on its platform.

        417. To provide this functionality, Facebook stores video information in its data

 centers, and further stores copies of videos in secondary distribution centers known as "edge

 caches" located throughout the World. There are ten such distribution centers in the United

 States alone. When a user attempts to access videos on the Platform, Facebook sends out the

 copy of the video from the nearest distribution center. The viewer is then able to watch the

 video on Facebook.

        418. Facebook has successfully encouraged users to watch videos on the platform and

 video viewing is a substantial component of user activity on Facebook. For example, in 2007,

 Facebook announced a partnership with Ziddio.com that would “allow Facebook users to create

 and share user-generated videos and give them the chance to become part of a new television

 series titled ‘Facebook Diaries.’”114 As part of that partnership, Facebook “encouraged [users]

 to upload, view, share and rate videos.”115 In 2013, Facebook announced that it was “starting to

 test an easier way to watch videos on Facebook.”116 A 2016 Facebook Newsroom post stated,

 “[w]e’re focused on creating video experiences that people want, and we’ve heard that people

 want different options for how and where they watch videos that they discover on Facebook.”117

 Facebook Watch, a feature released in 2017, touted Facebook’s expanded video platform for

 “[o]riginal shows and popular videos.”118

        419. Facebook, in turn, passed valuable information about how users watched video

114
    Facebook and Comcast’s Ziddio Partner to Create User-Generated TV, Facebook Newsroom
(Feb. 7, 2007), https://newsroom.fb.com/news/2007/02/facebook-and-comcasts-ziddio-partner-
to-create-user-generated-tv/.
115
    Id.
116
    Kelly Mayes, An Easier Way to Watch Video, Facebook Newsroom (Sept. 12, 2013),
https://newsroom.fb.com/news/2013/09/an-easier-way-to-watch-video/.
117
    Brent Ayrey, A New Way to Watch Videos from Facebook on Your TV, Facebook Newsroom
(Oct. 13, 2016), https://newsroom.fb.com/news/2016/10/a-new-way-to-watch-videos-from-
facebook-on-your-tv/.
118
    Facebook Newsroom, Introducing Watch, a New Platform for Shows on Facebook (Aug. 9,
2017), https://newsroom.fb.com/news/2017/08/introducing-watch-a-new-platform-for-shows-on-
facebook.

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content onto third parties. For example, video information was available to App Developers

through at least seven different categories of data. These categories included: “users_videos”,

“friends_video”; “users_subscriptions”; “friends_subscriptions”; “users_likes”; “friends_likes”;

and “read_stream.” Facebook set users’ default App settings to allow sharing of six out of the

seven of these categories.

        420. According to Facebook’s definition, the data queries “users_videos” and

“friends_video” permissions allowed App Developers to obtain “the videos the user has

uploaded, and videos the user has been tagged in.” Facebook set users’ default “App settings” to

allow all of this information to be shared with App Developers through a user’s Friend. Thus,

any App Developer who requested these permissions could have received video information

from all users who had not changed the default settings.

        421. The “users_likes” and “friends_likes” data categories allowed access “to the list

of all of the pages the user [had] liked.” Facebook defines “Facebook Pages” as “a public profile

that allows anyone including artists, public figures, businesses, brands, organizations, and

charities to create a presence on Facebook and engage with the Facebook community.”

        422. According to Facebook’s S-1 filing in April 2012, “Examples of popular Pages on

Facebook include Lady Gaga, Disney, and Manchester United, each of which has more than 20

million Likes.” By March 31, 2012, “there were more than 42 million Pages with ten or more

likes.” Accordingly, users’ likes would have included the Facebook pages for any movies,

television shows, actors, production studios, etc. that the user had liked. Facebook set users’

default “App settings” to allow this information to be shared to App Developers through a

users’ Friend.

        423. Facebook allowed App Developers access to video information through the

“read_stream” query. Facebook’s Developer webpage defined this category as providing

“access to all the posts in the user’s News Feed and enables your application to perform

searches against the user's News Feed.” This information would include any videos uploaded by


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 the user as well as any videos or video hyperlinks shared with a user. It would also include any

 and all posts by that user and shared with that user about videos. For instance, an App

 Developer using this permission setting could see a user’s posted critique of a specific movie.

        424. Facebook also allowed access through “read_mailbox” category of information,

 which allowed Developers were able to read the private messages between the App User and

 her Friends. Thus, if users shared videos through messenger, the App Developer would gain

 access to users’ video information. This permission was removed from Facebook’s APIs in

 October 2015.119

        425. Information made available to Apps and third parties about what videos users

 viewed and what they posted about the videos, is a rich source of content and information for

 Facebook with tremendous value.

       3.      To Allow Third Parties Unfettered Access to Users’ Content and
               Information, Facebook Stripped Users’ Privacy Designations for Certain
               Content Available on Graph API.
        426. The investigations following the Cambridge Analytica scandal have revealed that

 Facebook’s platform actually removed user privacy designations from some of the content

 provided to third parties. This is significant in light of Facebook’s strenuous representations, in

 this court and around the world, that users’ privacy settings were honored. Investigation of

 counsel in this action has further revealed violations of users’ privacy settings not previously

 publicly described as a finding of any other investigation.

        427. Facebook provided users tools ostensibly to limit the audiences who could view

 the content they shared on a per-post basis. These post-based privacy selections were available

 regardless of default settings. For example, a user with “public” default settings could still elect

 to post something and limit the audience to something more private such as “Friends.”

 Alternatively, that user might send a photo in a private message via Facebook Messenger.


119
   Id.; Changelog, Facebook for Developers, https://developers.facebook.com/docs/graph-
api/changelog/archive (last visited Feb. 21, 2019).

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 Facebook promised users unequivocally that those settings would be honored.

        428. Both the default and per-post-based privacy designations are metadata associated

 with content on Facebook. For example, when a video is posted, the video metadata includes the

 timestamp of when the video was created, the profile of who created the video, and any

 comment associated with that video. However, during at least part of the Class Period, when

 Facebook made certain content – including Photos, Videos, Checkins, and Status –available on

 Graph API v1.0, the metadata reflecting user’s privacy designations associated with this content

 was not provided to third parties, even though other metadata was.

        429. Because Facebook stripped privacy designation metadata from the associated

 content, third parties were unable to verify that a user’s privacy settings allowed for this content

 to be shared and, therefore, could not confirm that they were adhering to users’ privacy

 designations as required by Facebook’s SRR.120

        430. From at least 2010 to present, Facebook has maintained a Developer Webpage

 that provides an overview of Graph API. The Developer Webpage includes the permission

 required to access an object, the metadata fields of that object, and the connections associated

 with that object. For example, in 2012, the top of the Photo webpage demonstrated the

 following permissions that may be required to view the photo:121




120
    Statement of Rights and Responsibilities, Facebook (June 8, 2012),
www.facebook.com/legal/terms,
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms]
121
    Photo, Facebook Developers (Oct. 18, 2012),
http://developers.facebook.com/docs/reference/api/photo/
[https://web.archive.org/web/20121018125458/http://developers.facebook.com/docs/reference/ap
i/photo/].

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        431. As shown above, certain permissions were required when App Developers sought

 access to non-public information on Graph API.

        432. The Webpage also displays the metadata fields associated with each object. In

 2012, for example, the fields for photographs included: ID, From, Tags, Name, Name_tags,

 Icon, Picture, Source, Height, Width images, Link, Place, Created_time, Updated_time,

 Position.122

        433. However, from at least 2010 to 2013, Facebook did not include the privacy

 restriction metadata in the fields listed for certain objects, such as photos and videos.

        434. Yet, conspicuously, Facebook included privacy restriction metadata for other

 objects, such as Events, Groups, and Posts. For example, the Facebook webpage for Posts

 includes the privacy restriction metadata under fields. A screenshot follows below:123




        435. Notably, Facebook included the privacy metadata on some objects following the

 shift to Graph API v2.0 in May 2015. For example, Videos did not include the privacy
 restriction metadata in 2010 to 2013; however, in 2015, Facebook’s Developer Webpage began

 including the privacy metadata for Videos.

        436. From September 18, 2013, the Developer Webpage displayed the following fields


122
    Id.
123
    Post, Facebook Developers (Nov. 9, 2013),
https://developers.facebook.com/docs/reference/api/post/
[https://web.archive.org/web/20131109050811/https://developers.facebook.com/docs/reference/a
pi/post/].

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 available for Video objects, which does not include privacy restriction metadata:124




        437. Yet, by November 5, 2015, the Developer Webpage included Privacy setting in its

 list of fields associated with Video objects:125




124
    Video, Facebook Developers (May 29, 2013),
http://developers.facebook.com/docs/reference/api/video/
[https://web.archive.org/web/20130529165931/http://developers.facebook.com/docs/reference/ap
i/video/].
125
    Video, Facebook Developers (Nov. 5, 2015),
http://developers.facebook.com/docs/reference/api/video/
[https://web.archive.org/web/20151105092521/https://developers.facebook.com/docs/graph-
api/reference/video].

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         438. Because Facebook stripped privacy restrictions metadata from the associated

 content, third parties were unable to verify that a user’s privacy settings allowed for this content

 to be shared and, therefore, could not confirm that they were adhering to users’ privacy settings

 as required by Facebook’s Platform Policy.
         439. Upon information and belief, Facebook alone was responsible for determining

 what content was loaded into Graph API v1.0. The removal of users’ privacy metadata from

 certain content including photos and videos, persisted from at least 2010-2013.

         440. Facebook’s stripping of the privacy metadata was a deliberate act that thwarted

 users’ affirmative privacy designations as to photos and videos by allowing third parties to

 access users’ content without providing users’ corresponding privacy settings. Thus, Facebook

 failed to provide third parties with the crucial information that would have allowed third-party

 Apps to verify that they were accessing users’ photos in compliance with users’ privacy

 settings.

         441. With regard to Apps, these actions violated Facebook’s agreement with users.
 Namely, “[w]e require applications to respect your privacy….”126 Upon information and belief,

 Facebook was notified by at least one App Developer, of the missing metadata associated with

 photos and the subsequent inability of the App Developer to verify that it was adhering to users’

 privacy designations as early as 2012.

         442. Upon information and belief, Facebook deliberately allowed App Developers to


126
    Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].

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 access users’ photos and videos, without regard to their privacy settings, in order to maximize

 the amount of user content and information available to third parties. Indeed, if the metadata

 containing privacy designations had been made available through Graph API v1.0, it would

 have greatly diminished App Developers’ ability to use this content. The failure to provide this

 metadata served Facebook’s plan for growth-at-all-costs. That is, here as elsewhere, Facebook’s

 actual practice undermined the policy to which it paid lip service, egregiously harming users

 and greatly benefiting Facebook.

        4.      Cambridge Analytica Used Facebook’s Graph API Interface to Take Users’
                Content and Information.
         443. In 2007, psychologists Michal Kosinski and David Stillwell from Cambridge

 University’s Psychometrics Centre began using a Facebook quiz they developed called

 “myPersonality” to study personality traits of consenting users. The App determined gender,

 age and sex, opening doors for psychologists to consider different ways to connect “likes” with

 personality traits. Their research received notice from the U.S. Defense Advanced Research

 Projects Agency ( “DARPA”). Kosinski and Stillwell published their findings in the

 Proceedings of the National Academy of Sciences in 2013.127

         444. Researchers from Cambridge University used the myPersonality quiz to create a

 database “with profile information for over six million Facebook users. It has those users’

 psychological profiles, their likes, their music listening, their religious and political views, and

 their locations, among other information. It says it can predict users’ leadership potential,

 personality, and ‘satisfaction with life.’”128

         445. In 2013, Cambridge Analytica approached the myPersonality App team to get



127
    Eric Killelea, Cambridge Analytica: What We Know About the Facebook Data Scandal,
Rolling Stone (Mar. 20, 2018) https://www.rollingstone.com/culture/culture-news/cambridge-
analytica-what-we-know-about-the-facebook-data-scandal-202308/.
128
    Kashmir Hill, The Other Cambridge Personality Test Has Its Own Database with Millions of
Facebook Profiles, Gizmodo (Mar. 22, 2018), https://gizmodo.com/the-other-cambridge-
personality-test-has-its-own-databa-1823997062.

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 access to the App’s data but was turned down because of its political ambitions.129

        446. In 2013, Aleksandr Kogan and his company Global Science Research (“GSR”)

 created an application called “MyDigitalLife” (also known as “thisisyourdigitallife”). Facebook

 had begun collaborating with Kogan concerning Facebook data in 2012. The agreement that

 Kogan struck with Facebook in 2013 allowed Kogan to launch the MyDigitalLife App on the

 Facebook platform.130

        447. Facebook’s ties with GSR run deep. One of GSR’s two co-founders, Joseph

 Chancellor, is an employee at Facebook, but was placed on administrative leave after the

 Cambridge Analytica Scandal was publicized in 2018.

        448. MyDigitalLife marketed itself to Facebook users as a tool that would help them

 have a better understanding of their own personalities, and that would supply data for use by

 academic psychologists. The App prompted users to answer questions for a psychological

 profile. Questions focused on the so-called “Big Five” personality traits: extraversion,

 agreeableness, openness, conscientiousness, and neuroticism.

        449. Through MyDigitalLife, Kogan gained access to the personal data of the

 approximately 300,000 Facebook users that downloaded the App. In spring 2014, Kogan was

 approached by an SCL-affiliated contractor and was asked to provide consulting services.

 Kogan set up GSR to carry out the work. The project was intended to deliver to SCL personality

 scores matched to the voter registration file for several million people. Kogan authorized GSR’s

 Facebook App to collect data from App users about not just the user, but also the user’s Friends.


129
    Only after the Cambridge Analytica Scandal did Facebook reveal that data from
myPersonality had been publicly available for years. Phee Waterfield & Timothy Revell, Huge
new Facebook data leak exposed intimate details of 3M users, New Scientist (May 15, 2018),
https://www.newscientist.com/article/2168713-huge-new-facebook-data-leak-exposed-intimate-
details-of-3m-users/.
130
    On August 22, 2018, Facebook notified four million users that their data was misused when
myPersonality refused Facebook’s request for an audit. Ime Archibong, An Update on Our App
Investigation, Facebook Newsroom (Aug. 22, 2018),
https://newsroom.fb.com/news/2018/08/update-on-app-investigation/.

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This data was then used to predict personality and then provided back to SCL.

        450. GSR made no secret of the blatantly commercial nature of its use of Facebook

data. It states in its “End User Terms and Conditions” that it intended to “sell” and “license (by

whatever means and on whatever terms)” the personal content it obtained through the YDL

App. Facebook was provided with GSR’s terms of service and thus was given constructive if

not actual notice that GSR was selling user content and information. Kogan has stated that he

“never heard a word” from Facebook concerning his intent to “sell” data even though he had

publicly posted his intention for a year and a half.

        451. Kogan and GSR actively began their relationship with Cambridge Analytica in

2014 and 2015. During this time, Kogan and GSR provided Cambridge Analytica with much

more than the personal content and information of the Facebook users who had downloaded the

MyDigitalLife App. Graph API v1.0, which Facebook was still using, allowed the App to

access the data that users’ Friends had shared with them. Through this platform, Facebook gave

Kogan and GSR, and thus Cambridge Analytica and other third parties like the University of

Toronto and the University of British Columbia, the content and information of more than 50

million additional people who, according to Facebook, “had their privacy settings set to allow

it.”

        452. Facebook now estimates that of the up to 87 million Facebook users affected by

this scheme, only approximately 300,000 of them had downloaded the MyDigitalLife App—

and those users had agreed to share only their own content and information for the limited

purposes associated with the App. Facebook admits, however, that historical logs of users’

privacy settings are scant. Upon information and belief, at least the photos shared with

Cambridge Analytica were stripped of identifying information that would have communicated

the privacy restrictions of users’ Friends. About 1,500 people also gave the App access to their

private messages, and people who sent or received messages with those people potentially had

their private messages accessed as well.


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        453. In addition to supplying Cambridge Analytica with fresh Facebook user data on

 an ongoing basis, Kogan and GSR, at Cambridge Analytica’s request, also performed modelling

 work on the data. Communications disclosed by Cambridge Analytica personnel demonstrate

 Kogan’s active role in this modeling.

        454. CEO Zuckerberg has admitted that Facebook became aware that Kogan and GSR

 had misused data in 2015 and conducted an investigation. 131 Defendant Facebook states that it

 contacted Kogan following the publication of the Guardian article in 2015. In its “End User

 Terms and Conditions,” GSR informed users that UK law governed the rights concerning the

 MyDigitalLife App:

       Your Statutory Rights: Depending on the server location, your data may be
       stored within the United States or in the United Kingdom. If your data is stored
       in the United States, American laws will regulate your rights. If your data is
       stored within the United Kingdom (UK), British and European Union laws will
       regulate how the data is processed, even if you live in the United States.
       Specifically, data protection and processing falls under a law called the Data
       Protection Act 1998. Under British and European Union law, you are considered
       to be a ‘Data Subject’, which means you have certain legal rights. These rights
       include the ability to see what data is stored about you.132

 The 2015 report from the Guardian was thus focused on U.K. citizens and did not receive any

 meaningful attention in the United States.

        455. At minimum, Facebook became aware that GSR sold Facebook data containing
 personal content by March 2016, when, while negotiating a settlement of claims with Kogan,

 Facebook was informed that Kogan had made roughly $800,000 re-selling Facebook user data.

 Facebook failed to determine at that time the scope and extent of the content and information


131
    Facebook’s Use and Protection of User Data: Hearing Before the H. Energy and Commerce
Comm., 2018 WL 1757479, at 22-23 (Apr. 11, 2018) (Statement of Mark Zuckerberg).
132
    At least part of the personal content stored by GSR was located in the U.K. and administered
by Facebook Ireland, Inc. GSR represented to Facebook users that it was a “research
organization” with a “registered office based at Magdalene College, Cambridge.” Publicized
emails between Kogan and researchers at Cambridge demonstrate that Kogan used Cambridge’s
U.K.-based servers for GSR.

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 GSR had obtained. Indeed, Facebook waited over two years to make any type of public

 disclosure.

        456. Kogan initially used the Facebook data that he had obtained in 2012 and

 subsequently to co-author a number of papers that had obvious commercial purposes and

 applications. Kogan co-authored papers entitled “Tracing Cultural Similarities and Differences

 in Emotional Expression through Digital Records of Emotions,” “Happiness Predicts Larger

 Online Social Networks for Nations and Individuals Low, but not High, in Consumeristic

 Attitudes and Behaviors,” “Silk Road to Friendships: Economic Cooperation is Associated with

 International Friendships around the World,” “Big Data Public Health: Online Friendships can

 Identify Populations At-Risk of Physical Health Problems and All-Causes Morbidity,” and

 “Donations Predict Social Capital Gains for Low SES, But Not High SES Individuals and

 Countries.”133

        457. Christopher Wylie, a former Cambridge Analytica contractor, has recently

 revealed how the data mining process at Cambridge Analytica worked: By getting access to

 Facebook users’ “profiles, likes, even private messages, [Cambridge Analytica] could build a

 personality profile on each person and know how best to target them with messages.”134

 Facebook users’ profiles “contained enough information, including places of residence, that

 [Cambridge Analytica] could match users to other records and build psychographic profiles.”135

 Mr. Wylie has said: “We exploited Facebook to harvest millions of people’s profiles. And built

 models to exploit what we knew about them and target their inner demons. That was the basis




133
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 7-8 (Sept. 7, 2018).
134
    Parmy Olson, Face-To-Face With Cambridge Analytica’s Elusive Alexander Nix, Forbes
(Mar. 20, 2018), https://www.forbes.com/sites/parmyolson/2018/03/20/face-to-face-with-
cambridge-analytica-alexander-nix-facebook-trump/#54972c48535f.
135
    Matthew Rosenberg, et al., How Trump Consultants Exploited the Facebook Data of Millions,
N.Y. Times (Mar. 17, 2018), https://www.nytimes.com/2018/03/17/us/politics/cambridge-
analytica-trump-campaign.html.

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 the entire company was built on.”136

        458. The figure below was created by the United Kingdom Information

 Commissioner’s Office (“ICO”), which is a government agency set up to uphold information

 rights in the public interest, and to promote openness by public bodies and data privacy for

 individuals. The figure describes how Cambridge Analytica accessed and harvested the content

 and information of millions of Facebook users:137




136
    Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 million Facebook profiles
harvested for Cambridge Analytica in major data breach, The Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-
election.
137
    Investigation Into the Use of Data Analytics in Political Campaigns – Investigation Update,
(July 11, 2018), Information Commissioner’s Office, (“ICO Report”) at 17,
https://ico.org.uk/media/action-weve-taken/2259371/investigation-into-data-analytics-for-
political-purposes-update.pdf.

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        459. As outlined above, the ICO has found that GSR obtained the following

 information from users who downloaded the MyDigitalLife App:

       Public Facebook profile, including their name and gender; Birth date; Current
       city, if the user had chosen to add this information to their profile; Photographs in
       which the users were tagged; Pages that the users had liked Posts on the users’
       timelines; News feed posts; Friends lists; Email addresses; and Facebook
       messages.138

        460. The ICO reports that GSR obtained the following information from the App

 Users’ Friends: “Public profile data, including their name and gender; Birth date; Current city if

 the friends had chosen to add this information to their profile; Photographs in which the friends

 were tagged; and Pages that the friends had liked.”139

        461. GSR obtained access to users’ and users’ Friends likes.140 This information would

 include specific video information about these users. GSR shared this like information with

 Cambridge Analytica.141 Thus, Facebook allowed GSR to access and share the specific video

 preferences of its users through this “likes” information.

        462. GSR obtained access to the “posts on the users’ timelines” for users who installed

 the MyDigitalLife App.142 This access would have been available under the “read_stream”

 query. Facebook claims that they denied Aleksandr Kogan’s request to access this query.143 But

 this claim contradicts the U.K.’s ICO’s published report on this matter. Through this query,

 GSR obtained additional access to any information about a user’s video preferences posted on

138
    ICO Report, supra note 137 at 19-20.
139
    Id. at 20.
140
    Id. at 19-20.
141
    Id.; see also U.K. House of Commons, Digital, Culture, Media and Sport Committee,
Testimony of Dr. Aleksandr Kogan (Apr. 24, 2018), at Q1930,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/81931.html.
142
    ICO Report, supra note 137 at 19-20.
143
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 6-7 (“Dr. Kogan’s
App Review application sought extended permissions for the App . . . Facebook rejected Dr.
Kogan’s application the next day, stating that the App would not be using the data requested to
enhance the user’s in-app experience.”).

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 that user’s timeline.

         463. Only after the Cambridge Analytica Scandal became public in March 2018, did

 Facebook announce that it was suspending Cambridge Analytica and its parent company,

 Strategic Communication Laboratories (“SCL”), from Facebook. It stated that, in 2015, it

 learned it had been lied to by Dr. Kogan and that Kogan had violated Facebook’s Platform

 Policies—contracts between Facebook and third-party Apps—“by passing data from an app that

 was using Facebook Login to SCL/Cambridge Analytica . . . .”144 Seeking to avoid liability,

 SCL and its related entities, like Cambridge Analytica, have all filed for bankruptcy, as has

 GSR.

         464. On April 4, 2018, Facebook released the following statement: “In total, we




144
   Paul Grewal, Suspending Cambridge Analytica and SCL Group From Facebook, Facebook
Newsroom (Mar. 16, 2018), https://newsroom.fb.com/news/2018/03/suspending-cambridge-
analytica/.

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 believe the Facebook information of up to 87 million people—mostly in the United States—

 may have been improperly shared with Cambridge Analytica.” Facebook also released a

 country-by-country breakdown of the millions of users affected by the GSR App, pictured

 below:145

        465. On May 1, 2018, Facebook updated this blog post to include a state-by-state

 breakdown of the millions of users who may have had their information shared with Cambridge

 Analytica, shown below:146




145
    Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/restricting-data-access/.
146
    Id.

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        466. In his April 2018 testimony to the U.K. House of Commons, Facebook Chief


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 Technology Officer Mike Schroepfer testified that Facebook did not read terms and conditions

 of any Developer’s Apps that were put on Facebook.147 In this litigation, in its interrogatory

 responses, Facebook has averred that it could not possibly have read the terms and conditions of

 these Apps, because there were millions of them.148 This is one more indication that Facebook

 did not protect user content and information once it gave access to App Developers.

        467. On April 9, 2018, with a notification at the top of News Feeds, Facebook began

 notifying individual users if their data had been shared with Cambridge Analytica. For example,

 Plaintiff Fischer received a notification from Facebook in April 2018 that she had logged into

 “This is Your Digital Life” and her public profile, page likes, friend list, birthday, current city,

 friend’s public profiles, friends’ page likes, friends’ birthdays, and friends’ current cities were

 likely shared with “This is Your Digital Life.” The notification also explained that a small

 number of people also shared their News feed, timeline, posts, messages, and friends’

 hometowns with “This is Your Digital Life.”

        468. Plaintiff Johnson, as another example, received a notification from Facebook in

 April 2018 that one of her Facebook Friends had logged into “This is Your Digital Life” and

 therefore, her public profile, page likes, Friend list, birthday, and current city were likely shared

 with “This is Your Digital Life.” The notification also explained that a small number of people

 also shared their News Feed, timeline, posts, and messages with “This is Your Digital Life,”

 which may have included posts and messages from Plaintiff Johnson as well as her hometown.

        469. The notification that Plaintiffs Fischer and Johnson received looked like this:




147
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Mike
Schroepfer (Apr. 26, 2018), at Q2141,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/disinformation-and-fake-news/oral/82114.pdf.
148
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at p. 20.

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         470. On April 22, 2018, Dr. Kogan finally broke his silence in an interview with CBS

News Correspondent Lesley Stahl on 60 Minutes. Kogan stated he had terms of service up on

his application for a year and a half—terms providing that he could sell the data he obtained

through the App—and yet Facebook never enforced its agreement with Kogan or its rules

against selling data during this time. Kogan also explained that the ability to gather people’s

Facebook Friends’ data without their permission was a Facebook core feature, available to

anyone who was a Developer. He explained that there are likely tens of thousands of

applications that did what he did, as this was not a bug, but a feature of which Facebook was

aware.

         471. Among scores of other regulators, the Justice Department and FBI are now

investigating Cambridge Analytica, which filed for Chapter 7 bankruptcy on May 17, 2018.

       5.      The Cambridge Analytica Scandal Has Triggered Additional Revelations of
               Apps’ Misuse of User Content and Information.
         472. Following the Cambridge Analytica Scandal, Facebook conducted its own

internal audit into other App Developers, but has not made the details public, with scant



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 exception. Audit reports prepared by PricewaterhouseCoopers have been heavily redacted.

 Nonetheless, it is known that millions of Apps had access to users’ data prior to Facebook’s

 2014 platform changes. Facebook has now admitted that it has suspended 400 of them “due to

 concerns around the Developers who built them or how the information people chose to share

 with the app may have been used.” Facebook’s review appears to have been limited to Apps

 that had access to user content and information prior to 2014, when Facebook changed its

 platform policies. However, reports continue to emerge regarding abuse of user content and

 information even after this platform change.

         473. Facebook has admitted that the conduct at the heart of the Cambridge Analytica

 Scandal—Kogan’s brazen and expansive access to user content and information for commercial

 purposes in the guise of research—constituted a breach of Facebook’s promises and agreements

 with its users.

         474. On March 21, 2018, Mr. Zuckerberg took to Facebook to acknowledge

 Facebook’s breach of trust, while Ms. Sandberg acknowledged that Facebook allowed Apps to

 access more user content and information than necessary.

         475. In a March 21, 2018 Facebook post, Mr. Zuckerberg acknowledged a “breach of

 trust between Facebook and the people who share their data with us and expect us to protect it”

 and said, “We need to fix that.”149 His post stated that in addition to investigating Cambridge

 Analytica, Facebook was also investigating “all Apps that had access to large amounts of

 information.”150

         476. Mr. Zuckerberg repeated the same sentiment in full-page ads in several British

 and American newspapers a few days later.

         477. Also on March 21, 2018, Sheryl Sandberg posted to her Facebook account that

 Facebook is “taking steps to reduce the data [Facebook users] give an app” when they use their

149
    Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://www.facebook.com/zuck/posts/10104712037900071.
150
    Id.

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 Facebook account, and the Company intends to “make it easier” for users to have a better

 understanding of which Apps they have “allowed to access [their] data.”151

        478. However, it appears that Facebook made these conciliatory statements only to

 assuage public outcry and prevent users from leaving the platform and to placate regulators until

 attention died down. Facebook’s attempts to distance itself from these statements when called to

 account in this lawsuit should not be countenanced.

        479. Further, in the wake of the Cambridge Analytica Scandal, Facebook suspended

 two other companies from its platform in April 2018 for improper data collection: Canadian

 consulting firm AggregateIQ and CubeYou.

        480. On or about April 6, 2018, Facebook suspended AggregateIQ, who played a

 pivotal role in the Brexit campaign, from the platform, following reports it may be connected to

 Cambridge Analytica’s parent company, SCL. This was nearly three years after Facebook

 learned of Cambridge Analytica’s psychographic marketing.

        481. On or about April 8, 2018, Facebook suspended the CubeYou App from the

 platform after CNBC notified them that CubeYou had misled users by collecting data from

 quizzes inaccurately labeled “non-profit academic research” and then selling the findings to

 marketers, and had business ties to Cambridge Analytica.

        482. Facebook announced the suspension of hundreds of other Apps, but has not

 provided additional detail on those suspensions, including the sale and misuse of user content

 and information.

       6.      Facebook Also Enabled Device Makers and Other Business Partners to
               Access Users’ Content and Information Through Friends.
        483. Facebook partnered with diverse set of companies, including Business Partners, to

 develop and integrate Facebook’s User Platform on multiple devices and operating systems. As


151
   Lila MacLellan, Sheryl Sandberg wants you to know she regrets Cambridge Analytica, Quartz
at Work (Mar. 21, 2018), https://qz.com/work/1234977/facebook-coo-sheryl-sandberg-is-finally-
speaking-out-about-cambridge-analytica/.

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part of these agreements, Facebook gave Business Partners access to users’ content and

information. Facebook created private APIs to transfer users’ content and information to these

Business Partners.

        484. Facebook has identified 53 Business Partners. These companies include:

                     Accedo
                     Acer
                     Airtel
                     Alcatel / TCL
                     Alibaba
                     Amazon
                     Apply
                     AT&T
                     Blackberry
                     Dell
                     DNP
                     Docomo
                     Garmin
                     Gemalto
                     HP / Palm
                     HTC
                     Huawei
                     INQ
                     Kodak
                     LG
                     MediaTek / Mstar
                     Microsoft
                     Miyowa / Hape Esia
                     Motorola / Lenovo
                     Mozilla
                     Myriad
                     Nexian
                     Nokia
                     Nuance
                     O2
                     Opentech ENG
                     Opera Software
                     OPPO
                     Orange
                     Pantech


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                      PocketNet
                      Qualcomm
                      Samsung
                      Sony
                      Sprint
                      T-Mobile
                      TIM
                      Tobii
                      U2topia
                      Verisign
                      Verizon
                      Virgin Mobile
                      Vodafone
                      Warner Bros.
                      Western Digital
                      Yahoo
                      Yandex152
                      Zing Mobile
        485. Facebook notes that this list is “comprehensive to the best of our ability.”

 However, it further stated that “[i]t is possible we have not been able to identify some

 integrations, particularly those made during the early days of our company when our records

 were not centralized. It is also possible that early records may have been deleted from our

 system.”153

        486. Facebook formed Business Partnerships as early as 2007. These deals allowed

 Facebook to expand its reach by outsourcing to Business Partners the time, labor and money

 required to build Facebook’s Platform on different devices and operating systems. In exchange,
 Facebook allowed these Business Partners to access users’ content and information. Facebook

 partnered with a diverse set of companies including device makers, such as Blackberry and


152
    After providing the original list to Congress in June 2018, Facebook has since added Russian
search engine, Yandex, to its list of Business Partners.
153
    Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone,
Energy & Commerce Committee, and U.S. House of Representatives, Facebook’s Response to
House Energy and Commerce Questions for the Record at 22 (June 29, 2018)
https://docs.house.gov/meetings/IF/IF00/20180411/108090/HHRG-115-IF00-Wstate-
ZuckerbergM-20180411.pdf.

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 Huawei, and other types of internet companies, such as Alibaba, Yahoo, and Yandex. Facebook

 allowed users’ content and information to be accessed by “tens of millions of mobile devices,

 game consoles, televisions and other systems” that were not in Facebook’s direct control.154

        487. These partnerships were built in part on “data reciprocity.” Facebook and its

 partners agreed to exchange information about users’ activities with each other. This was not

 disclosed to users.

        488. Like Apps, the content and information that the Business Partners accessed

 varied. aS on Graph API, Business Partners gained access not only TO the content and

 information of the user who downloaded or used the Facebook service that the Business Partner

 provided, but also to the content and information of the user’s Friends.155 Sandy Parakilas, a

 whistleblower and a former operations manager at Facebook, asserts that the same “feature” is

 behind both the Cambridge Analytica Scandal and Facebook’s data sharing with device makers.

 In both cases, “developers had access” to a user’s Friend data.156 Indeed, Parakilas equated

 device makers to “apps.”

        489. For instance, Blackberry, had access to the App User’s messages and other

 personal information of the App User’s Friends, such as their political and religious preferences,

 education and work history, events they plan to attend, and whether they were currently

 online.157 Some Business Partners, like Yahoo, were able to read the streams of users’ and

 users’ Friends posts, while others, like Sony, Microsoft and Amazon, were able to obtain the




154
    Gabriel J.X. Dance, et al., Facebook Gave Device Makers Deep Access to Data on Users and
Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-
friends-data.html.
155
    Id.
156
    Sandy Parakilas (@mixblendr), Twitter (June 4, 2018, 12:44 AM),
https://twitter.com/mixblendr/status/1003542895507501057.
157
    Dance, et al., Facebook Gave Device Makers Deep Access, supra note 154.

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 users’ and users’ Friends emails.158

          490. Facebook also gave Business Partners access to the unique Facebook identifiers

 of users, (“Facebook ID”) including the user’s Friends, and the user’s Friends’ Friends

 (“Friends of Friends”). For instance, Blackberry had access as recently as 2017 to the unique

 Facebook identifiers of Blackberry users’, users’ Friends, and users’ Friends of Friends. The

 Wall Street Journal reported on the dangers associated with providing third parties Facebook

 users’ unique ID in October 2010.159 In that same article, the Journal reported that Facebook

 would stop giving this information to third parties due to privacy concerns:

                “A Facebook user ID may be inadvertently shared by a user's Internet browser or
                by an application,” the [Facebook] spokesman said. Knowledge of an ID “does
                not permit access to anyone's private information on Facebook,” he said, adding
                that the company would introduce new technology to contain the problem
                identified by the Journal.160

          491. In May 2015, Facebook recognized the need for an even more secure way to

 process IDs, and switched to “unique App IDs” whereby each App is now given a unique App

 ID.161

          492. Despite the acknowledged risks of providing users’ Facebook ID to third parties,

 Facebook continued giving Business Partners, such as BlackBerry and Yandex, access to this

 information.

          493. Some Business Partners were able to download and store users’ content and


158
    Gabriel J.X. Dance, Michael LaForgia, and Nicholas Confessore, As Facebook Raised a
Privacy Wall, It Carved an Opening for Tech Giants, N.Y. Times (Dec. 18, 2018),
https://www.nytimes.com/2018/12/18/technology/facebook-privacy.html.
159
    Emily Steel and Geoffrey A. Fowler, Facebook in Privacy Breach, Wall Street Journal (Oct.
18, 2010), https://www.wsj.com/articles/SB10001424052702304772804575558484075236968
(“The apps reviewed by the Journal were sending Facebook ID numbers to at least 25 advertising
and data firms, several of which build profiles of Internet users by tracking their online
activities.”).
160
    Id.
161
    Facebook Application Development FAQ, Facebook for Developers,
https://developers.facebook.com/docs/apps/faq/ (last visited February 21, 2019).

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 information directly to their servers much like App Developers.162 Other Partners claimed to

 have kept the information on the device itself. However, in this instance, users’ content and

 information could have left the device when it was synced or backed up to the Partner’s servers.

       7.      Facebook Extended Certain “Whitelisted” Companies Access to Friends’
               Information Despite Facebook’s Contrary Representations to Users.
        494. Following the FTC inquiry, at Facebook’s f8 Developers’ conference in April

 2014, Facebook informed the public that it was restricting access to user content and

 information by cutting off third parties’ ability to download information via Graph API v1.0 and

 stated it would give App Developers one year, or until May 2015, to continue accessing

 Friends’ information.163 Mark Zuckerberg announced “we are going to make it so now everyone

 has to choose to share their own data with an app themselves.”164 Facebook unveiled its new

 theme “putting people first” and stated, “We are giving people more control over these

 experiences so they can be confident pressing the blue button.”165

        495. Likewise, on April 28, 2015, Facebook’s Simon Cross commented on the

 transition to a more restrictive Graph API stating, “[I]f people don’t feel comfortable using

 Facebook and specifically logging in [to] Facebook and using Facebook in apps, we don’t have

 a platform, we don’t have developers.”166 Cross further told reports that the privacy changes

 were the result of Facebook’s “People First” goal.167

        496. However, Facebook did not disclose that, while restricting Graph API v1.0 for


162
    Steel and Fowler, supra note 159.
163
    f8 2014: Stability for Developers & More Control for People, Facebook Newsroom (Apr. 30,
2018), https://newsroom.fb.com/news/2014/04/f8-2014-stability-for-developers-and-more-
control-for-people-in-apps/.
164
    Larry Magid, Zuckerberg Pledges More User Control of Facebook App Privacy –Unveils
Anonymous Log-In, Forbes (Apr. 30, 2014),
https://www.forbes.com/sites/larrymagid/2014/04/30/zuckerberg-pledges-more-user-control-of-
app-privacy-unveils-anonymous-log-in/#7bea50036de7.
165
    f8 2014: Stability for Developers, supra note 163.
166
    Josh Constine, Facebook Is Shutting Down Its API for Giving Your Friends’ Data to Apps,
TechCrunch (Apr. 28, 2015), https://techcrunch.com/2015/04/28/facebook-api-shut-down/.
167
    Id.

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 general third parties, Facebook allowed certain companies to continue accessing content and

 information of users and users’ Friends. This special access, termed “whitelisting,” allowed

 Apps to “access user data without permission” and “to circumvent users’ privacy [or] platform

 settings and access Friends’ information, even when the user disabled the Platform.”168 To

 facilitate whitelisting, Facebook developed and promulgated “Private Extended APIs,” which

 enabled App Developers to access content and information, including the content and

 information of users’ Friends, beyond that available to non-whitelisted applications. According

 to Facebook’s “Private Extended API Addendum,” whitelisted Apps could “retrieve data or

 functionality relating to Facebook that is not generally available under Platform, which may

 include persistent authentication, photo upload, video upload, messaging and phonebook

 connectivity.”169

        497. Such whitelisting extended to thousands of companies. According to the DCMS

 Committee, Facebook’s whitelisting “resulted in a large number of companies striking special

 deals,” and “[a] November 2013 email discussion reveals that Facebook was managing 5,200

 whitelisted Apps, including Lyft, AirBnB, and Netflix.”170 Facebook granted these whitelisted

 companies special access in exchange for value provided by those companies to Facebook. The

 level of access varied by agreement based on Facebook’s relationship with the particular

 company and the purpose of the company’s App. The Whitelisted Apps all entered into

 lucrative agreements with Facebook to purchase advertising. Facebook began forming these

 agreements as early as 2013 and still allows some companies special access today.171 These

 agreements conflict with Facebook’s statements regarding Graph API and its disclosures to

168
    DCMS Report, supra note 28 ¶ 83.
169
    Id. ¶ 85 (emphasis added).
170
    Id. ¶ 84.
171
    U.K. House of Commons, Note by Damian Collins MP, Chair of the DCMS Committee:
Summary of Key Issues from the Six4Three files (Dec. 5, 2018),
https://www.parliament.uk/documents/commons-committees/culture-media-and-sport/Note-by-
Chair-and-selected-documents-ordered-from-Six4Three.pdf; Dance, et al, As Facebook Raised a
Privacy Wall, supra note 158.

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 users, In that Facebook stated Apps would no longer have access to users’ Friends’ data after

 May 2015.172

        498. According to the DCMS Committee, “increasing revenues from major App

 developers was one of the key drivers behind the policy changes made by Facebook,” and “[t]he

 idea of linking access to Friends’ data to the financial value of the developers’ relationship with

 Facebook was a recurring feature of the documents” considered by the DCMS Committee.173

        499. Facebook hid these whitelist agreements from users even after the Cambridge

 Analytica Scandal. In testimony to U.K. House of Commons, on April 26, 2018, Facebook’s

 Chief Technical Officer Mike Schroepfer, responding to questions regarding the one-year

 transition period from Graph API v.1.0 to 2.0 during 2014 to 2015, failed to state that tens of

 companies were given special whitelist access beyond May 2015.174 This was a material

 omission.

        500. A day later, Facebook provided a response to questions from German

 Congressional Committees regarding Cambridge Analytica. In its response, Facebook stated:175

             In addition to public APIs, Facebook also has some APIs that are available only to
             certain partners for specific uses. Generally these APIs provide access to public
             information, such as to enable news and media organizations to follow breaking
             news. . . .
        501. This statement fails to materially describe any of the whitelisted companies or

 what access they had. Furthermore, contrary to this statement, Facebook granted tens of

 whitelisted companies access to users’ non-public information.

        502. Finally, the truth began to come to light on June 8, 2018, when the Wall Street


172
    Changelog—Graph API, Facebook for Developers,
https://web.archive.org/web/20141208030452/https://developers.facebook.com/docs/apps/chang
elog# (last visited on Feb. 20, 2019).
173
    DCMS Report, supra note 28, ¶ 87.
174
    Mike Schroepfer Testimony to U.K. House of Commons, supra note 147, at Q2202.
175
    Facebook responses to open questions from the ‘Committee on Legal Affairs and Consumer
Protection’ and the ‘Committee on Digital Agenda’, Facebook Newsroom (Apr. 27, 2018),
https://fbnewsroomde.files.wordpress.com/2018/05/final-responses-to-german-committees.pdf.

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 Journal reported that Facebook struck whitelist deals allowing certain companies special access

 through APIs.176 The report made clear that these agreements were separate from the custom

 deals Facebook entered into with Business Partners. The report also stated that Facebook struck

 these deals with “companies including Royal Bank of Canada and Nissan Motor Co., who

 advertised on Facebook or were valuable for other reasons.”177 The report identified Nuance

 Communications as getting whitelist access until November 2015 for a “special news feed it had

 built” for Fiat Chrysler Automobiles.178 The report further stated:179

       Early on, Facebook brokered special deals with certain companies, some people
       with knowledge of the deals said. “Ninety-nine percent of developers were treated
       the same, but 1% got special treatment because they accounted for all the value of
       the platform,” one former Facebook employee said, referring to popular apps and
       services that attracted users.

        503. Clearly, Facebook granted special access to users’ information based on the value

 a company brought to Facebook. In short, Facebook traded access to its users’ information –

 without users’ knowledge or consent – in exchange for whitelist companies’ significant

 expenditures on Facebook advertising.

        504. Facebook responded to this report, stating that a “small number” of partners had

 access to users’ Friends after May 2015. But Facebook did not identify any further whitelisted

 companies, or state what information these Developers had access to.

        505. Then, in response to questions posed by the U.S. House of Representative on June

 29, 2018, Facebook stated that 60 companies were “given a one-time extension of less than six




176
    Deepa Seetharaman and Kristen Grind, Facebook Gave Some Companies Special Access to
Additional Data About Users’ Friends, The Wall Street Journal (June 8, 2018),
https://www.wsj.com/articles/facebook-gave-some-companies-access-to-additional-data-about-
users-friends-1528490406.
177
    Id.
178
    Id.
179
    Id.

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 months beyond May 2015 to come into compliance” with Facebook’s new API.180

        506. The list of companies includes:

                 ABCSocial, ABC Television Network
                 Actiance
                 Adium
                 Anschutz Entertainment Group
                 AOL
                 Arktan / Janrain
                 Audi
                 biNu
                 Cerulean Studios
                 Coffee Meets Bagel
                 DataSift
                 Dingtone
                 Double Down Interactive
                 Endomondo
                 Flowics, Zauber Labs
                 Garena
                 Global Relay Communications
                 Hearsay Systems
                 Hinge
                 HiQ International AB
                 Hootsuite
                 Krush Technologies
                 LiveFyre / Adobe Systems
                 Mail.ru
                 MiggoChat
                 Monterosa Productions Limited
                 never.no AS
                 NIKE
                 Nimbuzz
                 Nissan Motor Co. / Airbiquity Inc.
                 Oracle
                 Panasonic
                 Playtika
                 Postano, TigerLogic Corporation
                 Raidcall
                 RealNetworks, Inc.

180
   Facebook’s Response to House Energy and Commerce Questions for the Record, supra note
153, at Pallone, Jr. § 4 ¶ 6.

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                    RegED / Stoneriver RegED
                    Reliance / Saavn
                    Rovi
                    Salesforce / Radian6
                    SeaChange International
                    Serotek Corp.
                    Shape Services
                    Smarsh
                    Snap
                    Social SafeGuard
                    Socialeyes LLC
                    SocialNewsdesk
                    Socialware / Proofpoint
                    SoundayMusic
                    Spotify
                    Spredfast
                    Sprinklr / Sprinklr Japan
                    Storyful Limited / News Corp
                    Tagboard
                    Telescope
                    Tradable Bits, TradableBits Media Inc.
                    UPS
                    Vidpresso
                    Vizrt Group AS
                    Wayin
           507. According to Facebook, during this six-month extension, these companies

 continued to have access to the content and information of users and users’ Friends. Facebook

 did not clarify why this group of companies were given special access to this content and

 information. Furthermore, subsequent reporting has revealed that some companies listed above
 were given access beyond the six months, while additional companies should have been

 included on this list to Congress.181

           508. In its congressional testimony, Facebook also listed five additional companies that

 “could have accessed limited friends’ data as a result of API access that they received in the




181
      Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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 context of a beta test.”182 These companies include:
                       Activision / Bizarre Creations
                       Fun2Shoot
                       Golden Union Co.
                       IQ Zone / PicDial
                       PeekSocial
        509. Facebook has not provided an explanation for why these five companies received

 this special access.

        510. Next, on December 5, 2018, the UK Parliament released a cache of documents

 internal to Facebook.183 These documents consist of internal emails shared between Facebook

 employees; emails with outside Developers and Business Partners; and internal presentation

 materials. These documents showed a further series of undisclosed companies that Facebook

 traded whitelist access to. They include:

                       Airbnb
                       Badoo
                       Bumble
                       Hot or Not
                       Lyft
                       Netflix
        511. The released documents reveal that Facebook granted these companies varying

 levels of access depending on the App’s needs and on Facebook’s relationship with the App.

 Several of the Apps listed above had access to non-App Friend lists. Others also had access to

 the private messages of App users.
        512. Facebook responded:

       We changed our platform policies in 2014/15 to prevent apps from requesting
       permission to access friends’ information. The history of Cambridge Analytica
       shows this was the right thing to do. For most developers, we also limited their
       ability to request a list of who someone’s friends were, unless those friends were
       also using the developer’s app. In some situations, when necessary, we allowed
182
    Facebook’s Response to House Energy and Commerce Questions for the Record, supra note
153, at Pallone, Jr. § 4 ¶ 7.
183
    Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from
the Six4Three files, supra note 171.

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       developers to access a list of the users’ friends. This was not friends’ private
       information but a list of your friends (name and profile pic).

       ...

       In addition, white lists are also common practice when testing new features and
       functionality with a limited set of partners before rolling out the feature more
       broadly (aka beta testing). Similarly, it’s common to help partners transition their
       apps during platform changes to prevent their apps from crashing or causing
       disruptive experiences for users.184

        513. Facebook’s statement is false because Facebook’s internal emails and subsequent

 news articles have revealed that Hootsuite, Netflix, Royal Bank of Canada and Spotify also had

 access to users’ messenger mailbox, which would include messages sent from users’ Friends.

        514. The statement is also misleading. Since May 2010, users could set a non-public

 privacy designation for their Friends list at any time. Thus, even where the App User and her

 Friends set their Friends list to private, whitelisted Apps who gained access to the App User’s

 Friends list would still be able to see all of the Friends of that user. For Friends seeking to limit

 who could view their social connections, this was a privacy violation.

        515. On December 18, 2018, the New York Times reported that Facebook had entered

 into over 150 previously undisclosed data sharing agreements with a variety of organizations.

 The report stated:

       Facebook shared data with more than 150 companies — not only tech businesses
       but automakers and media organizations — through apps on its platform even if
       users disabled sharing. Apps from many of these “integration partners” never
       even showed up in user application settings, with the company considering them
       an extension of its own network. The deals dated back as far as 2010 and were all
       active in 2017, with some still in effect this year.”185

        516. The Times identified Spotify, Netflix and the Royal Bank of Canada as being able

 to “read, write and delete Facebook users’ private message, and to see everyone on a message

184
    Mark Zuckerberg, Facebook (Dec. 5, 2018),
https://newsroom.fb.com/news/2018/12/response-to-six4three-documents/ (emphasis added).
185
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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 thread.”186 The report stated that Facebook’s own internal documents show that these

 companies had access to users’ messages beyond the time that the companies needed to

 integrate Facebook into their systems. For instance, “Spotify, which could view messages of

 more than 70 million users a month, still offers the option to share music through Facebook

 Messenger.”187 Yet, Facebook had previously identified Spotify in its list to Congress as only

 having access for six months beyond May 2015.

        517. Facebook also had purportedly removed access to users’ mailboxes in Graph API

 v2.4, released on July 8, 2015, and had purportedly removed this permission for all APIs on

 October 6, 2015.188 Thus, users reasonably expected App Developers to no longer have access

 to any Facebook messages after October 2015 at the latest. However, as stated above, Facebook

 continued allowing many companies to access messages beyond this date.

D.     Facebook Failed to Monitor and to Protect User Content and Information from
       Third Parties’ Unauthorized Use.
        518. While Facebook allowed third-party App Developers, whitelisted companies and

 Business Partners to access incredible amounts of users’ content and information, Facebook

 failed to implement reasonable security measures, such as conducting regular audits and

 monitoring third parties’ access and use of users’ content and information. Facebook also failed

 to ensure that third parties complied with its Platform and Privacy policies. Facebook’s failure

 to act was a direct result of its reckless quest for growth at the expense of users’ privacy.

       1.      Facebook Has a History of Discarding Its Promises to Protect User Privacy
               in Reckless Pursuit of Growth.
        519. Throughout its history, Facebook has repeatedly ignored users’ privacy interests

 and its own promises to protect user content and information in a reckless quest to maximize its

 growth and maximize its profits. In light of the company’s history of privacy abuses, it is

 apparent that the company’s motto to “move fast and break things” applies even to users’

186
    Id.
187
    Id.
188
    Changelog, supra note 104.

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 privacy.

        520. In 2006, Facebook launched its News Feed feature to display users’ posts on their

 Friends’ and networks’ pages. This feature was immediately controversial because users’ posts

 were automatically revealed regardless of users’ intention to keep these posts private.

 Zuckerberg’s response to this controversy was that “we did a bad job of explaining what the

 new features were and an even worse job of giving you control of them.”189

        521. In 2007, Facebook launched Beacon, a feature that automatically shared users’

 website and App history with advertisers, who in turn shared users’ activity with other

 Facebook users on the third-party sites. Users were not given the opportunity to opt-out of this

 feature, and were shocked to discover their formerly inaccessible activities had been repackaged

 and revealed by Facebook in order to attract Business Partners and hone its advertising

 program. Third-party participants in the Beacon program not only received user content and

 information, the sites also gave Facebook ad-targeting data. After myriad privacy complaints

 and a class action lawsuit, Beacon was shut down. In response, Zuckerberg stated, “We’ve

 made a lot of mistakes building this feature, but we’ve made even more with how we’ve

 handled them. We simply did a bad job with this release, and I apologize for it.”190 Yet,

 Facebook continued to violate users’ expectation of privacy.

        522. In May 2008, the Canadian Internet Policy and Public Interest Clinic (“CIPPIC”)

 filed a complaint against Facebook with the Canadian Privacy Commissioner (“CPC”) over a

 number of user privacy concerns, including the user content and information shared by

 Facebook with third party App Developers without express consent by users. The CPC launched

 an investigation in response to CIPPIC’s complaint, which resulted in Facebook agreeing to

 user consent-centered reform in August 2009. The CPC’s announcement indicated the


189
    Mark Zuckerberg, An Open Letter From Mark Zuckerberg, Facebook (Sept. 8, 2006),
https://www.facebook.com/notes/facebook/an-open-letter-from-mark-zuckerberg/2208562130/.
190
    Mark Zuckerberg, Thoughts on Beacon, Facebook (Dec. 5, 2007),
https://www.facebook.com/notes/facebook/thoughts-on-beacon/7584397130/.

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 following:

       Facebook has agreed to retrofit its application platform in a way that will prevent any
       application from accessing information until it obtains express consent for each category
       of personal information it wishes to access. Under this new permissions model, users
       adding an application will be advised that the application wants access to specific
       categories of information. The user will be able to control which categories of
       information an application is permitted to access. There will also be a link to a statement
       by the developer to explain how it will use the data.191
        523. Despite users’ and regulators’ repeated efforts to get Facebook to rein in its

 privacy abuses, including private litigation and the CPC settlement, Facebook continued to

 exploit users’ content and information for commercial gain without consent.
        524. In November 2009, Facebook changed its Terms of Service to greatly expand the

 amount of personal information categorized as available to the public. See supra at IV.B. In

 response to the change in privacy settings, ten privacy organizations, including the Electronic

 Privacy Information Center (“EPIC”), filed complaints to the FTC alleging that Facebook had

 changed users’ privacy settings and disclosed personal content and information to third parties

 without consent. EPIC warned “[t]he Facebook Platform transfers Facebook users’ personal

 data to application developers without users’ knowledge or consent.”192

        525. Zuckerberg responded with an apology to users, stating that, “[s]ometimes we

 move too fast—and after listening to recent concerns, we’re responding.”193 Zuckerberg vowed

 to add privacy controls that are simpler to use, stating, “Many people choose to make some of

 their information visible to everyone so people they know can find them on Facebook. We

 already offer controls to limit the visibility of that information and we intend to make them even


191
    News Release, Facebook Agrees to Address Privacy Commissioner’s Concerns, Office of the
Privacy Commissioner of Canada (Aug. 27, 2009), https://www.priv.gc.ca/en/opc-news/news-
and-announcements/2009/nr-c_090827/.
192
    Facebook Privacy, Electronic Privacy Information Center (last accessed on February 11,
2019), https://www.epic.org/privacy/facebook/.
193
    Mark Zuckerberg, From Facebook, Answering Privacy Concerns with New Settings, The
Wash. Post (May 24, 2010), http://www.washingtonpost.com/wp-
dyn/content/article/2010/05/23/AR2010052303828.html.

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 stronger.”194

        526. In October 2010, the Wall Street Journal reported that Facebook had been

 sending users’ names and Facebook identification numbers to its advertisers without users’

 knowledge and consent.195

        527. Despite continuous and consistent feedback from users, privacy advocates, and

 regulators, in July 2010, while giving a speech at a technology awards show in San Francisco,

 Zuckerberg announced that privacy is no longer a “social norm.”196 Zuckerberg stated, “People

 have really gotten comfortable not only sharing more information and different kinds, but more

 openly and with more people. That social norm is just something that has evolved over time.”197

 Zuckerberg’s proclamation that social norms have changed serves as a thin veil to Facebook’s

 continued violations of users’ trust.

        528. On November 29, 2011, Facebook agreed to settle the FTC charges that it had

 deceived users by telling them they could keep their information on Facebook private and then

 repeatedly allowed it to be shared and made public without their consent. The FTC adopted the

 final Consent Order on August 10, 2012. The order requires Facebook to take steps including,

 “giving consumers clear and prominent notice and obtaining their express consent before

 sharing their information beyond their privacy settings, by maintaining a comprehensive privacy

 program to protect consumers’ information, and by obtaining biennial privacy audits from an

 independent third party.”198

        529. Facebook has also failed to implement features that would help users secure their

 information on Facebook. For example, in April 2014, at the f8 Developer Conference,



194
    Id.
195
    Steel and Fowler, supra note 159.
196
    Bobbie Johnson, Privacy no longer a social norm, says Facebook founder, The Guardian
(Jan. 10, 2010), https://www.theguardian.com/technology/2010/jan/11/facebook-privacy.
197
    Id.
198
    FTC approves Final Settlement With Facebook, Federal Trade Commission (Aug. 10, 2012),
https://www.ftc.gov/news-events/press-releases/2012/08/ftc-approves-final-settlement-facebook.

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 Zuckerberg announced a new anonymous login feature for users. This feature would allow users

 to try an App without sharing any content and information.199 Mark Zuckerberg made this

 announcement in order to reassure users’ that Facebook valued their privacy, stating that this

 will allow users to “try apps without fear.”200 Despite this announcement, the anonymous login

 feature was never taken out of development.

         530. In May 2018, at Facebook’s f8 conference, Zuckerberg announced plans to add a

 “Clear History” feature that would enable users to see the websites and Apps that send their

 information to Facebook when they use them. Zuckerberg promised that this feature would

 allow users to “clear this information from their accounts, and turn off [Facebook’s] ability to

 store it . . . going forward.”201

         531. Zuckerberg made this announcement in the wake of the Cambridge Analytica

 Scandal and claimed Facebook would release this feature “in the coming months,” but has not

 as of this filing.202 Reporting suggests that Zuckerberg made this announcement for the optics

 without any plan on how it would actually work.203 As of the date of this filing, Facebook has

 not implemented a Clear History feature.

         532. While Facebook promised users privacy and security, in reality, Facebook has

 continued to follow its relentless quest for growth.


199
    Id.
200
    Facebook’s Mark Zuckerberg Introduces Anonymous Login, YouTube, at 01:10 (Apr. 30,
2014), https://www.youtube.com/watch?v=rOCcYRlZUGU.
201
    Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone,
Energy & Commerce Committee, and U.S. House of Representatives, Facebook’s Response to
House Energy and Commerce Questions for the Record, at Walden § 2(b) ¶ 7 (June 29, 2018)
https://docs.house.gov/meetings/IF/IF00/20180411/108090/HHRG-115-IF00-Wstate-
ZuckerbergM-20180411.pdf.
202
    Chris Welch, Facebook to introduce clear history privacy tool in coming months, Verge (May
1, 2018), https://www.theverge.com/2018/5/1/17307346/facebook-clear-history-new-privacy-
feature.
203
    Ben King, Mark Zuckerberg Promised A Clear History Tool Almost A Year Ago. Where Is
It?, BuzzFeed.News (Feb. 22, 2019), https://www.buzzfeednews.com/article/ryanmac/facebook-
privacy-optics-clear-history-zuckerberg.

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        533. For example, in 2016, Andrew Bosworth, a vice president at Facebook, defended

 the company’s growth tactics in an internal memo. Bosworth’s memo explains that despite any

 ramifications, Facebook’s growth is “*de facto* good”:

       The ugly truth is that we believe in connecting people so deeply that anything that
       allows us to connect more people more often is *de facto* good. It’s perhaps the
       only area where the metrics do tell the true story as far as we are concerned.

       ...

       [M]ake no mistake, growth tactics are how we got here. If you joined the
       company because it is doing great work, that’s why we get to do that great work.
       We do have great products but we still wouldn’t be half our size without pushing
       the envelope on growth. Nothing makes Facebook as valuable as having your
       friend on it, and no product decisions have gotten as many friends on as the ones
       made in growth.204

        534. The reason that “growth was good” is that it fueled Facebook’s business model as

 data broker.

        535. While growth was good for Facebook’s business model, it left users’ susceptible

 to unfettered access by third parties.

       2.       Facebook Ignored Internal Warnings Regarding Risks Posed by Third
                Parties’ Access to Users’ Content and Information.
        536. Numerous Facebook employees and investors voiced concerns regarding the

 privacy risks posed by third party access to Facebook users’ content and information, including

 directly to Mr. Zuckerberg and others in Facebook leadership.

        537. For instance, during the lead up to Facebook’s 2012 initial public offering,

 Facebook’s operations manager, Sandy Parakilas, raised concerns about Facebook’s handling of

 misuse of user data by App Developers accessing user content and information from Graph API


204
   Ryan Mac, Charlie Warzel, and Alex Kantrowitz, Growth At Any Cost: Top Facebook
Executive Defended Data Collection in 2016 Memo – And Warned That Facebook Could Get
People Killed, Buzzfeed News (Mar. 29, 2018, 6:36pm),
https://www.buzzfeednews.com/article/ryanmac/growth-at-any-cost-top-facebook-executive-
defended-data#.lbeaWaPKk4.

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 v1.0. Parakilas described concerns including that as of 2010, Facebook had never audited any

 App Developers using Facebook’s Graph API v1.0, and he also raised concerns about data

 vulnerabilities on Facebook Platform to Facebook executives.205 Parakilas was also concerned

 that when Developers violated Facebook’s Data Use Policy, Facebook users were (to the best of

 his knowledge) never notified that Developers had inappropriately accessed their data.206

        538. In a November 2017 op-ed in the New York Times, Parakilas wrote of the reaction

 he received from Facebook personnel after he raised concerns about App Developers misusing

 user content and information obtained through Graph API v1.0:

       [W]hen I was at Facebook, the typical reaction I recall looked like this: try to put
       any negative press coverage to bed as quickly as possible, with no sincere efforts
       to put safeguards in place or to identify and stop abusive developers. When I
       proposed a deeper audit of developers’ use of Facebook’s data, one executive
       asked me, “Do you really want to see what you’ll find?” The message was clear:
       The company just wanted negative stories to stop. It didn’t really care how the
       data was used.207

        539. Following the Cambridge Analytica Scandal, The Guardian reported in March

 2018 on Parakilas’ concerns. Parakilas “always assumed there was something of a black

 market” for Facebook data that had been passed to external developers; yet, when he told other

 executives the company should proactively “audit developers directly and see what’s going on

 with the data” they were not receptive. One executive at Facebook “advised [Parakilas] against

 looking too deeply at how the data was being used.” Facebook, Parakilas said, “felt that it was

 better not to know.”208


205
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Sandy
Parakilas (Mar. 21, 2018), at Q1191-194,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/80809.html.
206
    Id. at Q1200-201.
207
    Sandy Parakilas, We Can’t Trust Facebook to Regulate Itself, N.Y. Times (Nov. 19, 2017),
https://www.nytimes.com/2017/11/19/opinion/facebook-regulation-incentive.html.
208
    Paul Lewis, ‘Utterly horrifying’: ex-Facebook insider says covert data harvesting was
routine, The Guardian (Mar. 20, 2018),

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        540. On March 21, 2018, Parakilas testified to the U.K. House of Commons, stating

that Facebook had few ways of discovering abuse or enforcing on abuse once it was discovered.

Parakilas stated:209

       [Facebook] could do one of four things: it could call up the developer and demand
       to know what they were doing with the data; it could demand an audit of the
       developer’s application, their data storage, and that was a right that was granted to
       Facebook in [their] policies, the platform policies; it could delete the app and
       potentially ban the developer from using Facebook Platform or even using other
       Facebook products such as advertising; or it could sue the developer and pursue
       that app.

       ...

       In terms of the frequency of the use of those four means, I can tell you that in my
       experience, during my 16 months in that role at Facebook, I do not remember a
       single physical audit of a developer’s storage. I do not remember that happening
       once. There were only a handful of lawsuits and bans. Those were both quite rare.
       Mostly what I did was call developers and threaten to do other things, basically
       saying that they needed to follow the policies. That was effectively the main
       enforcing mechanism during my time.

       The other thing to note is that Facebook had relatively low detection of policy
       violations and most of the reports that it got about policy violations were either
       from the press or from other developers who were competitors of a particular
       company and they would call up or talk to someone at Facebook and say, ‘I think
       this person is doing X, Y and Z,” and they were doing that largely for competitive
       reasons.

        541. Parakilas raised concerns that these four options were all insufficient enforcement

mechanisms.

        542. Also, when asked whether the data could be used to target advertising, Parakilas

responded that while there were rules “attempting to prevent developers from using the data

targeting advertising . . . there was very little detection, or enforcement and it is very difficult to



https://www.theguardian.com/news/2018/mar/20/facebook-data-cambridge-analytica-sandy-
parakilas.
209
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Sandy
Parakilas, supra note 205, at Q1188.

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 tell how an ad is being targeted . . . .”210 Parakilas noted that he and others raised multiple

 concerns to executives that users’ information could wind up in the hands of data brokers but,

 Parakilas said, Facebook found that was a “risk that they were willing to take.”211

        543. Parakilas further testified that he raised concerns about the lack of oversight into

 the flow of users’ data. In a PowerPoint presentation Parakilas mapped out data vulnerabilities

 of the Facebook platform and showed that presentation to senior executives at the company.

 Some of those executives are still at Facebook today.

        544. Parakilas also testified that Facebook’s business model depended on this open and

 unfettered access to users’ data. Parakilas stated:212

       [T]he ability to access a tremendous amount of data was a selling point to
       developers and Facebook wanted a lot of developers to build a lot of applications
       because they would draw more people to use Facebook more and more.
       Developers would for free build features that Facebook did not have itself, and the
       way that it got developers to want to go through Facebook was, first, they would
       give the huge audience of Facebook to the developer so you could get a lot of
       users very quickly and, secondly, you could get a ton of data from Facebook to
       build your application and understand those users.

        545. Indeed, Parakilas states that Facebook’s model was to “grow the platform as

 quickly as possible, and data was one of the key ways to do that.” 213

        546. Likewise, in October 2016, Roger McNamee (an early investor in Facebook)

 attempted to engage with Facebook’s leadership regarding the risks posed by Facebook’s failure

 to protect its users. McNamee sent a draft of an op-ed outlining security risks of election

 interference on Facebook to Mr. Zuckerberg and Ms. Sandberg ahead of publishing. According

 to Mr. McNamee:214

210
    Id. at Q1210.
211
    Id. at Q1215.
212
    Id. at Q1209.
213
    Id. at Q1214./
214
    Roger McNamee, How to Fix Facebook – Before It Fixes Us, Wash. Monthly, (Jan. 2018)
https://washingtonmonthly.com/magazine/january-february-march-2018/how-to-fix-facebook-
before-it-fixes-us/.

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       They each responded the next day. The gist of their messages was the same: We
       appreciate you reaching out; we think you’re misinterpreting the news; we’re
       doing great things that you can’t see. Then they connected me to Dan Rose, a
       longtime Facebook executive with whom I had an excellent relationship. Dan is a
       great listener and a patient man, but he was unwilling to accept that there might be
       a systemic issue. Instead, he asserted that Facebook was not a media company,
       and therefore was not responsible for the actions of third parties.

        547. And in July 2017, Alex Stamos, Facebook’s then-Chief of Security, raised similar

 security and privacy concerns, stating, “We have made intentional decisions to give access to

 data and systems to engineers to make them ‘move fast’ but that creates other issues for us.”215

 Stamos raised these concerns in the context of having authored a white paper that was later

 scrubbed for mentions of Russia. Facebook now admits that it was too slow to act on this issue.

        548. Moreover, internal emails released by the DCMS Committee reveal that the

 highest levels of Facebook’s leadership were aware of the risk of sharing user information with

 App Developers, but disregarded that risk because it did not present a direct threat to

 Facebook’s business interests. For example, Zuckerberg stated in an internal email dated

 October 27, 2012 that “I’m generally sceptical [sic] that there is as much data leak strategic risk

 as you [Sam Lessin] think.”216 Further, Zuckerberg stated that “I agree there is clear risk on the

 advertiser side,” and “I think we leak info to developers, but I just can’t think if [sic] instances

 where that data has leaked from developer to developer and caused a real issue for us.”217 As the

 DCMS Committee noted, this is, “of course, exactly what happened during the Cambridge
 Analytica scandal.”218

        549. Despite numerous warnings regarding misuse of user content and information by

 third parties, including potential harm to national security and election integrity in the United


215
    Zack Whittaker, Leaked: Facebook security boss says its corporate network is run “like a
college campus”, ZDNet (Oct. 19, 2017), https://www.zdnet.com/article/leaked-audio-facebook-
security-boss-says-network-is-like-a-college-campus/.
216
    DCMS Report, supra note 28, ¶ 98.
217
    Id. ¶ 98 (emphases added).
218
    Id.

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 States, year after year, Facebook allowed third parties unmonitored access to users’ content and

 information.

       3.       Facebook Failed to Monitor Business Partners’ and Whitelisted Companies’
                Use of Users’ Content and Information.
        550. On November 12, 2018, the New York Times reported on another area in which

 Facebook failed to protect users’ content and information against misuse: Facebook’s failure to

 monitor Business Partners’ access to and use of users’ content and information.219 Facebook had

 agreed under the FTC Consent Decree to have PricewaterhouseCoopers (“PwC”) periodically

 assess its oversight of Business Partners. The article described Facebook’s disclosure to Senator

 Ron Wyden’s office that in its 2013 initial assessment report, PwC identified a problem with

 how Facebook was monitoring certain Business Partners. The Times published a copy of the

 letter, which stated that “[t]here is limited evidence retained to demonstrate that Facebook

 monitored or assessed the service provider’s compliance with Facebook’s Data Use Policies,”

 and “[l]ack of comprehensive monitoring makes it more difficult to detect inappropriately

 implemented privacy settings within these third-party developed applications.”220

        551. Wyden’s aide, based on a review of unredacted versions of PwC’s later 2015 and

 2017 assessment reports, told the Times that while PwC did not identify the same problem in the

 later reports, there was “no evidence that Facebook had ever addressed the original problem.”221

 Rather, it appeared that Facebook had simply changed the assessment methodology that PwC

 applied, making it easier for Facebook to “comply.”

        552. Sandberg appeared for questioning before the United States Senate on September

 4, 2018. At that hearing, Wyden pressed Sandberg to release the unredacted PwC assessments,


219
    Nicholas Confessore, et al., Facebook Failed to Police How Its Partners Handled User Data,
N.Y. Times (Nov. 12, 2018), https://www.nytimes.com/2018/11/12/technology/facebook-data-
privacy-users.html.
220
    Kevin Martin, Letter to Senator Ron Wyden, Oct. 10, 2018, available at
https://int.nyt.com/data/documenthelper/480-facebook-wyden-letter-data-
privacy/078dfb39ba0b2fa70867/optimized/full.pdf#page=1.
221
    Confessore, et al., Facebook Failed to Police, supra note 219.

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 calling parts of the reports “very troubling.”222 Sandberg and Facebook did not release

 unredacted reports, and to date, have refused to produce them to Plaintiffs in this litigation.223

        553. Senator Wyden’s comments as well as reporting by The New York Times reveal

 Facebook’s failure to adequately monitor Business Partners’ access to and subsequent use of

 users’ content and information.

        554. Similarly, in its 2011 Complaint, the FTC “found that Facebook misrepresented

 its claims regarding their app oversight programme, specifically the ‘verified apps programme’,

 which was a review allegedly designed to give users additional assurances and help them

 identify trustworthy applications.”224 Contrary to Facebook’s claims, “[t]he review was non-

 existent and there was no oversight of those apps,” and consequently some Apps, such as Yelp

 and Rotten Tomatoes, “were able to circumvent users’ privacy settings or platform settings, and

 to access friends’ information as well as users’ information, such as birthdays and political

 affiliation, even when the user disabled the platform.”225

        555. Likewise, the DCMS Report found that Facebook not only failed to audit or

 monitor Apps for evidence of malfeasance relating to user content and information, but also

 willfully turned a blind eye to Apps that it knew were misusing user content and information.

 Thus, the DCMS Committee stated that “Facebook has not provided us with one example of a

 business excluded from its platform because of serious data breaches,”226 and “Facebook acts

 only when serious breaches become public.”227 Further, “[f]ar from Facebook acting against

 ‘sketchy’ or ‘abusive’ apps, of which action it has produced no evidence at all, it, in fact,


222
    Mary Clare Jalonick and Barbara Ortutay, WATCH: Twitter’s Jack Dorsey, Facebook’s
Sheryl Sandberg testify to Congress on foreign election interference at 58:30, PBS (Sept. 5,
2018, 5:42pm) ; https://www.pbs.org/newshour/nation/watch-live-twitters-jack-dorsey-
facebooks-sheryl-sandberg-testify-to-congress-on-foreign-election-interference.
223
    Id. at 58:50.
224
    DCMS Report, supra note 28, ¶ 88.
225
    Id.
226
    Id. ¶ 134.
227
    Id. ¶ 133.

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 worked with such apps as an intrinsic part of its business model.”228

       4.        Facebook Failed to Limit Business Partners’ and Whitelisted Companies’
                 Access to Users’ Content and Information.
           556. Facebook also allowed its Business Partners and other whitelisted companies to

 access users’ information beyond what was necessary for the specific purpose for which

 Facebook has asserted access was granted. For example, where third parties were granted access

 to support a specific function and that function was discontinued, Facebook failed to cut off

 access.

           557. On December 18, 2018, the New York Times published another article detailing

 Facebook’s data sharing deals with Business Partners and whitelisted companies.229 The article

 highlighted several companies that had discontinued their Facebook partnerships but, as late as

 2017, still had access to users’ personal information. For example, the Royal Bank of Canada

 and Netflix had access to users’ Facebook messages after they had deactivated the related

 feature that incorporated it.230 Up to 2017, Yahoo had access to users’ newsfeed—including

 posts from users’ Friends—for 100,000 users per month for a feature that Yahoo had

 discontinued in 2012.231

           558. The New York Times itself was one of nine media companies that in 2017, still

 “had access [to] users’ friend lists for an article-sharing application it had discontinued in

 2011.”232

           559. In addition, Facebook continued allowing Microsoft’s Bing, Pandora and Rotten

 Tomatoes to access users’ content and information as late as 2017.233 Facebook represented that


228
    Id. (emphasis added).
229
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
230
    Id.
231
    Nicholas Confessore, et. al, Facebook’s Data Sharing and Privacy Rules: 5 Takeaways From
Our Investigation, N.Y. Times (Dec. 18, 2018),
https://www.nytimes.com/2018/12/18/us/politics/facebook-data-sharing-deals.html.
232
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
233
    Id.

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 it shared user content and information to allow these companies to implement Facebook’s

 instant personalization feature. Though Facebook ended its instant personalization feature in

 2014, it continued allowing these three companies to access users’ content and information as

 late as 2017.

         560. Likewise, Yandex, a Russian search engine and Business Partner to Facebook,

 still had access as late as 2017 to “Facebook’s unique user IDs even after the social network

 stopped sharing them with other applications, citing privacy risks.”234 Facebook continued

 allowing this access even though the company “has long been suspected of having special ties

 to the Kremlin.”235

         561. Facebook’s failure to shut down access to users’ content and information when

 the basis for doing so had become obsolete speaks to Facebook’s cavalier attitude toward users’

 privacy.

         562. At least two of Facebook’s Business Partners have confirmed that Facebook did

 not audit their access to users’ information. When asked by the New York Times, neither

 BlackBerry nor Yandex could find evidence that Facebook ever audited them or their access to

 user data.236

        5.       Facebook Allowed Business Partners and Whitelisted Companies to Deceive
                 Users About Their Access to Users’ Content and Information.
         563. Facebook purposefully allowed its Business Partners to hide their access from

 users and to share information even where users expressly attempted to prevent this access:237


        Facebook empowered Apple to hide from Facebook users all indicators that its
        devices were asking for [Facebook user] data. Apple devices also had access to



234
    Id.
235
    Fred Vogelstein, Why Should Anyone Believe Facebook Anymore?, Wired (Dec. 19, 2018),
https://www.wired.com/story/facebook-data-sharing-privacy-investigation/
236
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
237
    Id.

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          the contact numbers and calendar entries of people who had changed their account
          settings to disable all sharing, the records show.

           564. Facebook’s “comprehensive privacy program,” which the Company implemented

 following the FTC Consent Decree in 2012, had significant limitations that were not disclosed

 to users:238

          [T]he privacy program faced some internal resistance from the start, according to
          four former Facebook employees with direct knowledge of the company’s efforts.
          Some engineers and executives, they said, considered the privacy reviews an
          impediment to quick innovation and growth. And the core team responsible for
          coordinating the reviews — numbering about a dozen people by 2016 — was
          moved around within Facebook’s sprawling organization, sending mixed signals
          about how seriously the company took it, the ex-employees said.

          Critically, many of Facebook’s special sharing partnerships were not subject to
          extensive privacy program reviews, two of the former employees said. Executives
          believed that because the partnerships were governed by business contracts
          requiring them to follow Facebook data policies, they did not require the same
          level of scrutiny. The privacy team had limited ability to review or suggest
          changes to some of those data-sharing agreements, which had been negotiated by
          more senior officials at the company.

          Facebook officials said that members of the privacy team had been consulted on
          the sharing agreements, but that the level of review “depended on the specific
          partnership and the time it was created.”

           565. Thus, even where Facebook did implement its privacy program, it exempted

 certain third parties from review. Facebook has admitted that certain partnerships are “high-

 touch relationships” and that they rarely managed them closely.239

           566. Moreover, internal documents show that Facebook may not have maintained

 adequate records of its own agreements with third parties. In December 2014, DNP, a Facebook

 Business Partner that allows Walgreens customers to access their Facebook photos at kiosks in

 Walgreens retail locations, contacted Facebook about changes to their platform access on Graph



238
      Id. (emphasis added)
239
      Id.

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 API v2.0.240 The email was then shared internally between Eddie O’Neil, Konstantinos

 Papamiltiadis and Simon Cross.

        567. In the email chain, the Facebook employees note that they are unable to locate the

 original contract between Facebook and Walgreens/DNP.241 Facebook’s failure to locate its

 contractual agreement with DNP speaks to Facebook’s larger failure to adequately monitor

 whether third parties were accessing users’ information in compliance with their agreements.

        568. In sum, Facebook failed to protect users’ content and information in numerous

 ways despite its obligations under the FTC Consent Order to do so. Facebook failed to

 implement an effective independent review of its privacy protections by excluding its Business

 Partners from the review and manipulating testing rather than addressing exceptions detected by

 PwC. Additionally, Facebook failed to audit the access it granted to third parties to ensure that

 third party access to user content and information was limited to the purpose for which it was

 granted; and Facebook failed to ensure its partners complied with Facebook’s policies or even

 the contract between Facebook and the third party.

       6.      Facebook Also Took No Action to Ensure App Developers Followed Its
               Platform and Privacy Policies.
        569. Facebook’s Platform Policy, which governed its relationship with third-party App

 Developers, like GSR, and their operation on the Facebook Platform, prohibited the transfer and

 sale of consumer data accessed from Facebook. And during 2010-2015, Facebook’s user

 Privacy Policy stated that applications would be allowed to use App users’ Friends’ information

 “only in connection with the person that gave the permission and no one else.” Yet, Facebook

 did not take any meaningful action to enforce compliance with either its Platform Policy with

 third parties or its Privacy Policy with users; instead, Facebook permitted App Developers, like

 GSR, to harvest and sell users’ information without oversight.


240
    Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from
the Six4Three files, supra note 171.
241
    Id.

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        570. In the case of Cambridge Analytica, GSR’s “End User Terms and Conditions”

 were posted publicly and were provided to Facebook. These terms expressly state that GSR

 intended to “sell” and “license (by whatever means and on whatever terms)” the personal

 content it obtained through the MyDigitalLife App. Kogan has stated that he “never heard a

 word” from Facebook concerning his intent to “sell” data even though he had publicly posted

 his intention to do so for a year and a half before Facebook discontinued his access.

        571. Facebook has admitted that it did not monitor the policies of Apps operating on its

 Platform.242

        572. In May 2014, in advance of Facebook’s switch to Graph API v2.0, Kogan

 requested extended permissions. Facebook denied this request, but continued to allow Kogan’s

 App to access users’ information on Graph API v1.0 until May 1, 2015. Zuckerberg himself has

 admitted that if Facebook had acted to disable Graph API v1.0 one year earlier it could have

 prevented the Cambridge Analytica Scandal:

       We’ve focused on preventing abusive apps for years, and that was the main
       purpose of this major platform change starting in 2014. In fact, this was the
       change required to prevent the situation with Cambridge Analytica. While we
       made this change several years ago, if we had only done it a year sooner we could
       have prevented that situation completely.243

        573. Moreover, as the DCMS Committee found, had Facebook simply complied with

 its settlement with the FTC, the Cambridge Analytica Scandal likewise would not have

 happened.244

        574. Facebook’s failure to monitor and enforce its own Platform and Privacy Policies

 allowed third parties, like Cambridge Analytica, to abuse users’ content and information.


242
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at p. 20 (Sept. 7, 2018)
(“Facebook is not able to review the content of apps’ terms of service or privacy policies as part
of its Platform enforcement efforts or during the App Review process.”).
243
    Mark Zuckerberg, Facebook (Dec. 5, 2018),
https://newsroom.fb.com/news/2018/12/response-to-six4three-documents/.
244
    DCMS Report, supra note 28, ¶ 76.

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        7.      Facebook Failed to Adequately Mitigate Harm Caused by Kogan and
                Cambridge Analytica or to Prevent Further Risk of Harm.
         575. A December 2015 Guardian article described Kogan’s and Cambridge

 Analytica’s conduct in connection with the Ted Cruz campaign. Though Facebook conducted

 an internal investigation in reaction to the article, it did not warn users at the time that their

 content and information had been accessed by unauthorized entities. Instead, in March 2016,

 Facebook began negotiating with Kogan to settle related claims. Facebook ignored its duty to

 protect its users at this time when it failed to take adequate steps to determine the scope and

 impact of the content and information that Cambridge Analytica had obtained and to ensure its
 deletion.

         576. Elizabeth Denham, head of the U.K. Information Commissioner’s Office, which

 is investigating the Cambridge Analytica Scandal, has stated that Facebook did not take the

 appropriate steps to ensure that Cambridge Analytica had deleted Facebook users’ data.

 Denham described Facebook’s follow up with Cambridge Analytica as “less than robust:”245




245
   U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of
Elizabeth Denham, (Nov. 8, 2018), at Q3957,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/disinformation-and-fake-news/oral/92327.pdf.

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           577. Denham further confirmed that Facebook’s only follow up with Cambridge

 Analytica was to ask whether it had deleted the data and to accept Cambridge Analytica’s

 representation that it had without further due diligence:246




 As it turned out, this failure proved detrimental to users, as Cambridge Analytica had not
 deleted all of the user data in its possession, nor had it destroyed work that had relied on the

 data.

           578. So even after Facebook discovered that its Platform Policy had been abused and

 that an unauthorized third party had and was making use of users’ content and information,

 Facebook failed to take steps to ensure that users’ content and information was deleted.

           579. Instead, Facebook’s priority was to enter into an agreement with GSR and Kogan

 binding Kogan to a confidentiality clause in exchange for the release and waiver of all claims

246
      Id. at Q3960-61.

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 related to the misappropriated data.247

        580. Facebook then waited over two years to make any type of public disclosure.

        581. Facebook’s failure to take timely and appropriate remedial measures harmed users

 by leaving them exposed to manipulative psychographic messaging and their users’ sensitive

 personal information irretrievably beyond the users’ control promised by Facebook. Facebook’s

 failures show that Facebook did not take seriously its promises to protect users’ content and

 information.

       8.       Facebook’s Failure to Notify Plaintiffs of the Misuse of Their Data Hindered
                User’s Ability to Take Remedial Measures.
        582. At least by the end of 2015, Facebook had actual knowledge that Plaintiffs’

 content and information had been accessed, downloaded by third parties, and misused without

 users’ authorization. Further, Facebook was aware that such misuse of Plaintiffs’ data presented

 substantial risk of further misuse, fraud, and identity theft to Plaintiffs. Despite this knowledge,

 and in contravention of its repeated assurances to users that privacy and trust were important

 parts of Facebook’s service, Facebook failed to provide notification to Plaintiffs of the misuse

 of their content and information without and/or in excess of users’ authorization, until March

 2018—more than two years after it was informed of the Cambridge Analytica Scandal.

        583. In the intervening years between 2015 and 2018, Facebook failed to inform

 Plaintiffs that their sensitive content and information had been used without and/or in excess of

 their authorization and, as a result of this failure, denied users the opportunity to take steps to

 protect themselves and mitigate their heightened risk of identity theft and other harms.

        584. Plaintiffs were therefore blindsided when they learned that Facebook had

 permitted unauthorized third parties to access and retain user content and information without

 and/or in excess of users’ authorization, and that their content and information was allegedly

247
   FB-CA-MDL-00000306; see also U.K. House of Commons, Digital, Culture, Media and
Sport Committee, Testimony of Mike Schroepfer (Apr. 26, 2018), at Q2164,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/disinformation-and-fake-news/oral/82114.pdf.

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 used by Cambridge Analytica to create targeted psychographic messaging and advertising on

 behalf of now-President Donald J. Trump’s 2016 Presidential campaign.

E.     Plaintiffs Did Not Consent to Facebook’s Misconduct.
       585.    Facebook points to certain documents on its website to try to show that users

consented to its misconduct. Yet those documents necessarily could not have created consent to

conduct that affirmatively violated those documents, as much of Facebook's conduct did.

Moreover, when the documents simply failed to disclose certain practices, those documents

could not have created consent. And when Facebook began to disclose certain kinds of practices

well into the Class Period, it failed to inform existing users that it had updated its disclosures—

thereby keeping them in the dark. Finally, Facebook relies on certain disclosures that appeared in

a document that was neither contractually binding (thus failing to create express consent) nor

sufficiently prominent and accessible (thus failing to create implied consent).

       586.    Nor did anything else in Facebook’s website tip users off to the misconduct.

Facebook is thus left with documents that for a number of independent reasons were simply

inadequate to create express or implied consent to its misconduct.

       1.      Facebook’s SRR and Data Policy Did Not Create Consent.
       587.    For most of the Class Period, Facebook’s terms of service were referred to as the

Statement of Rights and Responsibilities (SRR).248 A second document was referred to as the

Privacy Policy initially and then the Data Policy.249 The names of these documents, and their

material terms, were changed at Facebook’s discretion and without meaningful notice to users.

       588.    Facebook relies on these documents to argue that users consented to its



248
    Before 2009, the SRR was called the “Terms of Service.” For clarity and consistency, this
Complaint uses SRR to refer to the Terms of Service and the Statement of Rights and
Responsibilities.
249
    Before September 7, 2011, the Data Policy was called the “Privacy Policy.” Between
September 7, 2011 and January 30, 2015, it was called the “Data Use Policy.” For the sake of
clarity and consistency, this Complaint uses “Data Policy” to refer to the Privacy Policy and the
Data Use Policy.

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misconduct. But these documents do not establish—and certainly do not establish as a matter of

law—that Plaintiffs expressly or impliedly consented. In fact, numerous regulators who have

reviewed Facebook’s policies and conducted extensive investigations of its conduct have found

that Facebook did not obtain users’ consent for the conduct described in this Complaint. The

ICO, for example, recently stated: “We fined Facebook [the maximum amount] because it

allowed applications and application developers to harvest the personal information of its

customers who had not given their informed consent—think of Friends, and Friends of Friends—

and then Facebook failed to keep the information safe.” That conclusion was correct.

               a.      Facebook’s SRR and Data Policy Did Not Create Consent with
                       Respect to the VPPA.
       589.    Facebook relies upon statements in the SRR and Data Policy to argue that users

consented to some of Facebook’s conduct.

       590.    Even before the January 10, 2013 amendment of the VPPA, the VPPA required a

consumer’s affirmative, contemporaneous consent to disclosure of personally identifiable

information by a video tape service provider. See Video Privacy Protection Act of 1988, Pub. L.

100-618, § 2, 102 Stat. 3195, 3195 (requiring “informed, written consent of the consumer given

at the time the disclosure is sought”). No Facebook document was sufficient to provide such

consent.

       591.    The current version of the VPPA, effective January 10, 2013, is even more

stringent. It requires the “informed, written consent” to be “in a form distinct and separate from

any form setting forth other legal or financial obligations of the consumer.” 18 U.S.C.

§ 2710(b)(2)(B). No Facebook document complied with this requirement.

               b.      Facebook’s SRR and Data Policy Did Not Create Consent to Conduct
                       that Violated the SRR and Data Policy.
       592.    The documents could not have obtained consent for practices that affirmatively

violated the terms of the documents.




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                       (i)    By Not Allowing Users To Control Sharing with Business
                              Partners, Facebook Violated Its Pledge That Users Would
                              Have Control over How Their Content and Information Was
                              Shared.
       593.    At all relevant times, the SRR told users, “You own all of the content and

information you post on Facebook, and you can control how it is shared through your privacy

[hyperlinked] and application [hyperlinked] settings.”

       594.    The Data Policy did not contradict this statement in the SRR. Rather, it discussed

in more detail how users could use the Privacy Settings and App Settings to control whether and

how other users or other entities could access one’s own content and information.
       595.    Despite Facebook’s pledge that users would have control over how their content

and information was shared, users had no control over whether and how their content and

information was shared with Business Partners. This lack of control directly contradicted

Facebook’s disclosures.

                       (ii)   Facebook Violated Its Pledge That Apps and Websites Would
                              Use Users’ Content and Information Merely “in Connection
                              with” Their Friends.
       596.    Even in its most expansive versions, the Data Policy said that if a user’s Friend

allowed a third-party application or website to access the user’s content and information, the

application or website could use that content and information only “in connection with” the

Friend that granted permission. Even giving this language its broadest possible reading,

Facebook allowed the conduct to occur that was directly contrary to it.

       597.    From April 22, 2010 to January 30, 2015, the Data Policy said that if a user’s

“friend grants specific permission to [an] application or website,” the application or website “will

only be allowed to use that content and information in connection with that friend” (April 22,

2010 to September 23, 2011) or could use the information “only in connection with the person

that gave the permission and no one else” (September 23, 2011 to January 30, 2015).

       598.    The truth, however, was that Apps and websites used Facebook users’

information far more broadly than merely “in connection with” their Friends. Rather, as the


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Cambridge Analytica Scandal shows, Apps and websites were able to use Facebook users’ data

in ways that were not even connected with the App through which the data was gathered, let

alone the Friend that had granted permission to the App. When GSR passed along Facebook

users’ content and information to Cambridge Analytica, it was not using that content and

information merely “in connection with” the Friend that had used the MyDigitalLife App and

through whom GSR had gathered data. And when Cambridge Analytica targeted individual

Facebook users with specially crafted messages about political candidates, that targeting was

specific to the individual user, and was not done “in connection with” the Friend that had granted

permission to the MyDigitalLife App.

                       (iii)   By Continuing to Allow Whitelisted Apps and Business
                               Partners’ Apps to Have Access Even to Users That Had
                               Turned off All App Access, Facebook Violated Its Pledge That
                               Users Could Bar Apps from Accessing Their Data.
       599.    Facebook told users that by using their App settings, they could prevent an App

from accessing their data via a Friend that used the App. This was true at all relevant times. In

one version of the Data Policy, for example, Facebook said that users could “use [their]

application settings to limit which of your information your Friends can make available to

applications and websites.”250 In a later version of the Data Policy, it stated that if users turned

off “all Platform applications”—that is, by disabling their own ability to use Facebook-integrated

games, applications, or websites—users could “completely block applications from getting

[their] information when [their] friends and others use” the applications.251

       600.    Contrary to this pledge, Facebook allowed Apps that had been “whitelisted”—i.e.,

those that had paid Facebook money directly for privileged access to content and information—

to continue to access Friends’ data even after users attempted to disable this feature.252

250
    Facebook’s Privacy Policy, Facebook (Feb. 12, 2010), www. facebook.com/policy
[http://web.archive.org/web/20100212024707/facebook.com/policy.php].
251
    Other websites and applications, Facebook (Apr. 16, 2014),
www.facebook.com/about/privacy/your-info-on-other
[http://web.archive.org/web/20140416060858/.facebook.com/about/privacy/your-info-on-other].
252
    DCMS Report, supra note 28, ¶ 81-83.

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       601.    Recent reports count 5,200 such whitelisted Apps.253 These documents also did

not inform users that some Apps could obtain their content and information even in violation of

the restrictions that users had set to prevent Apps obtaining content.254

       602.    Further, Apps of certain Business Partners (for more on which, see below) had

access to user content and information as well, but users’ App settings simply did not control

these Apps’ ability access user content and information. Indeed, even if users declined any App

access, these Business Partners’ Apps still could access users’ content and information through

their Friends that used the Business Partners’ Apps.

                        (iv)   Facebook Violated Its Pledge Not to Give Content and
                               Information to Advertisers by Permitting Access by Apps,
                               Websites, and Business Partners That Were Also Advertisers.
       603.    During the Class Period, the SRR promised users, “We do not give your content

or information to advertisers without your consent.”255

       604.    The Data Policy confirmed these terms throughout the Class Period, telling users

that their information would be provided to advertisers only after users’ content was removed

from it. For example:

       When we deliver ads, we do not share your information (information that
       personally identifies you, such as your name or contact information) with
       advertisers unless you give us permission. We may provide advertisers with
       information when we have removed your name and other personally identifying
       information from it or combined it with other information so that it no longer
       personally identifies you.256

       605.    Despite this promise, Facebook allowed third-party Apps and websites to access

users’ content, even if the Apps or websites were also advertisers. Nothing in the Data Policy—

not even the portion of the Data Policy discussing how an App could access users’ information

253
    DCMS Report, supra note 28, ¶ 84.
254
    Id. ¶ 83.
255
    Before August 28, 2009, this portion of the SRR read, “We do not give your content to
advertisers.”
256
    Data Use Policy, Facebook (July 10, 2014), https://www.facebook.com/full_data_use_policy
[http://web.archive.org/web/20140710224014/https:/www.facebook.com/full_data_use_policy].

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via a Friend who used the App or website—disclosed that Apps or websites that advertised on

Facebook could access users’ nonpublic content and information. The problem, to put it in

graphic terms, was this:




       606.    Facebook also allowed Business Partners to access users’ content even if the

Business Partners were also advertisers, like Amazon and Netflix. Nothing in the Data Policy,

not even the portion of the Data Policy discussing “vendors” or “service providers,” disclosed

that Business Partners that advertised on Facebook could access users’ nonpublic content and

information. The problem, once again, was this:




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                           (v)   By Stripping Metadata from Content and Information,
                                 Facebook Violated Its Pledge That Apps Would Respect Users’
                                 Privacy.
         607.     When photos and videos from users passed through Facebook’s Graph API v1.0,

the interface stripped privacy metadata from the photos and videos.

         608.     To understand what it means to strip metadata, one must first understand what

metadata is: it is data about data. The data in a Microsoft Word file, for example, include the

characters in the file, their order, font, size, layout on the page, and so on. Metadata, by contrast,

provides context to the data itself—for example, when the file was created, the user who created

it, or the title of the file.
         609.     The data in Facebook had privacy-related metadata, indicating the privacy

restrictions that the user who created the data put on it.

         610.     But when Facebook made photos and videos available to Apps and websites via

the Graph API v1.0, the metadata reflecting the user’s privacy designations associated with the

photos and videos was “stripped” out—even though other metadata remained.

         611.     This means that when a Facebook user used an App, it was impossible for that

App to know, and to abide by, the privacy restrictions that the user had placed on his or her

photos and videos.

         612.     This created situations that were directly contrary to what Facebook told users at

all relevant times. It told users, “We require applications to respect your privacy, and your

agreement with that application will control how the application can use, store, and transfer that

content and information.”257 Many (if not most) applications did not affirmatively tell users that

their privacy settings would simply be ignored. Thus, when users used these applications and

their privacy settings for their photos and videos were not obeyed because those settings had

been stripped from the data, Facebook violated its pledge to these users.

257
    Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms
[https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php].

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               c.     Users Did Not Consent to Misconduct That the Documents Wholly
                      Failed to Disclose.
       613.    The documents wholly failed to disclose large parts of Facebook’s misconduct.

Plaintiffs therefore neither contractually agreed to the misconduct (no express consent) nor had

actual notice of the misconduct (no implied consent).

                      (i)     Facebook Failed to Disclose Its Data Sharing with Business
                              Partners
       614.    The documents failed to clearly and prominently communicate to users that

Facebook shared users’ non-public content and information with Facebook’s Business Partners

at Facebook’s sole discretion and without any notice.
       615.    Facebook gave users’ content and information to roughly 150 Business Partners,

including Acer, Alibaba, Amazon, Apple, AT&T, Dell, Garmin, Huawei, Microsoft, Qualcomm,

Samsung, Sony, and Warner Brothers.258 Facebook never disclosed this practice. It came to light

only after the Cambridge Analytica scandal as a result of investigative journalism and the

subsequent congressional inquiry.

       616.    To defend its sharing of data with Business Partners, Facebook has pointed to

certain language in its Data Policy. The most expansive pre-2015 version of this language stated

that Facebook might give users’ information to “the people and companies that help us provide,

understand and improve the services we offer,” including “outside vendors” who “help host our

website, serve photos and videos, process payments, analyze data, conduct and publish research,

measure the effectiveness of ads, or provide search results.” Beginning on January 30, 2015,

Facebook changed this language slightly to say that it might send users’ content and information

to “[v]endors, service providers, and other partners who globally support our business.”

258
   The list that Facebook provided Congress named the following companies: Accedo, Acer,
Airtel, Alcatel/TCL, Alibaba, Amazon, Apple, AT&T, Blackberry, Dell, DNP, Docomo,
Garmin, Gemalto, HP/Palm, HTC, Huawei, INQ, Kodak, LG, MediaTek/Mstar, Microsoft,
Miyowa/Hape Esia, Motorola/Lenovo, Mozilla, Myriad, Nexian, Nokia, Nuance, O2, Opentech
ENG, Opera Software, OPPO, Orange, Pantech, PocketNet, Qualcomm, Samsung, Sony, Sprint,
T-Mobile, TIM, Tobii, U2topia, Verisign, Verizon, Virgin Mobile, Vodafone, Warner Brothers,
Western Digital, Yahoo, and Zing Mobile.

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       617.    This vague language did not disclose that Facebook gave users’ content and

information to an extraordinarily wide range of entities, such as media and entertainment

companies (e.g., Netflix, Sony, Warner Brothers); software makers (e.g., Microsoft, Opera);

companies that make eye-tracking software (Tobii) and speech-recognition software (Nuance);

security firms (Gemalto); digital-commerce companies (Alibaba, Amazon); the chip designer

Qualcomm; and even the Russian company Yandex and the Chinese company Huawei. Both

Yandex and Huawei are suspected of anti-American espionage.

       618.    Furthermore, Facebook has provided no information whatsoever regarding how

these Business Partners can use users’ content and information.

                      (ii)    Facebook Failed to Disclose Psychographic Profiling.
       619.    No language in the SRR or in the Data Policy even hinted that once Facebook had

allowed third parties to access users’ content and information, that content and information could

be aggregated with other information to build psychographic profiles on Facebook users.

       620.    As explained in more detail elsewhere in this complaint, these psychographic

profiles can then be used for intrusive psychographic marketing.

                      (iii)   Facebook Failed to Disclose That When Apps and Websites
                              Accessed Data from the Friends of Users, Those Friends’
                              Privacy Metadata Was Stripped.
       621.    No language in the SRR or in the Data Policy discloses that when Apps or

websites accessed Facebook users’ content and information via a Friend that used the Apps or

websites, privacy metadata was stripped from that content and information.

       622.    Thus, when an App or website accessed a Facebook user’s photos or videos

through a Friend that used the App or website, the metadata striping meant that the App or

website could no longer know the privacy restrictions that the user had placed on the data.

Sensitive data meant to be shared with just a few Friends could thus be made entirely public.




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               d.     Users Who Were Not Notified of New Disclosures After Initiating
                      Their Accounts Did Not Provide Consent to the Newly Disclosed
                      Conduct.

                      (i)     Facebook did not notify users of updates to the Data Policy or
                              SRR.
       623.    When the Data Policy or SRR was changed in the three material ways discussed

below so as to make new disclosures, users did not receive notice that the Policy or SRR had

been changed, beyond a revised Policy or SRR being posted to Facebook.

       624.    Because users did not receive notice of these changes, they did not expressly

agree to them. To the extent Facebook claims a contractual power to unilaterally change the SRR
or Data Policy without notice (beyond posting a revised SRR or Data Policy to the Facebook

website), that power is unenforceable under California law.

       625.    Since the Plaintiffs who signed up before the changes did not receive notice of the

changes, they had no reason to consult, and did not consult, the changed SRR or Data Policy.

They therefore did not impliedly agree to the changes.

                      (ii)    Users who signed up before December 9, 2009 did not consent
                              to allowing third-party Apps and websites to access their
                              content and information via their Friends.
       626.    Before December 9, 2009, the Data Policy at most stated that if a user’s Friends

used third-party applications, those applications “may access and share certain information about

you with others in accordance with your privacy settings. You may opt-out of any sharing of

certain or all information through Platform Applications on the Privacy Settings [hyperlink]

page.”259

       627.    The vague statement that the applications could access “certain information about

you” failed to disclose the extraordinarily broad range of information that applications and

websites were able to access using Graph API v1.0, including content that was shared non-

publicly like videos, photos and their metadata which included geolocation information,

259
    Facebook Principles, Facebook (Jan. 16, 2009), www.facebook.com/policy
[http://web.archive.org/web/20090116032231/facebook.com/policy.php].

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activities, birthdays, education history, hometown, interests, likes, habits, medical information,

relationships and relationship details.

       628.     In addition, once App Settings became the sole tool that Facebook users had to

control whether and how applications and websites could access their content and information

via their Friends, it became false that users could “opt-out of any sharing” with Apps and

websites using their “Privacy Settings.” And this was always false with regard to Business

Partner Apps.

       629.     The SRR also omitted these facts to users who signed up before December 9,

2009. That is because, before June 8, 2012, the SRR did not contain any language about how

applications and websites could access a user’s content and information via that user’s Friends.

When the SRR was changed on June 8, 2012 to include such language, users were not notified of

the change beyond the mere fact that a revised SRR was posted to the Facebook website. The

significance of this change—that Friends could hand over nonpublic content to any entity they

connected with—merited direct, clear disclosure and express consent from users. Facebook did

the opposite, seeking to hide this change through complex and confusing partial disclosures.

                       (iii)   Users who signed up from December 9, 2009 to April 22, 2010
                               did not consent to the broad access that applications and
                               websites had to users’ content and information via their
                               Friends.
       630.     From December 9, 2009 to April 22, 2010, the Data Policy had only the following

two things to say about access that third-party Apps and websites had to users’ content and

information via their Friends. First, it said that users could “limit how your friends share your

information with applications through your privacy settings [hyperlink].”260 Second, further

along in the Policy, it said, “You can use your application settings [hyperlink] to limit which of

your information your friends can make available to applications and websites.”261 (There was no


260
    Facebook’s Privacy Policy, Facebook (Feb. 12, 2010), www. facebook.com/policy
[http://web.archive.org/web/20100212024707/facebook.com/policy.php].
261
    Id.

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disclosure that users could turn off Friends sharing entirely, for the reason that Facebook did not

want users to turn off this back door way to funnel user content and information to its Business

Partners.)

       631.    This language utterly failed to disclose what kind of information Apps could

access via a user’s Friends. At most, it disclosed the bare fact that Apps could access a user’s

information via that user’s Friends. Even then, it did so only by implication—that is, only by

noting that users could limit the information their Friends could share with applications. And of

course it was untrue that users could turn off App sharing with Business Partners.

       632.    Note, moreover, that the Data Policy is internally inconsistent. It first says that a

user can control App sharing using Privacy Settings; it then says that a user can control App

sharing using Application Settings. This internal inconsistency negates consent, because it fails

to meaningfully disclose how App sharing could be controlled.

       633.    The SRR also failed to disclose these facts to users who signed up from December

9, 2009 to April 22, 2010. That is because, before June 8, 2012, the SRR did not contain any

language at all about how applications and websites could access a user’s content and

information via that user’s Friends. When the SRR was changed on June 8, 2012 to include such

language, users were not notified of the change (beyond the mere fact that a revised SRR was

posted to the Facebook website).

                       (iv)   Users who signed up before September 7, 2011 did not consent
                              to any sharing with Business Partners.
       634.    As discussed above, Facebook wholly failed to disclose that Business Partners

could access users’ content and information during the entire Class Period.

       635.    The SRR never contained any language on which Facebook has relied to argue

that it disclosed data sharing with Business Partners. Rather, Facebook has relied only on the

Data Policy.

       636.    But even if one were to agree arguendo that the Data Policy disclosed data

sharing with Business Partners at some point and in some form during the Class Period, it wholly

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failed to disclose any data sharing with Business Partners before September 7, 2011.

       637.    That is because the Data Policy before September 7, 2011, even at its most

expansive, stated that the “service providers” that Facebook allowed access to user information

could “have access to your personal information for use for a limited time.”262

       638.    If this “limited time” language was ever true, it became totally false once

Facebook allowed Business Partners to have long-term access to users’ content and information.

               e.      Because the Data Policy Was Not Part of a Contract and Was Not
                       Reasonably Prominent or Accessible, Users Did Not Consent to Two
                       Matters That the Data Policy, but Not the SRR, Disclosed.
       639.    There are two important matters that the SRR never disclosed at any time during

the Class Period.

       640.    First, the SRR never disclosed that users had to use App Settings, not Privacy

Settings, to control whether and how third-party Apps and websites could access their content

and information via their Friends. Even when the SRR could be read to disclose the bare fact that

third-party Apps and websites could access users’ content and information via their Friends, it

left users with the impression that users could control that access using their Privacy Settings.

Thus, for example, the SRR stated that an application could ask for a user’s permission to access

“content and information that others have shared with you.”263 But the SRR failed to specify how

that access could be controlled. It simply told users: “To learn more about Platform, including

how you can control what information other people may share with applications, read our Data

Use Policy and Platform Page.”264

       641.    Second, before June 8, 2012, the SRR wholly failed to disclose that third-party

applications could access a user’s content and information via a Friend. Instead, at its most

expansive, the pre-June 8, 2012 version of the SRR simply said, “When you use an application,

262
    Id. (emphasis added).
263
    Statement of Rights and Responsibilities, Facebook (Dec. 5, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].
264
    Id.

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your content and information is shared with the application. We require applications to respect

your privacy, and your agreement with that application will control how the application can use,

store, and transfer that content and information. (To learn more about Platform, read our Privacy

Policy [hyperlink] and About Platform [hyperlink] page.)”265 This language discloses that an

application will access the content and information of a Facebook user who uses the application.

It does not disclose that an application may access the content and information of the Friend of a

Facebook user who uses the application.

        642.    Facebook argues that these two matters were disclosed; however, in so doing, it

has relied on language in the Data Policy, not the SRR. Facebook’s reliance on the language in

the Data Policy is unavailing, as the Data Policy was never part of a binding contract between

users and Facebook, and hence could not manufacture express consent. Nor was the Data Policy

sufficiently noticeable or accessible that users were on actual notice of it; for that reason, the

Data Policy could not manufacture implied consent either.

                        (i)    Users Did Not Expressly Consent to Sharing with Third-Party
                               Apps and Websites Because the Data Policy Was Not
                               Incorporated into a Binding Contract.
        643.    The Data Policy was never properly incorporated into a binding contract between

the users and Facebook. Users did not agree to the Data Policy when they signed up, and they did

not agree to the Data Policy merely because they agreed to the SRR.

                               (1)     Users did not agree to the Data Policy at sign-up.
        644.    Because the sign-up process changed throughout the Class Period, the reason that

Plaintiffs did not agree to the Data Policy at sign up changed slightly depending on when

Plaintiffs first signed up.

        645.    March 2009 to February 2012. In March 2009, Facebook began to omit any

reference to the Statement of Rights and Responsibilities or the Privacy Policy on its initial sign-

265
    E.g., Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms
[https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php].

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up page.266 This initial screen required the user to fill in fields for their name, email, password,

sex, and birthday:




266
    See Chris Glavan, Facebook –Create new account, YouTube (Mar. 5, 2011)
https://www.youtube.com/watch?v=PL8MdQcU9cE; see also Facebook (Mar. 24, 2009),
http://www.facebook.com
[https://web.archive.org/web/20090324054710/http://www.facebook.com/];

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       646.    Only after users had filled in these six fields of information and affirmatively

clicked “Sign Up” were they routed to the following page, which was a pop-up screen that asked

users to sign up again after they had already done so, under the guise of a security check:




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       647.    This screen required users to engage in a “Security Check.” This check required

users to type out the displayed words in a text box (a “CAPTCHA” test). The text on the security

screen was distorted such that users would be distracted by and forced to concentrate on the

security image.




       648.    Deceptively, on this same screen and in very small font (likely eight-point in

contrast to much larger font above), Facebook placed the following statement below the second

sign on screen: “By clicking Sign Up, you are indicating that you have read and agree to the

Terms of Use [hyperlink] and Privacy Policy [hyperlink].”267 Because users had already

submitted their own personal information and affirmatively agreed to sign up, they could have

easily mistaken or not seen this statement.

       649.    From March 2009 to February 2012, then, users did not agree to the Data Policy

as it was not reasonably prominent because (1) the relevant text was small and (2) Facebook



267
   Chris Glavan, Facebook –Create new account, YouTube (Mar. 5, 2011)
https://www.youtube.com/watch?v=PL8MdQcU9cE.

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affirmatively directed their attention away from that text by placing large, distorted text

elsewhere on the page and requiring users to concentrate solely on that text.

       650.    February 2012 to April 2018. After February 2012, Facebook changed its sign-

up process to state: “By clicking Sign Up, you agree to our Terms [hyperlinked] and that you

have read our Data Use Policy [hyperlinked], including our Cookie Use [hyperlinked].”268

Notably—and in contrast to Facebook’s past language—this statement does not require

agreement to the Data Policy. Rather, it states merely that the user has read the Policy.

                               (2)    Users did not agree to the Data Policy by agreeing to the
                                      SRR.
       651.     The SRR contained a “Privacy” section. This section was a mere three sentences

that “encourage[d],” but in no way required, a user to read or consent to the Data Policy.

       652.    This “Privacy” section of the SRR read as follows:

       Your privacy is very important to us. We designed our Privacy Policy [or Data Use
       Policy] [hyperlinked] to make important disclosures about how you can use Facebook to
       share with others and how we collect and can use your content and information. We
       encourage you to read the Privacy Policy [or Data Use Policy], and to use it to help make
       informed decisions.269
       653.    The SRR did not contain the full text of the Data Policy, did not require users to

review the Data Policy, and did not require any form of affirmative acknowledgement of or

consent to the Data Policy.

       654.    The language that the SRR used to refer to the Data Policy simply did not contain

any indication that the Data Policy was intended to be a legally binding contract between the

user and Facebook.

       655.    At the bottom of the SRR, the Data Policy was hyperlinked in a long list of

268
    When the “Data Use Policy” was renamed the “Data Policy,” this text began to reference the
“Data Policy.”
269
    See, e.g., Statement of Rights and Responsbilities, Facebook (Aug. 28, 2009),
www.facebook.com/terms.php
[http://web.archive.org/web/20090918000730/facebook.com/terms.php]; Statement of Rights and
Responsibilities, Facebook (June 8, 2012), http://www.facebook.com/legal/terms
[http://web.archive.org/web/20120712173816/https://www.facebook.com/legal/terms].

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documents that Facebook casually suggested users “may also want to review.” Facebook

explained in this list that the “Privacy Policy is designed to help you understand how [they]

collect and use information”—in other words, Facebook presented the information to users as a

help page, not an agreement.270

        656.   Contrast the way that the SRR used to refer to the Data Policy with what it now

says:




                       (ii)    The Data Policy Did Not Create Implied Consent Because It
                               Was Not Reasonably Prominent or Accessible.
        657.   On its home page, Facebook did not prominently display the Data Policy or a

hyperlink to the Data Policy. Moreover, as discussed below, even if users had somehow noticed

the hyperlink to the Data Policy during the sign-up process or otherwise, Facebook at times made

it extremely difficult to read the Data Policy.

        658.   Facebook provided a hyperlink to the Data Policy near the bottom of its home

screen. This hyperlink read in small print, “Privacy.”


270
    Id.; Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms.php?ref=pf
[https://web.archive.org/web/20100618213653/http://www.facebook.com/terms.php?ref=pf].

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       659.    Before September 2011, if a user happened to see and then click on this hyperlink,

she would be routed to one webpage that contained the entire Policy.

       660.    Beginning by at least September 2011, if users were to click on “Privacy,” they

would be routed to a page that listed subheadings of the “Data Use Policy.” For example:271




       661.    From September 2011 to June 2012, even if users clicked a subheading on this

webpage, they still would not be able to see the contents of the Data Use Policy. Instead,

clicking those subheadings routed users to yet another webpage containing yet more


271
    Data Use Policy, Facebook (Sept. 22, 2011), http://www.facebook.com/about/privacy/your-
info-on-other
[https://web.archive.org/web/20110922195234/http://www.facebook.com/about/privacy/].

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subheadings. Users would then need to read and click on the subheadings or click “expand all”

to actually read the content of the relevant subsection of the Data Use Policy. For example, if

users decided they wanted to read more about “Sharing with other websites and applications,”

they would be routed to a screen that required users to go through even more subheadings:272




272
    Sharing with other websites and applications, Facebook (Jan. 12, 2012),
http://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20120112084445/http://www.facebook.com/about/privacy/your-
info-on-other].

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       662.    Thus, from September 2011 to June 2012, if a user wanted to read the actual

contents of the Data Policy, the user would have had to read several subheading descriptions and

to click at least three different hyperlinks before seeing any content. And, if the user wanted to



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read the full Data Policy, the user would need to click back and forth between multiple

webpages. It would take a user at least eighteen separate clicks of the mouse to read the entire

Data Policy.

       663.    Even after June 2012, Facebook still required users to click on one of the six

separate subheadings of the Data Policy.273 But even with this change, from June 2012 to

January 2015, a user would need to click back and forth at least twelve times in order to read the

full contents of the Data Policy contained within six separate subheadings.

       664.    Starting in January 2015, Facebook again changed the Data Use Policy so that all

content was displayed on one webpage.

       2.      Nothing Outside the SRR and Data Policy Created Consent Either—to the
               Contrary, Statements That Facebook Made Lulled Users into Believing Their
               Privacy Was Protected.
       665.    Just as neither the SRR nor the Data Policy created the consent Facebook has

claimed, so nothing outside the documents created the necessary consent either.

       666.    Merely by way of example, no contemporaneous notice was given each time

Facebook permitted Apps, websites, or Business Partners to access users’ content and

information. And when one user allowed an App to access his or her Friends’ data, Facebook did

not give contemporaneous notice to those Friends, let alone allow those Friends to opt out of the

sharing.

       667.    Even now, Facebook has failed to give its users the full picture of what it did with

their data. It still has not informed users which Apps and other third parties have accessed their

content and information. They still have not informed users that their content and information

was used for psychographic marketing.

       668.    Moreover, the statements that Facebook made and actions it took outside the SRR


273
    Other websites and applications, Facebook (Dec. 9, 2012),
https://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20121209131947/https://www.facebook.com/about/privacy/your-
info-on-other].

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and Data Policy affirmatively misled users into expecting that when they used the Privacy

Controls to limit the audience for their content, those Privacy Controls truly did limit that content

to the designated audience.

       669.    Indeed, the extensive Privacy Controls themselves—particularly those Controls

that controlled the audience for individual posts—gave reasonable users the misimpression that

they could use them to control sharing with others. Indeed, because Facebook, for much of the

Class Period, allowed users to designate a limited audience for each individual post, Facebook

could easily have permitted that designation also to limit sharing with third-party Apps, websites,

and Business Partners. It chose not to do so.

       670.    Furthermore, for much of the Class Period, users had to actively sign up in order

to access Facebook. This fact—the fact that Facebook, for much of the Class Period, was a

subscriber-only site—also reinforced users’ reasonable expectation of privacy for content whose

audience they limited.

       671.    Finally, throughout the Class Period, Mark Zuckerberg issued repeated

reassurances that Facebook was committed to protecting its users’ privacy and to giving them

understandable and accessible tools to limit the sharing of their data. Far from creating consent,

these reassurances helped to deceive users about the misconduct complained of here.

F.     Facebook’s Sharing User Content and Information with Third Parties Without
       Users’ Consent Violates the 2012 Federal Trade Commission Consent Decree
        672. The FTC’s Consent Decree required Facebook to change certain disclosures and

practices because, among other things, Facebook was misleading consumers about its treatment

of users’ content and information. The subject matter of the Consent Decree bears directly on

the practices challenged by this Complaint. Thus, while this action is not brought to enforce the

Consent Decree, the FTC’s previous findings and the agreements Facebook reached with them

bear on what reasonable consumers expected from Facebook.

        673. In December 2009, the nonprofit organization Electronic Privacy Information

Center (“EPIC”), a public interest research center based in Washington, D.C., filed a complaint

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 and request for investigation, injunction, and other relief against Facebook before the Federal

 Trade Commission (“FTC”).274

        674. EPIC’s complaint alleged that the “Facebook Platform transfer[red] Facebook

 users’ personal data to application developers without users’ knowledge or consent.”275

        675. The FTC investigated EPIC’s claims. Thereafter, the FTC issued its Complaint on

 November 29, 2011,276 listing a number of instances in which Facebook made promises that it

 did not keep:

                In December 2009, Facebook changed its website so certain information that

                 users may have designated as non-public, including their Friends List, was made

                 public. Facebook didn’t warn users about this change or get their approval in

                 advance;

                Facebook represented that third-party Apps that users installed would have

                 access only to user information that they needed to operate. In fact, the Apps

                 could access nearly all of users’ personal data—data the Apps didn't need to

                 operate;

                Facebook told users they could restrict sharing of data to limited audiences—for

                 example, with Friends. In fact, selecting Friends did not prevent their

                 information from being shared with third-party applications their Friends used;

                FB claimed it audited and monitored the security practices of Apps participating

                 in its “Verified Apps program,” but the company did not do so;

                Facebook shared users’ personal details with advertisers even though they

                 promised not to do so; and

                Facebook claimed that it complied with the U.S.-EU Safe Harbor Framework

274
    EPIC Complaint, Request for Investigation, Injunction, and Other Relief, In re Facebook, Inc.
(F.T.C. Dec. 17, 2009), https://www.epic.org/privacy/inrefacebook/EPIC-
FacebookComplaint.pdf.
275
    Id. ¶ 54.
276
    FTC Complaint, supra note 75.

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                that governs data transfer between the U.S. and the European Union, but failed to

                do so.277

        676. On November 29, 2011, the FTC announced that Facebook had agreed to settle

 FTC charges that Facebook had “deceived consumers by telling them they could keep their

 information on Facebook private, and then repeatedly allowing it to be shared and made

 public.”278 On July 27, 2012, the FTC finalized and issued its Consent Decree, which ordered,

 in part, that Facebook:

       [S]hall not misrepresent in any manner, expressly or by implication, the extent to
       which it maintains the privacy or security of covered information, including, but
       not limited to:

       A.      its collection or disclosure of any covered information;

       B.     the extent to which a consumer can control the privacy of any covered
       information maintained by [Facebook] and the steps a consumer must take to
       implement such controls;

       C.     the extent to which [Facebook] makes or has made covered information
       accessible to third parties;

       D.      the steps [Facebook] takes or has taken to verify the privacy or security
       protections that any third party provides . . . .279

        677. The Consent Decree further ordered, in part, that:

       [P]rior to any sharing of a user’s nonpublic user information by [Facebook] with
       any third party, which materially exceeds the restrictions imposed by a user’s
       privacy setting(s), [Facebook] shall:

       A.      clearly and prominently disclose to the user, separate and apart from any
       “privacy policy,” “data use policy,” “statement of rights and responsibilities”
       page, or other similar document: (1) the categories of nonpublic user information
       that will be disclosed to such third parties, (2) the identity or specific categories of


277
    Facebook Settles FTC Charges That It Deceived Consumers by Failing to Keep Privacy
Promises, F.T.C. (Nov. 29, 2011), https://www.ftc.gov/news-events/press-
releases/2011/11/facebook-settles-ftc-charges-it-deceived-consumers-failing-keep.
278
    Id.
279
    FTC Consent Decree, supra note 6, at 3-4.

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       such third parties, and (3) that such sharing exceeds the restrictions imposed by
       the privacy setting(s) in effect for the user; and

       B.       obtain the user’s affirmative express consent.280

        678. Facebook violated the Consent Decree by failure to cure the very conduct that

 was the subject of the FTC Complaint:

               The FTC Complaint alleged: “Facebook has represented, expressly or by

                implication, that, through their Profile Privacy Settings, users can restrict access

                to their content and information to specific groups, such as [Friends]. In truth and

                in fact, in many instances, users could not restrict access to their profile

                information to specific groups, such as [Friends] through their Profile Privacy

                Settings. Instead, such information could be accessed by [Apps] that their

                Friends used,” including Business Partners, whitelisted Apps, and advertisers.281

                Further, after Facebook discontinued Graph API v1.0, there was no way to

                disable or to control sharing with whitelisted Apps, including advertisers.282

               The FTC Complaint alleged: “Facebook has represented, expressly or by

                implication, that Facebook does not provide advertisers with information about

                its users.”283 But in truth and in fact, as described in the FTC Complaint,

                Facebook has provided advertisers with information about its users.284

        679. Facebook also violated the Consent Decree by failing to perform actions required

 by the Consent Decree, including:

               Facebook has continued to “misrepresent in any manner, expressly or by

                implication, the extent to which it maintains the privacy or security of covered



280
    Id. at 4.
281
    FTC Complaint, supra note 75, ¶¶ 17-18.
282
    Id. ¶ 18.
283
    Id. ¶ 41.
284
    Id. ¶ 42.

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               information,” by putting a user’s application-related privacy settings on a page

               completely different from all other privacy settings.285

              Facebook shared nonpublic user information with third parties, including Apps,

               whitelisted Apps, and Business Partners, so as to “materially exceed[] the

               restrictions imposed by a user’s privacy setting(s)”—but it failed to “clearly and

               prominently disclose” details regarding this sharing with users.286

              Facebook failed to make any such disclosure separate and apart from its Privacy

               Policy, Data Use Policy, or Statement of Rights and Responsibilities.287

              Facebook failed to “obtain the user’s affirmative express consent” before sharing

               nonpublic user information with third parties including Apps, whitelisted Apps,

               Business Partners, and advertisers; instead, Facebook’s default setting was that

               users’ personal information could be shared with third parties via the users’

               Friends.288 Likewise, Facebook obtained no consent from its users for the sharing

               of their content and information with whitelisted Apps and Business Partners,

               including advertisers, because there were no Privacy Controls or App Settings

               that controlled such sharing.

        680. Because of these and other apparent violations of the Consent Decree, the FTC

 reopened its investigation of Facebook, as confirmed by the FTC in March 2018.289 As detailed

 by the New York Times, at issue in the FTC’s reopened investigation is whether Facebook

 violated the Consent Decree through conduct such as the following:

              Facebook shared user data with more than 150 Business Partners without users’

285
    FTC Consent Decree, supra note 6, at 3; see also FTC Complaint, supra note 75, ¶¶ 17-18.
286
    FTC Consent Decree, supra note 6, at 4.
287
    Id.
288
    Id.
289
    Statement by the Acting Director of FTC’s Bureau of Consumer Protection Regarding
Reported Concerns About Facebook Privacy Practices, F.T.C. (Mar. 26, 2018),
https://www.ftc.gov/news-events/press-releases/2018/03/statement-acting-director-ftcs-bureau-
consumer-protection.

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                  consent and despite users’ privacy settings;

                 Microsoft’s Bing was allowed to see the names of virtually all Facebook users’

                  Friends without users’ consent;

                 Netflix, Spotify, and the Royal Bank of Canada were given access to private

                  messages of Facebook users, allowing them to read, write, and delete users’

                  private messages and to see all participants on a thread;

                 Amazon was allowed to obtain users’ names and contact info through their

                  Friends;

                 Yahoo was allowed to view streams of Friends’ posts as recently as summer

                  2018;

                 Facebook allowed Apple to access to the contact numbers and calendar entries of

                  people who had changed their account settings to disable all sharing, and

                  empowered Apple to hide from Facebook users all indicators that its devices

                  were asking for data;

                 Russian search giant Yandex, which has been accused of funneling data to the

                  Kremlin, had access to Facebook’s unique user IDs as recently as 2017, even

                  after Facebook had stopped sharing this information with many other

                  applications, citing privacy risks.290

           681. Roger McNamee, an early investor in Facebook, has also weighed in, stating: “I

 don’t believe it is legitimate to enter into data-sharing partnerships where there is not prior

 informed consent from the user.”291

           682. Subsequently, it has been reported that Facebook and the FTC are negotiating a

 “record-setting” fine of approximately $2 billion against Facebook for violating the Consent




290
      Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
291
      Id.

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 Decree.292

        683. Moreover, the DCMS Committee considered whether Facebook violated the

 Consent Decree through its subsequent conduct, including that revealed by the Cambridge

 Analytica Scandal and other revelations regarding Business Partners. In its February 14, 2019

 report, the DCMS Committee found that, after entering into the 2012 Consent Decree, Facebook

 continued “to override its users’ privacy settings in order to transfer data to some App

 developers” and “to charge high prices in advertising to some developers, for the exchange of

 that data”—and, for this reason, “[i]t seems clear that Facebook was, at the very least, in

 violation of its [FTC] settlement.”293

        684. Moreover, Facebook executive Richard Allan, Vice President of Policy Solutions

 at Facebook, acknowledged to the DCMS Committee that Facebook continued the same

 conduct at issue in the FTC Complaint and Consent Decree for at least two years after Facebook

 entered into the Consent Decree. In particular, the DCMS Report states that, “[w]hen Richard

 Allan was asked at what point Facebook had made such changes to its own systems, to prevent

 developers from receiving information (which resulted in circumventing Facebook users’ own

 privacy settings), he replied that the change had happened in 2014,” referring “to the change

 from Version 1 of Facebook’s Application Programming Interface (API) to its more restrictive

 Version 2.”294

        685. In fact, although Facebook announced Graph API v2.0 in 2014, Apps were still

 allowed to access users’ content and information through Graph API v1.0 until 2015.

 Accordingly, Allan’s testimony to the DCMS Committee stands as an admission by Facebook



292
    Tony Romm &Elizabeth Dwoskin, U.S. Regulators Have Met to Discuss Imposing a Record-
Setting Fine Against Facebook for Privacy Violations, Wash. Post (Jan. 18, 2019),
https://www.washingtonpost.com/technology/2019/01/18/us-regulators-have-met-discuss-
imposing-record-setting-fine-against-facebook-some-its-privacy-
violations/?utm_term=.177c44fd0618.
293
    DCMS Report, supra note 28, ¶ 135.
294
    Id. ¶ 68.

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 that it violated the Consent Decree for approximately three years—and even longer for

 whitelisted Apps and Business Partners, which maintained access to the content and information

 of App users’ Friends for years after Facebook made the transition to Graph API v2.0.

        686. Moreover, “[i]n reply to a question as to whether CEO Mark Zuckerberg knew

 that Facebook continued to allow developers access to that information, after the agreement,

 Richard Allan replied that Mr Zuckerberg and ‘all of us’ knew that the platform continued to

 allow access to information.”295 In this regard, the DCMS Report accused Facebook of deceit:

       The fact that Facebook continued to allow this access after the Consent Decree is
       not new information; the new information is the admission by Richard Allan that
       the CEO and senior management— “all of us”—knew that Facebook was
       continuing to allow the practice to occur, despite the public statements about its
       change of policy. That, people might well contest, constituted deceit and we
       would agree with them.296

        687. Further, Allan argued “that, while Facebook continued to allow the same data

 access—highlighted in the first count of the FTC’s complaint and of which the CEO, Mark

 Zuckerberg, was also aware—that was acceptable due to the fact that Facebook had supposedly

 put ‘controls’ in place that constituted consent and permission.”297 In this regard, Allan testified

 that “[w]e were confident that the controls we implemented constituted consent and

 permission—others would contest that, but we believed we had controls in place that did that

 and that covered us for that period up to 2014.”298 Thus, Facebook acknowledged the need to

 obtain affirmative express consent from users and “admitted to [the DCMS Committee] that

 people might indeed take issue with Facebook’s position.”299

        688. Similarly, Allan’s statement that the only way that Facebook purportedly obtained

 affirmative express consent from users was through “controls” stands as a tacit admission that


295
    Id. ¶ 69 (emphasis added).
296
    Id. ¶ 75 (emphasis added).
297
    Id. ¶ 71.
298
    Id. ¶ 68 (emphasis added).
299
    Id. ¶ 75.

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 Facebook never obtained affirmative express consent from users. In this regard, Allan “did not

 specify what controls had been put in place by Facebook, but they did not prevent app

 developers, who were not authorised by a user, from accessing data that the user had specified

 should not to be shared.”300 Hence, Facebook’s apparent position is that it was already obtaining

 the affirmative express consent of users when the FTC issued its initial complaint. This is

 unsustainable, as Allan admits: “others would contest that.”301

         689. If it had not been for the Cambridge Analytica Scandal, Facebook’s violation of

 the Consent Decree may never have come to light. This is so because “the consent decree’s

 enforcement provision gave Facebook a ‘get out of jail free’ card,” in that “[t]he FTC allowed

 Facebook to both pick and pay the third-party auditor whose certification of compliance with

 the consent decree would be required.”302 For this reason, “Facebook did not have to worry

 about compliance,” and “received passing grades every time, even as it failed to comply with

 the spirit of the decree.”303

         690. As a result, “requests [by former Facebook privacy manager Sandy Parakilas] for

 engineering resources to enforce the decree were denied with an exhortation to ‘figure it

 out.’”304 Consequently, “[i]n the run-up to Facebook’s May 2012 IPO, . . . [a] series of privacy

 issues emerged that related to Facebook Platform, specifically to the tool that enabled third-

 party Apps to harvest data from users’ friends.”305 According to Parakilas, “Facebook’s lack of

 commitment to user data privacy created issues of disclosure and legal liability that could and

 should have been addressed before the initial public offering.”306 Consequently, [r]ecognizing

 that Facebook did not intend to enforce the spirit of the FTC consent decree—and would blame

300
    Id. ¶ 74 (emphasis added).
301
    Id. ¶ 68.
302
    Roger McNamee, Zucked: Waking up to the Facebook Catastrophe 189 (Penguin Press
2019).
303
    Id.
304
    Id.
305
    Id. at 190.
306
    Id.

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 him if ever there was bad press about it—Sandy quit his job.”307

G.     Facebook Has Faced Numerous Regulatory and Governmental Agency
       Investigations for Disregarding the Privacy of Its Users.
       691.    On October 24, 2018, the United Kingdom’s Information Commissioner’s Office

(“ICO”), an independent body set up to uphold information rights, issued the maximum

monetary penalty of £500,000 to Facebook for its transfer of users’ information with consent.308

In the notice, the ICO set forth the facts underlying its penalty decision, including that Facebook

did not obtain informed consent from users and failed to take adequate steps, such as auditing

Apps, to prevent the improper use of users’ data.

       692.    In its monetary penalty notice, the ICO found that, “to the extent that such

processing of personal data was purportedly based on consent, any such consent was invalid and

ineffective, since it was not freely given, specific, or informed.”309 Similarly, the ICO found that

“[i]t was unfair for the Facebook Companies to rely on a Facebook user’s privacy settings as

enabling apps installed by the user’s Facebook friends to collect extensive personal data from the

user’s account,” and Facebook “ought instead to have ensured that, before access to such

personal data took place, the Facebook user: was informed that the app wished to access such

personal data; was told what data was sought, and how it would be used; and was given the

opportunity to give or withhold their consent for such access.”310 Further, Facebook “failed to

provide adequate information to Facebook users that this could occur, and as to the steps that

they needed to take to prevent this,” and “[i]ndividuals would not reasonably have expected their

personal data to be collected in this way merely because of a choice made by other individuals to

use a particular app.”311 Finally, the ICO found that Facebook “took no steps, or no adequate

307
    Id.
308
    Supervisory Powers of the Information Commissioner, Monetary Penalty Notice, Information
Commissioner’s Office (Oct. 24, 2018), https://ico.org.uk/media/action-weve-
taken/mpns/2260051/r-facebook-mpn-20181024.pdf.
309
    Id. at 15.
310
    Id. at 16.
311
    Id.

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steps, to guard against such unauthorised or unlawful processing.”312

        693. Regarding this fine, the Information Commissioner, Elizabeth Denham, stated that

 “[w]e fined Facebook because it allowed applications and application developers to harvest the

 personal information of its customers who had not given their informed consent,” such as

 “friends, and friends of friends,” and “then Facebook failed to keep the information safe.”313

 Further, the Commissioner said that the fact that the ICO “found their business practices and the

 way applications interact with data on the platform to have contravened data protection law” is

 “a big statement and a big finding.”314 However, as to rulings imposed by international

 regulators including the federal privacy commissioner in Canada or the ICO, the Commissioner

 believes that Facebook does not view these rulings “as anything more than advice.”315 Based on

 the evidence given by Facebook executive Richard Allan, the Commissioner “thought ‘that

 unless there is a legal order compelling a change in their business model and their practice, they

 are not going to do it.’”316 The Commissioner also stated, “[c]ompanies are responsible for

 proactively protecting personal information,” and “Facebook broke data protection law, and it is

 disingenuous for Facebook to compare that to email forwarding, because that is not what it is

 about; it is about the release of users’ profile information without their knowledge and

 consent.”317

       694.     On October 25, 2018, members of the European Parliament adopted a resolution

calling for EU bodies to carry out full investigation of Facebook following the Cambridge

Analytica Scandal.318 Members of Parliament stated Facebook breached the trust of EU citizens

312
    Id. at 18.
313
    DCMS Report, supra note 28, ¶ 57.
314
    Id., ¶ 58.
315
    Id.
316
    Id.
317
    Id., ¶ 57 (emphasis added).
318
    Facebook-Cambridge Analytica: MEPs demand action to protect citizens’ privacy, European
Parliament, (October 25, 2018), http://www.europarl.europa.eu/news/en/press-
room/20181018IPR16525/facebook-cambridge-analytica-meps-demand-action-to-protect-
citizens-privacy.

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and violated EU laws. Members further recommended that Facebook make changes to its

platform to comply with EU data protection law.

           695.   On December 7, 2018, the Italian Competition Authority (“AGCM”) issued two

fines totaling $11.4 million against Facebook.319 The AGCM found that Facebook misled users

into signing up without fully informing them of the ways that their content and information

would be used for commercial purposes. The AGCM further criticized Facebook for pre-

selecting users’ settings to allow for the sharing of their data to third-party Apps and websites

and then discouraging consumers from changing their settings by telling them that doing so

risked “significant limitations” on the usability of the Facebook Platform and third-party

Apps.320

           696.   Lawmakers from nine countries, led by the United Kingdom, have convened to

investigate Facebook’s role in privacy, including lawmakers from Argentina, Belgium, Brazil,

Canada, France, Ireland, Latvia and Singapore.321

           697.   On December 19, 2018, Washington D.C.’s attorney general issued a complaint

against Facebook for its “lax oversight and misleading privacy settings.” The complaint alleges

that322:

           First, Facebook misrepresented the extent to which it protects its consumers’
           personal data, requires third-party developers to respect its consumers’ personal
           data, and how consumers’ agreements with third-party applications control how
           those applications use their data. Second, Facebook failed to adequately disclose

319
    IANS, Italy fines Facebook 10 million euros for misleading users, Financial Express (Dec. 8,
2018, 10:47am), https://www.financialexpress.com/world-news/italy-fines-facebook-10-million-
euros-for-misleading-users/1407281/.
320
    Id.; Alex Hern, Italian regulator fines Facebook £8.9m for misleading users, The Guardian
(Dec. 7, 2018), https://www.theguardian.com/technology/2018/dec/07/italian-regulator-fines-
facebook-89m-for-misleading-users.
321
    Natasha Lomas, ‘The problem is Facebook,’ lawmakers from nine countries tell Zuckerberg’s
accountability stand-in, TechCrunch (Nov. 27, 2018), https://techcrunch.com/2018/11/27/the-
problem-is-facebook-lawmakers-from-nine-countries-tell-zuckerbergs-accountability-stand-in/.
322
    Complaint for Violations of the Consumer Protection Procedures Act, D.C. v. Facebook, Inc.,
No. 2018 CA 008715 B (D.C. Super. Ct., Dec. 19, 2018)
http://oag.dc.gov/sites/default/files/2018-12/Facebook-Complaint.pdf.

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       to Facebook consumers that their data can be accessed without their knowledge or
       affirmative consent by third-party applications downloaded by their Facebook
       friends. Third, Facebook failed to disclose to affected consumers when their data
       was improperly harvested and used by third-party applications and others in
       violation of Facebook’s policies, such as in the Kogan and Cambridge Analytica
       example. Fourth, compounding these misrepresentations and disclosure failures,
       Facebook’s privacy settings are ambiguous, confusing, and difficult to
       understand. Finally, Facebook failed to disclose that it granted certain companies,
       many of whom were mobile device makers, special permissions that enabled
       those companies to access consumer data and override consumer privacy settings.

       698.    In addition, by April 2018, thirty-seven state attorneys general had opened

investigations into Facebook’s mishandling of user content and information, including related
privacy-violation claims. In January 2019, it was reported that the several of these states had

joined their investigations together.323

        699. Even before the Cambridge Analytica Scandal, numerous legal actions questioned

 Facebook’s commitment to its users’ privacy.

        700. In 2012, for example, Facebook faced a class action lawsuit from users for

 sharing users’ “likes” of advertisers without compensation or allowing them to opt out.

 Facebook settled this case for $20 million.

        701. On May 14, 2015, a class action lawsuit was filed against Facebook alleging that

 Facebook’s photo scanning technology violates users’ privacy rights.

        702. In June 2015, the Belgium Privacy Commission filed a lawsuit against Facebook,

 alleging that Facebook broke the privacy law of Belgium and the European Union laws by

 tracking people on third-party sites without first obtaining their consent. In February 2018, a

 Belgian court ordered Facebook to stop this practice or face daily fines.324


323
    Erik Larson, et. al, Facebook Privacy Lapses Art the Target of More Probes in the U.S.,
Bloomberg (Jan. 31, 2019), https://www.bloomberg.com/news/articles/2019-01-31/facebook-
privacy-lapses-said-to-be-target-of-more-probes-in-u-s.
324
    Samuel Gibbs, Facebook ordered to stop collecting user data by Belgian court, The Guardian
(Feb. 16, 2018), https://www.theguardian.com/technology/2018/feb/16/facebook-ordered-stop-
collecting-user-data-fines-belgian-court.

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         703. In 2016, Germany’s Consumer Federation announced it would fine Facebook

 €100,000 for failing to comply with a previous court order requiring Facebook to make clear the

 extent to which users’ intellectual property “could be used by Facebook and licensed to third

 parties.”

         704. On May 16, 2017, the Dutch and French Data Protection Authorities (“DPA”)

 announced that Facebook had not provided users sufficient control over how their information

 was being used. The French DPA fined Facebook €150,000 for failure to stop tracking non-

 users’ web activity without their consent and transferring personal information to the United

 States.325 The French DPA stated: “the cookie banner and the mention of information collected

 ‘on and outside Facebook’ do not allow users to clearly understand that their personal data are

 systematically collected as soon as they navigate on a third-party website that includes a social

 plug in.”326

         705. On May 18, 2017, the European Union’s antitrust commission fined Facebook

 $122 million for misleading regulators about combining data from the messaging service App

 WhatsApp.

         706. In September 2017, the Spanish data protection authority (the AEPD) fined

 Facebook €1.2 million ($1.44 million) for its collection of data on “people’s ideologies and

 religious beliefs, sex and personal tastes” without users consent and for not deleting information

 that was not relevant.

         707. On February 14, 2019, the U.K. House of Common’s DCMS Committee issued

 its Disinformation and ‘Fake News’: Final Report, which represents “the accumulation of many

 months of collaboration with other countries, organisations, parliamentarians and individuals

 from around the world,” for which the DCMS Committee “held 23 oral evidence sessions,


325
    Common Statement by the Contact Group of the Data Protection Authorities of the
Netherlands, France, Spain, Hamburg and Belgium, CNIL (May 16, 2017),
https://www.cnil.fr/fr/node/23602.
326
    Id.

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 received over 170 written submissions, heard evidence from 73 witnesses, asking over 4,350

 questions at these hearings, and had many exchanges of public and private correspondence with

 individuals and organisations.”327 The DCMS Committee also convened, for the purposes of

 preparing its report, “an ‘International Grand Committee’ in November 2018, inviting

 parliamentarians from nine countries: Argentina, Belgium, Brazil, Canada, France, Ireland,

 Latvia, Singapore and the UK.”328

        708. The DCMS Report directly considered and includes findings regarding the

 conduct that came to light in the Cambridge Analytica Scandal. The DCMS Committee “argues

 that, had Facebook abided by the terms of an agreement struck with US regulators in 2011 to

 limit developers’ access to user data, the scandal would not have occurred,” concluding that

 “[t]he Cambridge Analytica scandal was facilitated by Facebook’s policies.”329 Further,

 “Zuckerberg is also personally criticised by the committee in scathing terms, with his claim that

 Facebook has never sold user data dismissed by the report as ‘simply untrue.’”330 Moreover, the

 DCMS Report “highlights the link between friends’ data and the financial value of the

 developers’ relationship with Facebook,” and states that the Cambridge Analytica Scandal has

 not meaningfully impacted Facebook’s approach to data security: “Facebook continues to

 choose profit over data security, taking risks in order to prioritise their aim of making money

 from user data,” and “[i]t seems clear to us that Facebook acts only when serious breaches

 become public.”331

        709.    The DCMS Report directly accuses Facebook of “intentionally and knowingly

 violat[ing] both data privacy and anti-competition laws.”332 In this regard, the DCMS Report

327
    DCMS Report, supra note 28, ¶ 6.
328
    Id. ¶ 1.
329
    David Pegg, Facebook labelled ‘digital gangsters’ by report on fake news (Feb. 17, 2019,
7:01pm), https://www.theguardian.com/technology/2019/feb/18/facebook-fake-news-
investigation-report-regulation-privacy-law-dcms.
330
    Id.
331
    Id.
332
    DCMS Report, supra note 28 ¶ 136.

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 branded Facebook as a “digital gangster[]” that consider “to be ahead of and beyond the law.”333

 Likewise, by his refusal to appear before the DCMS Committee, “Zuckerberg has shown

 contempt towards both the UK Parliament and the ‘International Grand Committee’, involving

 members from nine legislatures from around the world.”334 In conclusion, the DCMS Report

 states that companies including Facebook “must not be allowed to expand exponentially,

 without constraint or proper regulatory oversight,” and that “only governments and the law are

 powerful enough to contain them.”335

         710. Based on the extensive evidence considered by the DCMS Committee, the DCMS

 Report includes numerous findings and statements regarding and directly relevant to

 Facebook’s conduct resulting in the Cambridge Analytica Scandal, including:

             a. “[T]he advertising profile that Facebook builds up about users cannot be

                 accessed, controlled or deleted by those users. It is difficult to reconcile this fact

                 with the assertion that users own all ‘the content’ they upload”;336

             b. “The Cambridge Analytica scandal was faciliated by Facebook’s policies. If it

                 had fully complied with the FTC settlement, it would not have happened. . . .

                 Elizabeth Denham, the Information Commissioner, told us: ‘I am very

                 disappointed that Facebook, being such an innovative company, could not have

                 put more focus, attention and resources into protecting people’s data.’ We are

                 equally disappointed”;337

             c. The fact that Apps including Whitelisted Apps and Business Partners “were able

                 to circumvent users’ privacy of platform settings and access friends’ information,

                 even when the user disabled the Platform,” is “an example of Facebook’s



333
    Id. ¶ 139.
334
    Id. ¶ 29.
335
    Id. 5.
336
    Id. ¶ 41.
337
    Id.¶ 76.

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                   business model driving privacy violations”;338

            d. Documents obtained by the DCMS Committee, which had originally been filed

                   under seal in the context of ongoing litigation in the Superior Court of California,

                   County of San Mateo, reveal that “increasing revenues from major app

                   developers was one of the key drivers behind the policy changes [including the

                   shift from Graph API v1.0 to v2.0] made by Facebook. The idea of linking

                   access to friends’ data to the financial value of the developers’ relationship with

                   Facebook was a recurring feature of the documents”;339

            e. These documents also “demonstrate the interlinkages between the value of

                   access to friends’ data to advertising spending, and Facebook’s preferential

                   whitelisting process.” In this regard, “it is clear that spending substantial sums

                   with Facebook, as a condition of maintaining preferential access to personal data,

                   was part and parcel of the company’s strategy of platform development as it

                   embraced the mobile advertising world”;340

            f. These documents include emails from Zuckerberg, including one in which he

                   “discusses the concept of reciprocity and data value, and also refers to ‘pulling

                   non-App friends out of friends.get,’ thereby prioritising developer: . . . access to

                   data from users who had not granted data permission to the developer: access to

                   app friends.” In this email, Zuckerberg stated: “We also need to figure out how

                   we’re going to charge for it [access to app friends]. I want to make sure this is

                   explicitly tied to pulling non-app friends out of friends.get [allowing access to

                   information about app friends]. . . . What I’m assuming we’ll do here is have a

                   few basic thresholds of API usage and once you pass a threshold you either need

                   to pay us some fixed amount to get to the next threshold or you get rate limited at

338
    Id.¶ 83.
339
    Id. ¶ 87.
340
    Id.¶¶ 95-96.

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                the lower threshold. . . . I think this finds the right balance between ubiquity,

                reciprocity and profit.” On November 19, 2012, Sandberg replied to this email,

                expressing her agreement with this approach, stating, “I like full reciprocity and

                this is the heart of why”;341

            g. The concept of “reciprocity,” to which Zuckerberg and Sandberg refer in the

                email exchange above, “highlights the outlook and the business model of

                Facebook. ‘Reciprocity’ agreements with certain Apps enabled Facebook to gain

                as much information as possible, by requiring Apps that used data from

                Facebook to allow their users to share of their data back to Facebook (with scant

                regard to users’ privacy)”;342

            h. Another email by Zuckerberg, dated on or around January 24, 2013,

                demonstrates that Facebook denied access to friends data for anticompetitive

                reasons, “targeting [] Twitter’s Vine app, a direct competitor to Instagram, by

                shutting down its use of Facebook’s Friends API.” In response to an email

                advising him of the launch of Vine, and Facebook’s plan to “shut down their

                friends API access today,” as well as Facebook’s preparation of “reactive PR,”

                Zuckerberg responded “Yup, go for it.”343 Ultimately Twitter shut down its Vine

                App “in part due to the fact that they could not grow their user base”;344

            i. These documents also “reveal[] the fact that Facebook’s profit comes before

                anything else,” and that “Facebook continues to choose profit over data security,

                taking risks in order to prioritise their aim of making money from user data.”

                Further, “Facebook has continually hidden behind obfuscation,” and “[w]hen

                they are exposed, Facebook ‘is always sorry, they are always on a journey,’ as


341
    Id.¶ 105.
342
    Id.¶ 106.
343
    Id.¶ 116 (emphasis in original).
344
    Id.¶ 117.

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                Charlie Angus, MP (Vice-Chair of the Canadian Standing Committee on Access

                to Information, Privacy and Ethics, and member of the ‘International Grand

                Committee’) described them”;345

            j. These documents “indicate[] that Facebook was willing to override its users’

                privacy settings in order to transfer data to some app developers, to charge high

                prices in advertising to some developers, for the exchange of that data.” Further,

                from these documents “it is evident that Facebook intentionally and knowingly

                violated both data privacy and anti-competition laws,” and “was, at the very

                least, in violation of its Federal Trade Commission settlement”;346 and

            k. “In portraying itself as a free service, Facebook gives only half the story.”347

                Ashkan Soltani, former Chief Technologist to the FTC, stated that, in fact,

                Facebook involves a transaction involving value provided to Facebook by its

                users: “it is an exchange of personal information that is given to the platform,

                mined, and then resold to or reused by third-party developers to develop Apps, or

                resold to advertisers to advertise with.”348 In this regard, the DCMS Report stated

                that “[w]e consider that data transfer for value is Facebook’s business model and

                that Mark Zuckerberg’s statement that ‘we’ve never sold anyone’s data’ is

                simply untrue.”349

H.     In the Wake of the Cambridge Analytica Scandal, Facebook Has Acknowledged
       That It Breached Users’ Trust.
        711. On March 21, 2018, Facebook issued a statement acknowledging that it had

 breached users’ trust: “What happened with Cambridge Analytica was a breach of Facebook’s

 trust. More importantly, it was a breach of the trust people place in Facebook to protect their


345
    Id.¶ 125.
346
    Id. ¶¶ 135-36.
347
    Id. at ¶ 128.
348
    Id.
349
    Id. ¶ 134.

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 data when they share it.”350

        712. Days later, Facebook admitted that its current disclosures and privacy settings

 were confusing and ineffective. On March 28, 2018, Facebook issued a press release stating that

 it would take steps to making their privacy controls easier to find. Facebook stated its purpose

 in changing these controls was to “put people more in control of their privacy.”351

        713. On April 4, 2018, Facebook announced that it would update its documents to

 “better spell out what data we collect and how we use it.”352 Facebook’s statement is an implicit

 admission that its documents were confusing to users. Facebook also announced a series of

 changes to its third-party APIs. Mark Zuckerberg commented on the changes being made to

 Facebook’s APIs stating: “The basic idea here is that you should be able to sign into apps and

 share your public information easily, but anything that might also share other people’s

 information . . . should be more restricted.”353 This statement acknowledges the need to better

 protect the information from third parties accessing users’ information through users’ Friends.

        714. Facebook has also acknowledged its duty to protect users’ information. On April




350
    Cracking Down on Platform Abuse, Facebook Newsroom (Mar. 21, 2018),
https://newsroom.fb.com/news/2018/03/cracking-down-on-platform-abuse/.
351
    Erin Egan, It’s Time to Make Our Privacy Tools Easier to Find, Facebook Newsroom (Mar.
28, 2018), https://newsroom.fb.com/news/2018/03/privacy-shortcuts/.
352
    Erin Egan, We’re Making Our Terms and Data Policy Clearer, Without New Rights to Use
your Data on Facebook, Facebook Newsroom (Apr. 4, 2018),
https://newsroom.fb.com/news/2018/04/terms-and-data-policy/.
353
    Hard Questions: Q&A With Mark Zuckerberg on Protecting People’s Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-
peoples-information/.

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 9, 2018, Facebook placed one of the following three messages at the top of users’ News Feed:354




        715. The blue link allowed users to view what Apps they used and what information

 they shared with Apps. In each message, Facebook stated that it “understand[s] the importance

 of keeping [users’] data safe.” This statement is an acknowledgment of its duty to users.

        716. The DCMS Report analyzed comments made by Facebook’s Richard Allan,

 wherein Allan acknowledged Facebook’s inadequate disclosures:355

               Richard Allan also admitted to us that people might indeed take issue with
               Facebook’s position: “we were confident that the controls we implemented
               constituted consent and permission—others would contest that”. He seemed to
               justify Facebook’s continued allowance of data access by app developers, by

354
    Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/restricting-data-access/.
355
    DCMS Report, supra note 28, ¶ 75.

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                stating that the users had given their consent to this data access. The fact that
                Facebook continued to allow this access after the Consent Decree is not new
                information; the new information is the admission by Richard Allan that the
                CEO and senior management— “all of us”—knew that Facebook was
                continuing to allow the practice to occur, despite the public statements about its
                change of policy. That, people might well contest, constituted deceit and we
                would agree with them. (Emphasis added)
          717. Facebook’s statements as well as the changes it made to strengthen privacy

 controls and restrict third-party’s access to Friends’ information in the wake of the Cambridge

 Analytica Scandal demonstrate that Facebook breached its duty to protect users’ information.

I.       Facebook’s CEO Authorized Decisions That Gave Rise to Privacy Violations
         1.     Statements by Facebook’s CEO Give Rise to a Duty to Disclose and Admit to
                Injury from Lack of Disclosure.
          718. Defendant Mark Zuckerberg exerts immense personal control over the direction

 and decisions of the Company. When Facebook staged its initial public offering six years ago, it

 implemented a dual-class share structure that allows Zuckerberg to personally control a majority

 of the voting stock even though other investors own the majority of the financial value of the

 Company. In this regard, former Facebook employee and insider Tavis McGinn “realized that

 even on the inside, [he] was not going to be able to change the way that the company does

 business,” because “Facebook is Mark, and Mark is Facebook.”356 Likewise, McGinn stated,

 “Mark has 60 percent voting rights for Facebook. So you have one individual, 33 years old, who

 has basically full control of the experience of 2 billion people around the world. That’s
 unprecedented. Even the president of the United States has checks and balances. At Facebook,

 it’s really this one person.”

          719. Zuckerberg has promised users over and over again that it cares about privacy and

 that it would protect their content and information. In an op-ed in The Washington Post in May

 2010, Zuckerberg outlined the “principles under which Facebook operates” respecting privacy

 and users’ content and information. “You have control over how your information is shared,” he


356
      McNamee, supra note 302, at 168.

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 wrote. “We do not share your personal information with people or services you don’t want. We

 do not give advertisers access to your personal information. We do not and never will sell any

 of your information to anyone.”357

        720. Zuckerberg also created the illusion of security for personal content shared by

 Plaintiffs. Creating “Zuckerberg’s Law,” Zuckerberg built a user base and platform that was

 designed to encourage users to share an endless stream of content and information: “I would

 expect that next year, people will share twice as much information as they share this year, and

 next year, they will be sharing twice as much as they did the year before,” he said. “That means

 that people are using Facebook, and the applications and the ecosystem, more and more.”358

        721. Zuckerberg created this false sense of security by stressing that, while Facebook

 was built on sharing, it “encouraged” privacy. On June 2, 2010, Zuckerberg stated at a f8

 conference:

        Privacy is very important to us. I think there are some misperceptions. People use
        Facebook to share and to stay connected. You don’t start off on Facebook being
        connected to your friends, you’ve got to be able to find them. So having some
        information available broadly is good for that. Now, there have been
        misperceptions that we're trying to make all information open, but that’s false. We
        encourage people to keep their most private information private.359

 Facebook did not disclose that, in fact, its default settings were precisely the opposite of what

 Zuckerberg described. A trove of content and information that was the most private and

 intimate to Plaintiffs—such as photographs, videos, “likes,” location information, and “status

 updates”—were by default set to be disclosed to App Developers through their Friends.


357
    Mark Zuckerberg, From Facebook, answering privacy concerns with new settings, The Wash.
Post (May 24, 2010), http://www.washingtonpost.com/wp-dyn/content/article/
2010/05/23/AR2010052303828.html.
358
    Saul Hansell, Zuckerberg’s Law of Information Sharing, N.Y. Times (Nov. 6, 2008, 7:03pm),
https://bits.blogs.nytimes.com/2008/11/06/zuckerbergs-law-of-information-sharing/.
359
    Chad Catacchio, Zuckerberg at D8: ‘we recommend privacy settings, we did not change any
settings’, TNW (June 2, 2010), https://thenextweb.com/socialmedia/2010/06/03/
zuckerberg-at-d8-we-recommend-privacy-settings-we-did-not-change-any-settings/.

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 Facebook also failed to tell users that the content and information shared with their Friends

 would be accessed by Business Partners and Whitelisted Apps.

        722. Zuckerberg also made control of content and information by Plaintiffs a

 foundational pledge. Following the FTC’s investigation, he posted on his Facebook page on

 November 29, 2011,

        I founded Facebook on the idea that people want to share and connect with people
        in their lives, but to do this everyone needs complete control over who they share
        with at all times. This idea has been the core of Facebook since day one. When I
        built the first version of Facebook, almost nobody I knew wanted a public page on
        the internet. That seemed scary. But as long as they could make their page
        private, they felt safe sharing with their friends online. Control was key. With
        Facebook, for the first time, people had the tools they needed to do this. That’s
        how Facebook became the world’s biggest community online. We made it easy
        for people to feel comfortable sharing things about their real lives.360
        723. In the same post, Zuckerberg doubled down on his promise of privacy and

 security of content and information:

        [G]iving you tools to control who can see your information and then making sure
        only those people you intend can see it. . . . As a matter of fact, privacy is so deeply
        embedded in all of the development we do that every day tens of thousands of
        servers worth of computational resources are consumed checking to make sure that
        on any webpage we serve, that you have access to see each of the sometimes
        hundreds or even thousands of individual pieces of information that come together
        to form a Facebook page. . . . We do privacy access checks literally tens of billions
        of times each day to ensure we’re enforcing that only the people you want see your
        content. These privacy principles are written very deeply into our code.361
 In reality, however, Facebook did not give Plaintiffs the “tools” they needed to prevent their

 information from being shared to App Developers, Business Partners, Whitelisted Apps,

 advertisers, and other third parties.

        724. After a report of court-ordered U.S. government surveillance requests through



360
    Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook (Nov. 29, 2011),
https://www.facebook.com/notes/facebook/our-commitment-to-the-facebook-
community/10150378701937131/.
361
    Id.

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 Facebook surfaced in 2014 relating to the National Security Agency’s “Prism” effort,362

 Zuckerberg reiterated Facebook’s commitment to securing content and information, even

 though he was aware that Facebook had refused to perform audits as recommend by its

 executives with oversight responsibilities over App Developers:

        To keep the internet strong, we need to keep it secure. That’s why at Facebook we
        spend a lot of our energy making our services and the whole internet safer and
        more secure. We encrypt communications, we use secure protocols for traffic, we
        encourage people to use multiple factors for authentication and we go out of our
        way to help fix issues we find in other people’s services. . . . Unfortunately, it
        seems like it will take a very long time for true full reform. So it’s up to us—all of
        us—to build the internet we want. Together, we can build a space that is greater
        and a more important part of the world than anything we have today, but is also
        safe and secure.363

        725. Zuckerberg began 2018 by admitting that Facebook had failed to protect

 Plaintiffs’ content and information:

        The world feels anxious and divided, and Facebook has a lot of work to do—
        whether it’s protecting our community from abuse and hate, defending against
        interference by nation states, or making sure that time spent on Facebook is time
        well spent. My personal challenge for 2018 is to focus on fixing these important
        issues. We won’t prevent all mistakes or abuse, but we currently make too many
        errors enforcing our policies and preventing misuse of our tools.364

        726. When the Cambridge Analytica Scandal broke in March 2018, Zuckerberg

 admitted that this revelation demonstrated that Facebook had failed to secure Plaintiffs’ content

 and information: “This was clearly a mistake. We have a basic responsibility to protect people’s

 data, and if we can’t do that then we don’t deserve to have the opportunity to serve people.”365

362
    Glenn Greenwald and Ewen MacAskill, NSA Prism program taps in to user data of Apple,
Google and others, The Guardian (June 7, 2013, 3:23pm),
https://www.theguardian.com/world/2013/jun/06/us-tech-giants-nsa-data.
363
    Mark Zuckerberg, Facebook (Mar. 13, 2014), https://www.facebook.com/
zuck/posts/10101301165605491.
364
    Mark Zuckerberg, Facebook (Jan. 4, 2018), https://www.facebook.com/zuck/
posts/10104380170714571.
365
    Danielle Wiener-Bronner, Mark Zuckerberg has regrets: ‘I’m really sorry that this
happened’, CNN (Mar. 21, 2018, 10:17pm), http://money.cnn.com/2018/03/21/technology/mark-

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          727.   Zuckerberg also issued a statement on March 21, 2018 acknowledging that the

Cambridge Analytica Scandal is a “breach of trust between Facebook and the people who share

their data with us and expect us to protect it.”366 He announced that due to Facebook’s past

errors, it was “going to review thousands of apps” and that it would be “an intensive process, but

this is important.” Zuckerberg conceded, “[T]his is something that in retrospect we clearly

should have done, upfront, with Cambridge Analytica. We should not have trusted the

certification that they gave us. And we’re not gonna make that mistake again. I mean this is our

responsibility to our community, is to make sure that we secure the data that they’re sharing with

us.”367

           728. In a Q&A with reporters in April 2018 regarding the Cambridge Analytica

 Scandal, Zuckerberg stated that it is an “idealistic and optimistic company” but that “it’s clear

 now that we didn’t do enough.”368 Zuckerberg further stated:

          We didn’t focus enough on preventing abuse and thinking through how people
          could use these tools to do harm as well. That goes for fake news, foreign
          interference in elections, hate speech, in addition to developers and data privacy.
          We didn’t take a broad enough view of what our responsibility is, and that was a
          huge mistake. It was my mistake.
           729. In response to a question regarding the company did not audit the use of Graph

 API from the 2010 to 2015 period, Zuckerberg stated:369

          [I]n retrospect, I think we clearly should have been doing more all along. But just

zuckerberg-apology/index.html; Mark Zuckerberg in his own words: The CNN interview, CNN
(Mar. 21, 2018, 11:35pm), http://money.cnn.com/2018/03/21/technology/mark-zuckerberg-cnn-
interview-transcript/.
366
    Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://www.facebook.com/zuck/posts/10104712037900071.
367
    Seth Fiegerman, Mark Zuckerberg tells CNN he is 'happy to' testify before Congress, CNN
(Mar. 21, 2018, 9:03 PM ET) (emphasis added),
https://money.cnn.com/2018/03/21/technology/mark-zuckerberg-cnn-
interview/index.html?iid=EL.
368
    Hard Questions: Q&A With Mark Zuckerberg on Protecting People’s Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-
peoples-information/.
369
    Id.

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       to speak to how we were thinking about it at the time, as just a matter of explanation,
       I’m not trying to defend this now. . . . I think today, given what we know, not just
       about developers, but across all of our tools, and across what our place in society
       is, it’s such a big service that’s so central in peoples’ lives. I think we need to take
       a broader view of our responsibility. We’re not just building tools, but we need to
       take full responsibility for the outcome and how people use those tools as well.
       That’s at least why we didn’t do it at the time, but knowing what I know today,
       clearly we should have done more. And we will going forward.
        730. In his April 2018 testimony before Congress, Zuckerberg publicly claimed

 responsibility for Plaintiffs’ privacy on the Facebook platform. “We didn’t take a broad enough

 view of our responsibility, and that was a big mistake,” Zuckerberg admitted. “It was my

 mistake, and I’m sorry. I started Facebook, I run it, and I’m responsible for what happens here.”

 Zuckerberg’s statements conceded that Facebook had failed to fulfill its promise that Facebook

 users owned and controlled their content and information: “It’s not enough to just give people

 control over their information, we need to make sure that the developers they share it with

 protect their information too.”370

       731.    In an end-of-year Facebook post on his own profile, Zuckerberg disclosed that in

2018, one of his “personal challenges” was “addressing some of the most important issues facing

our community [including] making sure people have control of their information.”

Acknowledging Facebook’s past failure to take any steps in this direction, Zuckerberg explained,

“[W]e changed our developer platform to reduce the amount of information apps can access. . . .

We reduced some of the third-party information we use in our ads systems.”371

        732. Zuckerberg’s statements before and in the wake of the Cambridge Analytica

 Scandal demonstrate that Facebook had failed to secure Plaintiffs’ content and information.

 They also gave rise to numerous duties by Facebook.

        733. On May 27, 2010, Zuckerberg alleged publicly that Facebook required App

370
    Facebook CEO Mark Zuckerberg Hearing on Data Privacy and Protection, C-SPAN (Apr.
10, 2018), https://www.c-span.org/video/?443543-1/facebook-ceo-mark-zuckerberg-testifies-
data-protection (complete opening statement in Senate Hearing).
371
    Mark Zuckerberg, Facebook (Dec. 28, 2018),
https://www.facebook.com/zuck/posts/10105865715850211.

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 Developers to respect users’ Privacy Settings:

       There’s this false rumor that’s been going around which says that we’re sharing
       private information with applications and it’s just not true. The way it works, is . .
       . if you choose to share some information with everyone on the site, that means
       that any person can go look up that information and any application can go look
       up that information as well. . . . But applications have to ask for permission for
       anything that you’ve set to be private.372

 These statements gave rise to a duty to inform Plaintiffs about the full extent to which App

 Developers and other third parties including Business Partners and Whitelisted Apps were able

 to access their personal content notwithstanding privacy settings, and to disclose the risk that

 Facebook would be unable to secure content and information that was shared with third parties.

        734. Zuckerberg went on, making statements that gave rise to an additional duty to

 disclose that Facebook allowed advertisers and marketers to target Plaintiffs by combining their

 content and information with other data:

       Advertisers never get access to your information. We never sell anyone’s
       information and we have no plans to ever do that in the future. Now, in order to
       run a service like this that serves more than 400 million users, it does cost money .
       . . so we do have to make money and the way we do that is through . . .
       advertising. Advertisers come to us and they say what they want to advertise and
       we show advertisements to people who we think are going to be most interested. .
       . . But at no part in that process is any of your information shared with
       advertisers.373

J.     Facebook’s CEO Drove Initiatives to Erode Privacy and Monetize Access to
       Content and Information.
        735. Under Zuckerberg, Facebook’s guiding principle was “Move fast and break

 things. Unless you are breaking stuff, you are not moving fast enough.”374 This principle was


372
    Mark Memmot, Zuckerberg: Sharing Is What Facebook Is About, NPR All Things
Considered (May 27, 2010, 3:42pm),
https://www.npr.org/sections/alltechconsidered/2010/05/27/
127210855/facebook-zuckerberg-privacy.
373
    Id (emphasis added).
374
    Zoe Henry, Mark Zuckerberg's 10 Best Quotes Ever, Inc., https://www.inc.com/zoe-
henry/mark-zuckerberg-move-fast-and-break-things.html (last visited Feb. 22, 2019)

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 executed through a “growth at any cost” corporate culture. In this regard, early Facebook

 investor and former Zuckerberg advisor Roger McNamee describes Facebook’s focus on

 “growth hacking,” the goal of which “is to generate more revenue and profits, and at Facebook

 those metrics blocked out all other considerations. In the world of growth hacking, users are a

 metric, not people. It is unlikely that civic responsibility ever came up in Facebook’s internal

 conversations about growth hacking.”375

        736. Zuckerberg’s trusted fellow Facebook executive, Andrew Bosworth, articulated

 this vision by saying that the sharing of data

       can be bad if they make it negative. Maybe it costs a life by exposing someone to
       bullies. Maybe someone dies in a terrorist attack coordinated on our tools.

       And still we connect people.

       The ugly truth is that we believe in connecting people so deeply that anything that
       allows us to connect more people more often is *de facto* good. It is perhaps the
       only area where the metrics do tell the true story as far as we are concerned.

       That isn’t something we are doing for ourselves. Or for our stock price (ha!). It is
       literally just what we do. We connect people. Period.

       That’s why all the work we do in growth is justified.

        737. Post-Cambridge Analytica Scandal, after Bosworth’s comments were published,

 Zuckerberg tried to walk them back, stating, “We’ve never believed the ends justify the means,”
 but the culture of recklessness that Zuckerberg instilled was undeniable.376

        738. Zuckerberg has taken responsibility for Facebook’s privacy policy. In April 2018,

 Zuckerberg stated “the first line of our Terms of Service says that you control and own the

 information and content that you put on Facebook. . . . [Y]ou own [your data] in the sense that


375
   McNamee, supra note 302, at 76.
376
   Ryan Mac, Growth At Any Cost: Top Facebook Executive Defended Data Collection In 2016
Memo — And Warned That Facebook Could Get People Killed, Buzzfeed (March 29, 2018),
https://www.buzzfeednews.com/article/ryanmac/growth-at-any-cost-top-facebook-executive-
defended-data.

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 you chose to put it there, you could take it down anytime, and you completely control the terms

 under which it’s used.”377 This statement was false at the time that it was made.

        739. That was not the first time that Zuckerberg misled Facebook users about its

 privacy policy. In May 2010, after reporters found a privacy loophole allowing advertisers to

 access user identification, Zuckerberg promised: “We will add privacy controls that are much

 simpler to use. We will also give you an easy way to turn off all third-party services.”378

        740. In 2011, after Facebook settled the FTC investigation, Zuckerberg stated, “I’m the

 first to admit that we’ve made a bunch of mistakes. . . . Facebook has always been committed to

 being transparent about the information you have stored with us.”379

        741. Following the Cambridge Analytica Scandal, Zuckerberg again misled Facebook

 users into believing that their privacy controls had efficacy, stating, “[T]o prevent abusive apps,

 we announced that we were changing the entire platform to dramatically limit the data apps

 could access. Most importantly, apps like Kogan’s could no longer ask for data about a person’s

 friends unless their friends had also authorized the app.”380 This statement, made in March of

 2018, neglected to inform Plaintiffs of Facebook’s Business Partners and Whitelisted Apps,

 which were immune to privacy settings.

        742. Zuckerberg is responsible for the direction of Facebook’s strategy with respect to

 granting access to Apps and monetizing Facebook’s platform.


377
    Transcript of Mark Zuckerberg’s Senate hearing, The Washington Post (Apr. 10, 2018)
https://www.washingtonpost.com/news/the-switch/wp/2018/04/10/transcript-of-mark-
zuckerbergs-senate-hearing/?utm_term=.eca9688c6274.
378
    Geoffrey A. Fowler and Chiqui Esteban, 14 Years of Zuckerberg Saying Sorry,
Not Sorry, The Washington Post (Apr. 9, 2018),
https://www.washingtonpost.com/graphics/2018/business/facebook-zuckerbergapologies/?
utm_term=.db1e361d79fd.
379
    Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook (Nov. 19, 2011),
https://www.facebook.com/notes/facebook/our-commitment-to-the-facebookcommunity/
10150378701937131/.
380
    Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://mobile.facebook.com/story.php?story_fbid=10157217558586729&id=20531316728&__t
n__=-R.

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        743. Zuckerberg directed Facebook’s program to generate revenue from Whitelisted

 Apps in exchange for access to Plaintiffs’ content and information.

        744. On October 7, 2012, Zuckerberg wrote an email outlining his goals for

 monetizing content and information by granting Whitelisted Apps access in exchange for

 revenue generation:

       I’ve been thinking about platform business model a lot this weekend. . . . if we
       make it so devs can generate revenue for us in different ways, then it makes it
       more acceptable for us to charge them quite a bit more for using platform.

       The basic idea is that any other revenue you generate for us earns you a credit
       towards whatever fees you own us for using pla[t]form. For most developers this
       would probably cover cost completely. So instead of every paying us directly,
       they’d just use our payments or ads products. A basic model could be:

              Login with Facebook is always free

              Pushing content to Facebook is always free

              Reading anything, including friends, costs a lot of money. Perhaps on the
               order of $0.10/user each year.

       For the money that you owe, you can cover it in any of the following ways:

              Buys ads from us in neko or another system

              Run our ads in your app or website (canvas apps already do this)

              Use our payments

              Sell your items in our Karma store.

              Or if the revenue we get from those doesn’t add up to more that the fees
               you owe us, then you just pay us the fee directly.381

        745. In this context, it is evident that “Facebook had not protected user data privacy

 because sharing data broadly was much better for its business. Third-party applications

 increased usage of Facebook—time on site—a key driver of revenue and profits. The more time

381
   Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from
the Six4Three files, supra note 171.

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 a user spends on Facebook, the more ads he or she will see and the more valuable that user will

 be. From Facebook’s perspective, anything that increases usage is good.”382

        746. Zuckerberg also pushed to erode the privacy features of WhatsApp, an encrypted

 communication App acquired by Facebook, seeking to expose users to additional targeted ads,

 which resulted in the departure of WhatsApp’s founder.383

              V.      PLAINTIFFS SUFFERED INJURY AND DAMAGES AS
                     A DIRECT RESULT OF FACEBOOK’S CONDUCT
        747. Facebook impermissibly collected and curated Plaintiffs’ content and information

 and then sold access to thousands of third parties without Plaintiffs’ knowledge or consent.

 Facebook’s acts enabled data brokers and others to de-anonymize users’ content and

 information and individually link it to Plaintiffs, targeting them with invasive and unwanted

 content. As a result, Plaintiffs have suffered injuries and will suffer ongoing injuries that fall

 into two principal categories: invasions of their privacy and economic injury.

A.     Plaintiffs Suffered Invasions of Their Privacy.
        748. Facebook invaded Plaintiffs’ privacy by disseminating or causing the

 dissemination of content and information that Plaintiffs reasonably believed was private.

 Plaintiffs intended those communications for limited audiences, primarily Friends. The content

 included photographs with geolocation data and time stamps, videos users had uploaded,

 accessed, or liked, also with geolocation data and time stamps, Plaintiffs’ religious and political

 beliefs, their relationships, posts, and the pages they had liked. From this information, the

 thousands of third parties to whom access was granted, were able to draw inferences about

 Plaintiffs relating to their health, financial wherewithal and other critical issues.

        749. As explained below, Plaintiffs suffered and are suffering ongoing egregious

 invasions of privacy as result of Facebook’s conduct. For example, a user of a dating App like

382
   McNamee, supra note 302, at 192.
383
   Aaron Mak, Another WhatsApp Founder Is Leaving Facebook—Reportedly Over How It
Treats User Data, Slate (Apr. 30, 2018) https://slate.com/technology/2018/04/disagreements-
with-facebook-over-privacy-drive-whatsapps-founder-to-leave-the-company.html.

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 Tinder may have wished to keep information relating to that site private. But Facebook gave

 that information to thousands of third parties, which could include potential employers or others

 who may view such use with judgement. Other examples are even more invasive. An App for

 brassiere company Brayola allowed people to scroll through photos of cleavage and give it a

 thumbs up or down. Users whose Friends unwittingly passed on even innocuous seeming photos

 to them and then downloaded Brayola gave their Friends’ photos to the App. The App Hot or

 Not, which was one of the whitelisted Apps, allows users to rate the attractiveness of photos it

 has collected.384 Similarly, the App Girls Around Me pulled data from Friends to tell App Users

 who was in the physical vicinity. These are just a few examples of unwanted, invasive and

 harmful uses of the content and information Facebook published to its Apps.

        750.    As a result, Plaintiffs experienced, and continue to experience, invasions of

 privacy and a loss of control of their content and information that endanger their financial,

 medical and emotional well-being, now and for the rest of their lives.

       1.      Facebook Has Subjected Its Users to Highly Offensive, Harmful, and
               Invasive Forms of Psychographic Marketing.
        751. In addition to the privacy intrusions described above, Plaintiffs were harmed by

 psychographic marketing. Psychographic marketing targets Plaintiffs individually and attempts

 to manipulate them emotionally. Using the content and information that Facebook improperly

 disclosed to Apps, including Whitelisted Apps and Business Partners, third parties including

 Cambridge Analytica directly targeted specific Facebook users including Plaintiffs with

 advertisements that would be highly offensive to a reasonable person. Plaintiffs are and have

 been personally targeted with polarizing content intended to provoke them.

        752. The Cambridge Analytica Scandal provides a specific example of how users are

 targeted, although it is not the only entity to be targeting Facebook users in this way. Cambridge

 Analytica “harvest[ed] the Facebook profiles of millions of people in the U.S., and to use their

384
   Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from
the Six4Three files, supra note 171.

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 private and personal content and information to create sophisticated psychological and political

 profiles. And then target[ed] them with political ads designed to work on their particular

 psychological makeup.”385 “Christopher Wylie, the former [Cambridge Analytica] employee

 who recently came forward to detail how the company improperly acquired personal data from

 fifty million Facebook users, has said that the company used that data to create a ‘psychological

 warfare mindfuck tool.’”386

        753. Cambridge Analytica developed detailed voting profiles for U.S. and U.K. voters

 and used this information to develop psychographic models to direct messages to U.S. voters.

 Specifically, Cambridge Analytica used the survey responses provided by users of the This Is

 Your Digital Life App, in conjunction with the Personal Information of App users and their

 Friends that was obtained from Facebook, to “effectively take the Facebook likes of its subjects

 and work backwards, filling in the rest of the columns in the spreadsheet to arrive at guesses as

 to their personalities, political affiliations and more.”387 Then, this data was used in combination

 with other data sets, including voter data and consumer data, to identify millions of individual

 Facebook users and predict their political affiliations and personality types.388 In turn, this

 enabled Cambridge Analytica to craft and deliver highly targeted—and highly offensive—

 advertisements intended to manipulate the votes of Facebook users, such as by encouraging

 some users to vote or by suppressing other users’ voting intentions.389

        754. Alexander Nix stated that together with voter profiles, Cambridge Analytica used

 Plaintiffs’ content and information to “micro target” individual voters, running “4,000 different

385
    Carole Cadwalladr, ‘I Made Steve Bannon’s Psychological Warfare Tool’: Meet the Data
War Whistleblower, The Guardian (Mar. 18, 2018),
https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
faceook-nix-bannon-trump.
386
    Sue Halpern, Cambridge Analytica and the Perils of Psychographics, The New Yorker (Mar.
30, 2018), https://www.newyorker.com/news/news-desk/cambridge-analytica-and-the-perils-of-
psychographics.
387
    Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note 385.
388
    Id.
389
    Id.

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 advertising campaigns—about 1.4 billion impressions.”390 Much of this was on Facebook. In his

 recently published book Zucked, early Facebook investor and former Zuckerberg mentor Roger

 McNamee specifically identifies microtargeting as a threat to democracy: in combination with

 the “persuasive technologies” of platforms such as Facebook, “microtargeting becomes another

 tool for dividing us” and “transforms the public square of politics into the psychological

 mugging of every voter.”391

        755. According to David Carroll, Professor at the Parsons School of Design in New

 York City:

       [Cambridge Analytica] claim to have figured out how to project our voting behavior
       based on our consumer behavior. So it’s important for citizens to be able to understand
       this because it would affect our ability to understand how we’re being targeted by
       campaigns and how the messages that we’re seeing on Facebook and television are being
       directed at us to manipulate us. I think it is a matter of the relationship between privacy
       and democracy.392
        756. The information provided by Facebook also helped Cambridge Analytica

 physically target people in the privacy of their homes. A report by Switzerland’s Das Magazin

 revealed that “Trump canvassers were provided with an App allowing them to identify the

 political views and personality type of a given house, and the outline conversation scripts that

 would work with the inhabitants.”393

        757. Plaintiffs have suffered egregious invasions of privacy as a result of this

 marketing. These messages and advertisements would be highly offensive to a reasonable

390
    Statement of Claimant ¶ 20(h), Carroll v. Cambridge Analytica Ltd. [2018] EWHC (QB)
(Eng.).
391
    McNamee, supra note 302, 238.
392
    Brent Bambury, Data Mining Firm Behind Trump Election Built Psychological Profiles of
Nearly Every American Voter, CBC Radio (Mar. 20, 2018), https://www.cbc.ca/radio/day6/
episode-359-harvey-weinstein-a-stock-market-for-sneakers-trump-s-data-mining-the-curious-
incident-more-1.4348278/data-mining-firm-behind-trump-election-built-psychological-profiles-
of-nearly-every-american-voter-1.4348283.
393
    Adam Lusher, Cambridge Analytica: Who Are They, and Did They Really Help Trump Win
the White House?, Independent (Mar. 21, 2018), https://www.independent.co.uk/news/uk/home-
news/cambridge-analytica-alexander-nix-christopher-wylie-trump-brexit-election-who-data-
white-house-a8267591.html.

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 person.

           758. The Cambridge Analytica Scandal also shows how the aggregation and ultimate

 deanonymization of users’ content and information, enables users’ content and information to

 be weaponized against them in incredibly personal ways. Cambridge Analytica sought to

 “exploit[] essentially mental vulnerabilities in certain types of people in the context of making

 them vote in a particular way.”394 For instance, “a neurotic, extroverted and agreeable Democrat

 could be targeted with a radically different message than an emotionally stable, introverted,

 intellectual one, each designed to suppress their voting intention—even if the same messages,

 swapped around, would have the opposite effect.”395

           759. The aggregated stolen data was used to deliver discriminatory and highly

 offensive advertisements to users, including Plaintiffs. For example, Cambridge Analytica

 sought to target African American voters with the goal of suppressing their votes: “Facebook

 posts were targeted at some black voters reminding them of Hillary Clinton’s 1990s description

 of black youths as ‘super predators,’ in the hope it would deter them from voting.”396 Likewise,

 “[o]ne message used to boost rightwing turnout attacked same-sex marriage,” which “was

 targeting conscientious people. It was a picture of a dictionary and it said ‘Look up marriage

 and get back to me.’ For someone who is conscientious, it is a compelling message: a dictionary

 is a source of order, and a conscientious person is more deferential to structure.”397

           760. Likewise, Facebook’s advertising platform has been used to target users based on

 protected characteristics. For example, on July 24, 2018, the Washington State Office of

394
    Redazione, Exclusive Interview with Christopher Wylie, the Cambridge Analytica
Whistleblower, Vogue (May 9, 2018), https://www.vogue.it/en/news/daily-news/2018/05/09/
interview-with-christopher-wylie-cambridge-analytica/.
395
    Alex Hern, Cambridge Analytica: How Did It Turn Clicks into Votes?, Guardian (May 6,
2018), https://www.theguardian.com/news/2018/may/06/cambridge-analytica-how-turn-clicks-
into-votes-christopher-wylie (emphasis added).
396
    Olivia Solon, Cambridge Analytica Whistleblower Says Bannon Wanted to Suppress Voters,
Guardian (May 16, 2018), https://www.theguardian.com/uk-news/2018/may/16/steve-bannon-
cambridge-analytica-whistleblower-suppress-voters-testimony.
397
    Hern, Cambridge Analytica, supra note 395.

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 Attorney General announced that Facebook signed a legally binding agreement to make changes

 to its “advertising platform by removing the ability of third-party advertisers to exclude ethnic

 and religious minorities, immigrants, LGBTQ individuals and other protected groups from

 seeing their ads.”398 Similarly, on August 13, 2018, the Department of Housing and Urban

 Development (“HUD”) filed a complaint against Facebook, stating that “Facebook unlawfully

 discriminates by enabling advertisers to restrict which Facebook users receive housing-related

 ads based on race, color, religion, sex, familial status, national origin and disability.”399

        761. Moreover, and perhaps most disturbingly, Facebook’s platform—including

 Facebook’s Custom Audiences feature—has been used by foreign nationals on behalf of the

 Russian Federation to compromise the integrity of a U.S. Presidential election and to polarize

 and destabilize the American public, threatening U.S. democracy and national security.

        762. First, Facebook revealed that its platform was used to deliver advertisements by

 Russian actors to approximately 10 million Facebook users in the United States in conjunction

 with the 2016 elections.400 These advertisements “touch[ed] on topics from LGBT matters to

 race issues to immigration to gun rights,” which mirror the subjects of advertisements placed or

 tested by Cambridge Analytica.401 Shortly thereafter, in detailed disclosures to Congress,

 Facebook revealed that “Russian agents intending to sow discord among American citizens




398
    AG Ferguson Investigation Leads to Facebook Making Nationwide Changes to Prohibit
Discriminatory Advertisements on its Platform, Wash. State Office of the Attorney Gen. (July
24, 2018), https://www.atg.wa.gov/news/news-releases/ag-ferguson-investigation-leads-
facebook-making-nationwide-changes-prohibit.
399
    Housing Discrimination Complaint, Assistant Sec’y for Fair Hous. & Equal Opportunity v.
Facebook, Inc. (Aug. 13, 2018), https://www.hud.gov/sites/dfiles/PIH/documents/HUD_01-18-
0323_Complaint.pdf.
400
    Elliot Schrage, Hard Questions: Russian Ads Delivered to Congress, Facebook Newsroom
(Oct. 2, 2017), https://newsroom.fb.com/news/2017/10/hard-questions-russian-ads-delivered-to-
congress/.
401
    Id.; see also Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note
385.

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 disseminated inflammatory posts that reached 126 million users on Facebook.”402 According

 to The New York Times, these revelations—published the day before Facebook was set to testify

 before Congress—go “far beyond” what companies including Facebook “have revealed in the

 past and underline the breadth of the Kremlin’s efforts to lever open divisions in the United

 States using American technology platforms, especially Facebook.”403

        763. In Zucked, Roger McNamee puts a fine point on the significance of this

 disclosure:

       Having denied any role in the Russian interference campaign for eight months,
       only to concede that an internal investigation had uncovered one hundred
       thousand dollars’ worth of Russian advertising purchases in rubles, this revelation
       came as a bombshell. The user number represents more than one-third of the US
       population, but that grossly understates its impact. The Russians did not reach a
       random set of 126 million people on Facebook. Their efforts were highly targeted.
       On the one hand they had targeted people likely to vote for Trump with
       motivating messages. On the other, they identified subpopulations of likely
       Democratic voters who might be discouraged from voting. The fact that four
       million people who voted for Obama in 2012 did not vote for Clinton in 2016
       may reflect to some degree the effectiveness of the Russian interference. . . . In an
       election where only 137 million people voted, a campaign that targeted 126
       million eligible votes almost certainly had an impact.404

        764. Thus, “Cambridge Analytica and the Trump campaign had exploited Facebook,

 just as the Russians had,” and—in light of the fact that “Cambridge Analytica had been the

 Trump campaign’s primary advisor for digital operations and that Facebook had embedded

 three employees in the Trump campaign to support that effort”—“there could be little doubt that

 Facebook had willingly engaged with Kogan, Cambridge Analytica, and the Trump campaign.”

 In short, “[i]t was entirely possible that Facebook employees had played a direct role in the

 success of Trump’s digital strategy on Facebook.”405

402
    Mike Isaac & Daisuke Wakabayashi, Russian Influence Reached 126 Million Through
Facebook Alone, N.Y. Times (Oct. 30, 2017),
https://www.nytimes.com/2017/10/30/technology/facebook-google-russia.html.
403
    Id.
404
    McNamee, supra note 302, 130-31.
405
    McNamee, supra note 302, 187.

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           765. Facebook’s invasions of user privacy—not only its unlawful disclosure of user

 content and information, but also its enabling and allowing bad actors such as Cambridge

 Analytica to directly target users with highly offensive advertisements designed to prey on

 users’ psychology in order to manipulate and suppress their voting intentions—as well as

 Facebook’s concomitant reckless and willful disregard of a clear and present threat to U.S.

 election integrity and national security in its relentless pursuit of revenue and growth, represents

 one of the most highly offensive instances of conduct by a U.S. corporation in history, and

 certainly constitutes an egregious violation of social norms.

           766. Whistleblower and former Cambridge Analytica Director of Research,

 Christopher Wylie, described Cambridge Analytica’s targeted political advertising as “‘worse

 than bullying,’” because “‘people don’t necessarily know it’s being done to them. At least

 bullying respects the agency of people because they know. So it’s worse, because if you do not

 respect the agency of people, anything that you’re doing after that point is not conducive to a

 democracy. And fundamentally, information warfare is not conducive to democracy.’”406

           767. Similarly, Wylie asserted users perceived advertisements placed in a Facebook

 user’s News Feed with less scrutiny than traditional political advertisements:

          [B]ecause nobody knows that’s happening—the opposition doesn’t know that’s
          happening. If it’s also presented to you as a news item, you as the voter don’t
          know there’s an agenda behind it. If you don’t know who the messenger is, what
          the agenda is, and you don’t see the other side of something, and you keep seeing
          pieces of information that aren’t true or are highly suggestive, and you start
          making decisions or changing your perception of something—that’s deception.
          That information creates an imbalance of power; you haven’t been given to
          opportunity to see the other side, or to even know why it is that you’re seeing
          that.407

          768.   As such, Plaintiffs are being targeted with political messaging that they did not

 authorize and the messaging is not being identified as such.


406
      Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note 385.
407
      Redazione, supra note 394.

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        769.    Moreover, the fact that users are not told who is targeting them hinders Plaintiffs’

 ability to protect themselves. Wylie explained the power of one-way anonymity in spreading

 disinformation:

       The way it works is that you set up blogs and news sites—things that don’t look
       like campaign material—and you find people who would be most amenable to
       this particular conspiracy theory, unfact, “alternative fact”. You let them start
       going down the rabbit hole of clicking things. The idea is that you start showing
       them the same material from all these different kinds of sources, so they feel like
       they see it everywhere, but they don’t see it on the news, on CNN or the BBC.
       They then question why the “establishment” doesn’t want them to know
       something.408

 This manipulation was enabled by the aggregation of the users’ content and information that

 Facebook collected and gave to Kogan over a period of years.

        770. Cambridge Analytica is not the only App to have engaged in such invasive

 behavior. AggregateIQ and 400 other Apps have been suspended by Facebook for engaging in

 similar activity. Likewise, Facebook’s continued to publish user content and information to

 5200 Whitelisted Apps even after the FTC Consent Decree.

        771. The harm is ongoing. On August 22, 2018, Facebook confirmed that it continues

 to allow advertisers to target Facebook users with advertisements based on data obtained from

 data brokers, stating that it is allowable for “data providers and agencies [to] create, upload and

 then share certain Custom Audiences on behalf of advertisers,” and therefore Facebook is

 “clarifying [its] terms to make it clear that advertisers can do this—they can independently work

 with partners off our platform to create Custom Audiences, as long as they have the necessary

 rights and permissions to do so.”409 Allowing users’ content and information to be used in these

 intrusive ways violates Facebook’s promise not to give advertisers’ the content and information

 of users.

408
   Id.
409
   Introducing New Requirements for Custom Audience Targeting, Facebook Business (June 13,
2018), https://www.facebook.com/business/news/introducing-new-requirements-for-custom-
audience-targeting (last updated Aug. 22, 2018).

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        772. Facebook users, including Plaintiffs, were not aware of and did not consent to

 receiving advertisements targeted directly to them through Facebook’s Custom Audiences

 feature.

        773. On July 2, 2018, Facebook for the first time started requiring advertisers who

 wish to target specific Facebook users with advertisements to accept responsibility for obtaining

 permissions from such users.410 TechCrunch notes, “Facebook is trusting advertisers to tell the

 truth about consent for targeting . . . despite them having a massive financial incentive to bend

 or break those rules,” and, although this new requirement “will give Facebook more plausible

 deniability in the event of a scandal, and it might deter misuse,” the fact remains that “Facebook

 is stopping short of doing anything to actually prevent non-consensual ad targeting.”411

 Moreover, despite the Cambridge Analytica Scandal, Facebook still does not require that users

 provide affirmative consent before advertiser are allowed to directly target users with

 advertisements through Facebook’s Custom Audiences feature.

        774. Plaintiffs also face greater economic and privacy-related harms due to the

 aggregation of their content and information. There is a fast-growing market for consumer data

 of this kind. Data is aggregated and analyzed for a host of functions, including to create

 “consumer scores” which predict people’s propensity to become ill or pay off debt. Or, as the

 World Privacy Forum notes in a lengthy report, major health insurers are looking to collect data

 about individuals, such as whether “a couple bought hiking boots” or “a woman did a lot of

 online shopping,” in order to “figure out how much to charge people [for healthcare].”412 As

410
    Reuters, Facebook Releases New Privacy Safeguards on How Advertisers Handle Data, NBC
News (June 13, 2018), https://www.nbcnews.com/tech/social-media/facebook-releases-new-
privacy-safeguards-how-advertisers-handle-data-n882781?cid=sm_npd_nn_fb_ma.
411
    John Constine, Facebook Demands Advertisers Have Consent for Email/Phone Targeting,
TechCrunch (June 13, 2018), https://techcrunch.com/2018/06/13/facebook-custom-audiences-
consent/.
412
    Pam Dixon and Robert Gellman, The Scoring of America: How Secret Consumer Scores
Threaten Your Privacy and Your Future, World Privacy Forum (Apr. 2, 2014)
http://www.worldprivacyforum.org/wp-
content/uploads/2014/04/WPF_Scoring_of_America_April2014_fs.pdf.

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 such, the collection and dissemination of users’ content and information could have a direct

 effect on something as impactful as how much people pay out-of-pocket for healthcare,

 resulting in economic harm.

        775. Finally, the harm is irreparable. Because of Facebook’s failure to limit the

 dissemination of users’ information to reputable companies, the information is not recoverable.

 As CEO Zuckerberg recently admitted to Congress he “‘can’t really say’” if the Cambridge

 Analytica is in the hands of Russian operatives.413 Moreover, Christopher Wylie testified that

 even if user data wasn’t explicitly given to the Russians, “‘the scale of the data and the location

 of the data was made known’ in a way that would have made it relatively easy for an operative

 to access.”414 Wylie added that users’ content and information could be used to create an

 algorithm to target Facebook users with profiles similar to those that were obtained by

 Cambridge Analytica.415

        776. Also troubling are Facebook’s partnerships with Huawei, now accused by the

 State Department of money laundering, bank fraud, and stealing trade secrets. Similarly,

 Facebook partners with Yandex, Russia’s largest search engine, with a “syndication feed that

 gathers information about updates on its Pages and profiles.”416 The New York Times reported

 that Yandex had access to unique user IDs.417 User IDs enable deanonymization because you

 can use it to look up a person’s name.

        777. Plaintiffs deserve clear disclosures about how Facebook has and is partnering


413
    Jessica Guynn, Mark Zuckerberg Is Willing to Testify to Congress, Isn’t Sure If the Russians
Have Your Data. and He’s Sorry, USA Today (Mar. 21, 2018),
https://www.usatoday.com/story/tech/news/2018/03/21/mark-zuckerberg-willing-testify-
congress-not-sure-if-russians-have-your-data-and-hes-sorry/448084002/.
414
    Anna Edgerton, Facebook User Data May Have Gone to Russia, Whistle-Blower Says,
Bloomberg (May 16, 2018), https://www.bloomberg.com/news/articles/2018-05-16/facebook-
user-data-may-have-gone-to-russia-whistle-blower-says.
415
    Id.
416
    Yandex and Facebook Strike a Deal, Facebook Newsroom (Oct. 29, 2010),
https://newsroom.fb.com/news/2010/10/yandex-and-facebook-strike-a-deal/.
417
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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with third parties and what content and information it has and is sharing with them.

B.     Plaintiffs Suffered Economic Injury.
        778. Plaintiffs suffered economic injuries which include, but are not limited to, (i) loss

of benefits in their Facebook experience; (ii) heightened risk of identity theft and fraud; (iii)

out-of-pocket costs; and (iv) loss of control over, property which has marketable value.

        779. Loss of benefits. When Plaintiffs became Facebook users, they gained access to

Facebook’s social networking platform in exchange for sharing certain content and information

with Facebook, conditioned upon their consent to such sharing. While Plaintiffs largely knew

that Facebook would generate revenue by selling advertising which would be directed to them,

it was a material term to the bargain that Plaintiffs were promised control over deciding what

content was shared as well as how and with whom it would be disclosed.

        780. Facebook did not honor the terms of this bargain. Although Facebook told

Plaintiffs they owned their own content, in practice Facebook acted as if it did. When Facebook,

without notice to Plaintiffs, shared their content and information with third parties that Plaintiffs

had not chosen to share, Facebook received benefits—revenues associated with increased user

activity and sale of additional data generated by this increase in activity—and transferred costs

and harms to Plaintiffs—loss of privacy and control over their valuable content and information.

        781. As Facebook expanded the scope of access to Plaintiffs’ content and information

beyond that to which Plaintiffs had agreed, users were denied the benefit of a Facebook

experience where they defined the terms of their content sharing. Thus, through Facebook’s

actions and inactions, Plaintiffs have lost benefits. In order to preserve their privacy, users were

presented with the choice of: (i) reducing their participation on Facebook by limiting the content

and information they provide about themselves, (ii) accepting less privacy than that which they

were promised; or (iii) ceasing their participation in Facebook altogether. Each of these options

resulted in lost past value for Plaintiffs.

        782. Moreover, Plaintiffs are also harmed prospectively. Plaintiffs’ only options now


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are: (i) reducing or ending their participation on Facebook by limiting the content and

information they provide about themselves; or (ii) knowingly accepting less privacy than that

which they were promised. Each of these options deprives Plaintiffs of the remaining benefits of

the original bargain.

        783. Further, Plaintiffs were denied the benefit of this information and therefore the

ability to mitigate harms they incurred as a result of Facebook’s impermissible disclosure and

publishing of their content and information.

        784. Risk of identity theft and fraud. Plaintiffs’ content and information is aggregated

and pooled with other data collected by data brokers, including Facebook, to create digital

dossiers or profiles. Through “linking” of data from these various sources, users’ content and

information can be de-anonymized. The disclosure of identifying information such as names of

pets, grandparents, mother’s maiden name, etc. greatly heightens the risk of identity theft and

fraud to Plaintiffs because such information is often used as “challenge questions” by financial

and other institutions seeking to confirm identities.

        785. Facebook further harmed Plaintiffs when it failed to notify them that their content

and information could be or had been misappropriated via the Cambridge Analytica Scandal

and/or by partnerships with other third parties. As just one example, following the first

revelations of Cambridge Analytica’s psychographic profiling in 2015, Facebook failed to take

steps to confirm that Cambridge Analytica, and any other entities which had unauthorized

possession of users’ content and information, had properly deleted users’ content and

information.

        786. Indeed, additional revelations of Facebook’s failures to keep users’ content and

information safe continue unabated, including additional data breaches and other improper

sharing. Facebook’s choice to forego the costs of notification, deletion and other protective

action transferred and imposed upon Plaintiffs further costs from the misappropriation. Without

the benefit of notification and the ability to prevent future harm, Facebook caused Plaintiffs to


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bear the full burden of the risk of identity theft and fraud, as well as the ongoing imposition of

targeted communications, that would be highly offensive to a reasonable person, by third parties

in possession of users’ content and information.

        787. The economic risks to Plaintiffs that they must mitigate are real and tangible. The

risks of identity theft and fraud are long term and injure users in a multiplicity of ways

including: compromising their financial accounts, marring their credit ratings and history,

preventing their ability to get loans, risking fraudulent tax filings, the inclusion of

misinformation in their medical record leading to improper and dangerous medical treatment

and/or incurring additional costs due to diminishment or loss of insurance coverage,

diminishment or loss of employment opportunities, and many other potential hardships.

Plaintiffs have already suffered diminished security in their personal affairs and face an

expanded and imminent risk of economic harm from identity theft and fraud.

        788. For example, Plaintiffs Steven Akins, Samuel Armstrong, Jason Ariciu, Anthony

Bell, Bridgett Burk, John Doe, Terry Fischer, Shelly Forman, Mary Beth Grisi, Paige Grays,

Suzie Haslinger, Tabielle Holsinger, Tyler King, Ashley Kmieciak, William Lloyd, Gretchen

Maxwell, Scott McDonnell, Ian Miller, Jordan O’Hara, Bridget Peters, Kimberly Robertson,

Scott Schindler, Cheryl Senko, Tonya Smith, Charnae Tutt, and Barbara Vance-Guerbe have

already experienced additional security risks such as phishing attempts, increased phone

solicitations, incidents of fraud or misuse, efforts by hackers trying to access or log in to their

Facebook accounts, Friend requests from trolls or cloned or imposter accounts, and other

interference with their Facebook accounts. Plaintiffs Dustin Short and Tonya Smith have been

notified that their content and information is available on the dark web.

        789. That Plaintiffs may not yet be aware that harm has occurred increases rather than

diminishes their risk because they do not know they are at risk and cannot take specific action to

prevent a known harm. As such, the remaining Plaintiffs also face security risks and are

subjected to a heightened risk of such predatory conduct due to Facebook’s failure to secure


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their personal content, including the sale of their content and information on the dark web and

illicit databases. Where Plaintiffs’ content and information is available on the dark web, this

imposes further uncompensated costs on those individuals. The dark web permits criminals

further access to users’ content and information that could potentially allow more serious

identity theft or fraud involving an individual’s other accounts.

        790. Out-of-pocket costs. Facebook knew that users’ content and information was

being collected and aggregated in ways that put Plaintiffs at heightened risk of identity theft and

fraud, and failed to properly inform users of those risks, such that Plaintiffs could reasonably

mitigate those potential harms. Rather, Facebook has placed the burden of mitigating the risk of

identity theft and fraud on Plaintiffs. Following the Cambridge Analytica Scandal, Facebook

offered no support to users who were concerned about the collection of their content and

information. In fact, Facebook is still unable to confirm who has possession of Plaintiffs’

content and information.

        791. As a result, Plaintiffs have paid for credit monitoring and have spent time and

money to protect themselves from the imminent threat of identity theft and fraud. For example,

Plaintiff Dustin Short paid for credit monitoring and to remove inquiries from his credit report

in the wake of the revelations about the Cambridge Analytica Scandal. Likewise, Plaintiffs

Anthony Bell and Scott McDonnell paid for credit monitoring services. Plaintiffs Forman, Grisi,

Holsinger, Johnson, King, O’Hara, Senko, Smith, and Tutt use credit and bank account

monitoring services from multiple providers. Plaintiff Fischer has frozen her credit and

requested fraud alerts from various credit monitoring agencies.

        792. These actions were reasonable in light of the scope of content and information

Facebook collected, as well as the ability of third parties, with which Facebook impermissibly

shared users’ content and information, allowing users’ Facebook content and information to be

pooled with other data sources and linked to specific Facebook users. As a result, Plaintiffs have

incurred out-of-pocket costs as a result of Facebook’s harmful conduct, including purchasing


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credit monitoring or other forms of identity theft protection services.

        793. This transfer of costs from Facebook to users and benefits from users to Facebook

was deliberate. Facebook engineered APIs that enabled third parties to access users’ content and

information without adhering to users’ privacy settings. Moreover, once this data was in the

hands of the third parties, Facebook took no steps to prevent its use in ways that were contrary

to users’ reasonable expectations of privacy.

        794. In failing to mitigate, Facebook avoided costs it should have incurred as a result

of its own actions—both out of pocket and loss of user engagement—and transferred those costs

to Plaintiffs; warning users would have chilled user engagement as well potential new users

from joining Facebook. It would also have brought scrutiny on the Company, in the form of

transaction costs such as regulatory fines, shareholder concerns, possible executive turnover,

and a decline in share price. Some of these costs have, of course, materialized. Facebook and

Zuckerberg were thus not only able to evade or defer these costs but to continue to accrue value

for the Company and to further benefit from the delay due to the time value of money.

Facebook, as of yet, still has not publicly disclosed the third parties, including App Developers,

which received access to users’ content and information.

        795. Thus, Facebook has transferred all of the costs imposed by the unauthorized

disclosure and publication of users’ content and information onto Plaintiffs. Facebook increased

mitigation costs by failing to notify users that their content and information had been disclosed

and to alert them at the earliest time possible so that users could take steps to protect their

identities. In addition, Facebook increased mitigation costs by engaging in acts that furthered

both the dissemination of user information and its aggregation, as well as by its failure to audit

third parties who received user information to secure it. For example, Facebook failed to

demand and enforce compliance with its policies by its own App Developers, including that

user content and information not be sold and that it be deleted if improperly obtained. In failing

to mitigate, Facebook avoided costs it would have incurred, both out of pocket and loss of user


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 engagement, and transferred those costs to Plaintiffs.

         796. Loss of control and value. Users also suffered diminished loss of use of their own

 content and information, property which has value to them.

         797. Facebook cannot dispute that users’ content and information is property, and

 Facebook has repeatedly conceded that users own it: “[y]ou own all of the content and

 information you post on Facebook, and you can control how it is shared through your privacy

 and application settings.”418 Moreover, the DCMS Report noted that Zuckerberg’s testimony to

 Congress that users should have complete control over their data and that users own all the

 content they upload and can delete it at will was disingenuous and inaccurate: “the advertising

 profile that Facebook builds up about users cannot be accessed, controlled or deleted by those

 users. It is difficult to reconcile this fact with the assertion that users own all ‘the content’ they

 upload.”419

         798. Users’ content and information also has value. First, there is transactional value

 to user content and information. Indeed, Facebook traded use of its own platform to users in

 exchange for their content and information. Similarly, Facebook traded access to users’ content

 and information with App Developers. Mr. Soltani of the FTC refers to this as “data

 reciprocity.”420 In exchange for giving App Developers access to users’ content and

 information, App Developers increase user engagement whereby Facebook increases its

 audience and users generate more content and information—both resulting in greater revenue

 for Facebook. Facebook engages in an extensive transactional market of data reciprocity with its

 Business Partners, as set forth above.



418
    Statement of Rights and Responsibilities, Facebook (June 8, 2012), www.
facebook.com/legal/terms,
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms];
Promises, promises: Facebook's history with privacy, Phys.Org (Mar. 30, 2018),
https://phys.org/news/2018-03-facebook-history-privacy.html.
419
    DCMS Report, supra note 28, ¶ 41 (emphasis added).
420
    Id. ¶ 103.

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        799. Second, there is economic value to user content and information that can be

 measured in dollars. Facebook calculates average revenue per user premised upon the content

 that users share; the current reported average revenue per user was $34 in 2018.421 Indeed, the

 entire foundation of Facebook’s financial success is collecting users’ content and information

 and making it available to those who wish to advertise to them. There is a legitimate business

 model, involving disclosure and true consent, through which user content can be collected and

 sold. Data brokers exist because of the high value of such information. Advertisers, App

 Developer, and other third parties pay Facebook billions of dollars because of the access

 Facebook provides to users’ content and information, but Facebook does not disclose its

 conduct or obtain true consent.

        800. There also can be no legitimate dispute that there is a market for users’ content

 and information. One study by content marketing agency Fractl has found that an individual’s

 online identity, including hacked financial accounts, can be sold for $1200 on the dark web.422

 Facebook logins can be sold for approximately $5.20 each. These rates are assumed to be

 discounted because they do not operate in competitive markets, but rather, in an illegal

 marketplace. If a criminal can sell other users’ content, surely users can sell their own.

 Moreover, it was recently revealed that Facebook paid certain underage users for their content

 and information, evidence once again that user content has value.423 In short, there is economic

 value to users’ data that is greater than zero. The exact number will be a matter for experts to

 determine.


421
    Facebook Q4 2018 Results, Facebook (Jan. 30, 2019),
https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q4/Q4-2018-Earnings-
Presentation.pdf.
422
    Maria LaMagna, The sad truth about how much your Facebook data is worth on the dark
web, MarketWatch (June 6, 2018), https://www.marketwatch.com/story/spooked-by-the-
facebook-privacy-violations-this-is-how-much-your-personal-data-is-worth-on-the-dark-web-
2018-03-20.
423
    Josh Constine, Facebook pays teens to install VPN that spies on them, TechCrunch (Jan. 29,
2019), https://techcrunch.com/2019/01/29/facebook-project-atlas/.

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        801. Users were harmed when Facebook took their property. Furthermore, users are

 harmed because Facebook has taken that property and exerted exclusive control over it. The fact

 that Facebook will not give users access to their own dossiers and the content and information

 Facebook has already collected prevents users from selling it. Because Facebook is selling

 users’ content and information, users cannot. Finally, the first sale of users’ content and

 information diminishes the value of the information, because there is a first seller advantage.

VI.     PLAINTIFFS COULD NOT HAVE DISCOVERED THEIR CLAIMS UNTIL 2018
        802. Facebook has consistently denied that it is careless about user content and

 information.

        803. Christopher Wylie testified to the U.K. Parliament that in or around July 2014,

 Facebook’s engineers may have assisted Cambridge Analytica with its harvesting of the

 personal data of millions of Facebook users. Wylie testified that, according to Aleksandr Kogan,

 when the size of the transfer caused Facebook’s platform to throttle the App—thereby

 effectively disabling the transfer of data—Cambridge Analytica reached out to Facebook for

 assistance.424 Facebook “would have known from that moment about the project, because

 [Kogan would have] had a conversation with Facebook’s engineers.”425

        804. Even if the Guardian’s December 2015 article regarding Cambridge Analytica’s

 use of information about Facebook users had obliged Plaintiffs to conduct further investigation

 to determine whether they were among the Facebook users whose content and information was

 disclosed without permission, Plaintiffs would not have been able to uncover the facts

 underlying their claims.

        805. That is because the relevant facts were in the possession of Facebook and

 Cambridge Analytica, and both refused to disclose them. In the wake of the December 2015

424
    U.K. House of Commons, Digital, Culture, Media and Sport Comm., Testimony of
Christopher Wylie (Mar. 27, 2018), at Q1336,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/81022.pdf.
425
    Id.

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 Guardian article, Facebook investigated Cambridge Analytica, but never publicly released the

 results of its investigation and until 2018 did not confirm that Plaintiffs’ content and

 information had been disclosed without their permission.

        806. Indeed, Facebook actively concealed the facts.

        807. In June 2016, it secured from Kogan and GSR a non-disclosure agreement about

 their collection of data, obliging them not to disclose the manner in which they obtained and

 used Plaintiffs’ content and information. In exchange, Facebook waived and released any and

 all claims against Kogan or GSR concerning the data.

        808. Moreover, when Simon Milner, Facebook’s Policy Director for the United

 Kingdom, the Middle East, and Africa, testified to the U.K. Parliament on February 8, 2018, he

 denied that Cambridge Analytica or any of its associated companies had “Facebook user data,”

 and that, in any case, Facebook had “no insight on” how Cambridge Analytica may have

 gathered data from users on Facebook.426

        809. Then, in a February 23, 2018 letter, Cambridge Analytica CEO Alexander Nix

 falsely told Parliament that “Cambridge Analytica does not gather such data,”427 and Facebook

 did not correct or clarify Nix’s false statement.

        810. Four days later on February 27, 2018, Nix testified before Parliament. When

 asked whether any of Cambridge Analytica’s data came from Facebook, Nix replied, “We do

 not work with Facebook data and we do not have Facebook data.”428 Nix also claimed that

426
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of
Juniper Downs, et al. (Feb. 8, 2018), at Q447-449,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/disinformation-and-fake-news/oral/78195.pdf.
427
    Alexander Nix, Letter from Alexander Nix, Chief Executive, Cambridge Analytica to Damian
Collins, Chair of the Committee (Feb. 23, 2018),
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/written/79053.pdf.
428
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of
Alexander Nix (June 6, 2018), at Q3288,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/84838.html.

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 Cambridge Analytica “did not use any personality modelling or ‘psychographics’ in the

 election, and that it has no access to Facebook likes.”429 Once again, Facebook did not correct

 or clarify these false statements.

           811. Only in March 2018, with the publication of articles by The Guardian and The

 New York Times did it become clear that Plaintiffs should inquire into whether they had been

 injured by Facebook’s misconduct. Thereafter, Facebook informed Facebook users that their

 content and information had been released to Cambridge Analytica.

                                      VII.   CHOICE OF LAW
           812. Facebook’s Terms of Service (formerly known as the “Statement of Rights and

 Responsibilities”) contain (and have always contained) a forum selection provision that

 mandates the resolution of any claim—arising either out of the Terms of Service or a person’s

 use of Facebook—exclusively in the U.S. District Court for the Northern District of California

 and provides that users submit to the personal jurisdiction of those courts to litigate those

 claims.

           813. In addition, the Terms of Service contain (and have contained since at least April

 26, 2011) a California choice-of-law provision.430 The provision ensures that California law

 applies to “any claim that might arise between” a user and Facebook.431

           814. This Court has consistently enforced the California choice of law provision.

                            VIII. CLASS ACTION ALLEGATIONS
        815.     Plaintiffs incorporate by reference all the allegations of this Complaint as though

fully set forth herein.



429
    Letter from Alexander Nix, supra note 427.
430
    See, e.g., Statement of Rights and Responsibilities, Facebook (Apr. 26, 2011)
http://www.facebook.com/legal/terms
[https://web.archive.org/web/20120529141325/http://www.facebook.com/legal/terms] (“The
laws of the State of California will govern this Statement, as well as any claim that might arise
between you and us, without regard to conflict of law provisions).
431
    Id.

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       816.   Plaintiffs bring this action on behalf of themselves and all others similarly situated

pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

       817.   Plaintiffs seek to represent the following Classes:

              A.      The Class, which is defined as all Facebook users in the United States and

       in the United Kingdom whose content and information, generated when they were

       eighteen years of age or older, was collected by Facebook and published and/or disclosed

       to third parties without their authorization or consent from January 1, 2007 to the present.

       The Class contains the following Subclasses:

                      i.      The Alabama Subclass, which is defined as all members of the

              Class who resided in Alabama at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      ii.     The Arizona Subclass, which is defined as all members of the

              Class who resided in Arizona at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      iii.    The Colorado Subclass, which is defined as all members of the

              Class who resided in Colorado at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      iv.     The Delaware Subclass, which is defined as all members of the

              Class who resided in Delaware at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      v.      The Florida Subclass, which is defined as all members of the

              Class who resided in Florida at the time the content and information they


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              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      vi.     The Georgia Subclass, which is defined as all members of the

              Class who resided in Georgia at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      vii.    The Idaho Subclass, which is defined as all members of the Class

              who resided in Idaho at the time the content and information they generated was

              collected by Facebook and published and/or disclosed to third parties without

              their authorization or consent.

                      viii.   The Illinois Subclass, which is defined as all members of the

              Class who resided in Illinois at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      ix.     The Indiana Subclass, which is defined as all members of the

              Class who resided in Indiana at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      x.      The Iowa Subclass, which is defined as all members of the Class

              who resided in Iowa at the time the content and information they generated was

              collected by Facebook and published and/or disclosed to third parties without

              their authorization or consent.

                      xi.     The Kansas Subclass, which is defined as all members of the

              Class who resided in Kansas at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.


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                      xii.    The Maryland Subclass, which is defined as all members of the

              Class who resided in Maryland at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xiii.   The Michigan Subclass, which is defined as all members of the

              Class who resided in Michigan at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xiv.    The Missouri Subclass, which is defined as all members of the

              Class who resided in Missouri at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xv.     The New Jersey Subclass, which is defined as all members of the

              Class who resided in New Jersey at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xvi.    The New York Subclass, which is defined as all members of the

              Class who resided in New York at the time that the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xvii.   The Ohio Subclass, which is defined as all members of the Class

              who resided in Ohio at the time the content and information they generated was

              collected by Facebook and published and/or disclosed to third parties without

              their authorization or consent.

                      xviii. The Oklahoma Subclass, which is defined as all members of the

              Class who resided in Oklahoma at the time the content and information they


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              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xix.    The Pennsylvania Subclass, which is defined as all members of

              the Class who resided in Pennsylvania at the time the content and information

              they generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xx.     The Tennessee Subclass, which is defined as all members of the

              Class who resided in Tennessee at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xxi.    The Texas Subclass, which is defined as all members of the Class

              who resided in Texas at the time the content and information they generated was

              collected by Facebook and published and/or disclosed to third parties without

              their authorization or consent.

                      xxii.   The Virginia Subclass, which is defined as all members of the

              Class who resided in Virginia at the time the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xxiii. The Washington Subclass, which is defined as all members of the

              Class who resided in Washington at the time that the content and information they

              generated was collected by Facebook and published and/or disclosed to third

              parties without their authorization or consent.

                      xxiv. The West Virginia Subclass, which is defined as all members of

              the Class who resided in West Virginia at the time that the content and

              information they generated was collected by Facebook and published and/or

              disclosed to third parties without their authorization or consent.


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                       xxv.    The Wisconsin Subclass, which is defined as all members of the

               Class who resided in Wisconsin at the time the content and information they

               generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

               B.      The Minor Class, which is defined as all Facebook users in the United

       States and in the United Kingdom whose content and information, generated when they

       were less than eighteen years, was collected by Facebook and published and/or disclosed

       to third parties without their authorization or consent from January 1, 2007 to the present.

       818.    As used in this Complaint, “Class Period” refers to the period January 1, 2007 to

the present.

       819.    Excluded from the Classes are Defendants, their current employees,

coconspirators, officers, directors, legal representatives, heirs, successors and wholly or partly

owned subsidiaries or affiliated companies; the undersigned counsel for Plaintiffs and their

employees; and the judge and court staff to whom this case is assigned. Plaintiffs reserve the

right to amend the definitions of the Classes if discovery or further investigation reveals that the

Classes should be expanded or otherwise modified.

       820.    The Classes satisfy the prerequisites of Federal Rule of Civil Procedure 23(a) and

the requirements of Rule 23(b)(3).

       821.    Numerosity and Ascertainability: Plaintiffs do not know the exact size of the

Classes or the identities of the Class Members,432 since such information is the exclusive control

of Defendants. Nevertheless, the Class encompasses millions of individuals, and the Minor Class

encompasses—at the least—thousands of individuals, dispersed throughout the United States and

the United Kingdom. Each of the Subclasses also contains at least thousands, and almost

certainly more, individuals. The number of members in each of the Classes is so numerous that


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  Here and elsewhere in the complaint, the term “Class Members” refers collectively to
Members of all Classes.

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joinder of all members in any of the Classes is impracticable. The names, addresses, and phone

numbers of Class Members are identifiable through documents maintained by Defendants.

       822.    Commonality and Predominance: The action involves common questions of

law and fact, which predominate over any question solely affecting individual Class Members.

These common questions for Class Members’ priority claims include:
          i.      Whether Facebook gave Plaintiffs and Class Members effective notice of its
                  program to collect their content and information;
         ii.      Whether Defendants obtained authorization or consent from Plaintiffs and
                  Class Members to collect their content and information;
        iii.      Whether Defendants improperly collected Plaintiffs’ and Class Members’
                  content and information;
        iv.       Whether Facebook represented that Plaintiffs’ and Class Members’ content
                  and information would be protected from disclosure absent their consent;
         v.       Whether Facebook owes any duty to Plaintiffs and Class Members with
                  respect to maintaining, securing, or deleting their content and information;
        vi.       To what degree Facebook has the right to use content and information
                  pertaining to Plaintiffs and Class Members;
       vii.       Whether Facebook owed a legal duty to Plaintiffs and Class Members to
                  exercise due care in collecting, storing, safeguarding, and/or obtaining their
                  content and information;
       viii.      Whether Facebook breached a legal duty to Plaintiffs and Class Members to
                  exercise due care in collecting, storing, safeguarding, and/or obtaining their
                  content and information;
        ix.       Whether the egregious breach of privacy and trust alleged in the Complaint
                  was foreseeable by Facebook;
         x.       Whether Facebook intentionally exposed Plaintiffs’ and Class Members’
                  content and information to Cambridge Analytica;
        xi.       Whether Defendants violated the Stored Communications Act;
       xii.       Whether Defendants violated Plaintiffs’ and Class Members’ privacy rights;
       xiii.      Whether Facebook’s conduct was an unlawful or unfair business practice
                  under Cal. Bus. & Prof. Code §§ 17200 et seq. (West 2018);
       xiv.       Whether Facebook is a “video tape service provider” under 18 U.S.C. § 2710;
        xv.       Whether Facebook is a provider of electronic communication service to the
                  public pursuant to 18 U.S.C. §§ 2702(a)(1) and 2510(15);



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       xvi.       Whether Facebook maintains a facility through which an electronic
                  communication service is provided, pursuant to 18 U.S.C. § 2701(a);
      xvii.       Whether Facebook is a provider of a remote computing service to the public,
                  pursuant to 18 U.S.C. §§ 2702(a)(2) and 2711(2);
     xviii.       Whether “Facebook content,” a term defined below, constitutes electronic
                  communications under 18 U.S.C.§ 2510(12);
       xix.       Whether Plaintiffs and Class Members are “users” or “subscribers” of
                  Facebook’s remote computing service, as the term “user” is defined and/or
                  used in 18 U.S.C. § 2510(5) and (13);
       xx.        Whether Plaintiffs and Class Members are “aggrieved person[s]” as that term
                  is defined in 18 U.S.C. § 2510(11);
       xxi.       Whether Plaintiffs’ and the Class Members’ use of Facebook’s messaging
                  systems and transfers of content and information to Facebook constitute
                  electronic communications, pursuant to 18 U.S.C. § 2501(12);
      xxii.       Whether Plaintiffs’ and Class Members’ electronic communications were in
                  electronic storage, pursuant to 18 U.S.C. § 2501(17);
     xxiii.       Whether Facebook knowingly divulged the contents of Plaintiffs and the Class
                  Members’ electronic communications while they were in electronic storage to
                  unauthorized parties in violation of 18 U.S.C. § 2702(a)(1);
      xxiv.       Whether Facebook knowingly divulged the contents of Plaintiffs’ and Class
                  Members’ electronic communications that were carried or maintained on
                  Facebook’s remote computing service to unauthorized parties in violation of
                  18 U.S.C. § 2702(a)(2);
      xxv.        Whether Plaintiffs and Class Members have suffered an injury as a result of
                  Facebook’s violations of the Stored Communications Act;
      xxvi.       Whether Facebook profited from its acts that violate the Stored
                  Communications Act;
     xxvii.       Whether Facebook’s violation of the Stored Communications Act committed
                  willfully and intentionally;
    xxviii.       Whether Facebook is a “video tape service provider” as that term is defined in
                  18 U.S.C. § 2710;
      xxix.       Whether Plaintiffs and Class Members are “consumers” as that term is defined
                  in 18 U.S.C. § 2710;
      xxx.        Whether Plaintiffs’ and Class Members’ data that Facebook possessed
                  contained “personally identifiable information” as that term is defined in 18
                  U.S.C. § 2710;




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      xxxi.       Whether Facebook knowingly allowed third parties access to Plaintiffs’ and
                  Class Members’ personally identifiable information in violation of the Video
                  Privacy Protection Act;
     xxxii.       Whether Plaintiffs and the other Class Members are “aggrieved person[s]” as
                  that term is defined by 18 U.S.C. § 2710;
    xxxiii.       Whether Facebook suppressed facts which it was bound to disclose to
                  Plaintiffs and Class Members about the privacy of their user content and
                  information;
    xxxiv.        Whether Facebook gave information of facts that were likely to mislead
                  Plaintiffs and Class Members about the privacy of their user content and
                  information;
     xxxv.        Whether Facebook failed to disclose known risks that third-party App
                  Developers would sell or disperse Plaintiffs’ and Class Members’ user content
                  and information without their consent;
    xxxvi.        Whether Facebook violated the terms of an October 2012 FTC settlement by
                  continuing to allow App Developers access to Plaintiffs and Class Members’
                  user content and information without their consent;
    xxxvii.       Whether Facebook failed to audit whether and how Plaintiffs’ and Class
                  Members’ user content and information was provided to third parties;
   xxxviii.       Whether Facebook failed to disclose to Plaintiffs and Class Members the risks
                  that each faced from the disclosure of their user content and information;
    xxxix.        Whether Facebook failed to inform Plaintiffs and Class Members that their
                  user content and information was insecure once it was shared with App
                  Developers or other third parties;
        xl.       Whether Facebook knew that Plaintiffs’ and Class Members’ user content and
                  information was not secure;
       xli.       Whether Facebook ignored warnings that audits were necessary to secure
                  Plaintiffs’ and Class Members’ user content and information;
       xlii.      Whether Facebook intentionally failed to secure Plaintiffs’ and Class
                  Members’ information and content;
      xliii.      Whether Facebook had a duty to inform Plaintiffs and Class Members that
                  Facebook had become aware that it had failed to secure Plaintiffs’ and Class
                  Members’ user content and information;
      xliv.       Whether Facebook intentionally concealed that Plaintiffs’ and Class
                  Members’ user content and information was insecure;
       xlv.       Whether Facebook failed to disclose to Plaintiffs and Class Members that it
                  had not secured their user content and information;




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      xlvi.       Whether Facebook failed to disclose to Plaintiffs and Class Members the risks
                  that each faced from Facebook’s failure to secure user content and
                  information;
     xlvii.       Whether Facebook intended to deceive Plaintiffs and Class Members about
                  the security of their user content and information;
     xlviii.      Whether Plaintiffs and Class Members were damaged as a result of
                  Facebook’s deceit;
      xlix.       Whether Facebook misled Plaintiffs and Class Members to believe that
                  Facebook was protecting users’ privacy;
          l.      Whether Facebook failed to disclose to or deceived Plaintiffs and Class
                  Members that Facebook was sharing their users’ content and information with
                  third parties;
         li.      Whether Facebook failed to disclose that, notwithstanding privacy settings
                  that purported to provide Plaintiffs and Class Members with control over their
                  user content and information, Facebook allowed third parties to harvest and
                  store Plaintiffs’ and Class Members’ personal information;
        lii.      Whether Facebook had a duty to provide accurate information to Plaintiffs
                  and Class Members about how their user content and information was
                  disclosed to third parties;
       liii.      Whether Facebook encouraged Plaintiffs and Class Members to share content
                  and information by assuring them that Facebook would respect their choices
                  concerning privacy;
        liv.      Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and
                  Class Members’ user content and information and whether it did so to create a
                  false sense of security and privacy for Plaintiffs and Class Members;
        lv.       Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and
                  Class Members’ user content and information in order to increase its
                  revenues;
        lvi.      Whether Plaintiffs and Class Members were damaged because their user
                  content and information were disclosed to third party device makers and other
                  Business Partners without their consent;
       lvii.      Whether Facebook failed to disclose to Plaintiffs and Class Members how
                  their user content and information was being collected, shared and aggregated
                  to develop digital profiles or dossiers of each user;
      lviii.      Whether Facebook had a duty to disclose the full extent to which it allowed
                  Plaintiffs and Class Members to be targeted by advertisers and marketers;
        lix.      Whether Facebook knew that advertisers and marketers were targeting
                  Plaintiffs and Class Members with messages based upon Facebook-derived
                  content and information;


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        lx.       Whether Facebook failed to disclose to Plaintiffs and Class Members that
                  advertisers were combining data from data brokers with Facebook-derived
                  content and information to target them with advertisements and psychographic
                  marketing, as well as building digital dossiers of users;
        lxi.      Whether Facebook intended to deceive Plaintiffs and Class Members about
                  their vulnerability to targeted advertisements;
       lxii.      Whether Facebook has been unjustly enriched by virtue of its deceit
                  concerning user content and information disclosure and aggregation for
                  advertisers;
      lxiii.      Whether Facebook must disgorge its profits made from the use of Plaintiffs’
                  and Class Members’ content and information;
      lxiv.       Whether Plaintiffs and Class Members had a reasonable expectation that their
                  user content and information they entrusted to Facebook would be protected
                  and secured against access by unauthorized parties and would not be disclosed
                  to or obtained by unauthorized parties, or disclosed or obtained for any
                  improper purpose;
       lxv.       Whether Facebook intentionally intruded upon the private affairs and
                  concerns of Plaintiffs and Class Members;
      lxvi.       Whether Facebook intrusions upon the private affairs and concerns of
                  Plaintiffs and Class Members were substantial, and would be highly offensive
                  to a reasonable person;
     lxvii.       Whether Plaintiffs and Class Members did not consent to Facebook’s
                  intrusions upon their private affairs and concerns;
     lxviii.      Whether Plaintiffs and Class Members suffered actual and concrete injury as a
                  result of Facebook’s intrusions upon Plaintiffs’ and Class Members’ private
                  affairs and concerns;
      lxix.       Whether Plaintiffs and Class Members are entitled to relief for their injuries
                  that resulted from Facebook’s intrusion upon Plaintiffs’ and Class Members’
                  private affairs and concerns;
       lxx.       Whether Facebook published private content and information of Plaintiffs and
                  Class Members to unauthorized parties and failed to take reasonable steps to
                  prevent further dissemination of this content and information;
      lxxi.       Whether Facebook’s publication of Plaintiffs’ and Class Members’ user
                  content and information would be highly offensive to a reasonable person;
     lxxii.       Whether Plaintiffs’ and Class Members’ content and information was private
                  and not of legitimate public concern or substantially connected to a matter of
                  legitimate public concern;




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     lxxiii.      Whether Plaintiffs and Class Members suffered injury as a result of
                  Facebook’s publication of Plaintiffs’ and Class Members’ content and
                  information;
     lxxiv.       Whether Facebook and Plaintiffs and Class Members mutually assented to,
                  and therefore were bound by the version of Facebook’s Statement of Rights
                  and Responsibilities or later, the Terms of Service, (collectively, the
                  “Contracts”) that was operative at the time each of the Plaintiffs or a member
                  of the Classes joined Facebook;
      lxxv.       Whether the Contracts required Facebook to protect the content and
                  information of its users, including Plaintiffs and Class Members;
     lxxvi.       Whether the Contracts failed to form or obtain consent to share Plaintiffs’ and
                  Class Members’ user content and information with advertisers and other third
                  parties and/or failed to disclose that such information would be shared if
                  users’ Friends entered into an agreement which permitted third parties to
                  collect their Friends’ information;
    lxxvii.       Whether Facebook made it unreasonably difficult for Plaintiffs and Class
                  Members to access the provisions of the Privacy and Data Use Policies, and
                  particularly the provision of the Privacy and Data Use Policies disclosing
                  Friend-of-user sharing;
    lxxviii.      Whether Facebook made it unreasonably difficult for Plaintiffs and Class
                  Members to understand which privacy settings governed how third-party
                  applications and advertisers could access users’ content and information via
                  Friend-of user sharing;
     lxxix.       Whether Facebook failed to adequately explain to Plaintiffs and Class
                  Members that a user’s “Privacy Settings” were ineffective in controlling
                  whether users’ content and information was shared via Friend-of-user sharing;
      lxxx.       Whether, contrary to the Contracts, Facebook knowingly allowed Doe
                  Defendants to sell the content and information regarding Plaintiffs and Class
                  Members that they had collected via applications that used the Facebook
                  platform;
     lxxxi.       Whether Plaintiffs’ and Class Members’ content and information has value;
    lxxxii.       Whether Facebook breached the Contracts;
    lxxxiii.      Whether Facebook owed a duty to Plaintiffs and Class Members to exercise
                  reasonable care in the obtaining, using, and protecting of their content and
                  information, arising from the sensitivity of their content and information and
                  the expectation that their content and information was not going to be shared
                  with third parties without their consent;
    lxxxiv.       Whether Facebook owed a duty to timely disclose to Plaintiffs and Class
                  Members that Facebook had allowed their content and information to be
                  accessed by third parties;


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    lxxxv.        Whether Facebook knew that the content and information of Plaintiffs and
                  Class Members had value;
    lxxxvi.       Whether Facebook failed to take reasonable steps to prevent harm to Plaintiffs
                  from known threats to the security to Plaintiffs’ and Class Members’ user
                  content and information;
   lxxxvii.       Whether Facebook breached the duties of care it owed to Plaintiffs and Class
                  Members;
  lxxxviii.       Whether Plaintiffs and Class Members were foreseeable victims of
                  Facebook’s breach of its duties;
    lxxxix.       Whether, as a result of Facebook’s negligent failure to safeguard Plaintiffs’
                  and Class Members’ content and information, Plaintiffs and Class Members
                  have suffered injuries;
        xc.       Whether the injuries to Plaintiffs and Class Members were proximate,
                  reasonably foreseeable results of Facebook’s breaches of its duties of care;
       xci.       Whether it is reasonable for Plaintiffs and Class Members to obtain identity
                  protection and/or credit monitoring services in light of the Facebook’s breath
                  of its duties of care;
      xcii.       Whether public policy would void any purported waiver of liability to which
                  Facebook may claim;
      xciii.      Whether Facebook’s conduct constitutes gross negligence;
      xciv.       Whether Plaintiffs and Class Members have a privacy right to their user
                  content and information under Art. I, Sec. 1 of the California Constitution;
      xcv.        Whether Facebook violated Plaintiffs’ and Class Members’ constitutionally-
                  protected right to privacy;
      xcvi.       Whether Facebook violated the common law prohibition on the use of a
                  person’s name or likeness to its own advantage;
     xcvii.       Whether Facebook failed to obtain consent from Plaintiffs and Class Members
                  to use their likenesses;
    xcviii.       Whether Plaintiffs and Class Members received no compensation in return for
                  Facebook’s use of their likenesses;
      xcix.       Whether Plaintiffs and Class Members were harmed by Facebook’s improper
                  use of their likenesses;
         c.       Whether Facebook knowingly obtained benefits from Plaintiffs and Class
                  Members under circumstances such that it would be inequitable and unjust for
                  Facebook to retain them;
         ci.      Whether Facebook is a “person” as defined by Ala. Code § 8-19-3(5);
        cii.      Whether Facebook’s products and services are “goods” and “services” as
                  defined by Ala. Code § 8-19-3(3), (7);

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       ciii.      Whether Facebook advertised, offered, or sold goods or services in Alabama
                  and engaged in trade or commerce directly or indirectly affecting the people
                  of Alabama as defined by Ala. Code § 8-19-3(8);
       civ.       Whether Facebook engaged in unconscionable, false, misleading or deceptive
                  practices in connection with its business, commerce and trade practices in
                  violation of Ala. Code § 8-19-5(27);
        cv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  Alabama’s Deceptive Trade Practices Act, and recklessly disregarded the
                  Alabama Plaintiff’s and the Alabama Subclass members’ rights;
       cvi.       Whether Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-
                  102(6);
      cvii.       Whether the Colorado Plaintiff and Colorado Subclass members, as well as
                  the general public, are actual or potential consumers of the services offered by
                  Facebook to actual consumers;
      cviii.      Whether Facebook engaged in deceptive trade practices in the course of its
                  business, in violation of Colo. Rev. Stat. Ann. § 6-1-105(1)(u);
       cix.       Whether Facebook engaged in deceptive trade practices in the course of its
                  business, in violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging
                  unfair trade practices actionable at common law or under other statutes of
                  Colorado;
        cx.       Whether Facebook intended to mislead the Colorado Plaintiff and the
                  Colorado Subclass members and induce them to rely on its misrepresentations
                  and omissions;
       cxi.       Whether Facebook acted fraudulently, willfully, knowingly, or intentionally to
                  violate Colorado’s Consumer Protection Act, and with recklessly disregarded
                  the Colorado Plaintiff’s and the Colorado Subclass members’ rights;
      cxii.       Whether Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. §
                  505/1(c);
      cxiii.      Whether the Illinois Plaintiffs and the Illinois Subclass members are
                  “consumer[s]” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(e);
      cxiv.       Whether Facebook’s conduct as described herein was in the conduct of
                  “trade” or “commerce” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(f);
       cxv.       Whether Facebook’s deceptive, unfair, and unlawful trade acts or practices, in
                  violation of 815 Ill. Comp. Stat. Ann. § 505/2;
      cxvi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  Illinois’s Consumer Fraud and Deceptive Business Practices Act, and
                  recklessly disregarded the Illinois Plaintiffs and the Illinois Subclass
                  members’ rights;
     cxvii.       Whether Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7);


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    cxviii.       Whether the Iowa Plaintiff and the Iowa Subclass members are “consumer[s]”
                  as defined by Iowa Code § 714H.2(3);
      cxix.       Whether Facebook’s conduct described herein related to or was in connection
                  with the “sale” or “advertisement” of “merchandise” as defined by Iowa Code
                  Ann. § 714H.2(2), (6), (8);
      cxx.        Whether Facebook engaged in unfair, deceptive, and unconscionable trade
                  practices, in violation of the Iowa Private Right of Action for Consumer
                  Frauds Act, as described throughout and herein;
      cxxi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  Iowa’s Private Right of Action for Consumer Frauds Act, and recklessly
                  disregarded the Iowa Plaintiff and the Iowa Subclass members’ rights;
     cxxii.       Whether the Kansas Plaintiff and the Kansas Subclass members are
                  “consumer[s]” as defined by Kan. Stat. Ann. § 50-624(b);
    cxxiii.       Whether the acts and practices described herein are “consumer transaction[s],”
                  as defined by Kan. Stat. Ann. § 50-624(c);
    cxxiv.        Whether Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l);
     cxxv.        Whether Facebook advertised, offered, or sold goods or services in Kansas
                  and engaged in trade or commerce directly or indirectly affecting the people
                  of Kansas;
    cxxvi.        Whether the Kansas Plaintiff and the Kansas Subclass members had unequal
                  bargaining power with respect to their use of Facebook’s services because of
                  Facebook’s omissions and misrepresentations;
    cxxvii.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  Kansas’s Consumer Protection Act, and recklessly disregarded the Kansas
                  Plaintiff and the Kansas Subclass members’ rights;
   cxxviii.       Whether Facebook, the Michigan Plaintiff, and Michigan Subclass members
                  are “person[s]” as defined by Mich. Comp. Laws Ann. § 445.902(1)(d);
    cxxix.        Whether Facebook advertised, offered, or sold goods or services in Michigan
                  and engaged in trade or commerce directly or indirectly affecting the people
                  of Michigan, as defined by Mich. Comp. Laws Ann. § 445.902(1)(g);
     cxxx.        Whether Facebook engaged in unfair, unconscionable, and deceptive practices
                  in the conduct of trade and commerce, in violation of Mich. Comp. Laws Ann.
                  § 445.903(1);
    cxxxi.        Whether Facebook engaged in deceptive acts or practices in the conduct of its
                  business, trade, and commerce or furnishing of goods or services, in violation
                  of N.Y. Gen. Bus. Law § 349, as described herein;
    cxxxii.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  New York’s General Business Law, and recklessly disregarded the New York
                  Plaintiff’s and the New York Subclass members’ rights;


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   cxxxiii.       Whether Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. §
                  19.86.010(1);
   cxxxiv.        Whether Facebook advertised, offered, or sold goods or services in
                  Washington and engaged in trade or commerce directly or indirectly affecting
                  the people of Washington, as defined by Wash. Rev. Code Ann. §
                  19.86.010(2);
    cxxxv.        Whether Facebook engaged in unfair or deceptive acts or practices in the
                  conduct of trade or commerce, in violation of Wash. Rev. Code Ann. §
                  19.86.020, as described herein;
   cxxxvi.        Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  Washington’s Consumer Protection Act, and recklessly disregarded the
                  Washington Plaintiff’s and Washington Subclass members’ rights;
   cxxxvii.       Whether the West Virginia Subclass members are “[c]onsumer[s],” as defined
                  by W. Va. Code Ann. § 46A-6-102(2);
  cxxxviii.       Whether Facebook engaged in “consumer transaction[s],” as defined by W.
                  Va. Code Ann. § 46A-6-102(2);
   cxxxix.        Whether Facebook advertised, offered, or sold goods or services in West
                  Virginia and engaged in trade or commerce directly or indirectly affecting the
                  people of West Virginia, as defined by W. Va. Code Ann. § 46A-6-102(6);
       cxl.       Whether Facebook’s unfair and deceptive acts and practices violated W. Va.
                  Code Ann. § 46A-6-102(7);
      cxli.       Whether Facebook’s unfair and deceptive acts and practices were
                  unreasonable when weighed against the need to develop or preserve business,
                  and were injurious to the public interest, under W. Va. Code Ann. § 46A-6-
                  101;
      cxlii.      Whether Facebook’s acts and practices were “[u]nfair” under W. Va. Code
                  Ann. § 46A-6-104 because they caused or were likely to cause substantial
                  injury to consumers which was not reasonably avoidable by consumers
                  themselves and not outweighed by countervailing benefits to consumers or to
                  competition;
     cxliii.      Whether Facebook’s acts and practices were “deceptive” under W. Va. Code
                  Ann. § 46A-6-104;
     cxliv.       Whether Facebook’s omissions were legally presumed to be equivalent to
                  active misrepresentations because Facebook intentionally prevented the West
                  Virginia Subclass members from discovering the truth regarding Facebook’s
                  use, sale, disclosure and abuse of private user data;
      cxlv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                  West Virginia’s Consumer Credit and Protection Act, and recklessly
                  disregarded the West Virginia Subclass members’ rights;



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     cxlvi.        Whether Facebook’s deceptive trade practices significantly impact the public;
     cxlvii.       Whether Facebook’s representations and omissions were material because
                   they were likely to deceive reasonable consumers;
    cxlviii.       Whether Facebook intended that the Alabama, Colorado, Illinois, Iowa,
                   Kansas, Michigan, New York, Washington, and the various Subclass
                   members would rely on its misrepresentations, omissions, and other unlawful
                   conduct;
     cxlix.        Whether, as a direct and proximate result of Facebook’s unfair and deceptive
                   acts and practices, Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New
                   York, Washington, and the various Subclass members have suffered and will
                   continue to suffer injury, ascertainable losses of money or property, and
                   monetary and non-monetary damages;
         cl.       Whether the Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New York,
                   Washington, and the various Subclass members have suffered injuries in fact
                   and lost money or property due to Facebook’s business acts or practices;
        cli.       Whether Plaintiffs and the Classes are entitled to equitable relief, including,
                   but not limited to, injunctive relief, restitution, and disgorgement; and
       clii.       Whether Plaintiffs and the Classes are entitled to actual, statutory, or other
                   forms of damages, and other monetary relief.

       823.    Defendants engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by this action and similar or identical questions of statutory and common

law, as well as similar or identical injuries, are involved. Individual questions, if any, pale in

comparison to the numerous common questions that predominate in this action.

       824.    Typicality: Plaintiffs’ claims are typical of the other Class Members’ claims

because all Class Members were comparably injured through Defendants’ substantially uniform

misconduct as described above. The Plaintiffs representing the Classes are advancing the same

claims and legal theories on behalf of themselves and all other members of the Classes that they

represent, and there are no defenses that are unique to Plaintiffs. The claims of Plaintiffs and

Class Members arise from the same operative facts and are based on the same legal theories.

       825.    Adequacy: Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the other members of the Classes they seek to represent;

Plaintiffs have retained counsel competent and experienced in complex class action litigation,


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and Plaintiffs intend to prosecute this action vigorously. The Classes’ interest will be fairly and

adequately protected by Plaintiffs and their counsel.

         826.   Superiority: A class action is superior to any other available means for the fair

and efficient adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this class action. The damages and other detriment suffered

by Plaintiffs and the other class members are relatively small compared to the burden and

expense that would be required to individually litigate their claims against Defendants, so it

would be virtually impossible for the Class Members to individually seek redress for

Defendants’ wrongful conduct. Even if Class Members could afford individual litigation, the

court system could not. Individualized litigation creates a potential for inconsistent or

contradictory judgments, and increases the delay and expense to all parties and the court system.

By contrast, the class action device presents far fewer management difficulties, and provides the

benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court.

         827.   Class certification under Rule 23(b)(2) is also warranted for purposes of

injunctive and declaratory relief because Defendants have acted or refused to act on grounds

generally applicable to the Classes, so that final injunctive and declaratory relief are appropriate

with respect to each Class as a whole.

                                   IX.     CAUSES OF ACTION
         828.   Pursuant to 28 U.S.C. § 1407(a), this Complaint consolidates claims of all

plaintiffs in this multidistrict litigation and proposes priority briefing for certain claims. In the

event that Defendants seek to challenge claims asserted herein via motion pursuant to Rule 12,

Plaintiffs propose that twelve of the claims asserted herein be briefed in priority. Those claims

are set forth herein as Part A.




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A.      Prioritized Claims



      (Against Prioritized Defendants Facebook and Doe Defendants; Non-Prioritized
                            Defendants Zuckerberg and Kogan)
                         On Behalf of All Plaintiffs and All Classes
        829.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        830.    The Stored Communications Act (“SCA”) allows a private right of action against

anyone who “(1) intentionally accesses without authorization a facility through which an

electronic communication service is provided; or (2) intentionally exceeds an authorization to
access that facility; and thereby obtains, alters, or prevents authorized access to a wire or

electronic communication while it is in electronic storage in such system.” See 18 U.S.C.

§ 2701(a); see also 18 U.S.C. § 2707(a) (cause of action).

        831.    The Electronic Communications Privacy Act, 18 U.S.C. §§ 2510, et seq., defines

an “electronic communication” as “any transfer of signs, signals, writing, images, sounds, data,

or intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,

photoelectronic or photooptical system that affects interstate or foreign commerce.” 18 U.S.C.

§ 2510(12). The SCA incorporates this definition of “electronic communication.”

        832.    To create the information transferred to Facebook such as all posts, private

messages, and similar communication (collectively “Facebook content”), Facebook users

transmit writing, images, or other data via the Internet from their computers or mobile devices to

Facebook’s servers. This Facebook content, therefore, constitutes electronic communications for

purposes of the SCA.

        833.    The SCA distinguishes between two types of electronic storage. The first is

defined as “any temporary, intermediate storage of a wire or electronic communication incidental

to the electronic transmission thereof.” 18 U.S.C. § 2510(l7)(A). The second type is defined as

“any storage of such communication by an electronic communication for purposes of backup



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protection of such communication.” 18 U.S.C. § 2510(17)(B). Because Facebook saves and

archives Facebook content indefinitely, Facebook content is stored in electronic storage for

purposes of the SCA.

       834.    Facebook allows users to select privacy settings for their Facebook content.

Access can be limited to a user’s Facebook Friends, to particular groups or individuals, or to just

the particular Facebook user. When users make Facebook content inaccessible to the general

public, the information is considered private for purposes of the SCA.

       835.    As set forth herein, Plaintiffs did not authorize Defendants to share their content

and information with third party Apps, including Whitelisted Apps, or with Facebook’s Business

Partners” such as device makers in violation of users’ personal privacy settings.

       836.    Plaintiffs are subscribers or customers of Facebook’s remote computing service,

pursuant to 18 U.S.C. § 2702(a)(2). By virtue of Facebook’s conduct in providing the ability to

send or receive wire or electronic communications, Facebook is an electronic communication

service within the meaning of the SCA. Plaintiffs are users of Facebook’s electronic

communication service, pursuant to 18 U.S.C. § 2510(13).

       837.    Plaintiffs are subscribers and persons aggrieved by violations of the SCA,

pursuant to 18 U.S.C. §§ 2707(a) and 2510(11).

       838.    By virtue of Defendants’ conduct in providing computer storage and processing

services by means of an electronic communications system, Facebook is a remote computer

service within the meaning of the SCA.

       839.    Facebook is a provider of an electronic communication service to the public,

pursuant to 18 U.S.C. §§ 2702(a)(1) and 2510(15).

       840.    Facebook maintains a facility through which an electronic communication service

is provided, pursuant to 18 U.S.C. § 2701(a).

       841.    Facebook is a provider of a remote computing service to the public, pursuant to

18 U.S.C. §§ 2702(a)(2) and 2711(2).


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       842.    Facebook and Doe Defendants are persons within the meaning of the SCA,

pursuant to 18 U.S.C. § 2510(6).

       843.    Facebook and Doe Defendants are persons or entities within the meaning of the

SCA, pursuant to 18 U.S.C. § 2707(a).

       844.    Plaintiffs’ use of Facebook’s messaging systems and transfers of content and

information to Facebook constitute electronic communications, pursuant to 18 U.S.C. §

2501(12).

       845.    Plaintiffs’ electronic communications were in electronic storage, pursuant to 18

U.S.C. § 2501(17).

       846.    Doe Defendants and Non-Prioritized Defendant Kogan violated the SCA by

intentionally accessing without authorization or exceeding an authorization to access Facebook’s

facility through which an electronic communication service is provided, thereby obtaining access

to Plaintiffs’ electronic communications while they were in electronic storage, pursuant to 18

U.S.C. § 2701(a).

       847.    Facebook violated the SCA by knowingly divulging the contents, including

content and information, of Plaintiffs’ electronic communications while they were in electronic

storage to unauthorized parties, including but not limited to Defendant Kogan, Cambridge

Analytica, Doe Defendants, and Facebook’s Business Partners and Apps, including whitelisted

Apps, pursuant to 18 U.S.C. § 2702(a)(1).

       848.    Facebook violated the SCA by knowingly divulging the contents, including

content and information, of Plaintiffs’ electronic communications that were carried or maintained

on Facebook’s remote computing service to unauthorized parties, including but not limited to

Defendant Kogan, Cambridge Analytica, Doe Defendants, Apps and Facebook’s Business

Partners, pursuant to 18 U.S.C. § 2702(a)(2).

       849.    As detailed herein, the contents of Plaintiffs’ electronic communications that

Facebook divulged to unauthorized parties were non-public, and Plaintiffs reasonably believed


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that the contents of these communications would be protected against publication to

unauthorized parties. In particular, the contents of many of Plaintiffs’ electronic communications

through Facebook, including photos and videos, were configured to be non-public either at the

time of posting or through Facebook’s Privacy Settings. But that content was delivered by

Facebook to third parties without identifying privacy metadata so that those limitations could not

have been honored by third parties.

       850.    Similarly, the contents, of Plaintiffs’ electronic communications through

Facebook Messenger and/or Facebook instant messaging were non-public due to the inherently

private and non-public nature of instant messaging communication platforms.

       851.    Facebook knowingly divulged the contents of Plaintiffs’ electronic

communications both directly to unauthorized parties including Defendant Kogan and Business

Partners as well as indirectly to unauthorized parties including Cambridge Analytica and data

brokers. The subsequent disclosure of user information by Apps and Business Partners to

additional unauthorized parties was reasonably foreseeable, and Facebook knew or should have

known about this subsequent disclosure. Facebook also failed to effectively audit, limit, or

control Apps or Business Partners accessing user information so as to prevent the subsequent

disclosure of user information. Further, Facebook directly profited from the subsequent

disclosure of user information, through advertisements placed by unauthorized parties that

received user information from Apps or Business Partners, including Cambridge Analytica.

       852.    As detailed herein, Plaintiffs were not aware of and did not consent to the

disclosure of the contents, including content and information, of their electronic communications

to unauthorized parties, including Apps used by their Facebook Friends such as the This Is Your

Digital Life App and Facebook’s Business Partners.

       853.    Users of Apps, including the This Is Your Digital Life App, and Apps generally,

were not aware of and did not consent to the disclosure of the contents, including content and

information, of the electronic communications of their Friends or the Friends of their Friends to


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unauthorized parties, including Cambridge Analytica, Business Partners, other advertisers, and

data brokers. In particular, these App users did not consent to the disclosure of the contents,

including content and information, of the electronic communications of their Friends or the

Friends of their Friends beyond the App—either with respect to the disclosure of this information

by the App or App Developer to unauthorized parties or with respect to the use of this

information for purposes beyond limited use by the App itself.

       854.    As a result of Defendants’ violations of the SCA, Plaintiffs have suffered injury,

including but not limited to the invasion of Plaintiffs’ privacy rights.

       855.    Defendants profited through their violations of the SCA, and Plaintiffs suffered

actual damages, as detailed herein, as a result of these violations, pursuant to 18 U.S.C.

§ 2707(c).

       856.    Plaintiffs are entitled to actual damages, disgorgement of profits made by

Defendants as a result of their violations of the SCA, and statutory damages, in an amount not

less than $1,000 per Plaintiff.

       857.    Plaintiffs are also entitled to preliminary and other equitable or declaratory relief

as may be appropriate, as well as reasonable attorneys’ fees and litigation costs, pursuant to 18

U.S.C. § 2707(b).

       858.    Defendants’ violations of the SCA were committed willfully and intentionally,

and therefore Plaintiffs also seek punitive damages pursuant to 18 U.S.C. § 2707(c).


      (Against Prioritized Defendants Facebook and Doe Defendants; Non-Prioritized
                            Defendants Kogan and Zuckerberg)
                         On Behalf of All Plaintiffs and All Classes
        859. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

       860.    Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”)

       861.    The VPPA provides that “a video tape service provider who knowingly discloses,

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to any person, personally identifiable information concerning any consumer shall be liable to the

aggrieved person for the relief provided in subsection (d).” 18 U.S. Code § 2710 (b)(1).

Facebook violated this statute by knowingly disclosing personally identifiable information to

third parties—including Apps used by Facebook Friends of Plaintiffs such as the This Is Your

Digital Life App, Business Partners, Whitelisted Apps, and advertisers—without informed,

written consent and in violation of Plaintiffs’ privacy settings.

       862.    Facebook is a “video tape service provider” under 18 U.S.C. § 2710 because it

“engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

delivery of prerecorded video cassette tapes or similar audio-visual materials.” See 18 U.S.C.

§ 2710(a)(4). In this regard, Facebook is engaged in the business of delivering video content and

services to its users, including Plaintiffs, and Facebook regularly delivers and displays a variety

of video content to its users. Likewise, Facebook is substantially involved in the conveyance of

video content to consumers and is significantly tailored to serve that purpose. As detailed above,

Facebook also enters into agreements with content providers in order to enable its users,

including Plaintiffs, to access such content through Facebook.

       863.    Throughout the Class Period, Facebook delivered prerecorded video and visual

materials to Facebook’s subscribers, including Plaintiffs, by making those materials

electronically available to Plaintiffs on Facebook’s platform. For example, Facebook selects and

delivers video content to Plaintiffs through its News Feed service and by making it available on

Plaintiffs’ pages.

       864.    Facebook maintains depositories around the country that cache videos and visual

materials for the purpose of delivering them to Plaintiffs and Facebook users so that Plaintiffs

can obtain and view them. The visual materials include but are not limited to videos made

available to subscribers through Facebook’s agreements with content providers such as Netflix

and Hulu but also content available on Facebook Pages, YouTube and other websites. The

materials include television programs, movies and other prerecorded visual content.


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       865.    Plaintiffs are “consumers” under 18 U.S.C. § 2710(a)(1) because they are

“subscriber[s] of goods or services” from Facebook. Plaintiffs are registered Facebook users who

use the website through interaction with it. Specifically, Plaintiffs were required to provide

personally identifiable information to Facebook in order to sign up, become registered users,

receive Facebook User IDs, establish user profiles and engage in Facebook’s communities,

including using and contributing to Facebook’s video streaming content and services.

       866.    Facebook itself uses the word “subscribe” to include users who participate on

Facebook but who do not pay fees. By signing up for accounts with Facebook, becoming

registered users, receiving Facebook User IDs, establishing user profiles, providing Facebook

with personal content and information, and spending time and attention using and contributing to

Facebook’s video streaming services, Plaintiffs entered into transactions with Facebook to obtain

access to Facebook’s content and services and for the purpose of subscribing to Facebook’s

video streaming content and services.

       867.    The VPPA defines “personally identifiable information” to “include[] information

which identifies a person as having requested or obtained specific video materials or services

from a video tape service provider.” 18 U.S.C. § 2710(a)(1)(3). Facebook “knowingly

disclose[d]” to persons—including Apps used by Facebook Friends of Plaintiffs such as the This

Is Your Digital Life App, Business Partners, Whitelisted Apps, and advertisers – users’

personally identifiable information. Facebook’s unlawful disclosures of personally identifiable

information were made through Facebook’s APIs, including but not limited to the following

Extended Profile Properties: friends_actions_video, friends_likes, friends_photo_video_tags, and

friends_status, as well as the following Extended Permissions: read_mailbox and

read_page_mailboxes.

       868.    Plaintiffs’ content and information included “personally identifiable information”

because the content Facebook gave to third parties identified Plaintiffs as having “requested or

obtained specific video materials or services.” Specifically, Plaintiffs’ content and information


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included Facebook user IDs, names, addresses as well as information about Plaintiffs’

downloads, views, and comments relating to the videos that Facebook delivered was published

by Facebook to App Developers. Plaintiffs’ content and information also included posts of

videos, other video-related posts, Likes of videos, Page Likes for videos, tags in videos, video-

related actions such as commenting on videos and sharing videos delivered by Facebook to News

Feed and on users’ Timelines, and messages containing videos all revealed that users had

requested or obtained video content.

        869.   Facebook’s unlawful disclosure of personally identifiable information concerning

Plaintiffs was not incident to the “ordinary course of business” of delivering the visual content as

that term is defined by the VPPA. See 18 U.S.C. § 2710(a)(2). The disclosure of users’

personally identifiable information to third parties not involved in the transactions as alleged

herein was not necessary in order for Facebook to deliver those prerecorded visual materials to

Plaintiffs.

        870.   The VPPA also provides that a video tape service provider may nonetheless

disclose personally identifiable information concerning a consumer as long as that person has

provided “informed written consent…in a form distinct and separate from any form setting forth

other legal or financial obligations of the consumer.” 18 U.S. Code § 2710(b)(2)(A)(i).

        871.   Facebook failed to obtain the “informed, written consent” of Plaintiffs “in a form

distinct and separate from any form setting forth other legal or financial obligations of the

consumer” and “at the election of the consumer,” either “given at the time the disclosure is

sought” or “given in advance for a set period of time, not to exceed 2 years or until consent is

withdrawn by the consumer, whichever is sooner.” See 18 U.S.C. § (b)(2)(B)(i)-(ii).

        872.   Facebook did not provide Plaintiffs with “an opportunity, in a clear and

conspicuous manner, for the consumer[s] to withdraw on a case-by case basis or to withdraw

from ongoing disclosures, at the consumer’s election.” See 18 U.S.C. § (b)(2)(B)(iii).

        873.   The VPPA also requires that persons subject to the section “destroy personally


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identifiable information as soon as practicable, but no later than one year from the date the

information is no longer necessary for the purpose for which it was collected.” See 18 U.S.C. §

(e). Upon information and belief, Facebook maintains rather than destroying users’ personally

identifiable information under this statute, despite that it is no longer necessary for purposes of

delivering the prerecorded visual materials.

        874.    Plaintiffs are “aggrieved person[s]” under the VPPA by Facebook’s disclosure of

their personally identifiable information under 18 U.S.C. § 2710(b)(1), as alleged herein.

Therefore, Plaintiffs may bring an action under § 2710(c) against Facebook.

        875.    Plaintiffs may be awarded actual damages, but not less than liquidated damages in

an amount of $2,500 per Plaintiff, punitive damages, attorneys’ fees and costs, and such other

preliminary and equitable relief as the court determines to be appropriate.

        876.



(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendant
                                      Zuckerberg)
                        On Behalf of All Plaintiffs and All Classes
        877.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        878.    Under California law, a plaintiff may assert a claim for deceit by concealment

based on “[t]he suppression of a fact, by one who is bound to disclose it, or who gives

information of other facts which are likely to mislead for want of communication of that

fact.” Cal. Civ. Code § 1710(3).

        879.    These following actions are “deceit” under Cal. Civil Code § 1710 because

Facebook suppressed facts that they were duty-bound to disclose, especially given Facebook’s

assertions about protecting the privacy of Plaintiffs. Facebook has committed deceit by

concealment in three distinct ways.

        880.    First, Facebook did not disclose known risks that third party App Developers


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would sell or disperse user content and information.

           881.   Facebook received multiple warnings that Plaintiffs’ content and information was

at risk.

              (1) In 2012, Sandy Parakilas, former Facebook operations manager, warned

                  Facebook’s executives about the risks of App Developers gaining access to users’

                  personal information without their consent on Facebook’s platform. Yet,

                  Facebook ignored Parakilas’s warnings.

              (2) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly

                  and prominently disclose its sharing of information with third parties; yet,

                  Facebook continued to let App Developers access users’ information without their

                  consent.

              (3) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned

                  Facebook executives about security risks on the platform. In an internal meeting

                  held in 2017, Stamos warned of “intentional decisions to give access to data and

                  systems to engineers to make them 'move fast' but that creates other issues for us.”

              (4) In 2017, Stamos states that he provided a written report concerning the

                  circumstances leading to Cambridge Analytica obtaining users’ personal

                  information. Facebook edited and published a whitewashed version of this report

                  concealing any wrongdoing.

           882.   Facebook did not audit what happened to content and information that was

provided to third parties because it knew it would find abuse. Facebook did not disclose to

Plaintiffs the risks that they faced from these warnings, and did not inform Plaintiffs that their

content and information was insecure once it was shared with App Developers or other third

parties.

           883.   Facebook knew that Plaintiffs’ content and information was not secure. Facebook

ignored the warnings above that audits were necessary to secure Plaintiffs’ and Class Members’


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content and information because Defendants did not know what third parties were doing with it

after it left Facebook’s servers.

        884.    Defendants intentionally failed to secure Plaintiffs’ information and content

because they wanted to encourage third-party App Developers and other Business Partners to

exploit that information and content. Defendants knew that appropriate security measures—such

as audits—would discourage third parties. Defendants did not engage in such audits or conduct

other reasonable efforts to protect Plaintiffs’ content and information.

        885.    Defendants had a duty to inform Plaintiffs that Defendants had become aware that

they had failed to secure their content and information. Facebook knew in 2015 that it had failed

to secure Plaintiffs’ content and information, including by making it available to Facebook’s

Business Partners, including but not limited to device makers, mobile carriers, software makers,

security firms and chip designers.

        886.    Defendants intentionally concealed that Plaintiffs’ information and content was

insecure because they wanted Plaintiffs to continue to generate content for their Business

Partners. Defendants failed to disclose the risks Plaintiffs faced with the intention to deceive

them about the security of their content and information.

        887.    Defendants failed to disclose to Plaintiffs that it had failed to secure content and

information for dozens of other third-party Apps, even after it became aware of abuse in 2015

with the Cambridge Analytica Scandal, and conducted no investigation of the extent to which it

had failed to do so until March of 2018.

        888.    Had Plaintiffs been aware that Defendants had failed to implement adequate

security measures, they would not have shared their information and content with Facebook to

the extent that they did, if at all.

        889.    Plaintiffs were damaged because, as a result of Defendants’ deceit, their content

and information have been disclosed to third parties without their consent. Plaintiffs were also

damaged because, as a result of Defendants’ deceit, their privacy was invaded. Plaintiffs are at


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heightened risk of identity theft, phishing schemes, and other malicious attacks. Due to

Defendants’ deceit, Plaintiffs’ information and content were compromised, and may be available

on the dark web or in the hands of foreign nationals. Plaintiffs are therefore entitled to “any

damage” that they have suffered under Civil Code Section 1709.

         890.   Second, Defendants have committed deceit by failing to meaningfully disclose to

Plaintiffs how Facebook allows other third parties—including but not limited to App Developers,

“whitelisted” Apps, device makers, mobile carriers, software makers, and others—to obtain their

personal information notwithstanding their privacy settings. With respect to “whitelisted” Apps,

Facebook failed to disclose that Facebook would provide the Apps with users’ content and

information as long as the whitelisted Apps provided Facebook with revenues that were based on

how many users’ content and information they accessed. Facebook failed to disclose that these

users and their Friends could not control “whitelisted” Apps’ access with their privacy settings.

         891.   Facebook allowed “whitelisted” Apps to continue to receive content and

information from users and their Friends notwithstanding users’ privacy settings.

         892.   Facebook stripped privacy settings from photos and videos v that had been

designated private, in violation of its own privacy policies. As a result, those Apps could not

honor users’ privacy settings.

         893.   In addition, “Apps were able to circumvent users’ privacy of platform settings and

access friends’ information, even when the user disabled the Platform.”433

         894.   Defendants misled users to believe that they were protecting users’ privacy and

failed to disclose that they were sharing users’ content and information with third parties.

         895.   Defendants did not disclose that, notwithstanding privacy settings that purported

to provide Plaintiffs with control over their content and information, Facebook allowed third -

parties to harvest and store personal information.

         896.   Defendants had a duty to provide accurate information to Plaintiffs about how

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      DCMS Report, supra note 28.

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their content and information were disclosed to third parties by Facebook. Defendants knew that

Plaintiffs shared personal and sometimes intimate details about their lives, personalities, and

identities. Defendants encouraged Plaintiffs to share content and information by assuring them

that Facebook would respect their choices concerning privacy.

       897.    Defendants intentionally concealed and omitted material information regarding

how Facebook disclosed Plaintiffs’ content and information in an effort to create a false sense of

security and privacy for Plaintiffs. Defendants did this because they wanted Plaintiffs to provide

more detailed content and information, whose value would be increased by that additional detail.

Third parties would thereby pay a higher price for access to that content and information,

increasing Facebook’s revenue.

       898.    Had Plaintiffs been aware of the full extent of how Facebook collected and used

their content and information, they would not have shared their content and information on their

devices on the Facebook platform to the same degree that they did, if at all.

       899.    Plaintiffs were damaged because their content and information were disclosed to

third-party device makers and other Business Partners without their consent. As a result of the

disclosures of Plaintiffs’ content and information to these third parties, Plaintiff could not take

remedial measures to protect themselves from identity theft, scams, phishing, unwanted political

targeting, even surveillance and other forms of harassment. Moreover, Plaintiffs would have

behaved differently and shared less content and information had these acts been disclosed.

Facebook deliberately withheld notice because it did not want to discourage user sharing and

engagement on its platform.

       900.    Third, Defendants failed to disclose to Plaintiffs how their content and

information was being collected, shared and aggregated to develop digital profiles or dossiers of

each user. Those dossiers, comprised of Facebook user content and information was combined

with other sources to de-anonymize this data such that Facebook users could be individual

targeted.


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        901.    Defendants had a duty to disclose the full extent to which it allowed Plaintiffs to

be targeted by advertisers and marketers because it promised in its Contracts that it would not

share users’ content and information with advertisers without their consent. Defendants’ duty

also arose from its affirmative representations that (1) Plaintiffs could control their content and

information, and (2) third parties could not access personal data absent users’ consent.

        902.    Defendants knew that advertisers were targeting Plaintiffs with messages based

upon Facebook-derived content and information, combined with content and information derived

from other data brokers. Facebook was the vehicle to target Plaintiffs by drawing upon the vast

amounts of content information collected by Facebook and “matched” with additional

information collected about them by data brokers.

        903.    Defendants knew that psychographic marketing and other targeted advertising

was very lucrative, and that advertisers paid a premium to combine content and information with

data from data brokers.

        904.    Defendants did not disclose to Plaintiffs that advertisers were combining data

from data brokers with Facebook-derived content and information to target them with

advertisements and psychographic marketing, as well as building digital dossiers of users.

        905.    Defendants intended to deceive Plaintiffs about their vulnerability to targeted

advertisements. Defendants intended to deceive Plaintiffs about the degree to which sharing their

information and content on Facebook directly led to targeted messaging.

        906.    Had Plaintiffs known the extent to which Defendants shared their content and

information with third parties, and how it was aggregated and made available to advertisers and

political operatives, among others, Plaintiffs would have not shared their information and content

on Facebook to the extent that they did, if it all.

        907.    Plaintiffs suffered injury as a direct result of Defendants’ deceit. Plaintiffs

conferred a benefit on Defendants. Their information and content were used and aggregated by

advertisers and other third parties without their consent, and for nefarious—among other—uses,


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and Facebook received substantial advertising revenues as a benefit. Had Plaintiffs known the

extent and degree to which their content and information was provided to third parties, they

would have required compensation for this use of their content and information.

       908.    Plaintiffs suffered economic injury as a result of Facebook’s fraud. Plaintiffs have

an economic interest in their content and information, which has value outside of the Facebook

platform.

       909.    Facebook’s CEO knew that it was worth at least $0.10 for each App to view a

user’s profile, and Facebook orchestrated its “whitelisting” to require Apps to pay to Facebook

revenues that were equivalent to the number of users and their Friends that each App had.

       910.    As a result, Defendants have been unjustly enriched by its deceit, and Plaintiffs

and Class Members are entitled to restitution. “Restitution is a remedy that may be awarded to

prevent unjust enrichment when the defendant has obtained some benefit from the plaintiff

through fraud, duress, conversion or similar misconduct.” McBride v. Boughton, 123

Cal.App.4th 379, 387–388 (2004).

       911.    For all types of fraudulent omissions complained of here, Plaintiffs s seek

disgorgement of Facebook’s profits that were made with the use of Plaintiffs’ content and

information. Disgorgement is appropriate because Defendants profited from Plaintiffs’ content

and information wrongfully obtained by generating revenues from App Developers and

advertisers. Disgorgement is necessary in order to deter future unauthorized use of Plaintiffs’

content and information. Disgorgement is also necessary to the extent that the value of Plaintiffs’

content and information cannot be assessed by ordinary tort damages. Public policy supports the

use of disgorgement here to disincentivize the type of deception that Facebook used in exploiting

Plaintiffs’ content and information.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                            Zuckerberg, Bannon and Kogan)
                         On Behalf of All Plaintiffs and All Classes
        912. Plaintiffs incorporate by reference all allegations of this complaint as though fully

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set forth herein.

       913.    Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

       914.    Plaintiffs have shared private content and information, including private

messages, personal information, location information, Timeline and Wall posts, and Likes, with

a non-public audience such as Friends Only on Facebook or through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, personal family videos,

as well as personal perspectives regarding politics, religion, relationships, work, and family that

Plaintiffs wanted to remain private and non-public.

       915.    Plaintiffs reasonably expected that the content and information that they shared on

Facebook or through Facebook Messenger and/or Facebook Chat would be protected and

secured against access by unauthorized parties and would not be disclosed to or obtained by

unauthorized parties, or disclosed or obtained for any improper purpose.

       916.    Defendants intentionally intruded upon the private affairs and concerns of

Plaintiffs by improperly accessing and obtaining Plaintiffs’ content and information and using it

for improper purposes, including by targeting Plaintiffs with advertisements that would be highly

offensive to a reasonable person, constituting an egregious breach of social norms and/or

enabling the targeting of Plaintiffs with such advertisements, as detailed herein.

       917.    Facebook intentionally intruded upon the private affairs and concerns of

Plaintiffs, by making Plaintiffs’ content and information available to unauthorized parties,

including but not limited to Apps used by Facebook Friends of Plaintiffs such as the This Is Your

Digital Life App, Business Partners, Whitelisted Apps, and advertisers, by disclosing this

information to such unauthorized parties, and by failing to adequately protect and secure this

information against access by such unauthorized parties.

       918.    Defendants’ intrusions upon the private affairs and concerns of Plaintiffs were

substantial, and would be highly offensive to a reasonable person, constituting an egregious


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breach of social norms, as is evidenced by the intense public outcry and numerous, international

governmental investigations in response to Defendants’ invasions of Plaintiffs’ privacy rights.

Not only did Defendants intrude upon a vast array of content and information regarding

Plaintiffs, they did so in contravention of Plaintiffs’ express designation of such content and

information as non-public.

       919.    Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted

material information concerning Plaintiffs’ ability to control access to their content and

information through privacy settings. In this regard, Facebook not only committed privacy

violations, but also affirmatively misled Plaintiffs into believing that they could control who

accessed their content and information, that it would not give their personal content and

information to advertisers, and that Facebook would respect and safeguard their choices

regarding privacy. Facebook also omitted to tell Plaintiffs that they could not control who

accessed their content and information (with respect to Business Partners and Whitelisted Apps),

that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook

intruded upon the private affairs and concerns of Plaintiffs for its own commercial benefit—to

increase its growth and to attract and obtain advertising revenue.

       920.    Plaintiffs did not consent to Defendants’ intrusions upon their private affairs and

concerns.

       921.    Plaintiffs suffered actual and concrete injury as a result of Defendants’ intrusions

upon Plaintiffs’ private affairs and concerns.

       922.    Plaintiffs and the Class seek appropriate relief for that injury, including but not

limited to damages that will reasonably compensate Plaintiffs for the harm to their privacy

interests, risk of future invasions of privacy, and the mental and emotional distress caused by

Defendants’ invasions of privacy, as well as disgorgement of profits made by Defendants as a


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result of their intrusions upon Plaintiffs’ private affairs and/ concerns.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                            Zuckerberg, Bannon and Kogan)
                         On Behalf of All Plaintiffs and All Classes
         923. Plaintiffs incorporate by reference all allegations of this complaint as though fully

 set forth herein.

        924.    Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        925.    Plaintiffs have shared private content and information, including private

messages, personal information, location information, Timeline and Wall posts, and Likes, with

a non-public audience such as Friends Only on Facebook or through Facebook Messenger and/or

Facebook Chat. This information included personal family photographs, personal family videos,

as well as personal perspectives regarding politics, religion, relationships, work, and family that

Plaintiffs wanted to remain private and non-public.

        926.    As detailed herein, Plaintiffs’ content and information that Facebook publicly

disclosed was non-public, and Plaintiffs reasonably believed that this content and information

would be protected against publication to unauthorized parties. In particular, Plaintiffs’ content

and information was configured to be non-public either at the time of posting or through

Facebook’s Privacy Settings, and Plaintiffs’ content and information communicated through

Facebook Messenger and/or Facebook Chat was non-public, on account of the inherently private

and non-public nature of instant messaging communication platforms.

        927.    Plaintiffs reasonably expected that the content and information that they shared on

Facebook or through Facebook Messenger and/or Facebook Chat would be protected and

secured against access by unauthorized parties and would not be disclosed to or obtained by

unauthorized parties, or disclosed or obtained for any improper purpose.

        928.    As detailed herein, Facebook intentionally violated the privacy interests of

Plaintiffs by publishing Plaintiffs’ content and information to unauthorized parties, including but

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not limited to Apps used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life

App, Business Partners, Whitelisted Apps, and advertisers, and by failing to take reasonable

steps to prevent further publication of this content and information.

       929.    Facebook publicly disclosed Plaintiffs’ content and information both directly to

unauthorized parties including Defendant Kogan and Business Partners as well as indirectly to

unauthorized parties including Cambridge Analytica and data brokers. The subsequent disclosure

of user information by Apps and Business Partners to additional unauthorized parties was

reasonably foreseeable, and Facebook knew or should have known about this subsequent

disclosure. Facebook also failed to effectively audit, limit, or control Apps or Business Partners

accessing user information so as to prevent the subsequent disclosure of user information.

Further, Facebook directly profited from the subsequent disclosure of user information, through

advertisements placed by unauthorized parties that received user information from Apps or

Business Partners, including Cambridge Analytica.

       930.    Facebook’s publication of Plaintiffs’ content and information resulted in

widespread disclosure of this information, constituting communication to the public in general.

In particular, Facebook published Plaintiffs’ content and information to approximately 53 or

more Business Partners, approximately 5,200 or more Whitelisted Apps, and approximately

40,000 or more Apps used by Facebook Friends of Plaintiffs, including advertisers.

       931.    Facebook’s publication of Plaintiffs’ content and information would be highly

offensive to a reasonable person, as is evidenced by the intense public outcry and numerous,

international governmental investigations in response to Facebook’s invasion of Plaintiffs’

privacy rights, and decreased participation on the Facebook platform. Not only did Defendants

publish a vast array of highly sensitive content and information regarding Plaintiffs, they did so

in contravention of Plaintiffs’ express designation of such content and information as non-public.

In this regard, Facebook knew or acted with reckless disregard of the fact that a reasonable

person would consider Facebook’s publication of Plaintiffs’ content and information to be highly


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offensive.

       932.    Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted

material information concerning Plaintiffs’ ability to control access to their content and

information through privacy settings. In this regard, Facebook not only committed privacy

violations, but also affirmatively misled Plaintiffs into believing that they could control who

accessed their content and information, that it would not give their personal content and

information to advertisers, and that Facebook would respect and safeguard their choices

regarding privacy. Facebook also omitted to tell Plaintiffs that they could not control who

accessed their content and information (with respect to Business Partners and Whitelisted Apps),

that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook

publicly disclosed Plaintiffs’ content and information for its own commercial benefit—to

increase its growth and to attract and obtain advertising revenue.

       933.    Plaintiffs’ did not consent to Defendants’ public disclosure of their highly

sensitive content and information.

       934.    Plaintiffs’ content and information was private and not of legitimate public

concern or substantially connected to a matter of legitimate public concern.

       935.    Plaintiffs suffered actual and concrete injury as a result of Defendants’

publication of Plaintiffs’ content and information. Plaintiffs seek appropriate relief, including but

not limited to damages that will reasonably compensate Plaintiffs for the public disclosure of

their highly sensitive content and information and the mental and emotional distress caused by

Defendants’ invasions of privacy, as well as disgorgement of profits made by Facebook as a

result of its publication of Plaintiffs’ content and information.


                           (Against Prioritized Defendant Facebook)
                           On Behalf of All Plaintiffs and All Classes


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        936.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        937.    At all relevant times, Facebook and Plaintiffs mutually assented to, and therefore

were bound by the version of Facebook’s Statement of Rights and Responsibilities or later, the

Terms of Service, (collectively, the “Contracts”) that was operative at the time each of the

Plaintiff joined Facebook.

        938.    Throughout the Class Period, Facebook affirmatively stated that Facebook would

“not share your content and information with advertisers without your consent.” None of the

Contracts informed and obtained users’ meaningful and lawfully-obtained consent to share their

content and information with advertisers and other third parties, or disclosed that such

information would be shared if users’ Friends entered into an agreement which permitted third

parties to collect their Friends’ information.

        939.    Thus, per the provision above, the Contracts did not authorize Facebook to share

Plaintiffs’ content and information with Facebook’s Business Partners, including but not limited

to mobile carriers, software makers, security firms, chip designers or device makers.

        940.    Further, per the provision above, the Contracts also did not authorize Facebook to

make the content and information that users shared with Friends available to third party App

Developers, or to sell such information to other third parties like Cambridge Analytica. The

Contracts did provide that the user’s content and information would be shared with a third-party

application if the user himself or herself permitted an application to have access and agreed to its

terms (“user sharing”). The Contracts did not provide that a user’s content and information

would be shared with a third-party application if a Friend of the user used such an application

(“friend-of-user sharing”). At the very least, friend-of-user sharing fell outside the scope of the

sharing allowed by the Contracts.

        941.    During the Class Period, Facebook failed to honor its promise to respect users’

privacy settings. This was especially true with respect to “whitelisted” Apps, which received


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content and information notwithstanding users’ privacy settings.

       942.    Additionally, Facebook breached the Contracts by stripping metadata and other

information from photographs and videos that were accessed by an App. In doing so, Facebook

breached its obligation to honor users’ privacy settings.

       943.    GSR made an application available to Facebook users via Graph API v1.0. It used

Graph API v1.0 to collect sensitive information regarding Plaintiffs—information that personally

identified, or could easily be used to personally identify, Plaintiffs.

       944.    Facebook was informed that GSR then sold this information to Cambridge

Analytica, which used the information to craft and target advertising on Facebook’s platform to

Plaintiffs. This was prohibited by the Contracts.

       945.    Upon information and belief, during the Class Period, certain Doe Defendants

made applications available to Facebook users to collect sensitive information regarding

Plaintiffs and the Class. Upon information and belief, certain Doe Defendants also sold users’

content and information to advertisers, thus causing a violation of the Contracts.

       946.    Contrary to the Contracts, Facebook knowingly allowed Doe Defendants who

made their applications available through Graph API v1.0 to sell the content and information

regarding Plaintiffs and the Class that they had collected via applications that used the Facebook

platform.

       947.    The Contracts required Facebook to protect the content and information of its

users. The Contracts affirm that users’ content and information would not be shared with

advertisers and other third parties without their affirmative consent. Likewise, these same terms

of service informed users that their privacy setting would control who had access to their content

and information, but this was untrue. Facebook did not disclose that users were required to

affirmatively “opt out” of sharing their content and information with third parties in the

Contracts.

       948.    As set forth herein, Plaintiffs’ content and information is of considerable value as


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demonstrated by Facebook’s calculation of the Average Revenue Per User that it calculates.

There is an active market for the content and information generated by Facebook users, both

individually and especially in the aggregate. Facebook generates billions of dollars in revenues

through targeted advertising delivered to third parties, curated through the collection and

aggregation of Facebook’s user data. There is also an active black market for user content and

information. The remedy for the breach of the Contracts is what Facebook gained through their

breach.

          949.   The value of the content and information accumulated by Facebook about a user

increases with the amount of content and information Facebook collects. Thus, over time,

Facebook’s benefit of the bargain has multiplied dramatically.

          950.   As a result of the breach, Plaintiffs have been harmed and have suffered damages

by losing the value of their content and information.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendant
                                      Zuckerberg)
                          On Behalf of All Plaintiffs and Classes
          951.   Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

          952.   Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

          953.   Defendants owed a duty to Plaintiffs and the Class to exercise reasonable care in

the obtaining, using, and protecting of their content and information, arising from the sensitivity

of their content and information and the expectation that their content and information was not

going to be shared with third parties without their consent. This duty included Facebook ensuring

that no App Developers, device makers or other third parties, including Kogan, GSR and

Cambridge Analytica, were improperly collecting, storing, obtaining and/or selling Plaintiffs’

content and information.

          954.   Plaintiffs’ willingness to entrust Defendants with their content and information

was predicated on the understanding that Facebook would take appropriate measures to protect

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it. Facebook had a special relationship with Plaintiffs as a result of being entrusted with their

content and information, which provided an independent duty of care.

           955.   Facebook knew that the content and information of Plaintiffs had value. Indeed,

Facebook has earned billions of dollars from selling targeted advertising on its platform based on

users’ content and information as demonstrated by Facebook’s calculation of the Average

Revenue Per User. There is an active market for the content and information generated by

Facebook users, both individually and especially in the aggregate. Facebook generates its billions

of dollars in revenues through targeted advertising delivered to third parties, curated through the

collection and aggregation of Facebook’s users’ content and information. There is also an active

black market for user content and information.

           956.   Facebook received multiple warnings that Plaintiffs’ content and information was

at risk.

              (1) In 2012, Sandy Parakilas, former Facebook operations manager, warned

                  Facebook’s executives about the risks of App Developers gaining access to users’

                  personal information without their consent on Facebook’s platform. Yet,

                  Facebook ignored Parakilas’s warnings.

              (2) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly

                  and prominently disclose its sharing of information with third parties; yet,

                  Facebook continued to let App Developers access users’ information without their

                  consent.

              (3) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned

                  Facebook executives about security risks on the platform. In an internal meeting

                  held in 2017, Stamos warned of “intentional decisions to give access to data and

                  systems to engineers to make them 'move fast' but that creates other issues for us.”

              (4) In 2017, Stamos states that he provided a written report concerning the

                  circumstances leading to Cambridge Analytica obtaining users’ personal


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                 information. Facebook edited and published a whitewashed version of this report

                 concealing any wrongdoing.

             (5) As reported by the NY Times, in 2016 Facebook exempted its Business Partner

                 relationships, including some “whitelisted” Apps, from ongoing privacy

                 reviews.434

             (6) Facebook knew, or was negligent in not knowing, that “whitelisted” Apps

                 accessed users’ content and information beyond the scope of the purpose for

                 which they had been authorized, and continued to have access to content and

                 information even after the purpose for which they had been given access had

                 expired.

          957.   Despite these warnings, Facebook failed to take reasonable steps to prevent harm

to Plaintiffs:

             (1) According to Sandy Parakilas, Facebook was not conducting regular audits of

                 App Developers using Facebook’s platform in 2012.

             (2) On April 30, 2014, Facebook announced a new “anonymous login” feature that

                 would have allowed users to use an App without sharing any personal

                 information. Yet, Facebook never implemented this feature.

             (3) On April 30, 2104, Facebook also announced a new “controlled login” feature to

                 allow users to choose what information they shared with App Developers before

                 login in. Yet, Facebook did not implement this feature until May 2015.

             (4) As early as December 11, 2015, Facebook received notice that App Developer

                 Aleksandr Kogan had shared users’ personal information with Cambridge

                 Analytica; yet, Facebook waited until April 2018, more than three years later, to

                 notify users that their personal information had been improperly shared.

             (5) Facebook’s failed to monitor whitelisted Apps’ access to content and information,

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      Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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               and where third parties were granted access to support a specific function and that

               function was discontinued (such as Royal Bank of Canada, Netflix, and Yahoo!),

               Facebook failed to cut off access.

       958.    Facebook owed a duty to timely disclose to Plaintiffs that Facebook had allowed

their content and information to be accessed by GSR, Cambridge Analytica and the Doe

Defendants. Plaintiffs had a reasonable expectation that Facebook would information them of the

improper disclosure of their content and information.

       959.    Facebook breached its duties by, among other things: (a) failing to ensure that

App Developers, “whitelisted” Apps, device makers and other third parties were not improperly

collecting, storing, obtaining and/or selling Plaintiffs’ content and information without users’

informed consent; and (b) failing to provide adequate and timely notice that Plaintiff’s content

and information had been improperly obtained by Cambridge Analytica and Doe Defendants.

       960.    But for Facebook’s breach of its duties, including its duty to use reasonable care

to protect and secure Plaintiffs’ content and information, Plaintiffs’ content and information

would not have been disclosed without their consent to third parties, which resulted in further

misuse of Plaintiffs’ content and information.

       961.    Plaintiffs were foreseeable victims of Facebook’s breach of its duties. Facebook

knew or should have known that allowing third parties to access Plaintiffs’ and Class Members’

content and information would cause damage to Plaintiffs.

       962.    As a result of Facebook’s negligent failure to safeguard Plaintiffs’ content and

information, Plaintiffs have suffered injury, which includes but is not limited to impermissible

disclosure of their content and information, both directly and indirectly by Facebook, and

exposure to a heightened, imminent risk of misuse, fraud, identity theft, voter fraud, medical

fraud, and financial and other harms.

       963.    The content and information shared with third parties allows this content and

information to be aggregated with other data to identify and target Plaintiffs. It is reasonable for


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Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       964.     The injury to Plaintiff was a proximate, reasonably foreseeable result of

Facebook’s breaches of its aforementioned duties.

       965.     As a proximate result of Facebook’s negligence in failing to take due care to

monitor the use of user content and information by third parties like mobile device makers,

carriers, software makers, security firms, chip designers, GSR and Doe Defendants, Plaintiffs

suffered damages in an amount to be proved at trial.

       966.     Public policy voids any purported waiver of liability to which Facebook may

claim Plaintiffs assented:

                A.     The contract(s) between Facebook and Plaintiffs concern a business of a

       type generally thought suitable for public regulation; indeed, Facebook is subject to

       public regulation.

                B.     Due to Facebook’s ubiquity and importance in the daily lives of

       Americans, it performs a service of great importance to the public. Using Facebook is

       often a matter of practical necessity for the many persons who use Facebook to

       coordinate daily activities, network, engage in political and cultural discourse, and pursue

       interests and hobbies. To do these things, Facebook users must share their personal

       information with their Friends.

                C.     Facebook holds itself out as a free provider of its services to aged 13 or

       above.

                D.     Because of the network effect and the importance of Facebook’s services,

       Facebook possesses a decisive advantage of bargaining strength against any member of

       the public that seeks to use its services.

                E.     Any purported waiver of liability occurs in a standardized adhesion

       contract that users must accept or reject in toto.


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                F.     Facebook is ultimately in total control of its platform and services. The

        confidentiality of Plaintiffs’ personal information, therefore, is under Facebook’s control

        and subject to its carelessness.

                G.     Facebook violated its privacy policies by allowing “whitelisted” Apps and

        Business Partners to access content and information notwithstanding users’ privacy

        settings.

        967.    In addition, any purported waiver of liability is unconscionable.

        968.    Facebook’s conduct also constitutes gross negligence due to its extreme

departure from ordinary standards of care, and its knowledge that it had failed to secure the

content and information of Plaintiffs.



(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                            Zuckerberg, Bannon and Kogan)
                          On Behalf of All Plaintiffs and Classes
        969.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        970.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        971.    Defendants’ conduct as alleged herein constitutes unfair, unlawful, or fraudulent

business acts or practices as proscribed by California’s Unfair Competition Law, Cal. Bus. &

Prof. Code § 17200, et seq. (“UCL”).

        972.    As alleged above, Facebook violated Plaintiffs’ privacy by allowing their personal

content to be exploited in ways that Plaintiffs could not have been anticipated. Plaintiffs interests

were also violated through Defendants’ deceptive acts. Had Plaintiffs known the extent to which

Facebook allowed their personal content to be collected, aggregated, pooled, and transferred for

commercial purposes to companies such as Cambridge Analytica, Plaintiffs would not have

shared their content and information on Facebook to the same extent they did, if at all. Facebook

allowed App Developers, device makers and other third parties to harvest users’ Friends content


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and information on a large scale, with no effective notice to Plaintiffs, and without any

opportunity for Plaintiffs to become reasonably informed about Facebook’s default privacy

settings allowing App Developers, device makers and other third parties to harvest users’ Friends

content and information or the risks that large-scale disclosure of their content and information

would present. Facebook made assurances to Plaintiffs about respecting their privacy, and being

able to own and control their content and information. Given these affirmative statements,

Facebook had a duty to disclose the nature and extent of the uses of users’ content and

information that Facebook allowed “whitelisted” Apps, App Developers, device makers, and

other third parties to make.

       973.    Defendants’ conduct is “unfair.” California has a strong public policy to protect

privacy interests, including in protecting the content and information shared by Plaintiff.

Defendants violated this public policy by exploiting Plaintiffs’ content and information without

informed consent.

       974.    Defendants’ conduct also violated the interests protected by the Video Privacy

Protection Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et seq.;

Cal. Civ. Code §§ 1709, 1710 and Article 1, § 1 of the California Constitution. To establish

liability under the unfair prong, Plaintiffs need not establish that these statutes were actually

violated, although the claims pleaded herein do so.

       975.     Facebook did not reasonably inform Plaintiffs of the uses of their content and

information, and invaded Plaintiffs’ privacy by subjecting their content and information to large-

scale disclosure without knowledge or meaningful consent. Facebook’s conduct included

stripping Plaintiffs’ privacy metadata from their photos and videos, and allowing “whitelisted”

Apps and Business Partners to access Plaintiffs’ content and information notwithstanding their

privacy settings. Facebook created a false sense of privacy, defeating Plaintiffs reasonable

expectations of privacy.

       976.    Plaintiffs could not have anticipated this degree of intrusion into their privacy,


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which included exposure to psychographic marketing. Defendants’ conduct did not create a

benefit that outweighs these strong public policy interests. Defendants’ conducts narrowly

benefitted Facebook and its Business Partners at the expense of the privacy of millions of people.

Additionally, the effects of Facebook’s conduct were comparable to or substantially the same as

the conduct forbidden by the California Constitution and the common law’s prohibitions against

invasion of privacy, in that Facebook’s conduct invaded fundamental privacy interests.

        977.    Defendants’ conduct is “unlawful.” Defendants’ conduct violates the Video

Privacy Protection Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et

seq.; Cal. Civ. Code §§ 1709, 1710; and Article 1, § 1 of the California Constitution.

        978.    Facebook’s conduct violated the spirit and letter of these laws, which protect

privacy interests and prohibit misleading and deceptive practices. The content and information

that Facebook allowed third parties to harvest exposed Plaintiffs to an increased risk of identity

theft, voter fraud, tax return fraud, and allowed third parties to link their identities to other data in

order to de-anonymize them.

        979.    Defendants’ conduct is fraudulent. As alleged above, Defendants misled

Plaintiffs concerning the use of their content and information affirmatively and through material

omissions, and the privacy protection Facebook provided their content and information.

Defendants did not meaningfully disclose that Plaintiffs’ content and information could be

obtained by “whitelisted” Apps, device makers and other Business Partners, notwithstanding

Plaintiffs’ privacy settings. Defendants did not disclose that privacy designations for photographs

and videos were disregarded when received by Apps. Defendants did not disclose that

Facebook’s default privacy settings allowed third party Apps to obtain their content and

information, and obfuscated how Plaintiffs could have protected their content and information

from disclosure to third parties. Defendants omitted material information about how Plaintiffs’

personal content was harvested, stored, searched, used and sold.

        980.    Plaintiffs have suffered injury in fact and lost money or property due to


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Defendants’ business acts or practices. Plaintiffs’ content and information has tangible value.

        981.   Restitution under the UCL is designed to return the plaintiff to the status quo ex

ante.

        982.   Facebook told users that they owned their content and information. Additionally,

because Facebook directly leveraged access to Plaintiffs’ content and information in order to

obtain revenues from “whitelisted” Apps and other Business Partners, Plaintiffs have a property

interest in Facebook’s profits. Facebook took users’ property without compensation.

        983.   Facebook calculates an ARPU based on a user’s specific circumstances and that a

market exists for the content and information Plaintiffs generate.

        984.   There is value in Plaintiffs’ content and information that Facebook disseminated

to Business Partners and “whitelisted” Apps. Plaintiffs lost the opportunity to receive value from

these third parties in exchange for their personal information.

        985.    Facebook’s CEO knew that it was worth at least $0.10 for each App to view a

user’s profile, and Facebook orchestrated its “whitelisting” to require Apps to pay to Facebook

revenues that were equivalent to the number of users and their Friends that each App had.

        986.   Plaintiffs’ content and information is in the possession of third parties who have

used and will use it for their own advantage, including financial advantage, or have sold it or will

sell it for value, making it clear that Plaintiffs’ content and information has tangible value.

        987.   Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing users’ content and information with third parties. Plaintiffs may be subjected

to voter fraud, identity theft, medical fraud, and other harms. The content and information shared

with third parties allows this content and information to be aggregated with other data to identify

and target Plaintiffs. It is reasonable for Plaintiffs and Class Members to obtain identity

protection or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the

cost of these services from Facebook.

        988.   Defendants invaded Plaintiffs’ privacy by failing to inform Plaintiffs and Class


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Members that Facebook was sharing their content and information with its Business Partners,

including but not limited to App Developers, mobile carriers, software makers, security firms,

device makers and chip designers.

       989.    Defendants further failed to inform Plaintiffs about the nature of the App

Developers’ business, or the purposes for which App Developers were obtaining their content

and information. Facebook did not disclosure the nature or the extent of the exploitation of

Plaintiffs’ content information. Facebook invaded Plaintiffs’ privacy by subjecting them to

psychographic marketing that exploited intimate aspects of their identity, including emotional

and psychological manipulation.

       990.    Plaintiffs’ content and information was exploited without informed consent.

Accordingly, Plaintiffs are entitled to part of Facebook’s profits that were generated by their

content and information without informed consent.

       991.    Plaintiffs seek an order to enjoin Defendants from such unlawful, unfair, and

fraudulent business acts or practices, and to restore to Plaintiffs their interest in money or

property that may have been acquired by Defendants by means of unfair competition.

       992.    Section 17203 of the UCL authorizes a court to issue injunctive relief “as may be

necessary to prevent the use or employment by any person of any practice which constitutes

unfair competition.” Plaintiffs also seek the following injunctive relief: (1) an “opt in” rather

than “opt out” default for sharing personal content in all of Facebook’s user settings; (2)

disclosure of the purposes of which Plaintiffs’ personal content is used by Facebook, data

brokers, device makers, mobile carriers, software makers, security firms, App Developers,

advertisers and other third parties with whom Facebook has shared users’ content and

information without their consent; (3) destruction of all personal content obtained by Defendants

and all such third parties where such content is within Defendants’ control or possession; (4) a

complete audit and accounting of the uses of Plaintiffs’ content and information by App

Developers, device makers, and other Business Partners ; (5) a permanent injunction preventing


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such sharing of content and information with these third parties without Facebook users’

informed consent and affirmative authorization; and (6) a permanent ban on targeting Plaintiffs

with advertisements or marketing materials based on information from data brokers.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                            Zuckerberg, Bannon and Kogan)
                         On Behalf of All Plaintiffs and All Classes
        993. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

       994.    Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

       995.    The California Constitution expressly provides for a right to privacy: “All people

are by nature free and independent and have inalienable rights. Among these are enjoying and

defending life and liberty, acquiring, possessing, and protecting property, and pursuing and

obtaining safety, happiness, and privacy.” Cal. Const., art. I, § 1

       996.    Plaintiffs have shared private content and information, including personal

information, location information, posts, and Likes, with a non-public audience such as Friends

Only on Facebook or through Facebook Messenger and/or Facebook Chat. This information

included personal family photographs, personal family videos, as well as personal perspectives

regarding politics, religion, relationships, work, and family that Plaintiffs wanted to remain

private and non-public.

       997.    Plaintiffs reasonably expected that the content and information that they shared on

Facebook or through Facebook Messenger and/or Facebook Chat would be protected and

secured against access by unauthorized parties and would not be disclosed to or obtained by

unauthorized parties, or disclosed or obtained for any improper purpose.

       998.    Plaintiffs have a privacy interest in preventing the unauthorized disclosure and

misuse of their content and information and in conducting their personal activities without

intrusion or interference, including the right to not to have their content and information

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accessed, obtained, and misused by third parties, including Apps used by Facebook Friends of

Plaintiffs such as the This Is Your Digital Life App, Business Partners, Integration Partners /

Whitelisted Apps, and advertisers, either for the benefit of such parties, or at the expense of their

own interests.

       999.      Defendants intentionally violated the privacy interests of Plaintiffs by improperly

accessing and obtaining Plaintiffs’ content and information and using it for improper purposes,

including by targeting Plaintiffs with advertisements that would be highly offensive to a

reasonable person, constituting an egregious breach of social norms and/or enabling the targeting

of Plaintiffs with such advertisements, as detailed herein.

       1000. Facebook intentionally violated the privacy interests of Plaintiffs, by making

Plaintiffs’ content and information available to unauthorized parties, including but not limited to

Apps used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business

Partners, Integration Partners / Whitelisted Apps, and advertisers, by disclosing this information

to such unauthorized parties, and by failing to adequately protect and secure this information

against access by such unauthorized parties.

       1001. Defendants’ violations of Plaintiffs’ privacy interests were substantial, and would

be highly offensive to a reasonable person, constituting an egregious breach of social norms, as

is evidenced by the intense public outcry and numerous, international governmental

investigations in response to Defendants’ invasions of Plaintiffs’ privacy rights. Not only did

Defendants intrude upon and disclose a vast array of content and information regarding

Plaintiffs, they did so in contravention of Plaintiffs’ express designation of such content and

information as non-public.

       1002. Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted

material information concerning Plaintiffs’ ability to control access to their content and

information through privacy settings. In this regard, Facebook not only committed privacy


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violations, but also affirmatively misled Plaintiffs into believing that they could control who

accessed their content and information, that it would not give their personal content and

information to advertisers, and that Facebook would respect and safeguard their choices

regarding privacy. Facebook also omitted to tell Plaintiffs that they could not control who

accessed their content and information (with respect to Business Partners and Whitelisted Apps),

that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook

violated the privacy interests of Plaintiffs for its own commercial benefit—to increase its growth

and to attract and obtain advertising revenue.

        1003. In this regard, Facebook was aware that Plaintiffs were vulnerable to having their

content and information accessed, obtained, and misused, and Facebook intended for these

privacy violations to occur without Plaintiffs’ knowledge or consent. Had Plaintiffs known the

manner and extent to which Facebook allowed their content and information to be obtained and

misused by unauthorized parties, Plaintiffs would not have shared their content and information

on Facebook to the same extent they did, if at all.

        1004. Plaintiffs did not consent to Defendants’ violations of their privacy interests.

        1005. Plaintiffs suffered actual and concrete injury as a result of Defendants’ violations

of their privacy interests.

        1006. Plaintiffs and the Class seek appropriate relief for these injuries, including but not

limited to damages that will reasonably compensate Plaintiffs for the harm to their privacy

interests, risk of future invasions of privacy, and the mental and emotional distress caused by

Defendants’ invasions of privacy, as well as disgorgement of profits made by Defendants as a

result of their privacy violations.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                            Zuckerberg, Bannon and Kogan)
                          On Behalf of All Plaintiffs and Classes
         1007. Plaintiffs incorporate by reference all allegations of this complaint as though fully

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 set forth herein.

        1008. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1009. California common law prohibits the use of a person’s name or likeness for the

defendant’s advantage, commercial or otherwise, without first obtaining that person’s consent.

        1010. Facebook violated this section by using and publishing Plaintiffs’ names and

likenesses for its advantage by allowing third parties, including but not limited to Apps used by

Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business Partners,

Integration Partners / Whitelisted Apps, and advertisers, to access, obtain, and use Plaintiffs’

likenesses—including names, Likes, personal photographs, and personal videos—without first

obtaining their consent.

        1011. On information and belief, providing access to the likenesses of Plaintiffs was

integral to Facebook’s relationships with third parties, including but not limited to Apps used by

Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business Partners,

Integration Partners / Whitelisted Apps, and advertisers. Facebook’s appropriation and provision

of access to the likenesses of Plaintiffs was to Facebook’s advantage, resulting in growth and

advertising revenue that would not have resulted without Facebook’s provision of access to this

information. In this regard, the value of the services Facebook offered to App Developers was

derived in substantial part from the provision of such access. Facebook thus misappropriated,

gained a commercial advantage from, and capitalized on the economic value generated through

the provision of access to the likenesses of Plaintiffs.

        1012. For example, Facebook profited from advertising purchased by Cambridge

Analytica, after Facebook allowed Cambridge Analytica to obtain Plaintiffs’ personal

information through the This Is Your Digital Life App. Similarly, Facebook gained a commercial

advantage when it entered into contractual agreements with Business Partners and Whitelisted

Apps that allowed these partners and Apps to obtain users’ information, including their names


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and likenesses, and were not subject to users’ privacy settings. Facebook shared this information

with Business Partners and Whitelisted Apps in order to obtain growth and advertising revenues.

In this regard, granting Apps, Whitelisted Apps, and Business Partners access to Plaintiffs’

content and information enabled Facebook to promote and expand its platform, including across

devices, service providers, and other platforms. Such relationships resulted in an exponential rate

of growth and significant commercial benefit to Facebook, as evidenced by the drastic increase

in Facebook’s revenues as well as its average revenue per user over the Class Period.

           1013. Prior to using and providing access to Plaintiffs’ likenesses, Facebook never

obtained consent from Plaintiffs. In this regard, Facebook misrepresented and omitted material

information concerning Plaintiffs’ ability to control access to their content and information

through privacy settings. Facebook misrepresented and failed to inform Plaintiffs that they could

not control who accessed their content and information, that Facebook would allow advertisers to

access, obtain, de-anonymize, share their content and information, and use and misuse this

content and information for uses beyond the App, and that Facebook would not respect their

choices regarding privacy. Moreover, Facebook intruded upon the private affairs and concerns of

Plaintiffs for its own commercial benefit—to increase its growth and to attract and obtain

advertising revenue.

           1014. Plaintiffs did not receive any compensation in return for Facebook’s use of or

provision of access to their likenesses.

           1015. Plaintiffs were harmed by Facebook’s improper use of or provision of access to

their likenesses.

           1016. Plaintiffs seek actual damages suffered, plus any profits attributable to

Facebook’s use of or provision of access to their likenesses not calculated in actual damages.

Plaintiffs also seek punitive damages, costs, and reasonable attorney’s fees as allowed under this

statute.


                                    (Against Defendant Facebook)

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        1017. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1018. Under California law, there is in every contract or agreement an implied promise

of good faith and fair dealing. Such a duty is read into contracts and functions as a supplement to

the express contractual covenants, in order to prevent a transgressing party from engaging in

conduct which (while not technically transgressing the express covenants) frustrates the other

party’s rights to the benefit of the contract. Thus, any claim on the part of Facebook that

technically it was permitted to allow the collection and transmittal of Plaintiffs’ data, must be

read in the context of, and give way to, those users’ rights to the benefit of the contract, including

the terms strictly delimiting such activity.

        1019. Facebook entered into a Statement of Rights and Responsibilities with Plaintiffs.

        1020. A covenant of good faith and fair dealing attaches to Facebook’s Statement of

Rights and Responsibilities.

        1021. In its Statements of Rights and Responsibilities, Facebook promised Plaintiffs that

“We do not give your content or information to advertisers without your consent.”

        1022. Facebook also promised “[y]our privacy is very important to us,” and that

Plaintiffs could control their content and information because they “own all of the content and

information [they] post on Facebook, and [they] can control how it is shared through your

privacy and application settings.”

        1023. Plaintiffs did all they were required to do under these contractual provisions.

        1024. Under the terms of the Statement of Rights and Responsibilities, Plaintiffs were

entitled to receive the benefits promised to them by Facebook, including that Facebook would

protect the privacy of their user content and information, would not disclose user content and

information to third parties without the user’s consent, and would keep user content and

information secure.




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       1025. Facebook was uniquely able to control the rights of its users, including Plaintiffs,

concerning their privacy, ownership and control of their content and information, and whether

their content and information would be provided to advertisers, device makers, and/or third

parties without consent.

       1026. Facebook surreptitiously took measures to frustrate and undercut Plaintiffs’

contractual rights concerning their privacy, ownership and control over their content and

information, and whether their content and information would be provided to advertisers without

consent. By doing so, Facebook deprived Plaintiffs of the benefits under their contracts with

Facebook, including the Statements of Rights and Responsibilities.

       1027. Facebook allowed “whitelisted” Apps to access their content and information, and

that of their Friends, without regard to their privacy settings.

       1028. Facebook stripped privacy settings from photos and videos that had been

designated private, in violation of its own privacy policies.

       1029. Facebook entered into business relationships with App Developers, device

makers, big companies such as Amazon and Qualcomm, and other third parties that allowed

Plaintiffs’ content and information to be transmitted without the user’s consent.

       1030. By disclosing, publishing, and providing Facebook users’ content and information

to advertisers without informing Plaintiffs, Facebook breached the covenant of good faith and

fair dealing. Facebook allowed its users to be targeted by advertisements, including

psychographic marketing, without seeking consent of Plaintiffs, and did not allow Plaintiffs to

make informed decisions about sharing their content and information on Facebook’s platform.

This unfairly interfered with Plaintiffs’ rights under the Statement of Responsibilities to have

their user content and information kept secure and private and not disclosed to third parties

without the theirs consent.

       1031. Additionally, by failing to secure Plaintiffs’ content and information, and by

taking measures to ensure that Plaintiffs’ privacy settings and reasonable expectations of privacy


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were not recognized or honored, including by disclosing and publishing user content and

information through Facebook’s API streams sent to App Developers, device makers, and other

third parties, Facebook deprived Plaintiffs of the benefits of their agreements.

        1032. Plaintiffs were damaged by Facebook’s breaches of its duty of good faith and fair

dealing. Plaintiffs did not receive the benefit of the bargain for which they contracted. Plaintiffs

suffered invasions of privacy and were directly targeted by advertisers without their consent,

including by Cambridge Analytica. Plaintiffs content and information was released, disclosed,

published and, and they are at risk of identity theft. In this regard, Facebook failed to secure

Plaintiffs’ content and information and shifted the burden of doing so from Facebook to

Plaintiffs.


    (Against Prioritized Defendants Facebook and Doe Defendants and Non-Prioritized
                                 Defendant Zuckerberg)
                         On Behalf of All Plaintiffs and All Classes
        1033. Plaintiffs reallege and incorporate by reference all allegations of this complaint as

though fully set forth herein. This claim is pleaded in the alternative to the claims for breach of

contract.

        1034. Because no adequate legal remedy is available under any applicable contract,

Plaintiffs bring this count in quasi contract on behalf of themselves in order to pursue restitution

based on Facebook’s unjust enrichment, including by way of Defendants’ retention of profits that

should have been expended to protect the data of Plaintiffs per its published privacy agreements

and policies.

        1035. As alleged herein, Defendants have unjustly received and retained monetary

benefits from Plaintiffs—i.e., by way of its use of, and profiting from, their data under unjust

circumstances, such that inequity has resulted.

        1036. By engaging in the conduct described in this complaint, Defendants knowingly

obtained benefits from Plaintiffs as alleged herein under circumstances such that it would be

inequitable and unjust for Facebook to retain them.

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       1037. More specifically, by engaging in the acts and failures to act described in this

complaint, Defendants have been knowingly enriched by revenues they received from

“whitelisted” Apps in exchange for continued access to Plaintiffs’ content and information.

Facebook received revenues that were directly proportional to the number of users whose content

and information was obtained by “whitelisted” Apps. Facebook itself estimated that the value of

one App viewing one user’s profile was $0.10, and aimed to capture revenues from “whitelisted”

Apps that reflected the extent to which the “whitelisted” Apps accessed content and information.

       1038. Facebook failed to obtain consent from Plaintiffs for the use of their content and

information to “whitelisted” Apps, and other Business Partners. Indeed, Facebook falsely

informed Plaintiffs and class members that they could control access to content and information

through their privacy settings.

       1039. Also, Facebook has been enriched unjustly by the use of Plaintiffs’ content and

information, and has profited greatly as a result, even though it did not protect this data as it had

promised. Indeed, Defendants’ failure to protect this content and information fueled Defendants’

enrichment. Encouraging Plaintiffs to share their content and information allowed Defendants to

collect more such information and aggregate it, to target them more precisely.

       1040. By engaging in the conduct described in this complaint, Defendants have

knowingly obtained benefits from or by way of Plaintiffs, including by way of the use of their

personal information in the course of its business, including their lucrative data broker business,

under circumstances such that it would be inequitable and unjust for it to retain them.

       1041. Thus, Defendants will be unjustly enriched if it is permitted to retain the benefits

derived from the unauthorized and impermissible gathering and sharing of Plaintiffs data.

       1042. Plaintiffs are therefore entitled to a restitutionary award in an amount to be

determined at trial, or the imposition of a constructive trust upon the monies derived by

Facebook by means of the above-described actions, or both as the circumstances may merit to

provide complete relief to Plaintiffs, whether the sums of monies are those: (a) the proportional


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revenues that Facebook generated by providing access to Plaintiffs’ content and information

from “whitelisted” Apps; or (b) the money it has collected from advertisers and others that

corresponds to the user data that is the subject of this lawsuit; or (c) other sums as it may be just

and equitable to return to them.

B.       Priority Consumer Protection Act Claims Alleged in the Alternative



                             (Against Facebook) (In the Alternative)
         1043. Plaintiff Tonya Smith individually and on behalf of the Alabama Subclass,

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

         1044. Facebook is a “person” as defined by Ala. Code § 8-19-3(5).

         1045. Facebook’s products and services are “goods” and “services” as defined by Ala.

Code § 8-19-3(3), (7).

         1046. Facebook advertised, offered, or sold goods or services in Alabama and engaged

in trade or commerce directly or indirectly affecting the people of Alabama as defined by Ala.

Code § 8-19-3(8).

         1047. The Alabama Deceptive Trade Practices Act, Ala. Code §§ 8-19-1 et seq.,

prohibits unfair, deceptive, false, and unconscionable trade practices.

         1048. Facebook engaged in unconscionable, false, misleading or deceptive practices in

connection with its business, commerce and trade practices in violation of Ala. Code § 8-19-

5(27).

         1049. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers.

         1050. Facebook intended Plaintiffs to rely on its misrepresentations, omissions, and

other unlawful conduct.

         1051. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material


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information about the nature of the privacy of user data, users’ ability to control how their data

was used, and access of user data to third parties, and was otherwise engaged in deceptive,

common business practices, Facebook would have been unable to continue in business and it

would have been forced to disclose the defects in its privacy protection. Instead, Facebook

represented that its services were protecting user privacy and that users could control the use of

the private data. Plaintiffs acted reasonably in relying on Facebook’s misrepresentations and

omissions, the truth of which they could not have discovered.

       1052. Facebook acted intentionally, knowingly, and maliciously to violate Alabama’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiffs’ rights.

       1053. As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of

money or property, and monetary and non-monetary damages.

       1054. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’ business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1055. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1056. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the


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exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

         1057. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

         1058. Written demand for relief has been provided as required under Ala. Code § 8-19-

10(e).

         1059. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of (a) actual damages or (b) statutory damages of $100; treble damages; injunctive relief;

attorneys’ fees, costs, and any other relief that is just and proper.



                 (Against Prioritized Defendant Facebook) (In the Alternative)
         1060. Plaintiff Shelly Forman, individually and on behalf of the Colorado Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

         1061. Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-102(6).

         1062. Facebook provides goods and/or services.

         1063. Plaintiffs, as well as the general public, are actual or potential consumers of the

services offered by Facebook to actual consumers.

         1064. Facebook engaged in deceptive trade practices in the course of its business, in

violation of Colo. Rev. Stat. Ann. § 6-1-105(1)(u) by failing to disclose material information

concerning its services, including its improper use and lack of protection for private user data,

which was known at the time of an advertisement or sale and the failure to disclosure this

information was intended to induce Plaintiffs to use Facebook’s services.

         1065. Facebook also engaged in deceptive trade practices in the course of its business,


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in violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging unfair trade practices actionable

at common law or under other statutes of Colorado.

        1066. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

        1067. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions.

        1068. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data

was used, and access of user data to third parties, and was otherwise engaged in deceptive,

common business practices, Facebook would have been unable to continue in business and it

would have been forced to disclose the defects in its privacy protection. Instead, Facebook

represented that its services were protecting user privacy and that users could control the use of

the private data. Plaintiffs acted reasonably in relying on Facebook’s misrepresentations and

omissions, the truth of which they could not have discovered.

        1069. Facebook acted fraudulently, willfully, knowingly, or intentionally to violate

Colorado’s Consumer Protection Act, and with recklessly disregarded Plaintiffs’ rights.

        1070. As a direct and proximate result of Facebook’s deceptive trade practices,

Plaintiffs suffered injuries to their legally protected interests.

        1071. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

        1072. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows


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personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1073. Facebook invaded Plaintiffs privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs personal content. Facebook invaded Plaintiffs privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1074. Plaintiffs personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1075. Facebook’s deceptive trade practices significantly impact the public, because

Facebook’s user platform is used throughout the world, with hundreds of thousands of users who

are Colorado residents and consumers.

       1076. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of: (a) actual damages, or (b) $500, or (c) three times actual damages (for Facebook’s bad

faith conduct); injunctive relief; and reasonable attorneys’ fees and costs.




                (Against Prioritized Defendant Facebook) (In the Alternative)
       1077. Plaintiffs Brendan Carr, John Doe, and Kimberly Robertson, individually and on

behalf of the Illinois Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference

all allegations of this complaint as though fully set forth herein.

       1078. Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(c).

       1079. Plaintiffs are “consumer[s]” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(e).

       1080. Facebook’s conduct as described herein was in the conduct of “trade” or

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“commerce” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(f).

          1081. Facebook’s deceptive, unfair, and unlawful trade acts or practices, in violation of

815 Ill. Comp. Stat. Ann. § 505/2.

          1082. Facebook’s representations and omissions concerning the use of and privacy of

user data were material because they were likely to deceive reasonable consumers to believe

their user data could be and was kept private.

          1083. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions. Plaintiffs and the Illinois Subclass reasonably relied on

Facebook’s representations about the security of their private data.

          1084. The above unfair and deceptive practices and acts by Facebook were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury that these

consumers could not reasonably avoid; this substantial injury outweighed any benefit to

consumers or to competition.

          1085. Facebook acted intentionally, knowingly, and maliciously to violate Illinois’s

Consumer Fraud and Deceptive Business Practices Act, and recklessly disregarded Plaintiffs’

rights.

          1086. As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of

money or property, and monetary and non-monetary damages, including from not receiving the

benefit of their bargain in using Facebook’s services.

          1087. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

          1088. Plaintiffs are at increased risk of identity theft due to Facebook’s practices


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concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

         1089. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

         1090. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

         1091. Plaintiffs seek all monetary and non-monetary relief allowed by law, including

damages, restitution, punitive damages, injunctive relief, and reasonable attorneys’ fees and

costs.



                 (Against Prioritized Defendant Facebook) (In the Alternative)
         1092. Plaintiff Mitchell Staggs, individually and on behalf of the Iowa Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

         1093. Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7).

         1094. Plaintiffs are “consumer[s]” as defined by Iowa Code § 714H.2(3).

         1095. Facebook’s conduct described herein related to or was in connection with the

“sale” or “advertisement” of “merchandise” as defined by Iowa Code Ann. § 714H.2(2), (6), (8).


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       1096. Facebook engaged in unfair, deceptive, and unconscionable trade practices, in

violation of the Iowa Private Right of Action for Consumer Frauds Act, as described throughout

and herein.

       1097. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       1098. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions.

       1099. Facebook acted intentionally, knowingly, and maliciously to violate Iowa’s

Private Right of Action for Consumer Frauds Act, and recklessly disregarded Plaintiffs’ rights.

       1100. As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of

money or property, and monetary and non-monetary damages, including from not receiving the

benefit of their bargain in using Facebook’s services.

       1101. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1102. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1103. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were


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obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1104. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1105. Plaintiff has provided notice to the Iowa Attorney General and has received the

Attorney General’s approval pursuant to Iowa Code Ann. § 714H.7.

       1106. Plaintiffs seek all monetary and non-monetary relief allowed by law, including

injunctive relief, damages, punitive damages, and reasonable attorneys’ fees and costs.



                (Against Prioritized Defendant Facebook) (In the Alternative)
       1107. Plaintiff Dustin Short, individually and on behalf of the Kansas Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1108. Kan. Stat. Ann. §§ 50-623 et seq. is to be liberally construed to protect consumers

from suppliers who commit deceptive and unconscionable practices.

       1109. Plaintiffs are “consumer[s]” as defined by Kan. Stat. Ann. § 50-624(b).

       1110. The acts and practices described herein are “consumer transaction[s],” as defined

by Kan. Stat. Ann. § 50-624(c).

       1111. Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l).

       1112. Facebook advertised, offered, or sold goods or services in Kansas and engaged in

trade or commerce directly or indirectly affecting the people of Kansas.

       1113. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.


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       1114. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions.

       1115. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data

was used, and access of user data to third parties, and was otherwise engaged in deceptive,

common business practices, Facebook would have been unable to continue in business and it

would have been forced to disclose the defects in its privacy protection. Instead, Facebook

represented that its services were protecting user privacy and that users could control the use of

the private data. Plaintiffs acted reasonably in relying on Facebook’s misrepresentations and

omissions, the truth of which they could not have discovered.

       1116. Facebook also engaged in unconscionable acts and practices in connection with a

consumer transaction, in violation of Kan. Stat. Ann. § 50-627, including: knowingly taking

advantage of the inability of Plaintiffs to reasonably protect their privacy interests, due to their

lack of knowledge (see id. § 50-627(b)(1)); and requiring Plaintiffs to enter into a consumer

transaction on terms that Facebook knew were substantially one-sided in favor of Facebook

particularly as concerned users’ private data (see id. § 50-627(b)(5)).

       1117. Plaintiffs had unequal bargaining power with respect to their use of Facebook’s

services because of Facebook’s omissions and misrepresentations.

       1118. The above unfair, deceptive, and unconscionable practices and acts by Facebook

were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

Plaintiffs that they could not reasonably avoid; this substantial injury outweighed any benefits to

consumers or to competition.

       1119. Facebook acted intentionally, knowingly, and maliciously to violate Kansas’s

Consumer Protection Act, and recklessly disregarded Plaintiffs’ rights.

       1120. As a direct and proximate result of Facebook’s unfair, deceptive, and

unconscionable trade practices, Plaintiffs have suffered and will continue to suffer injury,


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ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in using Facebook’s services.

       1121. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1122. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1123. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1124. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1125. Plaintiffs seek all monetary and non-monetary relief allowed by law, including

civil penalties or actual damages (whichever is greater), under Kan. Stat. Ann. §§ 50-634, 50-

636; injunctive relief; and reasonable attorneys’ fees and costs.




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                 (Against Prioritized Defendant Facebook) (In the Alternative)
       1126. Plaintiff Barbara Vance-Guerbe, individually and on behalf of the Michigan

Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1127. Facebook and Plaintiffs are “person[s]” as defined by Mich. Comp. Laws Ann. §

445.902(1)(d).

       1128. Facebook advertised, offered, or sold goods or services in Michigan and engaged

in trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.
Comp. Laws Ann. § 445.902(1)(g).

       1129. Facebook engaged in unfair, unconscionable, and deceptive practices in the

conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

                 a.    “Making a representation of fact or statement of fact material to the

                       transaction such that a person reasonably believes the represented or

                       suggested state of affairs to be other than it actually is.” Id. §

                       445.903(1)(bb); and

                 b.    “Failing to reveal facts that are material to the transaction in light of

                       representations of fact made in a positive manner.” Id. § 445.903(1)(cc).

       1130. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       1131. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions.

       1132. Facebook acted intentionally, knowingly, and maliciously to violate Michigan’s

Consumer Protection Act, and recklessly disregarded Plaintiffs’ rights.

       1133. As a direct and proximate result of Facebook’s unfair, deceptive, and

unconscionable trade practices, Plaintiffs have suffered and will continue to suffer injury,



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ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in using Facebook’s services.

       1134. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1135. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1136. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1137. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1138. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of actual damages or $250, injunctive relief, and any other relief that is just and proper.



                (Against Prioritized Defendant Facebook) (In the Alternative)


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       1139. Plaintiff William Lloyd, individually and on behalf of the New York Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1140. Facebook engaged in deceptive acts or practices in the conduct of its business,

trade, and commerce or furnishing of goods or services, in violation of N.Y. Gen. Bus. Law

§ 349, as described herein.

       1141. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       1142. Facebook acted intentionally, knowingly, and maliciously to violate New York’s

General Business Law, and recklessly disregarded Plaintiffs’ rights.

       1143. As a direct and proximate result of Facebook’s unfair, deceptive, and

unconscionable trade practices, Plaintiffs have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in using Facebook’s services and keeping their

data private.

       1144. Facebook’s deceptive and unlawful acts and practices complained of herein

affected the public interest and consumers at large, including the millions of New Yorkers who

use Facebook’s services.

       1145. The above deceptive and unlawful practices and acts by Facebook caused

substantial injury to Plaintiffs that they could not reasonably avoid.

       1146. As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of

money or property, and monetary and non-monetary damages, including from not receiving the

benefit of their bargain in using Facebook’s services.

       1147. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their


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personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1148. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1149. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1150. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1151. Plaintiffs seek all monetary and non-monetary relief allowed by law, including

actual damages or statutory damages of $50 (whichever is greater), treble damages, injunctive

relief, and attorney’s fees and costs.



                (Against Prioritized Defendant Facebook) (In the Alternative)
       1152. Plaintiffs Terry Fischer and Taunna Lee Johnson, individually and on behalf of

the Washington Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference all

allegations of this complaint as though fully set forth herein.


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       1153. Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. § 19.86.010(1).

       1154. Facebook advertised, offered, or sold goods or services in Washington and

engaged in trade or commerce directly or indirectly affecting the people of Washington, as

defined by Wash. Rev. Code Ann. § 19.86.010(2).

       1155. Facebook engaged in unfair or deceptive acts or practices in the conduct of trade

or commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, as described herein.

       1156. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       1157. Facebook acted intentionally, knowingly, and maliciously to violate Washington’s

Consumer Protection Act, and recklessly disregarded Plaintiffs’ rights. Facebook’s knowledge of

the improper protection and use of private user data, and release of private user data, put it on

notice that the services were not as it advertised.

       1158. Facebook’s conduct is injurious to the public interest because it violates Wash.

Rev. Code Ann. § 19.86.020, violates a statute that contains a specific legislation declaration of

public interest impact, and/or injured persons and had and has the capacity to injure persons.

Further, its conduct affected the public interest, including the at least hundreds of thousands of

Washingtonians affected by Facebook’s deceptive business practices.

       1159. As a direct and proximate result of Facebook’s unfair methods of competition and

unfair or deceptive acts or practices, Plaintiffs have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in using Facebook’s services.

       1160. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.


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       1161. Plaintiffs are at increased risk of identity theft due to Facebook’s practices

concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

       1162. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       1163. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

       1164. Plaintiffs seek all monetary and non-monetary relief allowed by law, including

actual damages, treble damages, injunctive relief, civil penalties, and attorneys’ fees and costs.


                (Against Prioritized Defendant Facebook) (In the Alternative)
                            W. Va. Code ann. §§ 46A-6-101 et seq.
       1165. On behalf of the West Virginia Subclass (“Plaintiffs,” for purposes of this Claim),

incorporate by reference all allegations of this complaint as though fully set forth herein.

       1166. Plaintiffs are “[c]onsumer[s],” as defined by W. Va. Code Ann. § 46A-6-102(2).

       1167. Facebook engaged in “consumer transaction[s],” as defined by W. Va. Code Ann.

§ 46A-6-102(2).

       1168. Facebook advertised, offered, or sold goods or services in West Virginia and

engaged in trade or commerce directly or indirectly affecting the people of West Virginia, as


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defined by W. Va. Code Ann. § 46A-6-102(6).

          1169. Facebook has been on notice concerning its wrongful conduct as alleged herein by

Plaintiffs. However, sending pre-suit notice pursuant to W. Va. Code § 46A-6-106(c) is an

exercise in futility for Plaintiff, because, despite being on knowledge of the deceptive acts and

practices complained of herein in this lawsuit as of the date of the first-filed lawsuit in March

2018, Facebook has not cured its unfair and deceptive acts and practices.

          1170. Facebook engaged in unfair and deceptive business acts and practices in the

conduct of trade or commerce, in violation of W. Va. Code Ann. § 46A-6-104, as described

herein.

          1171. Facebook’s unfair and deceptive acts and practices also violated W. Va. Code

Ann. § 46A-6-102(7), including:

                 a.     “Engaging in any other conduct which similarly creates a likelihood of

                        confusion or of misunderstanding.” Id. § 46A-6-102(7)(L); and

                 b.     “The act, use or employment by any person of any deception, fraud, false

                        pretense, false promise or misrepresentation, or the concealment,

                        suppression or omission of any material fact with intent that others rely

                        upon such concealment, suppression or omission, in connection with the

                        sale or advertisement of any goods or services, whether or not any person

                        has in fact been misled, deceived or damaged thereby.” Id. § 46A-6-

                        102(7)(M).

          1172. Facebook’s unfair and deceptive acts and practices were unreasonable when

weighed against the need to develop or preserve business, and were injurious to the public

interest, under W. Va. Code Ann. § 46A-6-101.

          1173. Facebook’s acts and practices were additionally “[u]nfair” under W. Va. Code

Ann. § 46A-6-104 because they caused or were likely to cause substantial injury to consumers

which was not reasonably avoidable by consumers themselves and not outweighed by


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countervailing benefits to consumers or to competition.

       1174. The injury to consumers from Facebook’s conduct was and is substantial because

it was non-trivial and non-speculative; and involved an ascertainable injury. The injury to

consumers was substantial not only because it inflicted harm on a significant and unprecedented

number of consumers, but also because it inflicted a significant amount of harm on each

consumer.

       1175. Consumers could not have reasonably avoided injury because Facebook’s

business acts and practices unreasonably created or took advantage of an obstacle to the free

exercise of consumer decision-making. By withholding important information from consumers,

Facebook created an asymmetry of information between it and consumers that precluded

consumers from taking action to avoid or mitigate injury.

       1176. Facebook’s business practices had no countervailing benefit to consumers or to

competition.

       1177. Facebook’s acts and practices were additionally “deceptive” under W. Va. Code

Ann. § 46A-6-104 because Facebook made representations or omissions of material facts that

misled or were likely to mislead reasonable consumers, including Plaintiffs.

       1178. Facebook intended to mislead Plaintiffs and induce them to rely on its

misrepresentations and omissions.

       1179. Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       1180. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data

was used, and access of user data to third parties, and was otherwise engaged in deceptive,

common business practices, Facebook would have been unable to continue in business and it

would have been forced to disclose the defects in its privacy protection. Instead, Facebook

represented that its services were protecting user privacy and that users could control the use of


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the private data. Plaintiffs acted reasonably in relying on Facebook’s misrepresentations and

omissions, the truth of which they could not have discovered.

       1181. Facebook had a duty to disclose the above-described facts due to the

circumstances of this case. Facebook’s duty to disclose arose from its:

               a.      Possession of exclusive knowledge regarding the defects in its services;

               b.      Possession of exclusive knowledge regarding its services and inadequate

                       protection and abuse of user data;

               c.      Active concealment of the defects in its services and protection and abuse

                       of user data; and

               d.      Incomplete representations about its services and protection and abuse of

                       user data.

       1182. Facebook’s omissions were legally presumed to be equivalent to active

misrepresentations because Facebook intentionally prevented Plaintiffs from discovering the

truth regarding Facebook’s use, sale, disclosure and abuse of private user data.

       1183. Facebook acted intentionally, knowingly, and maliciously to violate West

Virginia’s Consumer Credit and Protection Act, and recklessly disregarded Plaintiffs’ rights.

       1184. As a direct and proximate result of Facebook’ unfair and deceptive acts or

practices and Plaintiffs’ purchase of goods or services, Plaintiffs have suffered and will continue

to suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from not receiving the benefit of their bargain in using Facebook’s services.

       1185. Plaintiffs have suffered injuries in fact and lost money or property due to

Defendant’s business acts or practices. Plaintiffs’ personal content has tangible value. Their

personal content is in the possession of third parties who have used and will use it for their own

advantage, including financial advantage, or was and is being sold for value, making it clear that

the personal content has tangible value.

       1186. Plaintiffs are at increased risk of identity theft due to Facebook’s practices


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concerning sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity

theft, medical fraud, and other harms. The personal content shared with third parties allows

personal content to be aggregated with other data to identify and target Plaintiffs. It is reasonable

for Plaintiffs to obtain identity protection or credit monitoring services in light of the foregoing.

Plaintiffs seek to recover the cost of these services from Facebook.

        1187. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the

nature of the App Developers’ business, or the purposes for which App Developers were

obtaining their personal content. Facebook did not disclose the nature or the extent of the

exploitation of Plaintiffs’ personal content. Facebook invaded Plaintiffs’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

        1188. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

        1189. Facebook’s violations present a continuing risk to Plaintiffs as well as to the

general public.

        1190. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of actual damages or $200 per violation under W. Va. Code Ann. § 46A-6-106(a),

restitution, injunctive and other equitable relief, punitive damages, and reasonable attorneys’ fees

and costs.

C.      Non-Prioritized Claims


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
              Kogan, Bannon, SCL Group, and GSR as “Co-Conspirators”)
        1191. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.




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       1192. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”).

       1193. Plaintiffs assert violations of 18 U.S.C. § 1962(C).

       1194. Upon information and belief, the Defendants associated with GSR, Cambridge-

Analytica-related-entities and other unnamed Co-Conspirator related entities, for the purpose of

utilizing illicitly obtained content and information (for purposes of this claim, “User

Information”) for the targeting of digital political propaganda (the “Digital Political Propaganda

Enterprise”). The Defendants therefore constitute a RICO enterprise pursuant to 18 U.S.C. §

1961(4). In the alternative, these individuals and entities constitute an enterprise because they

associated together for the common purpose of utilizing illicitly obtained personally identifiable

information for the targeting of digital political propaganda.

       1195. Upon information and belief, the Digital Political Propaganda Enterprise is an

enterprise engaged in, and whose activities affect, interstate commerce. This enterprise has been

in operation since at least 2014.

       1196. The association-in-fact Digital Political Propaganda Enterprise consisted of the

following structure: the Co-Conspirator Defendants—Aleksandr Kogan and Stephen K.

Bannon—along with Non-Defendant Co-Conspirators Cambridge Analytica and other related

entities, and yet unknown third parties involved in data mining and data analysis, operated an

association-in-fact enterprise, which was formed for the purpose of utilizing illicitly obtained

User Information for the targeting of digital political propaganda. Each of the Co-Conspirator

Defendants was employed by or associated with, and conducted or participated in the affairs of

the Digital Political Propaganda Enterprise:

               A.      Aleksandr Kogan participated in, operated and/or directed the Digital

       Political Propaganda Enterprise by, among other things: (i) creating a U.K. company

       called Global Science Research, Ltd. (“GSR”) which was part of a scheme to dupe users

       into providing their User Information, which was part of the broader scheme of illegally


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       harvesting of data; (ii) through GSR, creating a Facebook App called

       “ThisIsYourDigitalLife” (“YDL”) which consisted of a personality quiz; (iii) utilizing

       Amazon Mechanical Turk’s (“MTurk”) program to recruit participants (known as

       “Turkers”) to complete the personality quiz; and (iv) utilizing the data gathered through

       the quiz to improperly harvest the data of millions of Facebook subscribers;

               B.      Stephen K. Bannon participated in, operated and/or directed the Digital

       Political Propaganda Enterprise by, among other things: (i) founded Cambridge

       Analytica; (ii) obtained funding for the efforts of Cambridge Analytica; (iii) acted as a

       Vice-President of Cambridge Analytica and (iv) oversaw the efforts of Cambridge

       Analytica to collect troves of Facebook data.

       1197. The actions of the Co-Conspirator Defendants were undertaken with fraud,

malice, or oppression, or with a willful and conscious disregard of the rights or safety of

Plaintiffs and class members. As such, Plaintiffs and each of the Class members are entitled to an

award of exemplary and punitive damages against each of the Co-Conspirator Defendants in an

amount according to proof at trial.

       1198. The Co-Conspirator Defendants worked together to accomplish their scheme or

common course of conduct. This enterprise has been in operation since at least 2014.

       1199. The racketeering activity committed by each of the members of the Digital

Political Propaganda Enterprise affected interstate commerce.

       1200. On information and belief, the Co-Conspirator Defendants agreed to and did

conduct and participate, directly and indirectly, in the conduct of the Digital Political Propaganda

Enterprise’s affairs in a pattern of racketeering activity targeted at intentionally defrauding

Facebook users including, without limitation, via nominal payments and numerous intentionally

false representations averred herein with the specific intent of inducing Facebook users to

unwittingly share other users’ private User Information.

       1201. Pursuant to and in furtherance of their corrupt scheme, the Co-Conspirator


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Defendants did in fact induce Facebook users to share other Facebook users’ User Information

via hundreds of thousands of separate electronic monetary transfers.

       1202. The Co-Conspirator Defendants willfully and knowingly devised a scheme with

artifice to defraud Facebook users and to obtain, sell, and use personal User Information by false

pretenses and representations, including, but not limited to, the representation that the data would

only be used for academic purposes.

       1203. The payments made or directed by the Co-Conspirator Defendants or any other

entity to obtain Facebook data compromised in the Your Digital Life scandal were in furtherance

of the fraudulent scheme. On information and belief, those payments were made by wire transfer

or other electronic means through interstate or foreign commerce.

       1204. The payments made from any of the Co-Conspirator Defendants or directed by

any Co-Conspirator to takers of the Your Digital Life quiz were in furtherance of the fraudulent

scheme. On information and belief, those payments were made by wire transfer or other

electronic means through interstate or foreign commerce.

       1205. The acts of wire fraud averred herein constitute a pattern of racketeering activity

pursuant to 18 U.S.C. § 1961(5).

       1206. The Co-Conspirator Defendants have directly and indirectly participated in the

conduct of the Conspiracy’s affairs through the pattern of racketeering and activity alleged

herein, in violation of 18 U.S.C. § 1962(c). Facebook aided and abetted the Co-Conspirator

Defendants by misleading its users to believe that their data was safe, while permitting third-

party Apps like GSR’s to access and use the data of non-consenting users without their

permission and knowledge, and the other Co-Conspirator Defendants directly participated in the

conspiracy by misleading quiz-takers that they were allowing Co-Conspirator Defendants’ access

to only their personal data for academic purposes, when in fact they were allowing access to their

Friends’ data, and by fraudulently obtaining the data, selling it in interstate and foreign

commerce, and using it to influence elections.


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          1207. Plaintiffs and Class members were harmed by the Co-Conspirator Defendants’

conduct because the private information they did not intend to become public or disclose to third

parties was acquired by companies who intended to and did use it illicitly for manipulating

elections and other as yet unknown purposes. Furthermore, the security breach put Plaintiffs and

Class members in imminent and real danger of having their identities stolen by anyone willing to

pay these unscrupulous companies for the data. In addition, Plaintiffs and class members spent

time and money securing their personal information and protecting their identities, by, for

instance, purchasing identity theft protection.

          1208. As a direct and proximate result of the Co-Conspirator Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), Plaintiffs and the Class have been injured.

          1209. Plaintiffs demand judgment in their favor and against the Co-Conspirator

Defendants jointly and severally for compensatory, treble, and punitive damages with interest,

the costs of suit and attorneys’ fees, and other and further relief as this Court deems just and

proper.




          1210. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

          1211. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

          1212. Defendants’ actions constitute misappropriation.

          1213. Defendants used Plaintiffs’ content and information in violation of Facebook’s

promises to protect their privacy.

          1214. Plaintiffs and Class members did not consent to this use.

          1215. Defendants’ gained a commercial benefit by using Plaintiffs’ valuable personal

and private information when Defendant misappropriated, used, and/or sold for profit Plaintiffs’

content and information.

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        1216. Plaintiffs were harmed.

        1217. Defendants’ conduct was a substantial factor in causing Plaintiffs’ and Class

members’ harm.

        1218. Accordingly, Plaintiffs are entitled to relief.


                           (Against Prioritized Defendant Facebook)
        1219. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1220. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1221. Plaintiffs are entitled to a measure of damages for common law fraud under the

California Civil Code for the fraud described herein.

        1222. Defendant Facebook stored the personal information of Plaintiffs in its electronic

and consumer information databases. Defendant falsely and knowingly represented to Plaintiffs

that their personal information would remain private, and that they could control who viewed

their content and information through their privacy settings.

        1223. Defendant Facebook’s statements that it would maintain the privacy of Plaintiffs’

content and information was false because Defendant knowingly and intentionally provided

content and information to Business Partners and whitelisted Apps, even after representing to

Plaintiffs that their privacy settings could be used to control access to their content and

information.

        1224. Plaintiffs suffered injury in fact and lost money or property as the proximate

result of Defendant’s fraudulent misrepresentation. In particular, the personal information of

Plaintiffs and Class members was taken and is in the hands of those who will and did use it for

their own advantage, or was and is being sold for value, making it clear that the stolen

information has tangible value.

        1225. Plaintiffs justifiably relied on the representations Defendant Facebook made in its

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publicly available privacy policy and elsewhere that it would not “share information we receive

about you with others unless we have: received your permission [and] given you notice.”

        1226. As described with specificity above, Defendant knew the falsity of its

representations, and they were made with the intent to deceive Plaintiffs into supplying Facebook

with private confidential personal information. Facebook’s representations regarding the

maintenance of user confidentiality and privacy were material to Plaintiffs’ decision to provide

Facebook with the personal information Facebook subsequently disclosed to Cambridge

Analytica. Plaintiffs justifiably relied upon the representations of Defendant.

        1227. Plaintiffs suffered harm as a proximate result of Defendant’s fraudulent acts.

        1228. As a result of Defendant’s fraudulent misrepresentations, Plaintiffs are entitled to

general damages, special damages in an amount according to proof, punitive damages,

reasonable attorneys’ fees and costs, and any other relief that the Court deems proper or available

for common law fraud, and injunctive relief.


                           (Against Prioritized Defendant Facebook)
        1229. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1230. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1231. As alleged herein, Defendant Facebook, through its agent and Chief Executive

Officer, Mark Zuckerberg, repeatedly assured Plaintiffs that their content and information could

be controlled by Plaintiffs through their privacy settings, and that Facebook never provided

content and information to advertisers.

        1232. At the time Defendant Facebook made these representations, Defendant knew or

should have known that these representations were false or made them without knowledge of

their truth or veracity.

        1233. At minimum, Defendant Facebook negligently misrepresented and/or negligently

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omitted material facts concerning its commitment to privacy and the safety of user data.

       1234. The negligent misrepresentations and omissions made by Defendant, upon which

Plaintiffs reasonably and justifiably relied, were intended to induce reliance.


                           (Against Prioritized Defendant Facebook)
       1235. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

       1236. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”).

       1237. Defendant Facebook has repeatedly represented that Plaintiffs “own all of the

content and information [they] post on Facebook” and could “control” access to their content and

information through their “privacy settings.”

       1238. Defendant Facebook, intentionally and without consent, or exceeding any consent

previously obtained from users, provided Plaintiffs’ content and information to Business

Partners, including device makers, and whitelisted Apps.

       1239. Defendant Facebook’s intentional and unauthorized, or exceeding any

authorization previously obtained, sharing of Plaintiffs’ property, including their content and

information, interfered with Plaintiffs’ and Class members’ possessory interests in that property.

       1240. Defendant Facebook’s conduct caused Plaintiffs damage when Plaintiffs’ content

and information was provided to Business Partners, including device makers, and whitelisted

Apps. Facebook unjustly profited from the sharing of Plaintiffs’ content and information, which

deprived Plaintiffs of any income or other form of compensation Facebook generated through its

unauthorized (or exceeding any authorization previously obtained) data-sharing partnerships.


  (Against Prioritized Defendant Facebook and Non-Prioritized Defendants Zuckerberg,
                                  Bannon and Kogan)
       1241. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

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       1242. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

       1243. Plaintiffs were the owners and possessors of their content and information. As the

result of Defendants’ wrongful conduct, Defendants have interfered with the Plaintiffs’ rights to

possess and control their content and information, to which they had a superior right of

possession and control at the time of conversion.

       1244. As a direct and proximate result of Defendants’ conduct, Plaintiffs suffered

injury, damage, loss or harm and therefore seek compensatory damages.

       1245. In converting Plaintiffs’ private information, Defendants have acted with malice,

oppression, and in conscious disregard of the Plaintiffs’ and Class members’ rights. Plaintiffs,

therefore, seek an award of punitive damages on behalf of the class.


                           (Against Prioritized Defendant Facebook)
       1246. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

       1247. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

       1248. “[T]o ensure that personal information about California residents is protected,”

the California Legislature enacted California Customer Records Act. This statute states that any

business that “owns or licenses personal information about a California resident shall implement

and maintain reasonable security procedures and practices appropriate to the nature of the

information, to protect the personal information from unauthorized access, destruction, use,

modification, or disclosure.” Civil Code § 1798.81.5.

       1249. Facebook is a “business” within the meaning of Civil Code § 1798.80(a).

       1250. Plaintiffs are “individual[s]” within the meaning of the Civil Code § 1798.80(d).

Pursuant to Civil Code § 1798.80(e), the user information is “personal information,” which

includes, but is not limited to, an individual’s name, physical characteristics or description,

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address, telephone number, education, employment, employment history, and medical

information.

        1251. The breach of the personal user information of tens of millions of Facebook

customers constituted a “breach of the security system” of Facebook pursuant to Civil Code §

1798.82(g).

        1252. By failing to implement reasonable measures to protect its customers’ personal

information, Facebook violated Civil Code § 1798.81.5.

        1253. In addition, by failing to promptly notify all affected users that their personal

information had been acquired (or was reasonably believed to have been acquired) by

unauthorized persons, including by the Co-Conspirator Cambridge Analytica and Co-Conspirator

Defendants, Facebook violated Civil Code § 1798.82. Facebook’s failure to timely and

adequately notify users of the breach leaves Plaintiffs vulnerable to continued misuse of their

personal information and prevents Class members from taking adequate steps to protect their

identities.

        1254. By violating Civil Code §§ 1798.81.5 and 1798.82, Facebook “may be enjoined”

pursuant to Civil Code § 1798.84(e).

        1255. Plaintiffs further request that the Court require Facebook to (1) identify and notify

all members of the Class who have not yet been informed of the breach; and (2) notify affected

former and current users and employees of any future data breaches by email within 24 hours of

Facebook’s discovery of a breach or possible breach and by mail within 72 hours.

        1256. As a result of Facebook’s violation of Civil Code §§ 1798.81.5 and 1798.82,

Plaintiffs have and will incur economic damages relating to time and money spent remedying the

breach, including, but not limited to, monitoring their online presence to ensure that their identity

has not been stolen or coopted for an illicit purpose, any unauthorized charges made on financial

accounts, lack of access to funds while banks issue new cards, tax fraud, as well as the costs of

credit monitoring and purchasing credit reports.


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        1257. Plaintiffs seek all remedies available under Civil Code § 1798.84, including, but

not limited to: (a) damages suffered by members of the Class; and (b) equitable relief.

        1258. Plaintiffs also seek reasonable attorneys’ fees and costs under applicable law

including California Code of Civil Procedure § 1021.5 and Federal Rule of Civil Procedure 23.


                           (Against Prioritized Defendant Facebook)
        1259. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1260. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1261. Plaintiffs allege against all Defendants violations of the California Invasion of

Privacy Act (“CIPA”), specifically California Penal Code § 637.7, for the unlawful acquisition of

Plaintiffs’ and Class members’ user information without their consent.

        1262. California Penal Code § 630 provides that “The Legislature hereby declares that

advances in science and technology have led to the development of new devices and techniques

for the purpose of eavesdropping upon private communications and that the invasion of privacy

resulting from the continual and increasing use of such devices and techniques has created a

serious threat to the free exercise of personal liberties and cannot be tolerated in a free and

civilized society.”

        1263. Defendants’ acts in violation of the CIPA occurred in the State of California

because those acts resulted from business decisions, practices, and operating policies that

Facebook developed, implemented, and utilized in the State of California and which are unlawful

and constitute criminal conduct in the state of Facebook’s residence and principal business

operations. Further, the data acquired from Facebook by Cambridge Analytica was housed on

Facebook’s servers in California and obtained therefrom. Facebook’s implementation of its

business decisions, practices, and standard ongoing policies that violate CIPA—and Cambridge

Analytica’s availment of those business decisions, practices, and standard ongoing policies—

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took place and continue to take place in the State of California. Defendants profited and continue

to profit in the State of California as a result of these repeated and systemic violations of CIPA.

Defendants’ unlawful conduct, which occurred in the State of California, harmed and continues

to harm Plaintiffs.

        1264. Among the data points harvested by Facebook and provided to the remaining

Defendants (as well as Business Partners, App Developers, and whitelisted Apps) was Plaintiffs’

location.

        1265. CIPA expressly prohibits the use of “an electronic tracking device to determine

the location or movement of a person.” Cal. Pen. Code § 637.7(a).

        1266.   As defined under CIPA, “‘electronic tracking device’ means any device attached

to a vehicle or other movable thing that reveals its location or movement by the transmission of

electronic signals.” Id. § 637.7(d).

        1267. Facebook acquired—and Cambridge Analytica exfiltrated and used—Plaintiffs’

location through, inter alia, location data associated with smartphones and other mobile devices

running Facebook.

        1268. Plaintiffs did not consent to said acquisition of location information by any

Defendant.


                           (Against Prioritized Defendant Facebook)
        1269. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1270. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1271. Facebook is a “person” within the meaning of CLRA in that it is a corporation.

        1272. Plaintiffs are “consumers” within the meaning of CLRA in that they are

individuals who seek or acquire services for personal, family, or household purposes.

        1273. CLRA § 1770(a)(5) prohibits “[r]epresenting that goods or services have

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sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection which he or

she does not have.”

        1274. CLRA § 1770(a)(14) prohibits “[r]epresenting that a transaction confers or

involves rights, remedies, or obligations that it does not have or involve, or that are prohibited by

law.”

        1275. Defendant Facebook’s conduct as alleged herein violates CLRA’s ban of

proscribed practices at Cal. Civ. Code § 1770(a) subdivisions (5) and (14) in that, inter alia,

Facebook misrepresented its services by not disclosing that it provides content and information

to Business Partners, device makers, and whitelisted Apps, when it tells Plaintiffs that they can

“control” access with their “privacy settings.” The privacy and control over personal property

involved with Facebook’s services were illusory. With respect to whitelisted Apps, Facebook

collected revenue for the continued access to Plaintiffs’ content and information and did not

disclose that it was doing so.

        1276. Plaintiffs and suffered injuries caused by Defendant’s misrepresentations and

omissions because: (a) Plaintiffs suffered an invasion of their privacy as a result of Facebook

exposing their content and information to Business Partners, device makers, and whitelisted

Apps, and (b) were deprived of any income Facebook generated through its unauthorized use or

sale of data.

        1277. Prior to the filing of this Complaint, a CLRA notice letter was sent to Defendant

Facebook which complies in all respects with California Civil Code § 1782(a).

        1278. Plaintiffs seek equitable relief for Facebook’s violation of CLRA, as permitted by

statute. This includes injunctive relief to enjoin the wrongful practices alleged herein, and to take

corrective action to remedy past conduct, including ending all data-sharing partnerships still in

effect and having Facebook direct all device makers, Business Partners, and whitelisted Apps

with Plaintiffs’ data stored on their servers to delete that data.


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                           (Against Prioritized Defendant Facebook)
        1279. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1280. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

        1281. Facebook knowingly accessed and without permission used Plaintiffs’ content

and information in order to wrongfully control or obtain property or data in violation of

California Penal Code § 502(c)(1).
        1282. Facebook knowingly accessed and without permission took, copied, and/or used

data from Plaintiffs’ computers, computer systems and/or computer network in violation of

California Penal Code § 502(c)(2).

        1283. Facebook knowingly and without permission used or caused to be used Plaintiffs’

computer services in violation of California Penal Code § 502(c)(3).

        1284. Facebook knowingly and without permission accessed or caused to be accessed

Plaintiffs’ computers, computer systems, and/or computer network in violation of California

Penal Code § 502(c)(7).

        1285. Plaintiffs suffered and continue to suffer damage as a result of Facebook’s

violations of the California Penal Code § 502 identified above.

        1286. Facebook’s conduct also caused irreparable and incalculable harm and injuries to

Plaintiffs in the form of invading their privacy, and, unless enjoined, will cause further

irreparable and incalculable injury, for which Plaintiffs have no adequate remedy at law.

        1287. Facebook willfully violated California Penal Code § 502 in disregard and

derogation of the rights of Plaintiffs, and Facebook’s actions as alleged above were carried out

with oppression, fraud and malice.

        1288. Pursuant to California Penal Code § 502(e), Plaintiffs are entitled to injunctive

relief, compensatory damages, punitive or exemplary damages, attorneys’ fees, costs and other


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equitable relief.




                           (Against Prioritized Defendant Facebook)
        1289. Plaintiffs Akins, Ariciu, Armstrong, Burk, Fischer, Forman, Holsinger, Johnson,

King, Kmieciak, Maxwell, Staggs, Short, Senko, Miller, Schinder, Smith, Tutt, and Vance-

Guerbe, individually and on behalf of the Alabama, Arizona, Colorado; Florida; Georgia; Idaho;

Indiana; Iowa; Kansas; Maryland; Michigan; Missouri; Ohio; Oklahoma; Pennsylvania;

Tennessee; Texas; Washington; West Virginia; and Wisconsin Sub Classes (for purposes of this

claim, “Plaintiffs”) incorporate by reference all allegations of this complaint as though fully set

forth herein.

        1290. The common law in these states prohibits the use of a person’s name or likeness

for the defendant’s advantage, commercial or otherwise, without first obtaining that person’s

consent, or where appropriate the consent of that person’s parent or legal guardian.

        1291. Facebook violated this section by allowing access to Plaintiffs’ likeness—

including names, like history, private messages, photographs, and video—as a service to third

parties without consent. On information and belief, access to the likeness of Plaintiffs was

integral to the services Facebook offered App Developers like Cambridge Analytica, as well as

Business Partners and whitelisted Apps. Whitelisted Apps and other Business Partners would not

have purchased services from Facebook (including advertisements) without access to Plaintiffs’

content and information.

        1292. Prior to using the Plaintiffs’ likeness, Facebook never obtained consent.

        1293. Plaintiffs did not receive any compensation in return for this use

        1294. Plaintiffs were harmed by Facebook’s improper use.

        1295. Plaintiffs seek actual damages suffered, plus any profits attributable to

Facebook’s use of the unauthorized use not calculated in actual damages. Plaintiffs and class


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members also reserve the right to punitive damages, costs, and reasonable attorney’s fees as

allowed under this statute.



                              (Against Prioritized Defendant Facebook)
        1296. Plaintiff Grays, individually and on behalf of the Alabama Subclass (“Plaintiffs,”

for purposes of this Claim), incorporate by reference all allegations of this complaint as though

fully set forth herein.

        1297. Ala. Code § 6-5-772 prohibits the use of a person’s indicia of identity for the

purposes of advertising or selling or soliciting goods or services without that persons’ consent, or

where appropriate the consent of that person’s parent or legal guardian.

        1298. Under Ala. Code § 6-5-771, indicia of identity include those attributes of a person

that serve to identify that person to an ordinary, reasonable viewer or listener and includes

“name, signature, photograph, image, likeness, voice” or similar attribute of that person.

        1299. Defendant violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs was

integral to the services Facebook offered App Developers like Cambridge Analytica and

whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

        1300. Prior to using the Plaintiffs’ content and information, Defendant never obtained

consent from the Plaintiffs.

        1301. Defendant profited from the commercial use of the Plaintiffs’ content and

information.


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       1302. Plaintiffs did not receive any compensation in return for this use.

       1303. According to Ala. Code § 6-5-774, Plaintiffs seek the greater of $5,000 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to injunctive

relief, punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook)
       1304. Plaintiff Bridgett Burk, individually and on behalf of the Florida Subclass

(“Plaintiff,” for purposes of this Claim), incorporate by reference all allegations of this complaint

as though fully set forth herein.

       1305. Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       1306. Fla. Code § 540.08 prohibits the use of a person’s name, portrait, photograph, or

likeness for commercial purposes without the express consent of that person, or where

appropriate the consent of that person’s parent or legal guardian.

       1307. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1308. Prior to using the Plaintiffs’ content and information, Defendant never obtained

consent.


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       1309. Defendant profited from the commercial use of the Plaintiffs’ likenesses.

       1310. Plaintiffs did not receive any compensation in return for this use.

       1311. According to Fla. Code § 540.08, Plaintiffs seek the greater of $1,000 per incident

in addition to any other remedies under common law, including actual damages, punitive

damages, and injunctive relief.



                           (Against Prioritized Defendant Facebook)
       1312. Plaintiffs Brendan Carr, John Doe, and Kimberly Robertson, individually and on

behalf of the Illinois Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference

all allegations of this complaint as though fully set forth herein.

       1313. Ill. Comp. Stat. § 1075/5-30 prohibits the use of an individual’s likeness including

their name, signature, photograph, image, likeness, or voice for or in connection with a sale of a

product or services or for purposes of advertising or promoting services without written consent

of that person, or where appropriate the consent of that person’s parent or legal guardian.

       1314. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1315. Prior to using the Plaintiffs’ content and information, Defendant never obtained

consent from the Plaintiffs.

       1316. Defendant profited from the commercial use of the Plaintiffs’ likenesses.


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       1317. Plaintiffs did not receive any compensation in return for this use.

       1318. According to Ill. Comp. Stat. § 1075/40-60, Plaintiffs seek the greater of $1,000

per incident or the actual damages suffered, plus any profits attributable to Defendants’ use of

the unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook)
       1319. Plaintiff Samuel Armstrong, individually and on behalf of the Indiana Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1320. Ind. Code § 32-36-1-8 prohibits the use of a person’s name, voice, signature,

photograph, image, likeness, distinctive appearance, gesture, or mannerisms in connection with a

product service or commercial activity without that person’s consent, or where appropriate the

consent of that person’s parent or legal guardian.

       1321. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1322. Prior to using the Plaintiffs’ content and information, Defendant never obtained

consent.

       1323. Defendant profited from the commercial use of the Plaintiffs’ likenesses.


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       1324. Plaintiffs did not receive any compensation in return for this use.

       1325. According to Ind. Code § 32-36-1-10 Plaintiffs seek the greater of $1,000 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs reserve the right to injunctive relief,

punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook)
       1326. Plaintiff William Lloyd, individually and on behalf of the New York Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1327. N.Y. Civ. Rights Law § 51 prohibits the use of a person’s name, portrait, picture,

or voice for advertising purposes or for the purposes of trade without first obtaining that person’s

consent, or where appropriate the consent of that person’s parent or legal guardian.

       1328. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1329. Prior to using the Plaintiffs’ content and information, Defendant never obtained

consent.

       1330. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1331. Plaintiffs did not receive any compensation in return for this use.


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       1332. According to N.Y. Civ. Rights Law § 51, to Plaintiffs seek actual damages

suffered, plus any profits attributable to Defendants’ use of the unauthorized use not calculated

in actual damages. Plaintiffs also reserve the right to equitable relief, punitive damages, costs,

and reasonable attorney’s fees as allowed under this statute.



                            (Against Prioritized Defendant Facebook)
       1333. Plaintiff Cheryl Senko, individually and on behalf of the Ohio Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1334. Ohio Code § 2741.02 prohibits the use of a person’s name, voice, signature,

photograph, image, likeness, or distinctive appearance in connection with a product, good or

service with that person’s written consent, or where appropriate the consent of that person’s

parent or legal guardian.

       1335. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1336. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1337. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1338. Plaintiffs did not receive any compensation in return for this use.


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       1339. According to Ohio Code § 2741.07 (a), Plaintiffs seek the greater of $2,500 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook)
       1340. Plaintiff Ian Miller, individually and on behalf of the Oklahoma Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1341. Okl. St. § 1449 prohibits the use of a person’s name, voice, signature, photograph,

or likeness in connection with a product, good or service with that person’s written consent, or

where appropriate the consent of that person’s parent or legal guardian.

       1342. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information —including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1343. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1344. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1345. Plaintiffs did not receive any compensation in return for this use.

       1346. According to Okl. St. § 1449, Plaintiffs seek the actual damages suffered,


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including any profits attributable to Defendants’ use of the unauthorized use. Plaintiffs also

reserve the right to punitive damages, costs, and reasonable attorney’s fees as allowed under this

statute.


                              (Against Prioritized Defendant Facebook)
           1347. On behalf of the Pennsylvania Subclass (“Plaintiffs,” for purposes of this Claim),

incorporate by reference all allegations of this complaint as though fully set forth herein.

           1348. 42 Pa. Stat. § 8316 prohibits the use of a person’s name or likeness in connection

the sale of a product, goods or services without first obtaining that person’s written consent, or

where appropriate the consent of that person’s parent or legal guardian.

           1349. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information —including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

           1350. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

           1351. Defendant profited from the commercial use of Plaintiffs’ likenesses.

           1352. Plaintiffs did not receive any compensation in return for this use.

           1353. Under 42 Pa. Stat. § 8316.1, Plaintiffs seek actual damages plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages.

Plaintiffs also reserve the right to injunctive relief as allowed under this statute.



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                           (Against Prioritized Defendant Facebook)
       1354. Plaintiff Steve Akins , individually and on behalf of the Tennessee Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1355. T. C. A. § 47-25-1105 prohibits the use of a person’s name, photograph, or

likeness on or in goods, merchandise, or products entered into commerce in that state without

first obtaining that person’s consent, or where appropriate the consent of that person’s parent or

legal guardian.
       1356. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information —including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1357. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1358. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1359. Plaintiffs did not receive any compensation in return for this use.

       1360. According to T. C. A. § 47-25-1105, Plaintiffs seek the greater of $5,000 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, reasonable attorney’s fees, and injunctive relief as allowed under this statute.



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                           (Against Prioritized Defendant Facebook)
       1361. Plaintiffs Mary Beth Grisi and Suzie Haslinger, individually and on behalf of the

Virginia Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference all

allegations of this complaint as though fully set forth herein.

       1362. Va. Code § 8.01-40 prohibits the use of a person’s name, portrait or picture for

commercial purposes without first obtaining that person’s consent, or where appropriate the

consent of that person’s parent or legal guardian.

       1363. Defendant Facebook violated this section by allowing access to Plaintiffs’ content
and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1364. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1365. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1366. Plaintiffs did not receive any compensation in return for this use.

       1367. According to Va. Code § 8.01-40, Plaintiffs seek actual damages suffered, plus

any profits attributable to Defendants’ use of the unauthorized use not calculated in actual

damages. Plaintiffs also reserve the right to punitive damages, costs, and reasonable attorney’s

fees as allowed under this statute.




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                           (Against Prioritized Defendant Facebook)
       1368. Plaintiffs Terry Fischer and Taunna Lee Johnson , individually and on behalf of

the Washington Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference all

allegations of this complaint as though fully set forth herein.

       1369. Wash. Code § 63.60.050 prohibits the use of a person’s name, voice, signature,

photograph, or likeness on or in goods, merchandise, or products entered into commerce in that

state without first obtaining that person’s consent, or where appropriate the consent of that

person’s parent or legal guardian.
       1370. Defendant Facebook violated this section by allowing access to Plaintiffs’ content

and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1371. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1372. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1373. Plaintiffs did not receive any compensation in return for this use.

       1374. According to Wash. Code § 63.60.060 Plaintiffs seek the greater of $1,500 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to costs, and

reasonable attorney’s fees as allowed under this statute.



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                           (Against Prioritized Defendant Facebook)
       1375. Plaintiff Ashley Kmieciak, individually and on behalf of the Wisconsin Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

       1376. Wis. Stat. § 995.50(b) prohibits the use of a name, portrait or picture for the

purposes of trade or advertising without first obtaining that person’s consent, or where

appropriate the consent of that person’s parent or legal guardian.

       1377. Defendant Facebook violated this section by allowing access to Plaintiffs’ content
and information —including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, Plaintiffs’ content and information was

integral to the services Facebook offered third party App Developers like Cambridge Analytica

and whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook

(including advertisements) without access to this content and information. Indeed, the value of

the services Facebook offered to whitelisted Apps was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiffs’ content and

information.

       1378. Prior to using Plaintiffs’ content and information, Defendant never obtained

consent.

       1379. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1380. Plaintiffs did not receive any compensation in return for this use.

       1381. According to Wis. Stat. § 995.50, Plaintiffs seek actual damages, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages.

Plaintiffs and Wisconsin Subclass members also reserve the right to costs, reasonable attorney’s

fees, and injunctive relief as allowed under this statute.




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    (Against Prioritized Defendant Facebook; Non-Prioritized Defendants Zuckerberg,
                                   Bannon and Kogan)
                          On Behalf of All Plaintiffs and Classes
        1382. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1383. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law. California Civil Code

§ 3344 prohibits the knowing use of a person’s name, voice, signature, photograph, or likeness

for a commercial gain without first obtaining that person’s consent, or where appropriate the
consent of that person’s parent or legal guardian.

        1384. Defendants violated this section by allowing access to Plaintiffs’ and Class

Members’ content and information—including names, like history, private messages,

photographs, and video—as a service to third parties. On information and belief, the content and

information of Plaintiffs and Class Members was integral to the services Facebook offered App

Developers like Cambridge Analytica and whitelisted Apps. Whitelisted Apps would not have

purchased services from Facebook (including advertisements) without access to this content and

information. Indeed, the value of the services Facebook offered to whitelisted Apps was derived

from this content and information. Thus, Facebook directly benefited from this use of Plaintiffs’

content and information.

        1385. Facebooks’ API feeds are “products” for purposes of Civil Code Section 3344.

Additionally, Facebook used its API feeds to advertise for services Facebook offered, such as

advertisements and other means of obtaining revenue from whitelisted Apps. Facebook

effectively used access to API feeds containing photographs and likenesses of Plaintiffs and

Class Members to sell its advertising services.

        1386. The likenesses exploited by Facebook through API feeds include photographs and

videos. Facebook offered these photographs and likenesses to third party App Developers and



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other Business Partners as part of the API service without regard to Plaintiffs’ privacy settings,

or the privacy designation attached to the photographs and videos. Facebook received substantial

revenue from publishing this content and information through its API feed in the form of

advertising revenue. Facebook linked the payment of advertisements with the continued access

to API feeds that included photographs and likenesses of Plaintiffs and Class Members.

        1387. Prior to using the Plaintiffs’ content and information, the Facebook never

obtained consent from the Plaintiffs.

        1388. Plaintiffs received no compensation for the use of their likeness.

        1389. Facebook had knowledge of the unauthorized uses of Plaintiffs’ and Class

Members’ names, photographs, and likenesses.

        1390. Plaintiffs were harmed by Facebook’s improper use.

        1391. According to California Civil Code § 3344(a), Plaintiffs seek the greater of $750

per incident or the actual damages suffered, plus any profits attributable to Facebook’s use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook)
                             On Behalf of All Plaintiffs and Classes
        1392. Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        1393. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”).

        1394. As individuals, Plaintiffs are consumers entitled to the protections of the FCRA.

15 U.S.C. § 1681a(c).

        1395. Facebook is a “person” as defined by 15 U.S.C. § 1681a(b).

        1396. Facebook is a CRA—a “consumer reporting agency” as defined in 15 U.S.C. §§

1681a(f) which is defined as “any person which, for monetary fees, dues, or on a cooperative

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nonprofit basis, regularly engages in whole or in part in the practice of assembling or evaluating

consumer credit information or other information on consumers for the purpose of furnishing

consumer reports to third parties . . . .” 15 U.S.C. § 1681a(f).

       1397. The compromised data was a “consumer report” under the FCRA as defined

under 15 U.S.C. § 1681a(d)(1).

       1398. As a consumer reporting agency, Facebook may only furnish a consumer report

under the limited circumstances set forth in 15 U.S.C. § 1681b, “and no other.” 15 U.S.C. §

1681b(a). None of the purposes listed under 15 U.S.C. § 1681b permit credit reporting agencies

to furnish consumer reports to unauthorized or unknown entities.

       1399. Facebook willfully and/or recklessly violated § 1681b and § 1681e(a) by

providing impermissible access to consumer reports and by failing to maintain reasonable

procedures designed to limit the furnishing of consumer reports to the purposes outlined under

section 1681b of the FCRA.

       1400. As a CRA, Facebook is required to make clear, accurate, and complete

disclosures as set forth in 15 § U.S.C. 1681g.

       1401. Facebook failed to make clear, accurate, and complete disclosures, violating 15

U.S.C. § 1681g.

       1402. As a result of each and every willful violation of FCRA, Plaintiffs are entitled to:

actual damages, pursuant to 15 U.S.C. § 1681n(a)(1); statutory damages, pursuant to 15 U.S.C. §

1681n(a)(1); punitive damages, as this Court may allow, pursuant to 15 U.S.C. § 1681n(a)(2);

and reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n(a)(3).

       1403. As a result of each and every negligent non-compliance of the FCRA, Plaintiffs

and Class members are also entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and

reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2) from Defendant.



     (Against Prioritized Defendant Facebook; and Non-Prioritized Defendant Kogan)


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       1404. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

       1405. Plaintiffs assert this Claim on behalf of the Delaware Subclass.

       1406. By reason of the conduct alleged herein, Defendants violated Delaware’s

Criminal Code protecting persons from electronic surveillance and unlawful interception of

communications.

       1407. According to Chapter 24 of the Title 11 of the Delaware Criminal Code,

“Electronic communication” includes “any transfer of signs, signals, writing, images, sounds,

data or intelligence of any electromagnetic, photoelectronic or photooptical system.” 11 Del.

Code § 2401.

       1408. The messages, posts, images and countless other forms of communication on

Facebook user’s profiles are considered electronic communications.

       1409. The statute defines “Electronic communication system” as “any wire, oral,

electromagnetic, photooptical, or photoelectronic facilities for the transmission of wire, oral or

electronic communications and any computer facilities or related electronic equipment.” Id.

       1410. The servers Facebook uses to provide its electronic communication service which

facilitate user communication are considered an “electronic communication system”.

       1411. Delaware prohibits the intentional interception of any wire, oral or electronic

communication unless party to the communication or with prior consent by one of the parties to

the communication. 11 Del. Code § 2402(a).

       1412. Delaware also prohibits a person or entity providing an electronic

communications service to the public from knowingly divulging to any other person or entity the

contents of a communication while the communication is in electronic storage by that service. 11

Del. Code § 2422.

       1413. Facebook, a “person” and “electronic communication service” pursuant to

Delaware Criminal Code, unlawfully and intentionally divulged the contents of Plaintiffs’


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communications.

        1414. Facebook intentionally divulged the contents of Plaintiffs’ stored electronic

communications by allowing Cambridge Analytica access to their electronic communications

which also contained sensitive personal information and identifiers putting Plaintiffs and Class

members at risk of being harmed.

        1415. Section 2409 of the Delaware Criminal Code authorizes a private right of action

for actual damages, punitive damages and reasonable attorneys’ fees and other litigation costs

reasonably incurred to any person whose wire, oral or electronic communication is intercepted,

disclosed or used in violation of this code.

        1416. Plaintiffs have been harmed by Defendants’ misconduct and are entitled to actual

damages, punitive damages and reasonable attorneys’ fees and costs.



                             (Against Prioritized Defendant Facebook)
        1417. Plaintiffs incorporate by reference the allegations in the preceding paragraphs as

if fully set forth herein.

        1418. Defendants and Plaintiffs are “persons” within the meaning of N.J. STAT. ANN.

§ 56:8-1(d). Facebook engaged in “sales” of “merchandise” within the meaning of N.J. STAT.

ANN. § 56:8-1(c), (d).

        1419. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

act, use or employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

or omission of any material fact with the intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby...” N.J. STAT. ANN. § 56:8-2.

        1420. As set forth above, Facebook, while operating in New Jersey, engaged, in


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unconscionable commercial practices, deception, misrepresentation, and the knowing

concealment, suppression, and omission of material facts with intent that others rely on such

concealment, suppression, and omission, in connection with the sale and advertisement of

services, in violation of N.J. Stat. Ann. § 56:8-2. This includes:

               A.      Collecting, storing, and using vast quantities of highly sensitive personal

       information and which Facebook failed to adequately protect from unauthorized and/or

       criminal access;

               B.      Failing to employ technology and systems to promptly detect unauthorized

       access to the personal information with which they were entrusted;

               C.      Unreasonably delaying giving notice to consumers after it became aware

       of unauthorized access to the personal information;

               D.      Knowingly and fraudulently failing to provide accurate, timely

       information to consumers about the extent to which their personal information had been

       compromised; and

               E.      Making false and deceptive representations and communications

       concerning the purpose of and reasons for collecting highly sensitive personal

       information.

       1421. Facebook’s breach of its duties has directly and proximately caused Plaintiffs to

suffer an ascertainable loss of money and property, including the loss of their personal

information and foreseeably causing them to expend time and resources investigating the extent

to which their personal information has been compromised.

       1422. The above unlawful and deceptive acts and practices and acts by Facebook were

immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

Plaintiffs that they could not reasonably avoid. This substantial injury outweighed any benefits to

consumers or to competition.

       1423. Plaintiffs seek relief under N.J. Stat. Ann. § 56:8-19, including, but not limited to,


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injunctive relief, other equitable actual damages (to be proven at trial), disgorgement of

wrongfully obtained profits, treble damages, and attorneys’ fees and costs.


                           (Against Prioritized Defendant Facebook)
                             On Behalf of All Plaintiffs and Classes
       1424. Plaintiffs reallege and incorporate by reference all allegations of this complaint as

though fully set forth herein.

       1425. Plaintiffs assert this Claim individually and on behalf of the Class and Minor

Class (for purposes of this Claim, “Plaintiffs”) under California law.

       1426. Facebook falsely and knowingly represented to Plaintiffs that their personal

information would remain private, and that they could control who viewed their content and

information through their privacy settings.

       1427. Defendant Facebook’s statements that it would maintain the privacy of Plaintiffs’

content and information was false because Defendant knowingly and intentionally provided

content and information to Business Partners and whitelisted Apps, even after representing to

Plaintiffs that their privacy settings could be used to control access to their content and

information.

       1428. Facebook’s representations were material to Plaintiffs’ decision to provide

content and information to Facebook.

       1429. Plaintiffs justifiably relied on the representations Facebook made concerning

“control” of content and information and the efficacy of Facebook’s “privacy settings” and acted

in reliance on those representations by using Facebook.

       1430. Facebook knew of the falsity of its representations, and its representations were

made to deceive Plaintiffs.

       1431. Facebook knew it did not have permission to allow Business Partners and

whitelisted Apps to use Plaintiffs’ content and information .

       1432. Plaintiffs suffered injury-in-fact and lost property as a proximate result of


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Facebook’s intentional misrepresentation.

       1433. As a direct and proximate result of Facebook’s intentional misrepresentation,

Plaintiffs suffered injuries, damages, losses or harm, including but not limited to annoyance,

interference, concern, lost time, the loss of personal property, and the need for the cost of

effective credit and privacy security, justifying an award of compensatory and punitive damages.

                                 X.      PRAYER FOR RELIEF
       1434. Plaintiffs, individually and on behalf of Class Members, request that the Court

enter judgment in their favor and against Defendants, as follows:

       1435. Certify the Classes and appoint Plaintiffs as Class Representatives;

       1436. Enter Judgment against Defendants on Plaintiffs’ and Class Members’ asserted

causes of action;

       1437. Award Plaintiffs and Class Members appropriate relief, including actual and

statutory damages, restitution, disgorgement, and punitive damages;

       1438. Award equitable, injunctive, and declaratory relief as may be appropriate;

       1439. Award all costs, including experts’ fees and attorneys’ fees, as well as the costs of

prosecuting this action;

       1440. Award pre-judgment and post-judgment interest as prescribed by law; and

       1441. Grant additional legal and equitable relief as this Court may find just and proper.

                              XI.     DEMAND FOR JURY TRIAL
       1442. Plaintiffs, on behalf of themselves and all others similarly situated, hereby

demand a trial by jury on all the issues so triable.


                                               Dated: February 22, 2019


                                               KELLER ROHRBACK L.L.P.

                                               By:     /s/ Derek W. Loeser
                                                       Derek W. Loeser


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                                   CERTIFICATE OF SERVICE


          I, Derek W. Loeser, hereby certify that on February 22, 2019, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.


                                                /s/ Derek W. Loeser
                                                Derek W. Loeser


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